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           15
                                           UNITED STATES DISTRICT COURT
           16
                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
           17
                                                    OAKLAND DIVISION
           18

           19    EPIC GAMES, INC.,                            Case No. 4:20-cv-05640-YGR

           20                          Plaintiff, Counter-   DEFENDANT APPLE INC.’S PROPOSED
                                       defendant             FINDINGS OF FACT AND CONCLUSIONS
           21                                                OF LAW
                       v.
           22
                 APPLE INC.,                                  The Honorable Yvonne Gonzalez Rogers
           23
                                       Defendant,
           24                          Counterclaimant.       Trial: May 3, 2021
           25

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Gibson, Dunn &
Crutcher LLP      DEFENDANT APPLE INC.’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW, 4:20-cv-05640-
                                                          YGR
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            1           Apple Inc. respectfully submits its corrected Proposed Findings of Fact and Conclusions of
            2    Law.
            3

            4    Dated: April 8, 2021                        Respectfully submitted,
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Gibson, Dunn &                                                     1
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                  DEFENDANT APPLE INC.’S ADMINISTRATIVE MOTION TO PARTIALLY SEAL ITS PROPOSED FINDINGS
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       Epic Games, Inc. v. Apple Inc.,
       Case No. 4:20-cv-05640-YGR



      Apple Inc.’s
Proposed Findings of Fact
          and
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                           PROPOSED FINDINGS OF FACT

                                 I.      INTRODUCTION

1.   With the launch of the iPhone in 2007, Apple created the revolutionary and unique iOS
     ecosystem. Since then, Apple’s development, curation, and protection of that ecosystem
     has benefitted consumers and developers alike. Apple’s investment in that ecosystem—
     billions of dollars spent on innovation and invention of new intellectual property—has
     created opportunities that never would have existed, and even grown the economy. All the
     while, Apple has balanced the value of providing third-party developers access to the iOS
     ecosystem with its relentless focus on the reliability, safety, security and privacy that
     consumers hold dear.

2.   Apple’s decision to open its iOS platform to third-party developers has resulted in massive
     procompetitive benefits. App Store debuted in 2008 with just 500 apps. Since then, output
     has exploded—with millions of consumers downloading billions of apps created by
     thousands of developers. At the same time, prices stayed flat or decreased: Apple has
     charged developers only a $99 annual fee plus a 30% commission on paid apps and in-app
     purchases of digital content. Many developers and app categories pay a lower commission.
     And the vast majority of apps are free to download and result in no commission to Apple.
     The App Store has become an economic engine, generating billions of dollars in revenue
     for businesses that pay zero commission to Apple.

3.   The App Store is a two-sided transaction platform that connects app developers and
     consumers. In this case brought by a game developer, the relevant transactions are for
     digital games. The App Store competes with many other digital games transaction
     platforms, including those available on Android smartphones; Windows, Amazon, and
     Android tablets; mobile gaming devices such as the Nintendo Switch; game consoles such
     as Microsoft’s Xbox and Sony’s PlayStation; and PCs. And a new crop of online game
     streaming services promises yet more competitive pressure.

4.   Epic’s flagship game, Fortnite, illustrates the competitive landscape. Apple supports
     “cross-platform” play and cross-platform transactions. The same consumer can make in-
     app purchases of V-Bucks on her iPhone (through the browser) during a lunch break, and
     on a console at home in the evening. Apple (unlike some of its competitors) allows “cross-
     wallet” play, so that in-game purchases—called V-Bucks in Fortnite—can be made on one
     device and used on another. In other words, an iOS user can purchase V-Bucks on a PC
     and then (prior to Fortnite’s removal) use them in Fortnite on her iPhone or iPad—with
     Epic owing not even a penny’s commission to Apple.

5.   Apple has no monopoly or market power in the relevant product market for game app
     transactions. And there is no claim that it had any such power when the restrictions at issue
     were imposed around the launch of the App Store. Developers are free to create apps for
     any other platform, and can create web apps for iOS users with no restrictions whatsoever.
     If developers choose to create native iOS apps using Apple’s intellectual property—
     including Software Development Kits (“SDKs”) and 150,000 Application Programming

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      Interfaces (“APIs”), which are protected by patents, copyrights and trademarks—they must
      agree to the terms of Apple’s Developer Program License Agreement (“DPLA”), including
      distribution through the App Store.

6.    Apple has always maintained a “walled garden” approach to the distribution of native iOS
      apps created using Apple’s proprietary software. Using both proprietary technology and
      human reviewers, Apple reviews every app and app update submitted for distribution
      through the App Store for functionality and content, as well as for malware and other
      harmful code. iOS customers know that if they download an app from the App Store, it
      will work—and it will not steal their data. Apple made this decision based on its years of
      experience with PCs, including its own macOS operating system, and its belief that the
      unique role mobile phones and tablets play in people’s lives required greater protections to
      ensure reliability, safety, and privacy.

7.    Apple has chosen to monetize the App Store by charging at most a 30% commission on
      paid apps and in-app purchases of digital content. Competing platforms charge the same
      or a higher commission. Moreover, as part of the integrated iOS functionality, Apple has
      developed an API called “In-App Purchase” (“IAP”) to provide a secure and reliable
      mechanism to deliver digital content to customers and receive payment for that content.
      Among many other benefits, IAP allows Apple to collect its commission and then remit
      the balance to developers.

8.    Apple’s policies are set forth transparently in the DPLA and its incorporated App Review
      Guidelines, and apply to all developers equally. While certain categories of apps (for
      example, subscription services) or developers (for example, those earning less than $1
      million in annual revenue) pay a reduced commission, apps and developers within those
      categories are treated alike. Developers use IAP to deliver digital content through iOS
      regardless of what price (including zero) they choose to charge for that content.

9.    The restrictions challenged by Epic in this case—a subset of Apple’s app distribution and
      review policies—are contractual terms on the licensed use of Apple’s intellectual property.
      Apple, as the property owner, has chosen to make its property available to others—but only
      on its own terms. Developers who do not agree with those terms are free to develop web
      apps, not using Apple’s proprietary software and tools, and distribute them directly to iOS
      users.

10.   These policies support their procompetitive purposes. The curation of the App Store allows
      Apple to optimize the customer experience and protect the security and privacy of users
      and their data. App review ensures functionality, and protects customers from pornography
      and malware. Indeed, the iOS ecosystem is widely and correctly recognized as the safest,
      most secure, and most reliable mobile computing platform in the world. This benefits
      developers as well, since native iOS apps approved for distribution through the App Store
      find an established customer base.

11.   Epic has benefited handsomely from its contractual relationship with Apple, which goes
      back to 2010. Epic has used Apple’s proprietary SDKs, and thousands of proprietary APIs,




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            to develop games for iOS users. During the two years that Fortnite was available on the
            App Store, Epic earned more than $700 million in revenue from iOS customers.

12.         Epic objects to paying Apple a 30% commission—even though it pays the same
            commission to many other platforms on which Epic distributes Fortnite. When Apple
            refused Epic’s request for a special deal, Epic included secret code in a Fortnite update and
            triggered it, using a server-side “hotfix,” to allow iOS customers to purchase V-Bucks
            without paying Apple’s commission. This was a breach of the DPLA (as Epic concedes),
            so Apple terminated Epic’s developer privileges and removed Fortnite from the App Store.

13.         This was all part of a pre-planned media strategy called “Project Liberty.” Epic retained
            Cravath, Swaine & Moore LLP and a public relations firm in 2019, and this lawsuit is the
            culmination of that effort. Epic seeks to portray Apple as the “bad guy” so that it can revive
            flagging interest in Fortnite. Yet, ironically, when Epic got kicked off the iOS platform, it
            told players that they could continue playing on consoles, PCs, and other devices—
            demonstrating the existence of competition and the absence of monopoly.

14.         Apple is not a monopolist in any relevant market. Apple does not have market power over
            digital game transactions. Whether measured in apps or in-app purchases, output has
            increased while prices have stayed constant or fallen. The restrictions in Apple’s license
            agreements protect its intellectual property and serve a variety of procompetitive benefits
            including reliability, security, and privacy. Epic just wants to free-ride on Apple’s
            innovation.

15.         There is no antitrust violation on the facts presented here.

      II.       APPLE’S VALUES: CUTTING-EDGE TECHNOLOGY, WORLD CLASS
                   DESIGN, AND BRAND-LEVEL COMMITMENT TO PRIVACY

16.         Apple is committed to certain core principles. Cook TT. Chief among these is designing,
            building, and then improving world-class technology products. Cook TT.

17.         These products are designed not only to “just work” but also be powerful and easy-to-use.
            Cook TT. Prioritizing the user is key. Cook TT. Apple products are designed to be
            simple, not complex, and to deliver a seamless, reliable, and intuitive experience. Cook
            TT.

18.         Apple also believes privacy is a human right. Cook TT.

19.         To these ends, Apple has long felt that it is important to own and control the primary
            technologies behind its products. Cook TT. And Apple has continually innovated, creating
            new and improving upon old hardware and software—often at great expense and risk.
            Cook TT.

20.         These commitments have allowed Apple to establish a reputation for security and
            reliability; consumers know they can trust that with an Apple product, they will enjoy a
            safe, convenient experience. Cook TT.



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III.    APPLE LAUNCHES TWO REVOLUTIONARY INNOVATIONS: THE IPHONE
                            AND THE APP STORE

A.     Apple revolutionizes mobile communication with the introduction of the iPhone.

21.    Apple “reinvent[ed] the phone” when—after 30 months of development—it released the
       iPhone in June 2007. DX-4281, at -274; DX-3426; Schiller Trial Testimony (“TT”).

22.    The iPhone was a new entrant into a market with several established competitors, including
       Samsung, Nokia, LG, Sony, Blackberry, Motorola, Windows Mobile, and Palm. Schiller
       TT.

23.    But the iPhone was different. It featured a slick design with a multi-touch interface,
       powerful hardware and advanced software architecture. Schiller TT; Malackowski TT. In
       other words, the iPhone combined three separate products—a revolutionary mobile phone,
       a widescreen iPod with touch controls, and a breakthrough Internet communications device
       with desktop-class email, web browsing, searching and maps—into one small and
       lightweight handheld device. Schiller TT.

24.    Thus, the iPhone introduced an entirely new user interface based on a large multi-touch
       display and pioneering new software, letting users control the iPhone with just their fingers.
       Schiller TT.

25.    It also ushered in an era of software power and sophistication never before seen in a mobile
       device, completely redefining what users can do on their mobile phones. Schiller TT. The
       iPhone was revolutionary not just for its hardware, but for the operating system that ran on
       it, called iOS. Schiller TT. The operating system is a foundational layer of software; it
       allows applications to run and access features of the device, such as the touch screen.
       Malackowski TT.

26.    The iPhone was, in short, earth-shattering when it first came to market. Schiller TT. It
       made the idea of a smartphone real, providing access to the internet, a real web browser,
       and MultiTouch—many of the features that remain at the core of what the smartphone is
       today. Schiller TT.

B.     Apple did not originally allow third-party developers to build native apps for iOS.

27.    The original iPhone came preinstalled with a few native apps, all of which were developed
       by Apple. Schiller TT; Cook TT. Third-party native applications could not be downloaded
       to the iPhone. Schiller TT.

28.    When Apple launched the iPhone, Apple indicated that third-party developers could make
       web applications for distribution through the Safari web browser. Schiller TT.

       28.1   Apple enabled “Web Applications” as a way for developers to build applications
              using Web technologies for the iPhone. Schiller TT.




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      28.2   Apple added the ability to take icons and place them directly on the home screen of
             an iPhone so you can just tap on an icon and launch right into the Web application.
             Schiller TT; DX-3177, at -061.

      28.3   By March 2008, there were well over 1,000 Web applications available for the
             iPhone. Schiller TT; DX-3177, at -061.

      28.4   Apple made a clear judgment from the beginning that the Internet was an open
             avenue for all developers, but was cautious when it came to “sideloading”—
             permitting the installation of software from external third-party sources—because
             that involved placing software on Apple devices which could interact in harmful
             ways with Apple’s iOS. Schiller TT.

29.   To this day, Apple continues to make clear to all developers that the App Store is not the
      only way to make software available to iOS users. In the App Store Review Guidelines,
      Apple advises developers that “If the App Store model and guidelines are not best for your
      app or business idea that’s okay, we provide Safari for a great web experience too.” DX-
      3695, at -084.

C.    Apple decides to open the iOS ecosystem to third-party developers.

30.   When Apple was developing the iPhone, Apple executives discussed whether to permit
      third parties to develop native apps, but ultimately deferred the issue until after the launch
      of the iPhone. Schiller TT.

31.   Following the release of the iPhone, there was interest from many developers in developing
      native apps for the iPhone. Schiller TT.

32.   In May 2007, Steve Jobs was asked about native apps. Jobs responded that “I think
      sometime later this year we will find a way to let third parties write apps and still preserve
      security. But until we can find that way, we can’t compromise the security of the phone.
      Nobody’s perfect, but we sure don’t want our phone to crash. We would like to solve this
      problem, if you could be just a little more patient with us, I think everyone can get what
      they want.” DX-3177 at -075; Schiller TT.

33.   After Apple “shipped [the iPhone], developers started jailbreaking phones and writing
      native applications,” which Apple took “as an indication of their passion to build
      applications, native applications, for the iPhone.” Forstall depo. at 86:1–5. Jailbreaking
      refers to a process that modifies Apple’s iOS operating system to enable the installation of
      unauthorized software, including applications from other interfaces. Rubin TT. By
      jailbreaking one’s device, a user can install apps that are not approved by any app review
      process (like sideloading, a different method for app installation that can bypass app stores
      and operating system vendors). Rubin TT.

34.   The prevalence of jailbreaking created concerns for Apple. Jailbroken iPhones are widely
      considered to be a security risk. Rubin TT. Jailbroken phones pose severe security risks
      regarding malicious apps, data exposure, etc. for mobile devices. Rubin TT. There are
      documented cases of malware being distributed on jailbroken iPhones in ways that are not


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      possible on non-jailbroken iPhones. Rubin TT. Malware like this can be distributed via
      rogue apps that are only downloadable on jailbroken iPhones and, furthermore, the
      malware can use elevated privilege levels to perform malicious activity. Rubin TT.

35.   Despite being provided with warnings, consumers continued to jailbreak phones and
      release new jailbreaking methods. These first-hand experiences with jailbreaking led some
      Apple executives to believe that Apple should be creating a platform and both enable and
      encourage developers to build native apps for the phones. Schiller TT.

36.   In response to input from developers about their desire to develop native iOS apps, Apple
      revisited the issue and decided to create the ability for third parties to develop native iOS
      apps. Schiller TT.

37.   In developing the ability for third party native apps to be distributed on the iPhone, Apple
      emphasized two foundational objectives. Schiller TT. The first was to protect the
      reliability of the device. Schiller TT; DX-4903 at -885 (quoting Steve Jobs, “[w]e define
      everything that is on the phone,” he said. “You don’t want your phone to be like a PC. The
      last thing you want is to have loaded three apps on your phone and then you go to make a
      call and it doesn’t work anymore. These are more like iPods than they are like
      computers.”). The second was to provide device security and protect users from malicious
      software. Schiller TT; DX-4498 (“I think sometime later this year we will find a way to
      let third parties write apps and still preserve security. But until we can find that way, we
      can’t compromise the security of the phone.”).

38.   Accordingly, on October 17, 2007, Apple announced that it would create and license a
      software development kit (“SDK”) for third-party developers. DX-4566; Schiller TT.

39.   In the open letter announcing that Apple would release an iOS SDK, Apple explained:

             It will take until February to release an SDK because we’re trying to do two
             diametrically opposed things at once—provide an advanced and open
             platform to developers while at the same time protect iPhone users from
             viruses, malware, privacy attacks, etc. This is no easy task. Some claim that
             viruses and malware are not a problem on mobile phones—this is simply
             not true. There have been serious viruses on other mobile phones already,
             including some that silently spread from phone to phone over the cell
             network. As our phones become more powerful, these malicious programs
             will become more dangerous. And since the iPhone is the most advanced
             phone ever, it will be a highly visible target.

             Some companies are already taking action. Nokia, for example, is not
             allowing any applications to be loaded onto some of their newest phones
             unless they have a digital signature that can be traced back to a known
             developer. While this makes such a phone less than “totally open,” we
             believe it is a step in the right direction. We are working on an advanced
             system which will offer developers broad access to natively program the




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             iPhone’s amazing software platform while at the same time protecting users
             from malicious programs.

             We think a few months of patience now will be rewarded by many years of
             great third party applications running on safe and reliable iPhones.

      DX-4566; Schiller TT. Those few months of patience were and continue to be rewarded
      billions of times over across the next many years.

D.    Apple spends months creating an SDK for developers that permits access to Apple’s
      valuable intellectual property.

40.   iOS is proprietary to Apple, and only available on Apple devices. Schiller TT. In order to
      enable third parties to build apps for iOS, Apple had to take affirmative steps to build tools,
      kits, and interfaces that would allow third parties to develop software that works on Apple’s
      proprietary operating system. Schiller TT.

41.   To do this, Apple invested substantial resources in creating a state-of-the-art SDK for
      developers so that they could use Apple’s intellectual property in order to develop software
      that runs on iOS. Schiller TT.

      41.1   “The attention to detail for the SDK [was] unbelievable,” and Apple “worked
             tirelessly literally going through a single API call for 10 iterations to make sure
             every single one is perfect.” DX-3177, at -085; Federighi TT; Schiller TT.

      41.2   The term “APIs” refers to application programming interfaces. Federighi TT. APIs
             are technical tools that simplify and accelerate the development process of apps.
             Federighi TT. These pre-built resources make it easier and faster for developers to
             enhance the user experience in their apps—improving the overall quality of apps
             and reducing development costs. Federighi TT. APIs provide meaningful benefits
             to all developers and are particularly valuable to small- and medium-sized
             developers. Federighi TT.

      41.3   Apple has long protected its SDK, its APIs, its documentation, and the other tools
             necessary for building software that runs on iOS with patents, copyrights, and other
             intellectual property rights. Malackowski TT; see also infra § V.

42.   The first SDK was released on March 6, 2008. DX-3177, at -076. The release of the SDK
      meant that third party developers could build native iPhone applications using the same
      SDK as Apple. DX-3177, at -062.

43.   The original SDK gave developers access to various functions and services of iOS devices.
      Federighi TT. As described further below, developers would be able to use APIs that
      offered features like location awareness functionality, media applications, and video
      playback. DX-3177 at -062–63. Apple said at the time: “There are a lot of pieces that
      make up an SDK but the most important piece is the set of APIs, it’s the platform. That
      suits [Apple] well because Apple is a platform company.” Id.-at -062; Federighi TT.



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44.   In addition to including frameworks and APIs, Apple made available “a comprehensive set
      of tools to help developers quickly build, debug and optimize their applications.” DX-
      3177 at -064; Federighi TT. These included Xcode, Project Management, Interface
      Builder, Next Instruments as well as the iPhone Simulator. DX-3177 at -064–65; Federighi
      TT. As discussed further below, many of these tools, like iOS itself, are protected by
      patents, copyrights, and trademarks. See infra § V.

45.   At launch, Apple emphasized that the SDK would be a “fantastic platform for creating
      games” to be released on the App Store. DX-3177 at -074; Federighi TT. For example,
      Apple touted the built-in accelerometer. DX-3177 at -063–064. An EA Mobile
      representative explained how the accelerometer allowed for motion-based game play
      features and could be used in conjunction with touch-screen capability to create new types
      of mobile games. Id. at -068–69.

E.    Apple describes the mechanics and business terms of the App Store.

46.   After unveiling the SDK details at the product launch, Apple described its vision for a
      curated App Store. DX-3177 at -074.

      46.1   Apple indicated that it had solved app distribution for every developer, “big to
             small,” through the “App Store,” an application written to deliver apps to the iPhone
             and that would be preinstalled on the iPhone. DX-3177 at -074; Schiller TT.

      46.2   Apple explained: “So you are a developer and you’ve just spent two weeks or
             maybe a little bit longer writing this amazing app and what is your dream? Your
             dream is to get it in front of every iPhone user and hopefully they love it and buy
             it, right? That’s not possible today. Most developers don’t have those kinds of
             resources. Even the big developers would have a hard time getting their app in
             front of every iPhone user. Well, we are going to solve that problem for every
             developer, big to small, and the way we are going to do it is what we call the ‘App
             Store.’ This is an application we’ve written to deliver apps to the iPhone and we
             are going to put it on every single iPhone with the next release of the software. And
             so our developers are going to be able to reach every iPhone user through the App
             Store. This is the way we are going to distribute apps to the iPhone.” DX-3177 at
             -074.

47.   Software updates would be made available to consumers immediately, for free. DX-3177
      at -075–76; Schiller TT. And the App Store was designed to automatically tell consumers
      when there are software updates available and if they want the update they “tap the Update
      button and [the] app will be replaced by the updated version…over the air, all
      automatically.” DX-3177 at -075; Schiller TT.

48.   The core App Store business terms—many of which remain in place today—were outlined
      during the SDK launch. DX-3177.

      48.1   In order to gain access to more advanced APIs, beta software, and additional
             services, including those needed to distribute through the App Store, developers
             were required to join the Developer Program. DX-3177 at -076; Schiller TT. When


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       announced, the terms of this program, including the $99 annual fee, were greeted
       with enthusiasm by developers. DX-3177 at -076; Schiller TT.

48.2   Apple decided that “the developer picks the price” for apps. DX-3177 at -075.

48.3   Apple supported free pricing from the outset. Apple recognized even before the
       App Store opened that a lot of developers would pick the price of “free.” DX-3177
       at -075. “So when a developer wants to distribute their app for free, there is no
       charge for free apps at all.” Id. “There’s no charge to the user and there’s no charge
       to the developer.” Id. That includes apps that monetize through an advertising
       model; no matter how much ad revenue a developer earns, they pay Apple nothing.
       Schiller TT. To both Apple and the developers’ benefit, this business model was
       designed “to get as many apps out in front of as many iPhone users as possible.”
       DX-3177 at -075; Schiller TT; Rubinfeld TT.

48.4   The App Store was thus designed to serve “two big important classes” of
       developers: The “free” developer, who wants to distribute apps for free, and those
       who want to charge for their apps. DX-3177 at -081; Schiller TT. For the latter
       group, Apple had proven to developers “what a great revenue model it [could] drive
       in iTunes.” DX-3177 at -082. But at the same time, “[f]ree apps d[id] just as well
       as paid apps sometimes,” DX-5315 at -241 often generating significant revenue
       for developers through various monetization models like the use of in-app
       advertising. Schiller TT. “We love free apps,” Steve Jobs said. DX-5315 at -353–
       54.

48.5   When Apple sells the app through the App Store “the developer gets 70% of the
       revenue[]”—“[t]here are no credit card fees for the developer,” “[t]here are no
       hosting fees,” “[t]here’s no marketing fees.” DX-3177 at -075.

48.6   As Mr. Jobs said, “[t]his [was] the best deal going to distribute applications to
       mobile platforms.” DX-3177 at -075. As discussed in more detail below, the
       commercial terms were significantly more favorable for distributors than prior
       models: Other platforms “d[id] a lot less than we do” and charged at least as much
       as Apple, Mr. Jobs explained. DX-3731 at 10; see also infra VI.

48.7   Apple envisioned the App Store as “the exclusive way to distribute iPhone
       applications directly to every iPhone user.” DX-3177 at -75. And it announced
       that some apps would be off limits—porn, malicious apps, “unforeseen” apps, apps
       that invaded one’s privacy, illegal apps, and even “bandwidth hog[s]”:




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           sell a generic e-book application and have a bookstore built into the app.
           I’m happy to say that we are supporting all of these additional purchase
           models in iPhone 3.0 and we are doing it with what we call ‘in-app
           purchase.’
      DX-4192 at -006.

53.   In September 2009, Apple introduced in-app purchase (IAP) functionality. Schiller TT.
      Although IAP originally was available only for purchasing in-app content in paid apps,
      DX-4192 at -007, Apple expanded IAP to free apps in October 2009. Schiller TT.

54.   IAP was never intended to facilitate the sale of physical goods; rather, the goal of IAP “was
      to make it easier for developers to sell digital goods” on iOS, through the App Store.
      Forstall depo. at 252:21–53:11. Apple made clear to developers that its standard
      commission would apply to such sales. Schiller TT.

55.   IAP is a commerce functionality integrated within iOS that runs on a different set of APIs
      than the APIs used for paid apps and performs several functions at once. Gray TT. IAP
      first identifies the customer and the preferred payment method (such as PayPal or a credit
      card), then accumulates transactions and, when the total reaches a pre-specified limit, it
      contacts its third-party payment processors to process the combined payment. Gray TT.
      Next, the IAP system conducts fraud-related checks. Gray TT. After that, the payment is
      processed. Gray TT. The IAP system does not perform the payment processing itself.
      Gray TT. Rather, it outsources that function to a third-party payment processor, such as
      Chase for the U.S. storefront. Gray TT. These synchronized functions facilitate
      simultaneous transactions in which digital goods are delivered, payment is transferred, and
      Apple’s commission is collected. Gray TT.

56.   IAP is the App Store’s secure and centralized system used to record sales, manage
      payments to developers, and collect commissions from developers that utilize the App
      Store. Gray TT; Schiller TT.

57.   Apple’s IAP system also provides or facilitates other user-friendly features. Gray TT.
      Because of IAP, users can view their purchase histories, store their payment information,
      reinstall previously purchased apps. Gray TT. IAP also enables features like Family
      Sharing, which permits access to subscriptions across Apple devices owned by family
      members. Gray TT. IAP also includes global parental controls that help prevent children
      from making purchases without parents’ knowledge. Gray TT.

58.   Creating such an integrated system was a substantial undertaking. Gray TT. While the
      investment was significant, IAP provided benefits to Apple, developers, and users alike.
      Gray TT.

59.   Apple did not sell or charge developers to use IAP. Schiller TT. Instead, the IAP system
      created an efficient mechanism through which the company could collect its commission.
      Gray TT. Without IAP, Apple would have enormous difficulty in identifying the
      commissions to which it is entitled, and incur substantial costs in collecting the




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       commissions from each developer. Gray TT. Apple also benefitted because IAP made the
       platform more attractive to both developers and users. Schmalensee TT.

60.    For developers, IAP opened up new monetization options for both developers and
       consumers. For example, it allowed “developers to offer subscription content and provide
       the ability to sell new content and features in a simple and secure process.” Gray TT.

61.    IAP also reduced frictions. Before IAP, developers would commonly offer both free and
       premium versions of their apps. Schiller TT; Gray TT. The idea was that if consumers
       liked the free version, they would pay for the premium version. Schiller TT. But this was
       inconvenient for consumers and created friction for developers trying to sell their products.
       Schiller TT; Gray TT. IAP helped address this: Developers now could produce a single
       app with multiple enhancements that could be unlocked through in-app purchases. Schiller
       TT; Gray TT.

62.    IAP also unlocked the “freemium” model (among others) whereby developers could
       release apps for free and charge customers within the app for extra content. Schiller TT;
       Schmalensee TT. This model became particularly popular, allowing developers to
       dramatically increase the revenue they generated on the App Store. DX-3734 at -153.

63.    From the inception of IAP, IAP has always been a tool in the developer’s tool kit to
       facilitate in-app transactions, and not a separate product. Gray TT; see also infra § IV.C
       & XXIV. There is no additional fee to the developers for including IAP within their apps.
       Gray TT. IAP is also not a payment processor. Gray TT.

 IV.     PRIVACY, SECURITY, DEVICE INTEGRITY, AND OVERALL CUSTOMER
                                 EXPERIENCE

A.     In opening up the iPhone to third-party applications, Apple sought to protect
       consumers and prioritize their experience.

64.    Apple explained that in creating the App Store it took steps to make sure the applications
       “are going to be secure and don’t violate user privacy” and that this was a big concern.
       DX-3177 at -079.

65.    Apple “tried to strike a really good path”: “On one side you’ve got a closed device like the
       iPod, which always works. You pick it up, it always works because you don’t have to
       worry about third party apps mucking it up. And on the other side you’ve got a Windows
       PC where people spend a lot of time every day just getting it back up to where it’s usable
       and we want to take the best of both. We want to take the reliability and dependability of
       that iPod and we want to take the ability to run third party apps from the PC world but
       without the malicious applications.” DX-3177 at -079.

66.    Ensuring the stability of the device was also of critical importance to Apple. Schiller TT;
       Federighi TT. The iPhone is a phone first and foremost; that is the killer app for the phone.
       Schiller TT. When consumers buy an iPhone, it should always be able to make and receive
       phone calls. Schiller TT.



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67.   As Steve Jobs explained in an interview, “I think sometime later this year [in 2008] we will
      find a way to let third parties write apps and still preserve security. But until we can find
      that way, we can’t compromise the security of the phone. Nobody’s perfect, but we sure
      don’t want our phone to crash. We would like to solve this problem, if you could be just a
      little more patient with us, I think everyone can get what they want.” DX-4498. “The last
      thing you want is to have loaded three apps on your phone and then you go to make a call
      and it doesn’t work anymore.” DX-4903 at -885.

B.    To achieve these goals, iOS architecture intentionally diverged from the macOS
      architecture in material ways.

68.   Apple recognized that an iPhone was different than both Macs and iPods—it was a new
      device with a new set of demands and challenges. Federighi TT; Schiller TT. Unlike a
      Mac or iPod, the iPhone was a phone that individuals would carry around and need to use
      as a phone. Schiller TT; Cook TT. The iPhone would also contain highly sensitive
      personal information—often more sensitive than that stored on a typical computer.
      Federighi TT; Rubin TT. This includes financial information, health information, and
      physical location information. Federighi TT. Consumers have low tolerance for slow
      smartphone device time and functionality disruptions. Schiller TT. Moreover, a phone
      can be one’s lifeline in an emergency situation during which a crash or other performance
      issue could have disastrous results. Schiller TT; Cook TT. And its size and portability
      also means that a phone may be misplaced or stolen, which creates an additional security
      risk profile. Federighi TT. The iPhone therefore had to be more secure and more reliable
      than PCs were at the time. Schiller TT.

69.   Security concerns were particularly salient when the iPhone was launched: The Internet’s
      growth had led to a proliferation of viruses and malware that were bogging down the speed
      and performance of computers. Schiller TT.

70.   Apple therefore viewed the development of iOS as an opportunity to improve on the
      operating system for its Macintosh line of personal computers, what became known as
      macOS. Federighi TT. The macOS architecture originally had been designed before the
      advent of the Internet. As a result, the iOS architecture was informed by decades of
      experience with macOS in the desktop and laptop environment but improved and altered
      aspects of the macOS architecture to protect the iPhone and consumers. Federighi TT. The
      iOS architecture also was designed with some of the constraints of mobile devices in mind,
      including more limited processing power and storage space relative to personal computers.
      Schiller TT; Federighi TT.

71.   “Apple designed the iOS platform with security at its core.” DX-3561 at -311. Apple
      “drew from decades of experience to build an entirely new architecture,” “thought about
      the security hazards of the desktop environment, and established a new approach to security
      in the design of iOS.” Id. Apple “developed and incorporated innovative features that
      tighten mobile security and protect the entire system by default.” Id. “As a result, iOS is
      a major leap forward in security for mobile devices.” Id.




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72.   Apple made certain design decisions for iOS that differed from macOS. Significantly for
      the purposes of this case, iOS contained technical restrictions to deter the installation of
      software from external third-party sources—what has since become known as
      sideloading—even though, in light of entrenched consumer and developer expectations,
      one could do so on macOS. Cook TT; Federighi TT. Because there was even more
      personal and other information implicating privacy and safety concerns on iPhones than on
      PCs, such as health or location information, and because iPhone users will carry the phone
      around with them and expect it to work on demand, Apple wanted to ensure that iOS
      devices were more protected from those malware and instability issues and quality issues
      that the PC world was used to. Schiller TT.

73.   “Sideloading” for iOS would create unacceptable vulnerabilities from Apple’s perspective.

      73.1   Opening the platform would have risked exposing it to viruses and malware, and
             Apple’s “security approach” for the first iPhone “was not to enable native compiled
             third party apps to install and run on the iPhone.” Forstall depo. at 66:4-10.

      73.2   Apple had many discussions about the risk to users of downloading software
             outside of the App Store, and was aware that malware on other devices was far in
             excess of that on iOS. Schiller TT. That knowledge informed how Apple designed
             the App Store. Schiller TT.

74.   Apple also built into iOS several features that improved security, reliability and stability
      for the device and consumer prior to introducing the App Store. Federighi TT; see also
      DX-3177 at -080 (“Technically we are putting a number of different things in place from
      sandboxing to other technical things you want to do to protect applications and the system.
      . . .).

      74.1   One feature was app code signing, which requires the code for every iOS app to be
             signed using the private key associated with a certificate obtained from Apple.
             Federighi TT; Rubin TT; DX-3561 at -325. This prevents untrusted apps, which
             could be potentially malicious, from running on an iOS device. Federighi TT;
             Rubin TT. This contrasts with systems such as Android, which do not require
             certificates to be obtained from a principal authority. Rubin TT.

      74.2   Another feature was sandboxing. Federighi TT; Rubin TT; DX-3561 at -326.
             Sandboxing isolates third-party apps from critical system resources on the device
             as well as from other apps. Federighi TT; Rubin TT. This prevents a third-party
             app from making changes to the device and from accessing files stored by other
             apps unless granted permission by the user. Federighi TT; Rubin TT. Similarly,
             system files and resources are shielded from users’ apps. DX-3561 at -326.
             Unnecessary tools, such as remote login services, are not included in the system
             software. Id. Thus, sandboxing not only makes the user’s experience more secure
             and stable but also benefits developers by protecting their apps from interference
             or infection from another app. Federighi TT.




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84.   In other words, Apple made a significant investment in an IAP system with robust security.
      Gray TT. And Apple continues to invest in and improve that system today. Gray TT.
      Moreover, the specific details of IAP’s internal APIs are not available to third parties—
      ensuring that Apple’s proprietary security mechanisms are not exposed to the general
      public. Gray TT.

85.   In addition, IAP fraud protection is enhanced by the very fact that it is a centralized system
      for the entire iOS ecosystem. Gray TT; Rubin TT. That is because fraud detection
      techniques become more effective as more data points become available, Rubin TT, and,
      by centralizing all purchases of digital goods and services, IAP has a large number of data
      points to analyze and continuously improve the efficacy of its algorithms. Id.; Gray TT.

86.   Such robust protections are important in light of the various types of payment fraud that
      consumers might commit, including a hostile takeover of a credit card number, using one’s
      own credit card with no intention of paying, or reporting a purchase as unauthorized when
      in fact the purchase was legitimate. Gray TT.

87.   IAP also provides important privacy benefits. Gray TT. Breach of a third-party payment
      system would potentially expose private data, including financial information and
      personally identifiable information (“PII”), to attackers. Gray TT; Rubin TT. Using IAP,
      Apple can apply its advanced and tested security protections to ensure that its customers’
      private information is safeguarded. Gray TT; Rubin TT. IAP also avoids the need for each
      developer to take and store a user’s financial information. Gray TT.

 V.    APPLE’S VALUABLE INTELLECTUAL PROPERTY IS AT THE HEART OF
                  IOS APP DEVELOPMENT AND DISTRIBUTION

88.   Innovation is the cornerstone of Apple’s business and the company prides itself on the
      commitment to “think different,” inventing products and services unlike anything on the
      market. Cook TT; Malackowski TT. Apple’s intellectual property is of enormous
      significance to the company. Some third party analyses estimate that it comprises over
      60% of Apple’s business enterprise value. Malackowski TT.

89.   The iOS ecosystem, including the App Store, is made possible by, and comprised of,
      Apple’s intellectual property, and without the use of that intellectual property, it would not
      be possible to build an app for iOS. Cook TT; Schiller TT.

      89.1   Apple has invested substantially in protecting its intellectual property rights in its
             iOS ecosystem. Malackowski TT. Apple holds approximately 1,237 U.S. patents,
             and an additional 559 patent applications, related to iOS. Malackowski TT. Apple
             also holds 165 U.S. patents and 91 U.S. patent applications related to the App Store.
             Malackowski TT. Apple holds hundreds of U.S. patents and patent applications
             related to app distribution and development, including comprehensive app
             developer tools, frameworks and related services directed towards the infrastructure
             of iOS apps and their use of data and web content, advanced user interactions and
             features, in-app purchase functionality, and security and privacy innovations that
             are designed into iOS and iPhone hardware and software. Malackowski TT.



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      89.2   Apple also protects its original content with copyright protection, holding hundreds
             of iOS-specific copyrights. Malackowski TT. And it also has secured trademark
             protection related to the App Store and several software tools used by app
             developers. Malackowski TT; DX-3229.

      89.3   Apple has provided app developers, including Epic, access to many aspects of its
             intellectual property for distributing apps and conducting in-app purchases.
             Schiller TT; Malackowski TT. For example, Epic has used Apple’s software tools
             and APIs, including their functions and libraries as well as tool chains, software
             compiler, and software linker. Grant TT. Apple permitted Epic to use Apple
             Business Manager, Ad Hoc (which allowed a limited number of users to install
             Epic’s apps directly on their Apple devices for testing and internal distribution),
             Developer ID (which allowed Epic to distribute its Mac apps), plug-ins, and
             installer packages outside of the Mac App Store by signing them with a Developer
             ID certificate and having them notarized by Apple. Schmid TT. Apple also gave
             Epic with access to Developer Events, which provides developers with technical
             details and guidance from Apple experts, Technical Support, Developer Forums,
             and Membership Support. Schmid TT.

      89.4   Apple vigorously protects and enforces its intellectual property. It has filed
             multiple patent, copyright, and trademark lawsuits around the world. Malackowski
             TT. It has provided testimony to the Copyright Office about its commitment to
             protecting its copyrights. Malackowski TT. And it has invested in identifying and
             eliminating leaks of its intellectual property, resulting in the arrest of 12 individuals
             in 2017 for leaking proprietary information. Malackowski TT.

90.   Unlike many other large companies, such as Google or Microsoft, Apple does not license
      iOS to original equipment manufacturers. Schiller TT; Malackowski TT. iOS is only
      available on devices made by Apple. Schiller TT; Malackowski TT. It is not sold or made
      available separately. Schiller TT.

91.   Apple has chosen to reserve and exercise its right to exclusively use some of its other
      intellectual property for the design and production of its own products. Malackowski TT.
      As Epic’s employees concede, developers, including Epic, have no right to use Apple’s
      proprietary software, tools, or services without being granted those rights pursuant to a
      license agreement. Penwarden depo. at 46:15–48:11; DX-3669 at 7–9.

92.   At the same time, Apple has chosen to allow use of certain intellectual property (including
      access to iOS itself) pursuant to license agreements. Schiller TT; Federighi TT. All iOS
      users agree to the iOS and iPadOS Software License Agreement. DX-4905. This
      agreement reinforces Apple’s protection of its intellectual property, providing that Apple’s
      “software . . . are licensed, not sold, to you” and that “Apple and its licensors retain
      ownership of the Apple Software itself.” Id. at -049. This user license does not permit
      users to use Apple’s intellectual property to develop applications, which is covered by
      separate agreements. Schiller TT; DX-4905 at -050.




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      VI.      IN EXCHANGE FOR USING APPLE’S INTELLECTUAL PROPERTY TO
                  DEVELOP AND DISTRIBUTE APPS THROUGH THE APP STORE,
                DEVELOPERS MUST ABIDE BY THE TERMS OF APPLE’S LICENSE
                                     AGREEMENTS

A.          To develop apps for iOS, developers agree to abide by the terms of the Developer
            Agreement.

93.         Today, “[t]here are many ways to monetize [an] app on the App Store.” DX-3695 at -093.
            As Apple has explained to developers, there are at least five business models developers
            can use to make money on their apps: the free, freemium, subscription, paid, and paymium
            models. DX-4614. Under the “paid model,” for instance, a developer may charge a price
            for the user to download the app. Schiller TT. A developer may instead choose the
            “freemium model,” allowing users to download an app for free but permitting in-app
            purchases—the primary model Epic uses for Fortnite. Schiller TT. Or a developer can
            offer subscriptions to users (for sale in the app, through a different platform, or online);
            can sell users digital currencies that can be used in the app (for sale in the app, through a
            different platform, or online); can sell advertisements in the app; or can charge for in-app
            promotions and events. Schiller TT. Developers also may hybridize these models, mixing
            and matching them as they choose. Schiller TT.

94.         No matter the business model a developer wants to use, the first step for developing an app
            using Apple’s intellectual property is agreeing to the Apple Developer Agreement. Schiller
            TT; DX-4125. The terms of this agreement are standardized and not negotiated. Schiller
            TT. A developer cannot enter into any other agreement with Apple, such as the Developer
            Program License Agreement, until it first executes the Developer Agreement and remains
            a party to the Developer Agreement. Schiller TT.

95.         The Developer Agreement governs certain foundational elements of the relationship
            between Apple and a developer, such as confidentiality and protection of Apple’s
            intellectual property rights. Schiller TT; DX-4125 at -258.

96.         By signing the agreement, developers gain access to certain proprietary app development
            tools that Apple designed to help developers learn how to develop apps for Apple platforms
            for free. Schiller TT. This includes Xcode, an integrated development environment that
            assists developers in designing, developing, and debugging software for macOS, iOS,
            iPadOS, watchOS, and tvOS. Schiller TT; Malackowski TT.

97.         The agreement also provides that developers “may have the opportunity to attend certain
            Apple developer conferences, technical talks, and other events.” DX-4125 at -258.
            Similarly, developers “may have access to Apple’s software and/or hardware compatibility
            testing and development labs and/or developer technical support incidents.” Id. at -260
            (internal parenthetical omitted).

98.         Developers pay nothing to Apple for access to these tools and services. Schiller TT. They
            do, however, agree to abide by certain restrictions in using Apple’s intellectual property.
            DX-4125 at -258. As set forth in Section 3 of the Developer Agreement:



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              You agree not to exploit the Site, or any Services, Apple Events or Content
              provided to you by Apple as an Apple Developer, in any unauthorized way,
              including but not limited to, by trespass, burdening network capacity or using the
              Services, Site or Content other than for authorized purposes. Copyright and other
              intellectual property laws protect the Site and Content provided to you, and you
              agree to abide by and maintain all notices, license information, and restrictions
              contained therein. Unless expressly permitted herein or otherwise permitted in a
              separate agreement with Apple, you may not modify, publish, network, rent, lease,
              loan, transmit, sell, participate in the transfer or sale of, reproduce, create derivative
              works based on, redistribute, perform, display, or in any way exploit any of the Site,
              Content or Services. You may not decompile, reverse engineer, disassemble, or
              attempt to derive the source code of any software or security components of the
              Services, Site, or Content (except as and only to the extent any foregoing restriction
              is prohibited by applicable law or to the extent as may be permitted by any licensing
              terms accompanying the foregoing). Use of the Site, Content or Services to violate,
              tamper with, or circumvent the security of any computer network, software,
              passwords, encryption codes, technological protection measures, or to otherwise
              engage in any kind of illegal activity, or to enable others to do so, is expressly
              prohibited. Apple retains ownership of all its rights in the Site, Content, Apple
              Events and Services, and except as expressly set forth herein, no other rights or
              licenses are granted or to be implied under any Apple intellectual property.
       Id.

99.    Under the Developer Agreement, “Apple may change, suspend or discontinue providing
       the Services, Site and Content to you at any time, and may impose limits on certain features
       and materials offered or restrict your access to parts or all of such materials without notice
       or liability.” DX-4125 at -258 (Section 2). Apple also “may terminate or suspend [a
       developer] as a registered Apple Developer at any time in Apple’s sole discretion,” and, if
       it does so, Apple also “reserves the right to deny your reapplication at any time in Apple’s
       sole discretion.” Id. at -261 (Section 10). By the same token, a developer “may terminate
       your participation as a registered Apple Developer at any time, for any reason, by notifying
       Apple in writing of your intent to do so.” Id. “Upon any termination or, at Apple’s
       discretion, suspension, all rights and licenses granted to you by Apple will cease, including
       your right to access the Site, and you agree to destroy any and all Apple Confidential
       Information that is in your possession or control.” Id.

100.   There are over 27 million registered iOS developers who have agreed to abide by the
       Developer Agreement. Schiller TT.

B.     To distribute iOS apps, developers must sign the Developer Program License
       Agreement.

101.   To distribute apps using Apple Software, developers must sign the Developer Program
       License Agreement (“DPLA”) and pay a $99 annual fee. Schiller TT; DX-3900.
       Developers also must provide valid debit/credit card information; provide a valid name,
       address, and telephone number; and, in some instances, provide a government-issued photo
       identification. Schiller TT; Rubin TT. For developers employed by an organization, Apple


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       has additional verification steps that include conducting checks for the organization’s legal
       entity names and D-U-N-S number, among other things. Schiller TT; Rubin TT.

102.   The DPLA’s terms are standardized and not negotiated. Schiller TT.

103.   The DPLA states: “You would like to use the Apple Software (as defined below) to develop
       one or more Applications (as defined below) for Apple-branded products. Apple is
       willing to grant You a limited license to use the Apple Software and Services provided to
       You under this Program to develop and test Your Applications on the terms and
       conditions set forth in this Agreement.” DX-3900 at -264 (emphasis added).

104.   The benefits of signing the DPLA are significant. It allows developers to use Apple’s
       proprietary software “to develop one or more Applications for Apple-branded products.”
       DX-3900 at -264 (internal parenthetical omitted). And members of the Apple Developer
       Program gain access to “Apple Software” and “Apple Services”—a vast suite of software
       and services (over which Apple still retains all legal “rights, title and interest”). Id. at -
       265–66, -274; Schiller TT.

       104.1 In addition to using Apple’s Xcode, Apple Developer Program members may
             access Apple’s proprietary software for advanced app development. DX-4623 at -
             272; Schiller TT. First and foremost, this includes Apple’s SDK, a suite of
             development tools that Apple improves upon with each new iOS version. Schiller
             TT.

       104.2 Developers also gain access to many other powerful, proprietary tools. Schiller TT.
             These currently include Metal Developer Tools, Reality Composer 1.5 beta, Apple
             Configurator 2.13 beta, Schoolwork 2.1 beta. Schiller TT; DX-4623 at -265–66.
             They also include over 150,000 APIs, such as TestFlight, as well as header files,
             libraries, simulators, and samle source code utilizing such APIs, among other
             things. Schiller TT. Indeed, Apple has created an API or other tool—and made
             them available through the Developer Program—for virtually every task a
             developer might wish to implement with software or hardware. Schiller TT;
             Malackowski TT; infra § XI.B–D (detailing the multitude of benefits Epic has
             received from Apple during the course of their relationship)).

       104.3 Another benefit to the developer program is access to beta or pre-release versions
             of iOS and other Apple software. Schiller TT. So while iOS 14.4 was the then-
             available iOS version in February 2021, for example, members of the Apple
             Developer Program already had access to the iOS 14.5 beta at that time. Schiller
             TT; Federighi TT; Malackowski TT.

       104.4 Apple also offers many services to members of the developer program. Schiller
             TT. It gives free business and technical reviews to registered developers, for
             example. Schiller TT. Apple also provides developers with sales and trends reports
             and assists them in deciding whether and which international markets to enter.
             Schiller TT; DX-3513 at -374.




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       104.5 Developers also can join the vibrant developer community Apple has built around
             events like WWDC. Schiller TT. Apple invites certain developers to showcase
             their products—an opportunity given to Epic on multiple occasions. Rein depo. at
             49:16–21; Penwarden depo. at 121:12–123:4; DX-3963; DX-3123; DX-3630. Epic
             has also benefited from Apple’s consultation opportunities. Grant TT.

105.   Signing the DPLA is a necessary prerequisite to distributing apps through (1) the App
       Store; (2) on a limited basis through certain specialty storefronts (called “Custom App
       Distribution”); (3) on a limited basis for use on registered devices (called “ad hoc”
       distribution); or (4) for beta testing through TestFlight. DX-3900 at -264, -267, -278, -299.
       (Apple’s Developer Enterprise Program, another mechanism through which certain
       companies can develop and distribute apps for their employees, is governed by a separate
       agreement. Schiller TT.)

106.   In exchange for access to Apple’s intellectual property, developers agree in the DPLA to
       abide by several commitments, which have been tailored over time. Schiller TT.

       106.1 In Section 3.1 of the current DPLA, developers “certify to Apple and agree that,”
             among other things, they “will comply with the terms of and fulfill [their]
             obligations under this Agreement, including obtaining any required consents for
             [their] Authorized Developers’ use of the Apple Software and Services, and
             [developers] agree to monitor and be fully responsible for all such use by [their]
             Authorized Developers and their compliance with the terms of this Agreement.”
             DX-3900 at -277.

       106.2 In Section 3.2 of the DPLA, developers agree, among other things, that (1) they
             “will use the Apple Software and any services only for the purposes and in the
             manner expressly permitted by this Agreement and in accordance with all
             applicable laws and regulations,” (2) their “Application, Library and/or Pass will
             be developed in compliance with the Documentation and the Program
             Requirements” set forth in Section 3.3 of the DPLA, (3) their app “do[es] not and
             will not violate, misappropriate, or infringe any Apple or third party copyrights,
             trademarks, rights of privacy and publicity, trade secrets, patents, or other
             proprietary or legal rights,” (4) they “will not, through use of the Apple Software,
             Apple Certificates, Apple Services or otherwise, create any Covered Product or
             other code or program that would disable, hack or otherwise interfere with the
             Security Solution, or any security, digital signing, digital rights management,
             verification or authentication mechanisms implemented in or by iOS, watchOS,
             iPadOS, tvOS, the Apple Software, or any Services, or other Apple software or
             technology, or enable others to do so (except to the extent expressly permitted by
             Apple in writing),” and (5) they “will not, directly or indirectly, commit any act
             intended to interfere with the Apple Software or Services, the intent of this
             Agreement, or Apple’s business practices including, but not limited to, taking
             actions that may hinder the performance or intended use of the App Store, Custom
             App Distribution, or the Program.” DX-3900 at -278.




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106.3 Section 3.2 of the DPLA further states: “Applications for iOS Products, Apple
      Watch, or Apple TV developed using the Apple Software may be distributed only
      if selected by Apple (in its sole discretion) for distribution via the App Store,
      Custom App Distribution, for beta distribution through TestFlight, or through Ad
      Hoc distribution as contemplated in this Agreement.” DX-3900 at -278.

106.4 In Section 3.3 of the DPLA, developers agree that “[a]ny Application that will be
      submitted to the App Store . . . must be developed in compliance with the
      Documentation and the Program Requirements.” DX-3900 at -278. Among these
      requirements, sections 3.3.2 and 3.3.3 provide:

              3.3.2 Except as set forth in the next paragraph, an Application may not
              download or install executable code. Interpreted code may be downloaded
              to an Application but only so long as such code: (a) does not change the
              primary purpose of the Application by providing features or functionality
              that are inconsistent with the intended and advertised purpose of the
              Application as submitted to the App Store, (b) does not create a store or
              storefront for other code or applications, and (c) does not bypass signing,
              sandbox, or other security features of the OS.

              An Application that is a programming environment intended for use in
              learning how to program may download and run executable code so long as
              the following requirements are met: (i) no more than 80 percent of the
              Application’s viewing area or screen may be taken over with executable
              code, except as otherwise permitted in the Documentation, (ii) the
              Application must present a reasonably conspicuous indicator to the user
              within the Application to indicate that the user is in a programming
              environment, (iii) the Application must not create a store or storefront for
              other code or applications, and (iv) the source code provided by the
              Application must be completely viewable and editable by the user (e.g., no
              pre-compiled libraries or frameworks may be included with the code
              downloaded).

              3.3.3 Without Apple’s prior written approval or as permitted under Section
              3.3.25 (In-App Purchase API), an Application may not provide, unlock or
              enable additional features or functionality through distribution mechanisms
              other than the App Store, Custom App Distribution or TestFlight.

       DX-3900 at -279. As the DPLA explains, “‘In-App Purchase API’ means the
       Documented API that enables additional content, functionality or services to be
       delivered or made available for use within an Application with or without an
       additional fee.” Id. at -268.

106.5 Finally, developers agree that “[a]ll use of the In-App Purchase API and related
      services must be in accordance with the terms of this Agreement (including the
      Program Requirements) and Attachment 2 (Additional Terms for Use of the In-App
      Purchase API).” DX-3900 at -283. Apple’s IAP APIs must be used only for certain


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              in-app purchases (for example, it does not apply to purchases of physical goods).
              Schiller TT; DX-3695 at -096 (Section 3.1.5(a).

       106.6 The terms of Attachment 2 specify that a developer “must submit to Apple for
             review and approval all content, functionality, or services that [the developer] plan
             to provide through the use of the In-App Purchase API in accordance with these
             terms and the processes set forth in Section 6 (Application Submission and
             Selection) of the Agreement.” DX-3900 at -313. “For all submissions, You must
             provide the name, text description, price, unique identifier number, and other
             information that Apple reasonably requests.” Id. “If [a developer] would like to
             provide additional content, functionality or services through the In-App Purchase
             API that are not described in [the] Submission Description, then [the developer
             must first submit a new or updated Submission Description for review and approval
             by Apple prior to making such items available through the use of the In-App
             Purchase API.” Id.

107.   Section 6.1 of the DPLA governs the submission to Apple for distribution through the App
       Store. DX-3900 at -295. It provides:

              You may submit Your Application for consideration by Apple for distribution via
              the App Store or Custom App Distribution once You decide that Your Application
              has been adequately tested and is complete. By submitting Your Application, You
              represent and warrant that Your Application complies with the Documentation and
              Program Requirements then in effect as well as with any additional guidelines that
              Apple may post on the Program web portal or in App Store Connect. You further
              agree that You will not attempt to hide, misrepresent or obscure any features,
              content, services or functionality in Your submitted Applications from Apple's
              review or otherwise hinder Apple from being able to fully review such
              Applications. . . . You agree to cooperate with Apple in this submission process and
              to answer questions and provide information and materials reasonably requested by
              Apple regarding Your submitted Application, including insurance information You
              may have relating to Your Application, the operation of Your business, or Your
              obligations under this Agreement. . . . If You make any changes to an Application
              (including to any functionality made available through use of the In-App Purchase
              API) after submission to Apple, You must resubmit the Application to Apple.
              Similarly all bug fixes, updates, upgrades, modifications, enhancements,
              supplements to, revisions, new releases and new versions of Your Application must
              be submitted to Apple for review in order for them to be considered for distribution
              via the App Store or Custom App Distribution, except as otherwise permitted by
              Apple.
       Id.

108.   Schedules appended to the DPLA outline additional terms specific to the distribution of
       apps on the App Store. Schiller TT. Distribution of free apps through the App Store is
       governed by Schedule 1 to the License Agreement; distribution of paid apps or apps
       offering in-app purchases through the App Store requires execution of an additional
       Schedule 2 to the License Agreement. Schiller TT.


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109.   Schedule 2 contains two key commitments.

       109.1 First, developers agree to pay Apple a commission on those in-app purchases. DX-
             3256 at -345–46. The general rule is that “Apple shall be entitled to a commission
             equal to thirty percent (30%) of all prices payable by each End-User.” Id. at -346.
             “[F]or auto-renewing subscription purchases made by customers who have accrued
             greater than one year of paid subscription service,” however, “Apple shall be
             entitled to a commission equal to fifteen percent (15%) of all prices payable by each
             End-User for each subsequent renewal.” Id. The purpose of this commission is for
             Apple to a return on its investment in the App Store through a royalty on the
             licensing of its intellectual property. Schiller TT.

       109.2 Second, developers acknowledge that any “violat[ion] [of] the terms of the
             Agreement, this Schedule 2, or other documentation including without limitation
             the App Review Guidelines” is grounds for Apple “to cease marketing, offering,
             and allowing download by End-Users of the Licensed Applications at any time,
             with or without cause, by providing notice of termination to You.” DX-3256 at -
             351.

110.   The DPLA also contains an indemnity provision (Section 10). Schiller TT; DX-3900 at -
       302. It states:

              To the extent permitted by applicable law, You agree to indemnify and hold
              harmless, and upon Apple’s request, defend, Apple, its directors, officers,
              employees, independent contractors and agents (each an “Apple Indemnified
              Party”) from any and all claims, losses, liabilities, damages, taxes, expenses and
              costs, including without limitation, attorneys’ fees and court costs (collectively,
              “Losses”), incurred by an Apple Indemnified Party and arising from or related to
              any of the following (but excluding for purposes of this Section, any Application
              for macOS that is distributed outside of the App Store and does not use any Apple
              Services or Certificates): (i) Your breach of any certification, covenant, obligation,
              representation or warranty in this Agreement, including Schedule 2 and Schedule
              3 (if applicable); (ii) any claims that Your Covered Product or the distribution, sale,
              offer for sale, use or importation of Your Covered Product (whether alone or as an
              essential part of a combination), Licensed Application Information, metadata, or
              Pass Information violate or infringe any third party intellectual property or
              proprietary rights; (iii) Your breach of any of Your obligations under the EULA (as
              defined in Schedule 1 or Schedule 2 or Schedule 3 (if applicable)) for Your
              Licensed Application; (iv) Apple’s permitted use, promotion or delivery of Your
              Licensed Application, Licensed Application Information, Safari Push Notification,
              Safari Extension (if applicable), Pass, Pass Information, metadata, related
              trademarks and logos, or images and other materials that You provide to Apple
              under this Agreement, including Schedule 2 or Schedule 3 (if applicable); (v) any
              claims, including but not limited to any end-user claims, regarding Your Covered
              Products, Licensed Application Information, Pass Information, or
              related logos, trademarks, content or images; or (vi) Your use (including Your
              Authorized Developers’ use) of the Apple Software or services, Your Licensed


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              Application Information, Pass Information, metadata, Your Authorized Test Units,
              Your Registered Devices, Your Covered Products, or Your development and
              distribution of any of the foregoing.

              You acknowledge that neither the Apple Software nor any Services are intended
              for use in the development of Covered Products in which errors or inaccuracies in
              the content, functionality, services, data or information provided by any of the
              foregoing or the failure of any of the foregoing, could lead to death, personal injury,
              or severe physical or environmental damage, and, to the extent permitted by law,
              You hereby agree to indemnify, defend and hold harmless each Apple Indemnified
              Party from any Losses incurred by such Apple Indemnified Party by reason of any
              such use.

              In no event may You enter into any settlement or like agreement with a third party
              that affects Apple's rights or binds Apple in any way, without the prior written
              consent of Apple.
       Id.

C.     To qualify for distribution through the App Store, iOS apps must comply with the
       App Store Review Guidelines.

111.   Apple seeks to create a unique ecosystem by offering a highly curated App Store where
       every app and every app update approved to the App Store is reviewed by Apple employees
       who are experts in app review. Kosmynka TT; DX-3695 at -084. Apps distributed through
       the App Store must comply with Apple’s App Store Review Guidelines. Schiller TT. This
       protects “[c]ustomer trust” in the App Store’s “safe experience for users”—“the
       cornerstone of the App Storeʼs success”—as well as maintains Apple’s standards for high-
       quality apps. DX-3695 at -108; Schiller TT.

112.   The App Store Review Guidelines are not only detailed and wide reaching but also
       periodically updated and improved to address emerging issues and security threats. DX-
       3695 at -085; Kosmynka TT; Rubin TT. As explained in the Guidelines: “When people
       install an app from the App Store, they want to feel confident that it’s safe to do so—that
       the app doesn’t contain upsetting or offensive content, won’t damage their device, and isn’t
       likely to cause physical harm from its use.” DX-3695 at -086.

113.   The Guidelines thus address safety, privacy, performance and reliability issues. For
       example, the Guidelines address the provision of false information and features,
       defamatory, or mean-spirited content, and depictions that encourage illegal or reckless use
       of weapons and dangerous objects, as well as privacy and data security considerations.
       DX-3695 at -086. The Guidelines further cover performance and reliability issues, because
       “[c]ustomers should know what they’re getting when they download or buy [an] app.” Id.
       at -089. According to the Guidelines, an “app’s functionality should be clear to end-users
       and App Review” and should not “include any hidden or undocumented features.” Id. The
       Guidelines are also intended to prevent apps from trying to use a business model that is
       unclear to users, constitute “clear rip-offs,” infringe upon another’s intellectual property,
       or violate other legal restrictions. Id. at -093, -106. They are intended to ensure that the


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       App Store “a safe experience for users to get apps and a great opportunity for all developers
       to be successful.” Id. at -084.

114.   Several provisions are dedicated to data security and privacy. DX-3695 at -088, -103.
       Indeed, the Guidelines acknowledge that “[p]rotecting user privacy is paramount in the
       Apple ecosystem,” and developers “should use care when handling personal data to ensure
       [they] complied with privacy best practices, applicable laws, and the terms of the Apple
       Developer Program License Agreement, not to mention customer expectations.” Id. at -
       103.

       114.1 To that end, Section 1.6 states that “[a]pps should implement appropriate security
             measures to ensure proper handling of user information collected pursuant to the
             Apple Developer Program License Agreement and these Guidelines (see Guideline
             5.1 for more information) and prevent its unauthorized use, disclosure, or access by
             third parties.” DX-3695 at -088.

       114.2 Sections 5.1.1–5.1.3 set out specific policies with which apps must comply:

                      5.1.1 Data Collection and Storage
                      (i) Privacy Policies: All apps must include a link to their privacy policy in
                      the App Store Connect metadata field and within the app in an easily
                      accessible manner. The privacy policy must clearly and explicitly:
                       Identify what data, if any, the app/service collects, how it collects that
                          data, and all uses of that data.
                       Confirm that any third party with whom an app shares user data (in
                          compliance with these Guidelines) — such as analytics tools,
                          advertising networks and third-party SDKs, as well as any parent,
                          subsidiary or other related entities that will have access to user data —
                          will provide the same or equal protection of user data as stated in the
                          appʼs privacy policy and required by these Guidelines.
                       Explain its data retention/deletion policies and describe how a user can
                          revoke consent and/or request deletion of the userʼs data.

                      (ii) Permission Apps that collect user or usage data must secure user consent
                      for the collection, even if such data is considered to be anonymous at the
                      time of or immediately following collection. Paid functionality must not be
                      dependent on or require a user to grant access to this data. Apps must also
                      provide the customer with an easily accessible and understandable way to
                      withdraw consent. Ensure your purpose strings clearly and completely
                      describe your use of the data. Apps that collect data for a legitimate interest
                      without consent by relying on the terms of the European Unionʼs General
                      Data Protection Regulation (“GDPR”) or similar statute must comply with
                      all terms of that law. Learn more about Requesting Permission.

                      (iii) Data Minimization: Apps should only request access to data relevant to
                      the core functionality of the app and should only collect and use data that is
                      required to accomplish the relevant task. Where possible, use the out-of-


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            process picker or a share sheet rather than requesting full access to protected
            resources like Photos or Contacts.

            (iv) Access Apps must respect the userʼs permission settings and not
            attempt to manipulate, trick, or force people to consent to unnecessary data
            access. For example, apps that include the ability to post photos to a social
            network must not also require microphone access before allowing the user
            to upload photos. Where possible, provide alternative solutions for users
            who donʼt grant consent. For example, if a user declines to share Location,
            offer the ability to manually enter an address.

            (v) Account Sign-In: If your app doesnʼt include significant account-based
            features, let people use it without a log-in. Apps may not require users to
            enter personal information to function, except when directly relevant to the
            core functionality of the app or required by law. If your core app
            functionality is not related to a specific social network (e.g. Facebook,
            WeChat, Weibo, Twitter, etc.), you must provide access without a login or
            via another mechanism. Pulling basic profile information, sharing to the
            social network, or inviting friends to use the app are not considered core
            app functionality. The app must also include a mechanism to revoke social
            network credentials and disable data access between the app and social
            network from within the app. An app may not store credentials or tokens to
            social networks off of the device and may only use such credentials or
            tokens to directly connect to the social network from the app itself while the
            app is in use.

            (vi) Developers that use their apps to surreptitiously discover passwords or
            other private data will be removed from the Developer Program.

            (vii) SafariViewController must be used to visibly present information to
            users; the controller may not be hidden or obscured by other views or layers.
            Additionally, an app may not use SafariViewController to track users
            without their knowledge and consent.

            (viii) Apps that compile personal information from any source that is not
            directly from the user or without the userʼs explicit consent, even public
            databases, are not permitted on the App Store.

            5.1.2 Data Use and Sharing
            (i) Unless otherwise permitted by law, you may not use, transmit, or share
            someoneʼs personal data without first obtaining their permission. You must
            provide access to information about how and where the data will be used.
            Data collected from apps may only be shared with third parties to improve
            the app or serve advertising (in compliance with the Apple Developer
            Program License Agreement.). Apps that share user data without user
            consent or otherwise complying with data privacy laws may be removed



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            from sale and may result in your removal from the Apple Developer
            Program.

            (ii) Data collected for one purpose may not be repurposed without further
            consent unless otherwise explicitly permitted by law.

            (iii) Apps should not attempt to surreptitiously build a user profile based on
            collected data and may not attempt, facilitate, or encourage others to
            identify anonymous users or reconstruct user profiles based on data
            collected from Apple-provided APIs or any data that you say has been
            collected in an “anonymized,” “aggregated,” or otherwise non-identifiable
            way.

            (iv) Do not use information from Contacts, Photos, or other APIs that access
            user data to build a contact database for your own use or for sale/distribution
            to third parties, and donʼt collect information about which other apps are
            installed on a userʼs device for the purposes of analytics or
            advertising/marketing.

            (v) Do not contact people using information collected via a userʼs Contacts
            or Photos, except at the explicit initiative of that user on an individualized
            basis; do not include a Select All option or default the selection of all
            contacts. You must provide the user with a clear description of how the
            message will appear to the recipient before sending it (e.g. What will the
            message say? Who will appear to be the sender?).

            (vi) Data gathered from the HomeKit API, HealthKit, Consumer Health
            Records API, MovementDisorder APIs, ClassKit or from depth and/or
            facial mapping tools (e.g. ARKit, Camera APIs, or Photo APIs) may not be
            used for marketing, advertising or use-based data mining, including by third
            parties. Learn more about best practices for implementing CallKit,
            HealthKit, ClassKit, and ARKit.

            (vii) Apps using Apple Pay may only share user data acquired via Apple
            Pay with third parties to facilitate or improve delivery of goods and services.

            5.1.3 Health and Health Research
            Health, fitness, and medical data are especially sensitive and apps in this
            space have some additional rules to make sure customer privacy is
            protected:
                   (i) Apps may not use or disclose to third parties data gathered in the
                   health, fitness, and medical research context—including from the
                   Clinical Health Records API, HealthKit API, Motion and Fitness,
                   MovementDisorderAPIs, or health-related human subject
                   research—for advertising, marketing, or other use-based data
                   mining purposes other than improving health management, or for



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                      the purpose of health research, and then only with permission. Apps
                      may, however, use a userʼs health or fitness data to provide a benefit
                      directly to that user (such as a reduced insurance premium),
                      provided that the app is submitted by the entity providing the
                      benefit, and the data is not be shared with a third party. You must
                      disclose the specific health data that you are collecting from the
                      device.

                      (ii) Apps must not write false or inaccurate data into HealthKit or
                      any other medical research or health management apps, and may not
                      store personal health information in iCloud.

                      (iii) Apps conducting health-related human subject research must
                      obtain consent from participants or, in the case of minors, their
                      parent or guardian. Such consent must include the (a) nature,
                      purpose, and duration of the research; (b) procedures, risks, and
                      benefits to the participant; (c) information about confidentiality and
                      handling of data (including any sharing with third parties); (d) a
                      point of contact for participant questions; and (e) the withdrawal
                      process.

                    (iv) Apps conducting health-related human subject research must
                    secure approval from an independent ethics review board. Proof of
                    such approval must be provided upon request.
       DX-3695 at -103–05.

114.3 Guideline 2.5 sets out additional software security requirements:

              2.5 Software Requirements
              2.5.1 Apps may only use public APIs and must run on the currently shipping
              OS. Learn more about public APIs. Keep your apps up-to-date and make
              sure you phase out any deprecated features, frameworks or technologies that
              will no longer be supported in future versions of an OS. Apps should use
              APIs and frameworks for their intended purposes and indicate that
              integration in their app description. For example, the HomeKit framework
              should provide home automation services; and HealthKit should be used for
              health and fitness purposes and integrate with the Health app.

              2.5.2 Apps should be self-contained in their bundles, and may not read or
              write data outside the designated container area, nor may they download,
              install, or execute code which introduces or changes features or
              functionality of the app, including other apps. Educational apps designed to
              teach, develop, or allow students to test executable code may, in limited
              circumstances, download code provided that such code is not used for other
              purposes. Such apps must make the source code provided by the
              Application completely viewable and editable by the user.



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            2.5.3 Apps that transmit viruses, files, computer code, or programs that may
            harm or disrupt the normal operation of the operating system and/or
            hardware features, including Push Notifications and Game Center, will be
            rejected. Egregious violations and repeat behavior will result in removal
            from the Developer Program.

            2.5.4 Multitasking apps may only use background services for their
            intended purposes: VoIP, audio playback, location, task completion, local
            notifications, etc. If your app uses location background mode, include a
            reminder that doing so may dramatically decrease battery life.

            2.5.5 Apps must be fully functional on IPv6-only networks.

            2.5.6 Apps that browse the web must use the appropriate WebKit
            framework and WebKit Javascript.

            2.5.7 Video streaming content over a cellular network longer than 10
            minutes must use HTTP Live Streaming and include a baseline 192 kbps
            HTTP Live stream.

            2.5.8 Apps that create alternate desktop/home screen environments or
            simulate multi-app widget experiences will be rejected.

            2.5.9 Apps that alter or disable the functions of standard switches, such as
            the Volume Up/Down and Ring/Silent switches, or other native user
            interface elements or behaviors will be rejected. For example, apps should
            not block links out to other apps or other features that users would expect
            to work a certain way. Learn more about proper handling of links.

            2.5.10 Apps should not be submitted with empty ad banners or test
            advertisements.

            2.5.11 SiriKit and Shortcuts
            (i) Apps integrating SiriKit and Shortcuts should only sign up for intents
            they can handle without the support of an additional app and that users
            would expect from the stated functionality. For example, if your app is a
            meal planning app, you should not incorporate an intent to start a workout,
            even if the app shares integration with a fitness app.

            (ii) Ensure that the vocabulary and phrases in your plist pertains to your app
            and the Siri functionality of the intents the app has registered for. Aliases
            must relate directly to your app or company name and should not be generic
            terms or include third-party app names or services.

            (iii) Resolve the Siri request or Shortcut in the most direct way possible and
            do not insert ads or other marketing between the request and its fulfillment.



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                      Only request a disambiguation when required to complete the task (e.g.
                      asking the user to specify a particular type of workout).

                      2.5.12 Apps using CallKit or including an SMS Fraud Extension should
                      only block phone numbers that are confirmed spam. Apps that include
                      call-, SMS-, and MMS- blocking functionality or spam identification must
                      clearly identify these features in their marketing text and explain the criteria
                      for their blocked and spam lists. You may not use the data accessed via these
                      tools for any purpose not directly related to operating or improving your
                      app or extension (e.g. you may not use, share, or sell it for tracking purposes,
                      creating user profiles, etc.).

                      2.5.13 Apps using facial recognition for account authentication must use
                      Local Authentication (and not ARKit or other facial recognition
                      technology) where possible, and must use an alternate authentication
                      method for users under 13 years old.

                      2.5.14 Apps must request explicit user consent and provide a clear visual
                      and/or audible indication when recording, logging, or otherwise making a
                      record of user activity. This includes any use of the device camera,
                      microphone, screen recordings, or other user inputs.

                   2.5.15 Apps that enable users to view and select files should include items
                   from the Files app and the userʼs iCloud documents.
              DX-3695 at -091–93.

115.   In addition, the Guidelines explain that “[i]f you want to unlock features or functionality
       within your app, (by way of example: subscriptions, in-game currencies, game levels,
       access to premium content, or unlocking a full version), you must use in-app purchase.
       Apps may not use their own mechanisms to unlock content or functionality, such as license
       keys, augmented reality markers, QR codes, etc. Apps and their metadata may not include
       buttons, external links, or other calls to action that direct customers to purchasing
       mechanisms other than in-app purchase.” DX-3695 at -093–94 (Section 3.1.1). In other
       words, the App Store Review Guidelines require that digital goods and services sold in an
       app must use IAP. Kosmynka TT.

116.   For developers who elect to distribute apps through the App Store, the Guidelines make
       clear that developers “are responsible for making sure everything in your app complies
       with these guidelines, including ad networks, analytics services, and third-party SDKs.”
       DX-3695 at -085.

117.   The Guidelines warn, “[i]f you attempt to cheat the system (for example, by trying to trick
       the review process, steal user data, copy another developerʼs work, manipulate ratings or
       App Store discovery) your apps will be removed from the store and you will be expelled
       from the Developer Program.” DX-3695 at -085. This is not an idle admonition: Apple
       has terminated for policy violations over 75,000 unique accounts for introducing new



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       and integration into the development of Apple’s iOS hardware and software. Kosmynka
       TT. Apple, for example, develops subject-specific App Review teams to address unique
       issues. Kosmynka TT. And Apple can merge these groups as new, cross-cutting problems
       emerge. Kosmynka TT. For example, Apple formed the App Store Improvements Team—
       a group to ferret out certain forms of spam—by merging members of the App Review
       Misleading Fraud team and App Review Compliance team. Kosmynka TT.

132.   Apple therefore uses—indeed, pioneered—robust manual review in the app review
       process, involving close to 500 Apple employees deployed across the globe. Kosmynka
       TT; Schiller TT.

133.   App review results in the rejection of about 40% of submitted apps. Kosmynka TT. Most
       of these rejections prevent apps that have software glitches or bugs, or that would
       compromise users’ data privacy or security. Cook TT; Kosmynka TT. In 2020 alone,
       Apple rejected over 150,000 app submissions for violating its privacy guidelines.
       Kosmynka TT.

134.   Rejections also protect developers, such as when Apple rejects a low-quality copycat app.
       DX-4463 at -888 (Epic celebrating Apple’s rejection of “Fortcraft,” a Fortnite copycat).
       This curation works to all developers’ ultimate benefit: By instilling confidence in
       consumers that they can trust the apps available on the App store, Apple makes it more
       likely that iOS users will use (and pay for) the apps developers make available on the App
       Store. Schiller TT; Kosmynka TT.

135.   Apple has improved its processes over time, making it both faster and more effective.
       Kosmynka TT. In late 2010, for example, Apple reviewed about 200,000 apps a quarter,
       completing reviews of 71% of new app submissions and 84% of app updates within a week
       of their submission. DX-4593 at -201. Apple then made this “[a]n area that we’re heavily
       focusing on.” DX-4526 at -878. As of March 2020, Apple was reviewing between 70,000
       and 115,000 apps and app updates every week, completing 84.9% within 24 hours and
       94.4% within 48 hours. DX-4214 at -710; Kosmynka TT.

136.   While Apple’s app review processes do not prevent the distribution of every low-quality
       app, Apple continues to innovate and improve its technology, practices, and processes.
       Kosmynka TT. Professor Rubin concludes that Apple’s app review processes profoundly
       contribute to iOS app security. Rubin TT.

137.   Apple employees also use their knowledge and expertise to continually improve app review
       tools as well as the safety, security, and trustworthiness of the iOS platform. Kosmynka
       TT. Much of the software that Apple uses during App Review were created internally, and
       as Apple learns about new threats to the iOS ecosystem, it will update its review software,
       its hardware, and/or its software to combat those new threats. Kosmynka TT; Federighi
       TT.

E.     Apple continues to protect consumer privacy and security after apps are published.

138.   Apple’s fraud engineering, algorithms, and risk team (“fraud engineering” team) seeks to
       protect consumers from fraud, malware, and other threats. Gray TT; Federighi TT. For


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       instance, this group monitors developer behavior to combat any attempt to engage in fraud
       or otherwise compromise users’ private information. Gray TT; Federighi TT. This group
       also monitors developers to ensure that they are not engaged in money laundering or other
       illicit behaviors. Kosmynka TT; Gray TT; Federighi TT. In performing its role, the fraud
       engineering team works with the App Review team on an at least weekly basis. Gray TT;
       Federighi TT.

139.   Apple also takes other measures to protect user privacy with respect to existing apps, such
       as by requiring users to opt in before sharing data and implementing differential privacy,
       which allows Apple to analyze de-individuated data. Rubin TT. Apple also spends
                   of dollars on manual reviewers and technical investigations team engineers.
       Kosmynka TT; Rubin TT. And it has a number of tools in place to detect malware on
       existing apps that it runs at periodic intervals to capture content at different times. Rubin
       TT. In addition, Apple freezes or terminates the accounts of developers who flout Apple’s
       guidelines. Rubin TT.

140.   Apple’s stance on privacy as a human right gives its users trust that allows Apple to
       facilitate efforts that benefit society, such as Privacy-Preserving Contact Tracing as well
       as the use of privacy nutrition labels that provide visibility into how apps treat user data.
       Federighi TT; see also infra § VII.C (discussing Privacy Nutrition Labels). In many
       instances, large developers, such as Facebook, have publicly objected to Apple’s privacy
       initiatives; Apple has nevertheless taken a firm stance on its privacy principles. Cook TT.

141.   As a result of the App Review efforts and Apple’s subsequent processes, there is a
       significantly smaller number of malicious iOS apps than those available on Android. In
       2018, the iPhone platform accounted for just 0.85% of malware infections. DX-3141 at
       15. By contrast, Android accounted for 47.15% and Windows/PC accounted for 35.82%.
       Id.




       Among app stores, Android app stores have significantly higher numbers of malicious apps
       than the App Store. DX-4401 at 3–4; DX-4934 at 8.



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F.          Over time, Google has been tightening its app screening process and moving to a
            system that is more similar to Apple’s.

142.        Recognizing the superiority of the iOS experience for consumers and developers, Google
            has moved from conducting no app review, to a purely automated review, to utilizing
            human reviewers as well. By 2015, Google Play revised their app review system, and it
            later increased review times for new developers in 2019. Rubin TT.

143.        Given Apple’s superior security performance, Google is gradually adopting more
            restrictive security policies similar to those in Apple’s Review Guidelines. Rubin TT.

     VII.     THE APP STORE RESULTED IN SIGNIFICANT IMPROVEMENTS IN APP
                    DISTRIBUTION, INCLUDING GAME APP DISTRIBUTION.

A.          Before the App Store, distributing video games and other software was expensive and
            difficult, particularly for small developers.

144.        Before the App Store was launched, many challenges confronted developers who wanted
            to get their software—including games—to consumers. Schiller TT; Schmalensee TT.

145.        In the 1980s and 1990s, games were often sold in disk form through retailers like
            Gamestop. DX-3710 at -729; Allison depo. at 40:7–41:19; Lafontaine TT.

146.        For developers, software distribution was a resource-intensive effort that often required
            robust marketing campaigns and retailer relationships. Schmalensee TT. Developers had
            to make physical copies of their master copy or contract with publishers to do so. Schiller
            TT. They also had to undertake similar efforts to design manuals and shrink wrap and
            assemble the package to be shipped to the distributor. Schiller TT.

147.        Oftentimes, financing the packaging, advertising, and marketing of software was extremely
            expensive. Schiller TT.

148.        Before digital game transaction platforms, consumers also faced frictions—including a
            limited, expensive selection of game software that, to purchase and play, they had to drive
            to the store, find it on the shelf, buy it in the shrink-wrapped box, and load it up onto their
            device. Schiller TT; Cook TT. This process would then need to be repeated to purchase
            the same game a second time when a new generation of the console was released which
            was not compatible with the prior version’s game hardware (or purchase updated software
            for your existing console or PC). Schiller TT.

149.        This was Mr. Sweeney’s own experience. He had found it difficult to sell games through
            traditional retail channels in the early 1990s. Sweeney TT. “[T]he whole business was so
            daunting.” DX-3236 at -496. “See, you put a huge amount of effort into developing a
            program. If you have to release it, then that’s basically doubling the effort, because of all
            the polish and documentation that’s needed. And unless you're going to make serious
            money from that, then it's not worth it.” Id.




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150.   When Epic agreed to distribute other developers’ games around 1996, it collected a 60%
       commission—which Mr. Sweeney characterized as a fairly favorable royalty for
       developers. Sweeney TT. Most distributors at the time charged at least a 70% commission.
       Sweeney TT; Schmalensee TT.

151.   By 2006, just before the launch of the App Store, developers often continued to receive
       30% or less of the revenue from sales of their software. Sweeney TT.

B.     The App Store upended the status quo.

152.   The App Store was conceived “as a frictionless marketing, distribution and transaction
       system for both the developer and the user.” DX-5315 at -245; Schiller TT. As described
       above, Apple equipped developers with powerful tools to build their apps. Schiller TT;
       see also supra § III. And developers then only had to submit their apps to Apple, which
       took care of the rest—including marketing, distribution, billing, and taxes. Schiller TT;
       see also supra § VI.

153.   The App Store helped turn the prior revenue model on its head. Schiller TT. Whereas
       game developers had previously earned 30% or less of revenue, the commission collected
       by Apple was, at most, 30% of the transaction price. Schiller TT. First implemented by
       Steam a few years prior, this “70/30 split was a breakthrough.” DX-4062 at -523.

154.   As a result, many developers went from paying 70% of their revenue for publishing,
       distribution, marketing, and access to customers, to only paying 30% for the same services.
       Schiller TT. The App Store cut commissions essentially in half for paid games compared
       to traditional retail channels. Cook TT. What is more, most transactions incurred no
       commission at all. Schiller TT.

155.   The deals negotiated by game developers before the App Store were generally much
       inferior to the revenue-sharing model that Apple introduced with the App Store. Sweeney
       TT.

156.   By providing developers far and wide with not only this new platform but also equipping
       them with the tools to use it, the App Store had a democratizing effect. Schiller TT. Prior
       to the App Store, developers were typically large companies. Schiller TT. The App
       Store—and tools Apple made available to developers—enabled smaller developers to
       compete. Schiller TT. The “App Store democracy” created an environment in which
       everyone has equal opportunity to find success and prosper. Schiller TT.

157.   Mr. Sweeney correctly predicted that “[o]ver the next decade, iPhone and iPad games will
       grow from being fun diversions built on shoestring budgets to world-class entertainment
       experiences.” DX-4620 at -929.

158.   Consumers also benefitted. The App Store provided a new, seamless, secure transaction
       platform through which they could obtain mobile apps on iPhones. Cook TT; Schiller TT.
       Game transactions on the App Store generally were generally cheap (and often free)—
       unlike most other game transactions at the time. Schiller TT. As Steve Jobs summed up,
       “[o]n the Nintendo and Sony, the average game title, at the street level, costs $30. Our


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       average game title’s less than 10, some are free. It’s delivered instantly right on your
       device, which of course is not the case with these other guys.” DX-5315 at 249.

C.     Apple has reduced its commission and the scope of transactions to which it applies.

159.   Following the introduction of IAP in 2009, Apple charged a 30% commission on two
       specific types of digital transactions on the App Store: Paid downloads and in-app
       purchases of digital services or content. Schiller TT. Apple has never charged a
       commission on free downloads or the in-app provision of free digital services or content.
       Schiller TT. Apple also does not charge a commission on physical goods or services
       purchased through an app or on revenues made from in-app advertising. Schiller TT.

160.   Over time, Apple has reduced or eliminated the commission on certain kinds of
       transactions for certain categories of apps. Schiller TT; Hitt TT.

161.   Apple introduced a reduced commission structure for subscriptions in 2016. Schiller TT.

       161.1 Apple had introduced subscriptions in February 2011, allowing developers to use
             IAP for recurring purchases. Schiller TT; Gray TT; DX-3060. At the time, these
             subscription purchases were subject to the standard 30% commission. Schiller TT.
             This commission applied each time the subscription was renewed. Schiller TT. For
             an annual subscription, for example, the developer paid Apple a 30% commission
             on the annual subscription charge. Schiller TT.

       161.2 In 2016, Apple lowered the commission on subscription renewals. Schiller TT;
             DX-3256 at -346; DX-4632 at -076. Specifically, Apple amended the DPLA to
             charge only a 15% commission on subscription charges after the first year to 15%.
             Schiller TT; DX-3256 at -346; DX-4632 at -076.

162.   The Video Partner Program, also started in 2016, is another example in which Apple
       reduced the commission charged on certain transactions. Schiller TT; DX-3421. This
       program applies to premium subscription video providers who integrate their services into
       the Apple TV app. Schiller TT; DX-3421. Those providers then pay only a 15%
       commission to Apple when users make an in-app purchase of a subscription to their content
       streaming. Schiller TT; DX-3421.

163.   In 2011, Apple implemented the “reader rule.” DX-3115. This rule permitted developers
       to create apps that allowed users “to access previously purchased content or content
       subscriptions,” like “magazines, newspapers, books, audio, music, [and] video,” so long as
       the developer did not “directly or indirectly target iOS users to use a purchasing method
       other than in-app purchase,” and its “general communications about other purchasing
       methods are not designed to discourage use of in-app purchase.” DX-3695 at -095.

164.   For instance, under the reader rule, Netflix and Hulu could permit users to watch video
       content in the app based on a video subscription that had been purchased on a user’s
       computer. DX-3363. Many large developers, including Spotify, Netflix, and Amazon (for
       the Kindle app), deactivated the in-app subscription option altogether in light of the rule.
       Schiller TT.


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     VIII. CONSUMERS AND DEVELOPERS HAVE BENEFITTED FROM APPLE’S
                  CONTINUOUS INVESTMENT AND INNOVATION

168.   Apple has continued to invest in improvements that directly or indirectly enhance the App
       Store experience for developers and consumers alike. Schiller TT; Federighi TT; Cook
       TT.

169.   This investment has been significant. Schmid TT. Indeed, Apple spent over $100 billion
       in research and development since 2005, including billions in software, hardware, services,
       and other tools related to the App Store. Schiller TT; Malackowski TT. As a result, Apple
       has continued to iterate on and grow these features year after year. Schmid TT.

170.   As a result, Apple’s devices, software, and platform outperform its peers. Cook TT;
       Schiller TT; Federighi TT. Even Mr. Sweeney acknowledged that he loved the iPhone’s
       aesthetic and liked most of the versions of its hardware as well as most of the aspects of its
       operating system. Sweeney TT. Outside of litigation, his colleagues were less coy:
       “Android performance is very poor compared to iOS.” DX-4659 at -345.

A.     Apple has relentlessly invested in software, hardware, and integration innovations.

171.   Among the major technical innovations introduced by Apple in early iPhones was a built-
       in accelerometer. Schiller TT; DX-5335 at 1. The accelerometer was embedded in the
       first iPhone’s design—among the first smartphones to do so. Schiller TT. The
       accelerometer measured changes in velocity along three axes. Schiller TT. Among other
       things, this allowed users to appreciate games (and other features) in the viewing format
       best suited for the content displayed on screen. Schiller TT.

172.   Apple rolled out two more major innovations the next year. As discussed above, Apple
       introduced IAP—a key innovation that enabled developers to adopt new business models
       involving the delivery of digital content. See supra § III.F. Apple also introduced Push
       Notification Service. Schiller TT; DX-5335 at 2. This allowed apps to send users a
       message when something changed in the apps, which allows developers to give various
       prompts to users and allows users to be reminded about important developments in their
       apps (rather than having to constantly open and check the apps). Federighi TT.

173.   In 2010, Apple introduced gyroscope hardware—the first smartphone manufacturer to do
       so. Schiller TT; DX-5335 at 3. Gyroscope is a motion sensor embedded in Apple’s mobile
       devices that can sense motion on three axes and works with the accelerometer to capture
       information about the device’s position. Schiller TT. This allowed developers to build
       new features into apps, providing iOS users with more complex apps. Schiller TT.

174.   That same year, Apple also introduced the Retina Display, which improved screen
       resolution, making individual pixels unperceivable to the average human eye at a distance
       of 12 inches. Schiller TT; DX-5335 at 4. In subsequent years, Apple would continue to
       expand the iPhone display size, and also eliminate the home button, further increasing the
       usable footprint of the screen and improving user-interface options for app developers.
       Schiller TT.



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175.   In 2013, Apple introduced new significant features—App Store Updates and Touch ID—
       and vastly improved iPhone hardware. Federighi TT; DX-5335 at 5.

       175.1 App Store Updates is a feature—introduced with iOS 7—that automatically
             updated apps and made app suggestions based on one’s location. Federighi TT.
             This made it easier for users to maintain apps, reducing fragmentation challenges
             (i.e., issues that arise when users do not download new versions of apps) for
             developers. Federighi TT.

       175.2 Touch ID is a sensor that reads fingerprints. Federighi TT. This technology “makes
             secure access to the device faster and easier.” DX-3561 at -314. And by
             eliminating the need to input one’s password to unlock the phone or make a
             purchase (in-app or otherwise), Touch ID also incentivizes users to use longer,
             more complex passwords. Id.; Federighi TT.

       175.3 The biometric scanner for Touch ID was only one of many hardware improvements
             Apple introduced at the time. Federighi TT. Inside its new devices, Apple
             deployed A7 SoC 64-Bit Technology. Federighi TT. This enabled game apps to
             be developed and run using 64-bit technology/processing—effectively doubling the
             graphics performance from prior chips. Federighi TT. When Epic Games demoed
             Infinity Blade 3 using this hardware at an Apple Special Event in 2013, it praised
             the iPhones’s ability to “load[] almost instantly . . . each of these complex
             environments.” DX-3147 (Donald Mustard at 00:38:38).

176.   Yet again, in 2014, Apple introduced more innovative features, including App Bundles,
       which allowed developers to sell multiple apps together at a discounted price. Schiller TT;
       DX __ Hitt App’x F. For example, a game series—like Epic’s Infinity Blade Trilogy—
       could be (and was) offered as a bundle, allowing consumers to buy all three titles together
       at a discount. Schiller TT. Additionally, Apple introduced a related “complete my bundle”
       feature that gave consumers a discount on other titles in the bundle if they had already
       purchased one or more of the bundled apps individually. Schiller TT.

177.   In 2015, as part of the iOS9 update, developers got access to three new gaming SDKs:
       GameplayKit (which helps create artificial intelligence), Model I/O (which helps to light
       3D models), and ReplayKit (which lets users record and share gameplay). Schiller TT;
       DX-5335 at 11. That same year, Apple released the Taptic Engine, which is Apple’s
       mechanism for haptic feedback on the iPhone. Schiller TT. Haptic feedback recreates a
       sense of touch or movement using a motor that emits different levels of vibration power
       and sensations. Schiller TT.

178.   In 2016, the iPhone 7 was upgraded with stereo speakers, with speakers on both the top
       and bottom of the phone, amplifing audio twice as loud as the iPhone 6s and providing
       dynamic range for better sound quality. Schiller TT; DX-5335 at 6.

179.   In 2018, Apple launched Face ID, which increased the security of Apple products by
       allowing users to lock their devices using a scan of their face rather than the less secure
       fingerprint. Federighi TT. Consumers could now use Face ID to make secure in-app



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       purchases. Hitt TT; DX-5335 at 16. Related to the same advances in facial scanning
       technology, Apple also launched Memoji in 2018, allowing users to create a virtual version
       of themselves which, through facial recognition, could mimic the users’ actual head, eye,
       mouth, and even tongue movement. Federighi TT.

180.   Apple unveiled a series of hardware and software upgrades in 2019, including download
       improvements as well as Screen Time Controls, Digital Wellness, and Dark Mode. Schiller
       TT; DX-5335 at 6, . Apple made major improvements to iOS that made app downloads
       50% smaller and app updates 60% smaller. Federighi TT. Because app size can be a key
       restriction for developers, this vastly expanded the scope of features that developers could
       include in apps, including game apps. Federighi TT.

181.   In the last year, Apple has continued to roll out new improvements, including LiDAR and
       M1 ARM Chips. Federighi TT; DX-5335 at 7.

       181.1 In 2020, Apple introduced LiDAR (Light Detection and Ranging) for certain
             iPhones. Schiller TT. This built upon existing smartphone technology by
             improving the range of scanning technology, improving the quality of photos, and
             enabling sharper augmented reality (including for augmented reality game apps).
             Schiller TT.

       181.2 Apple recently started a transition to using in-house ARM chips—already used in
             its mobile devices and tablets—for all Mac personal computers. Schiller TT. This
             will allow consumers to run all iOS, iPadOS, and MacOS applications on any Mac.
             This innovation may lead to even easier substitution between apps written for Macs
             and iOS, increasing the value of app transactions for consumers and potentially
             broadening the audience developers can reach (without increasing cost). Schiller
             TT.

182.   Apple’s iPhone hardware has kept pace with these newest software innovations. Schiller
       TT; DX-5335 at 7. The iPhone 12, released in October 2020, uses an advanced CPU with
       improved machine learning capabilities. Schiller TT. This accelerates the device’s
       performance and energy efficiency. Schiller TT. Along with a larger screen, the iPhone
       12 Pro Max is an extremely capable gaming device—comparable in terms of latency,
       responsiveness, and graphics to all but the most advanced gaming PCs. Schiller TT. As
       Mr. Sweeney said, the iPhone remains a premium product to this day. Sweeney TT. This
       has allowed developers to take full advantage of software innovations and deliver ever
       more sophisticated and higher-quality apps. Schiller TT.

183.   In addition to these numerous improvements, Apple has continually adapted the App Store
       to ensure it works on new devices, including the iPad, Apple Watch, and Apple TV.
       Schiller TT. This allows more iOS users to access apps, and those with more than one iOS
       device to work more seamlessly between their devices. Schiller TT. It also allows
       developers to reach consumers across a wide variety of devices without incurring
       significant additional development costs. Schiller TT.




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184.   This partial list includes only some of the major features and functionalities Apple has
       added since it introduced the first iPhone. Schiller TT; DX-5335 at 1–19. All in, Apple
       has made thousands of hardware, software, and firmware improvements to the iOS
       ecosystem. Schiller TT. In this respect as in others, Apple has shown itself to be a
       relentless innovator. Schiller TT; Cook TT.

B.     Apple has relentlessly invested in new developer tools, and improvements to existing
       tools.

185.   Apple has developed an extensive array of tools that it licenses to app developers. Schiller
       TT; Federighi TT; Malackowski TT.

186.   Apple includes an ever-increasing assortment of innovative app development tools in the
       SDK. Federighi TT. As noted above, Apple invested substantial resources in creating a
       state-of-the-art SDK in advance of the App Store’s launch. See supra § III.D.

187.   Apple releases new, expanded SDKs with each major release of iOS—e.g., iOS 2.0, iOS
       3.0, and so on (as opposed to minor updates denominated iOS 2.1, 2.2, 2.3, etc.). Schiller
       TT; Federighi TT. These SDKs help developers take advantage of new technologies and
       features of iOS and Apple’s mobile devices. Federighi TT; Kosmynka TT. Each SDK
       typically features thousands of new APIs and hundreds of new features. Federighi TT.

188.   With iOS 5.0’s release in 2010, for example, Apple introduced Game Center—a social
       gaming network—and a set of tools called GameKit that allowed developers to implement
       Game Center’s features in their apps. Federighi TT. Game Center offered significant
       improvements to the player experience in game apps: Users could now purchase and
       download games directly from Game Center rather than having to go to the App Store, and
       they could also personalize their profiles, display achievement points earned across games,
       and compare their own achievement points to that of their social network. Federighi TT.
       Indeed, Epic’s Infinity Blade was among the first game apps to integrate GameKit features.
       Hitt TT; DX-5335 at 9.

189.   When Apple released iOS 6.0 in 2012, it not only unveiled new hardware improvements—
       a 5.4-inch display on new iPhones that allowed users to play games on a wider, taller
       screen—but also released many new APIs to help game publishers drive customer
       acquisition. Federighi TT. These included Game Center Challenges, which enabled
       iPhone users to invite friends to beat their leaderboard times or points. Federighi TT. And
       new APIs allowed developers to use Game Center to send push notifications to players as
       they competed with each other. Federighi TT.

190.   The next year, Apple introduced Sprite Kit. Sprite Kit is a powerful graphics framework
       ready-made for developing 2D action games, platform games, and puzzle games. Schiller
       TT. It included built-in physics support and greatly simplified the process of developing
       these types of games. Schiller TT.

191.   In 2014, Apple provided developers with the iOS 8 SDK, which included more than 4,000
       new APIs. DX-4302; Federighi TT. Among the tools in this SDK was Metal—a
       particularly potent developer tool. Federighi TT; Schiller TT.


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       191.1 Metal is a powerful computer graphics API. Federighi TT; Schiller TT. It was a
             vast improvement over its predecessor, providing ten times the computing power.
             Federighi TT; Schiller TT. By Epic’s admission, Metal is “fast, agile, [and] feature-
             rich,” Penwarden depo. at 67:9–68:8, and “bl[ew] away” competitors “in every
             way,” DX-3098 at -599. It also eliminated the “huge amount of overhead” (excess
             computing time) imposed by older graphics APIs. DX-4653 at 3 (quoting
             Sweeney). This allowed developers to create more complex and visually
             compelling content—particularly important for game apps. Federighi TT.

       191.2 Indeed, Mr. Sweeney said in June 2014 that “[w]e’re happy to see Apple leading
             the way with mobile devices. [The older graphics API] is the bane of our existence
             there, because it not only has a lot of overhead, but it has all that overhead on the
             platform where you can least afford it. You have these small devices which are
             limited by their power consumption and heat generation. The more efficiency you
             can get out of the graphics API, the more you can do as far as immediate
             improvements in graphics quality.” DX-4653 at 3.

       191.3 Fortnite takes advantage of Metal’s powerful capabilities. Epic’s VP of
             Engineering, Nicholas Penwarden, testified that “working with Metal [was] a
             dream” compared to the tools then available on Android. Penwarden depo. at 63:9-
             13. “[G]etting Fortnite running on iOS using Metal was a very positive experience
             and, again, easier than the experience we had on Android platforms.” Penwarden
             depo at 62:16-19. Metal was “the number one differentiator that allowed [Epic] to
             get Battle Royale running on iOS faster than on Android.” Penwarden depo. at
             66:13-21.

192.   After Apple acquired TestFlight (a mobile app testing system) in 2014, Apple added key
       features to it (such as allowing multiple versions of an app to be tested simultaneously),
       and then integrated it into its suite of iOS development tools. Schiller TT. This provided
       developers with a controlled environment in which they could test and refine their apps.
       Federighi TT; Schmid TT. And a survey showed that by 2015 73% of large developers
       already were using TestFlight and another 11% intended to do so. DX-3800 at -769–70.

193.   In 2017, Apple provided developers with ARKit. Schiller TT; Federighi TT.

       193.1 ARKit is a free set of tools for developers to create augmented reality (AR) apps
             and features. Schiller TT; Federighi TT. Prior to ARKit, developers were able to
             program AR features for their apps only by building (or buying) the constituent
             parts from scratch. Schiller TT; Federighi TT. These include, for example,
             detecting horizontal surfaces where objects can be placed, or how light and shadows
             move when objects are placed into a space. Schiller TT; Federighi TT. ARKit
             simplifies the process by providing predesigned packages able to handle these and
             other components of generating an AR. Schiller TT; Federighi TT.

       193.2 As Apple continued to improve ARKit, Epic acknowledged internally that its
             capabilities were industry-leading. DX-4908 at -107 (“Two of the most impressive
             features (human occlusion of CG and live mocap) are powered by tech in the new


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              version of ARKit and were described as ‘exclusive to iOS.’”); see also DX-3556 at
              -585 (Epic employees remarking “Sweet!” and “Awesome news” when another
              employee reports that he “found the hardware accelerated HEVC apis that iOS
              devices support. This means the AR streaming thing I did can be hardware
              encoded/decoded on iDevices to/from Mac/PC.”).

194.   In 2019, Apple improved its suite of AR tools with Reality Kit and Reality Composer.
       RealityKit is a simpler version of AR Kit for less experienced developers. Schiller TT;
       Federighi TT. Reality Composer is a new utility app that allows designers to edit AR
       scenes, animations and events from Mac and iOS devices. Schiller TT; Federighi TT.
       These tools enabled more developers to create AR apps with better features but fewer
       resources. Schiller TT; Federighi TT.

195.   Most recently, Apple released another new SDK with the launch of iOS 14. Federighi TT.
       This included the WidgetKit framework. Federighi TT. Developers can use this
       technology to create widgets for their apps that display information directly on the iOS
       Home screen. DX-4939; Federighi TT.

196.   To date, Apple has created and made available more than 150,000 APIs. Schiller TT;
       Malackowski TT. It also has continually improved the APIs, rolling out updates, fixes,
       and new versions of many APIs in successive SDKs. Schiller TT; Federighi TT. For
       instance, in 2019, Apple enabled support for third-party controllers to be used in iOS
       games. Hitt TT.

197.   As a result—and by Epic’s own admission—Apple’s APIs are superior to Android’s.
       Penwarden depo. at 69:8–70:9. Indeed, the breadth, depth, and quality of Apple’s APIs
       allowed Epic to launch Fortnite faster on iOS than Android. Penwarden depo. at 70:3-9.

198.   On top of all this, Apple also created Swift in 2014, an open-source, easy-to-learn, general-
       purpose language, built specifically using a modern approach to safety, performance, and
       software design patterns. Federighi TT. This allowed developers to program iOS faster
       than they had been able to do with previous languages. Federighi TT; Hitt TT; DX-5335
       at 10. And because it was a simple, open-source language, developers could more easily
       learn, adopt, and implement safety features. Federighi TT; Hitt TT. And it became
       popular: By 2019, the Microsoft Outlook, Hulu, Tinder, Postmates, and Walmart apps,
       among others, were written, at least in significant portion, with Swift. Federighi TT; Hitt
       TT.

199.   In addition to these technologies and services, Apple also spearheaded several programs to
       benefit the developer community and, consequently, enhance the broader ecosystem.
       Schiller TT.

       199.1 For example, developers were able to announce and demonstrate new products and
             features at Apple’s Worldwide Developer Conference (“WWDC”). Grant TT.
             Indeed, Epic has given numerous presentations and demonstrated its products,
             including Fortnite and Infinity Blade, at WWDC and Apple media events. DX-
             3963; DX-3123; DX-3630.



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       199.2 Apple also offers a consultation labs program, including opportunities for
             developers to book slots with representatives of certain features at WWDC. Grant
             TT. Consultations are also available when Apple releases new hardware or
             software features. Grant TT.

       199.3 Another example is Apple’s 2016 launch of “Everyone Can Code,” a program that
             helps nurture the next generation of developers by investing in coding education
             for students. Schiller TT. Similarly, in 2018, Apple launched the Entrepreneur
             Camp, designed to create new opportunities for app-driven businesses owned or led
             by women through an intensive technology lab, specialized support, and ongoing
             mentoring. Schiller TT. And Apple also recently launched an Apple Developer
             Academy in Detroit, focused on “young Black entrepreneurs, creators, and coders”
             and offering training in iOS app development. Schiller TT.

       199.4 These efforts are so pervasive that “being pro developer is part of Apple’s brand.”
             Grant TT.

C.     Apple fiercely protects consumer privacy.

200.   Consistent with its belief that privacy is a human right, Cook TT, Apple has made it a
       priority to implement a number of features and tools to provide better protection of iOS
       users’ privacy. Schiller TT; Federighi TT.

201.   In 2019, for example, Apple introduced “Sign in with Apple.” Schiller TT. This feature
       allows users to securely log in to new apps in one click while also “hiding” their real email
       addresses from developers, reducing the ability of third-party sign-in services to track and
       share users’ personal data. Schiller TT.

202.   Also in 2019, Apple gave users the additional option to share their location with an app
       once (rather than always, never, or while using the app)—giving consumers greater control
       over their sensitive location information. Federighi TT.

203.   In 2020, Apple gave users even greater control over their location information by allowing
       them to share only their approximate location with developers. Federighi TT. Apple also
       created an on-screen indicator to inform users when their microphone or camera were on—
       a feature previously available on laptops but not on smartphones (indeed, a feature that
       some Android some phones still do not have). Federighi TT.

204.   Apple also ecently introduced “Privacy Nutrition Labels” in which developers must
       describe the privacy practices for each particular app on its App Store page. Federighi TT;
       DX-4398. This includes identifying all data the developer or its third-party partners collect
       (unless specified exceptions apply). Federighi TT; DX-4398. This allows users to “learn
       about some of the data types the app may collect, and whether that data is linked to them
       or used to track them.” DX-4398 at 1.

205.   In addition, Apple is implementing “App Tracking Transparency.” Federighi TT. App
       Tracking Transparency will require apps to get the user’s permission before tracking their
       data across apps or websites owned by other companies. Federighi TT. This will allow


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       users to make more informed choices about the apps they use and the permissions they
       grant to those apps, including whether to allow apps to track them. Federighi TT.

206.   As a result of these and other innovations and policies, Apple has outpaced its competitors
       in protecting consumers’ privacy. Federighi TT; Rubin TT. Mr. Sweeney, an iPhone user,
       said that he found Apple’s approach to privacy superior to Google’s approach to customer
       privacy and customer data. Sweeney TT. Indeed, “Apple does a great job,” he said, “in
       terms of customer privacy.” DX-3143 at -570. Apple is “not in the data business, “do[es
       not] want your data,” and is “never in a position to profit from accessing or selling your
       private data”—a far “different position” than other large tech companies. Id.

D.     Apple also continually improves the App Store storefront.

207.   Since the App Store’s 2008 launch, Apple has continually sought to improve the
       storefront’s interface and capabilities—for the benefit of both developers and users.
       Schiller TT; Federighi TT.

208.   For example, Apple redesigned the App Store in 2012 to replace the “Categories” tab with
       “Top Charts” and “Genius” tabs.           Schiller TT.     These offered personalized
       recommendations for iOS Applications. Schiller TT. This helped users to find apps they
       were most likely to enjoy; it helped connect developers with the customers most likely to
       purchase their products. Schiller TT.

209.   Between 2014 and 2016, Apple made four significant improvements to the App Store
       relevant to game app developers and game app users experiences. Schiller TT. First, Apple
       optimized the App Store’s search capabilities. Schiller TT. Second, Apple created App
       Previews, a feature that allowed developers to showcase up to three videos to potential
       players, and introduced the “Explore” tab, another discovery feature based on a user’s past
       downloads, geographical location, and interests. Schiller TT. Third, for the first time,
       Apple allowed developers to sell game and app bundles. Schiller TT. Fourth, Apple
       introduced Search Result Ads, allowing developers to pay to promote their App when a
       user searched relevant keywords to a users’ text input. Schiller TT. Each of these features
       improved user acquisition for game app developers and allowed users to find game apps
       they might be interested in more easily. Schiller TT.

210.   In 2017, Apple overhauled the App Store’s U.S. storefront. Schiller TT; DX-3642. This
       was a “ground up” redesign that “ma[de] discovering apps and games easier than ever
       before.” DX-3642.

       210.1 The redesign included five tabs: Today, Games, Apps, Updates, and Search.
             Schiller TT. These tabs improved the discoverability of apps. Schiller TT. For
             example, the “Today” tab featured exclusive premieres of new apps, news releases,
             recommended tips, and how-to guides that were updated daily by App Store’s
             global team of editors. Schiller TT. To make navigation even easier, the redesign
             also added “Games” and “Apps” tabs to the App Store—allowing users to find
             game apps separately and more efficiently. Schiller TT. Both of these tabs include
             recommendations, hand-picked collections, and top charts. Schiller TT.



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       210.2 In addition, the redesign also made in-app purchases more discoverable by
             displaying them on an app’s product page and in search results. Schiller TT. And
             Apple also added several new marketing and user-acquisition focused tools to the
             App Store: It enabled pre-orders of apps as well as subtitles (in the app store
             description) and subscription offer codes. Schiller TT; DX-4928.

       210.3 A 2018 report concluded that the redesign was highly successful at helping
             consumers discover new apps and suggested “that iOS users are turning to the App
             Store and its editorial recommendations in greater numbers to learn about what new
             game to try next.” DX-4949 at 2; Schiller TT.

       210.4 Nor were these innovative interface improvements easily implemented.             The
             redesign required a significant investment from Apple. Schiller TT.

211.   Most recently, Apple has undertaken an enormous effort to cull from the App Store apps
       that “no longer function as intended, don’t follow current review guidelines, or are
       outdated.” DX-4917 at 1; Kosmynka TT. To that end, Apple is evaluating and removing
       apps in all categories on an ongoing basis. Kosmynka TT; DX-4917 at 1. Removing these
       apps has improved searchability, improving users’ ability to find apps they want to
       download. Kosmynka TT.

IX.     THE APP STORE’S BUSINESS MODEL HAS CONTRIBUTED TO THE RAPID
                 PROLIFERATION OF APPS, INCLUDING GAME APPS

212.   The App Store’s business model helped lead to digital distribution becoming the prominent
       form of game distribution. Hitt TT; DX-3710 at -729, -736.

213.   From the start, Apple’s goal was “to get as many apps out in front of as many iPhone users
       as possible.” DX-3177 at -075. Apple has done so by creating tremendous growth in every
       facet of app distribution: The number of developers creating game apps for iOS users, the
       number of consumers who use and enjoy those game apps, the number of game apps
       available on the App Store, the number of transactions of game apps, and the amount
       consumers have paid and developers have earned from those game app transactions. Cook
       TT; Schiller TT. In short, the App Store has enjoyed explosive growth, driven significantly
       by the positive indirect network effects between app developers and users. Schiller TT;
       Schmalensee TT.

A.     The number of game app developers and users has dramatically increased.

214.   As discussed above, the App Store reduced the barriers and costs associated with
       developing and distributing game apps. See supra § VII. As a result, developers flocked
       to the Apple ecosystem. Schiller TT; Cook TT. By the end of 2010, there were 213,000
       members in the Apple Developer Program. DX-4593 at -191.

215.   Drawn by the continual improvements to the App Store and Apple’s developer tools, see
       supra § VIII, that growth continued year-over-year. Schiller TT; Cook TT. Today, there
       are                                                      (and over 27 million registered
       iOS develeopers). Schiller TT.


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216.   There was similar growth among App Store customers. The App Store crossed 100 million
       cumulative App Store customers in 2010. DX-4593 at -209. That number ballooned to
       over 500 million in 2014. DX-3734 at -145. And by the end of 2015, there were 650
       million customers who transacted on the App Store. DX-4526 at -834. That growth also
       has continued: Today there are almost 1 billion customers worldwide and over 500 million
       weekly store visitors. Schiller TT.

217.   In Mr. Sweeney’s understated words, the audience for apps is much larger now than the
       audience for PC and Shareware games was when he started. Sweeney TT.

B.     The number of game apps available on the App Store has dramatically increased.

218.   Alongside this growth in developers and consumers, the App Store has overseen an
       exponential proliferation in the availability of apps, including game apps. Schiller TT;
       Cook TT.

219.   At launch, the App Store’s U.S. storefront offered 452 third-party apps (131 of which were
       games) by 312 distinct developers. Hitt TT. In the App Store’s first year, the number of
       available apps grew to over 75,000. DX-4608 at -034. This growth was particularly
       pronounced among “gaming and entertainment titles.” Id.

220.   The sheer volume of available apps made the App Store distinctive at this time. Hitt TT.
       In September 2009, users of Sony PSPs could access 607 game titles and users of Nintendo
       DS’s could access 3,680 titles; iOS users had access to 21,178 game titles on the App Store.
       DX-4608 at -034. When the App Store crossed 185,000 total available apps in March
       2010, Android marketplace only offered 30,000 and BlackBerry offered fewer than 6,000.
       Hitt TT.

221.   This growth continued. By October 2010, there were over 300,000 apps available on the
       App Store. DX-4593 at -205; DX-3406 at -167. By 2014, there were over 1,000,000 apps
       on the App Store. DX-3734 at -147. By 2015, there were over 1.4 million apps available
       on the App Store. Malackowski TT. And by 2020, there were over 1.8 million apps
       available on the App Store. Malackowski TT. Games remain a significant share, with over
       300,000 game apps available in the 2019 fiscal year. Hitt TT.

222.   While the App Store generated growth in apps of every kind, free apps in particular became
       more prevalent. Schiller TT. At launch, about 32% of apps on the App Store were free.
       Hitt TT. As Epic acknowledges, Apple adopted pricing models for the App Store that
       stimulated the supply of free apps. Evans TT. As a result, developers shifted away from
       paid-to-download game apps toward free-to-download game apps (with or without in-app
       purchases). Schiller TT; Hitt TT.

223.   In 2013, more game apps were completely free—meaning both free-to-download and
       offering no in-app purchases—than pay-to-download. Hitt TT. By the end of 2019, 66%
       of game apps were free-to-download and offered no in-app purchases and about 25% more
       were free-to-download with in-app purchases. Hitt TT. Users now have to pay to
       download less than 10% of game apps. Schiller TT; Hitt TT.



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       Indeed, the App Store has long attracted the “hot title[s]” from “[l]eader[s] in the
       entertainment industry,” including major developers like Ubisoft and Electronic Arts. DX-
       4608 at -034, -037. And many games that previously would have been available on
       consoles and PCs have been released—with great success—on the App Store. Schiller TT;
       Hitt TT. These games run the gamut, ranging from content creation games like Minecraft
       to tower-defense games, board-game adaptations, resource-management simulators,
       console game adaptations, and more. Hitt TT.

227.   By every conceivable measure, Apple’s business model succeeded in eliminating the major
       frictions that existed in the mobile phone business in the 2000s, driving explosive growth
       through positive feedbacks between developers and users. Cook TT; Schmalensee TT.
       And Apple has generated this output at rates far surpassing competitors, many of whom
       have fizzled out. Cook TT.

X.      THE APP STORE COMPETES WITH OTHER PLATFORMS FOR GAME APP
                              TRANSACTIONS

228.   Every day, Apple competes against many rivals in many markets and is constantly pushing
       to improve Apple’s devices, software, services, and other offerings. Cook TT. The App
       Store and iOS ecosystem are not exceptions. Cook TT.

A.     The App Store launched in a marketplace that already contained numerous rivals.

229.   The App Store competes in an increasingly crowded market of game app distribution
       platforms. Schiller TT. This includes at least four sources of competition for game app
       distribution: Online mobile app transaction platforms (e.g., Google Play); online
       transaction platforms focused on game distribution (e.g., Steam); developers’ own stores
       that directly distribute their games (e.g., Epic Games Store); consoles (e.g., Sony
       PlayStation and Microsoft Xbox); and, most recently, streaming game services (e.g.,
       Nvidia GeForce Now). Schiller TT.

230.   Platforms for online distribution of apps began to emerge in the 1990s. Schiller TT.
       Among the first online platforms was Blizzard’s Battle.net, an online store that sold
       Blizzard’s own titles. Schiller TT; Schmalensee TT. Shortly thereafter, the first successful
       on-device platform for mobile devices, Handango Inhand, was launched for devices using
       the Symbian operating system. Schmalensee TT.

231.   Steam, launched in 2003, was the first online platform focused on game distribution to gain
       major success. Sweeney TT; Schmalensee TT. Initially, Steam only facilitated distribution
       of games developed by Valve for Windows PCs, but, beginning in 2005, it began to
       facilitate distribution of games developed by other firms. Schmalensee TT. As the “[f]irst
       mover,” Steam “pioneered digital distribution on PC” and enjoyed initial success in that
       endeavor. Allison depo. at 46:17–21, 47:20–48:5.

232.   Other PC-focused digital distribution platforms followed on the heels of Steam’s success.
       GameJolt, iPlay, Direct2Drive, Windows Marketplace, GamersGate, and Kongregate all
       launched between 2003 and 2007. Schmalensee TT. In addition, Microsoft launched Xbox
       Live Marketplace in 2005, Sony launched the PlayStation Store in 2006, and Nintendo


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       launched the Wii Shop Channel that same year. Schmalensee TT. Most of these platforms,
       like Steam, charged a 30% commission. Schmalensee TT.

233.   Moreover, users could (and still can) access games through web applications on their web
       browser, such as Safari. See supra § III.B.

234.   Thus, the App Store entered a marketplace with multiple established competitors and
       competing services. Schiller TT.

B.     Competition for game app transactions has become more intense since the App
       Store’s launch.

235.   The marketplace for game app distribution has become more crowded since the App Store
       launched. Schiller TT. At least 22 other digital distribution platforms launched between
       2008 and 2011. Schmalensee TT.

236.   Among these, Google announced the Android Market in 2008 (which later became Google
       Play in 2012). Schiller TT; Schmalensee TT. Nokia and Samsung launched their Ovi Store
       and Galaxy Apps Store, respectively, the next year. Cook TT; Schmalensee TT. In 2011,
       Amazon launched its own app store—trying to copy many aspects of Apple’s distribution
       process, DX-4529 at -497–98—and Nintendo launched its eShop for its 3DS device.
       Schmalensee TT.

237.   Apple saw these app platforms as burgeoning competitors at the time. Cook TT; Schiller
       TT. In a 2011 email sent to Steve Jobs, for example, an Apple executive noted that the
       threat level to the App Store of Google’s Android Market was “high” and that Google was
       “investing in the area where they have been weakest.” DX-3889 at -016–17; see also DX-
       3866 at -250 (similar in 2012).

238.   Apple has also benchmarked the App Store against Android Market and Google Play. A
       2012 presentation does so explicitly, with extensive comparison analysis of the “Android
       Market vs. App Store.” DX-4593 at -173–85. Likewise, a 2017 presentation listed Google
       Play in the “Competition” section. DX-4399 at -656. And in a 2013 presentation, Apple
       compared the App Store’s shares of total billings in various games to the Android share of
       total billings. DX-3316 at -913.

239.   Apple understood that other Android marketplace platforms were competitive forces as
       well. Schiller TT. Apple circulated internally a competitive analyses for other platforms
       as they launched. DX-4562. As but one example, when Amazon launched its Android app
       marketplace, Mr. Schiller wrote internally: “[T]he ‘threat level’ is not ‘medium’, it is ‘very
       high.’” DX-4447 at -304. And at the Fourth Annual App Store Global Management Team
       Summitt, Apple spent considerable time discussing competition from Google, Samsung,
       and Amazon. DX-3734 at -164–76.

240.   Apple also competes against PC and console game app platforms such as Microsoft’s Xbox
       and Sony’s PlayStation. Schiller TT. As early as 2009, Apple executives discussed Sony’s
       PSP Go as “a key competitor” to the iPhone “because Sony also relaunched the PSN
       [PlayStation Network] Store.” DX-4389 at -956. Apple also discussed internally how,


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       248.2 Around 1998, Epic moved to a different distribution model. Sweeney TT. It signed
             a publishing deal with TT Interactive and distributed primarily through retail,
             selling packaged PC games through traditional brick-and-mortar outlets. Sweeney
             TT.

       248.3 During the mid-2000’s, Epic’s business model shifted again as the company
             became a multiplatform developer, developing console games in addition to PC
             games. DX-3710 at 731-32.

249.   Developing video games remains Epic’s primary business today. Epic sells these games
       to customers directly and through several game transaction platforms. Sweeney TT.

       249.1 Currently, Epic’s popular games include Fortnite, Unreal, Gears of War, Shadow
             Complex, and the Infinity Blade series. Sweeney TT.

       249.2 Among these games, Fortnite is Epic’s breakout product. DX-3976 at -935. In
             June 2020, Fortnite had 350 million registered global users. Sweeney TT. Up until
             August 2020, Fortnite was available on Microsoft Windows, Mac Store,
             PlayStation 4, Xbox One, Nintendo Switch, Google Play, the Samsung Galaxy
             Store, Epic Games Store, and the App Store. Sweeney TT; DX-3742. Indeed, one
             of the reasons for Fortnite’s popularity was Epic’s enablement of cross-platform
             play allowing players to compete against others on different consoles as well as
             allowing to maintain the same account on multiple platforms. DX-3786 at -889.

       249.3 Fortnite primarily relies upon a “freemium” model: The game is largely free to
             download and play, but certain additional in-game features and enhancements can
             be purchased. Sweeney TT. Epic primarily generates revenue through in-app
             purchases—selling so-called “V-Bucks,” a digital currency that can be used to
             obtain items in Fortnite. DX-3807 at 7–9. V-Bucks can also be purchased directly
             from Epic’s website. Sweeney TT.

       249.4 Epic sells V-Bucks to consumers in various bundles and packages. DX-3445.
             When Fortnite was available to download on the App Store, a “Starter Pack” cost
             $4.99. Id. From there, Epic sells V-Bucks in various quantities at increasing prices:
             1,000 V-Bucks for $9.99, $24.99 for 2,500 V-Bucks, and so on—all the way to
             13,500 V-Bucks for $99.99. Id.; see also DX-3774 at -770 (outlining Epic’s U.S.
             V Buck prices in July 2020); DX-3807 at 20. After Epic implemented its hotfix on
             iOS, it dropped V-Bucks prices by 20% for purchases made through Epic’s direct
             payment option on iOS and Google Play as well as for purchases on every other
             platform through which Fortnite was offered (i.e., 1000 V-Bucks cost $7.99, 5,000
             now cost $31.99, and 13,500 V-Bucks cost $79.99). DX-3774 at -770; DX-5317;
             see also infra § XI.K.

       249.5 As Epic’s Lead Product Manager observed, free-to-play games like Fortnite “are
             like little monopolies -- no one else is selling V-Bucks.” DX-3486 at -420.

       249.6 Epic also monetizes Fortnite in ten other ways. DX-3807 at 7–9.



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       253.1 This began with Epic’s first iOS game, Infinity Blade, in 2010. DX-4455 (email
             thread about meeting between Epic and Apple to discuss Infinity Blade under
             codename "Sword"); DX-3710 at -732. Epic released Infinity Blade for iOS
             because it thought that there was a bright future ahead for 3D high quality games
             on mobile platforms, and there were a large number of iOS users. Sweeney TT.
             Apple spotlighted this game at a special event later that year. DX-3788.

       253.2 Similarly, Infinity Blade II was released in 2011 and featured at the keynote
             presentation for the iPhone 4S. DX-4494. And Infinity Blade III was released in
             2013 and featured at the 2013 keynote presentation for the iPhone 5S. DX-3147.

254.   Epic debuted Fortnite on a number of platforms—including Windows, Mac, Xbox One
       and PlayStation 4—in July 2017. Sweeney TT; Hitt TT. Initially, consumers had to pay
       to download and play Fortnite. Sweeney TT; Hitt TT. In September 2017, Epic released
       “Battle Royale”—a free-to-play game mode with features available for in-app purchase.
       Sweeney TT. With Battle Royale’s success, Fortnite quickly “became more about Battle
       Royale” and, thus, a primarily “free-to-play game.” Kreiner depo. at 169:10-11.

255.   In early 2018, Epic and Apple arranged for the release of Fortnite on iOS. Schmid TT.

       255.1 From the early days, Epic supported cross-platform scenarios to allow users of
             different devices to play Fortnite with one another. Sweeney TT. Cross-platform
             scenarios occur where games on one platform access “content, subscriptions, or
             features” that were acquired on other platforms or on a developer’s website. DX-
             3695 at -093–96 (§§ 3.1.1, 3.1.3).

       255.2 These cross-platform play scenarios were critical to Fortnite’s appeal. DX-3786 at
             -889 (“Fortnite is multi platform to the core”). But cross-play was not permitted
             on all platforms, including Microsoft’s and Sony’s. Sweeney TT. Epic therefore
             had significant discussions with Microsoft and Sony to enable broader cross-
             platform play. Id.


       255.3 Epic did not encounter such difficulty with Apple. Before launching Fortnite on
             iOS, Epic sought to leverage Apple’s significant interest in “the mobile version of
             [Fortnite Battle Royale]” to obtain Apple support in operationalizing cross-play
             capabilities and secure marketing support from Apple. DX-3448 at -165. Apple
             obliged: Before Epic debuted Fortnite on iPhone in March 2018, Apple had
             operationalized cross-platform play. Schmid TT. That included previously
             changing its Guidelines to expressly permit the cross-platform functionalities
             similar to what Epic had requested. DX-3695 at -093–96 (§§ 3.1.1, 3.1.3). Apple
             continued to permit such cross-functionality on Fortnite while the game remained
             on the App Store. Schmid TT.

       255.4 In addition to cross-platform play, Apple also facilitated cross-progression (game
             progress synced across platforms), Sweeney TT, and cross-wallet functionality
             (allowing purchases from one platform to be used on others). Sweeney TT.



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       255.5 Epic has recognized that Apple’s permissive cross-platform policies contributed to
             Fortnite’s success as a cross-platform game. Sweeney TT.

C.     Epic has benefitted from Apple’s support over the years.

256.   Epic reaped enormous benefits from its relationship with Apple. First, Epic used Apple’s
       robust technical tools and software to develop and improve its game apps.

       256.1 Apple has provided hardware to Epic as well as 16 Apple SDKs (each of which
             includes thousands, if not tens of thousands, of APIs, among many other features).
             Federighi TT. Apple also permitted Epic to distribute builds on hundreds of iPads
             and iPhones for testing purposes. Federighi TT. Epic’s use of these tools began
             long before it released Fortnite for iOS. See supra § XI.B (Epic released games for
             iOS as early as 2010).

       256.2 For Fortnite alone, Epic has used thousands of Apple’s unique API frameworks
             and classes, as well as five different versions of Apple’s SDK, six unique Xcode
             builds, and other software and tools. Grant TT; DX- 3807 at 14–17; Malackowski
             TT.

       256.3 For example, Epic has used AdSupport, Audio Toolbox, AVFoundation, CloudKit,
             CoreAudio, CoreGraphics, CoreMedia, CoreMotion, CoreVideo, DeviceCheck,
             Foundation, GameController, GameKit, HealthKit, HomeKit, iAD, IAP,
             MediaToolbox, Metal, MultipeerConnectivity, QuartzCore, SafariServices,
             Security, SotreKit, SystemConfiguration, UIKit, UserNotifications, VideoToolbox,
             and WebKit. Malackowski TT.

       256.4 As Epic acknowledged, not only is it “virtually impossible to develop an app for,
             or a toolset for development on, iOS [] without” these tools, DX-3807 at 14, but
             Apple’s software and tools also are superior to those available on other mobile
             devices. Penwarden depo. at 69:8–70:9.

       256.5 In one email, Epic’s Lead Producer of Special Projects, John Jack, wrote to Epic’s
             Vice President of Engineering, Nick Penwarden, “We’ve been making use of Metal
             on iOS to great effect since its release in 2014.” DX-3098 at -599. He went on,
             “[a] fast, agile, feature-rich API like Metal is exactly what we need to bring a game
             designed for modern consoles and desktops to the battery-powered iPhone and
             iPad.” Id. Apple’s tools “bl[ew] away” competitors “in every way” and were
             instrumental to getting “Fortnite ship-ready on iOS in a handful of months.” Id.

       256.6 Indeed, Epic praised Metal and other Apple tools repeatedly. Malackowski TT;
             Schmid TT; DX-3462 at 77:7–11, 79:3–10.

       256.7 Apple protects this technology with its intellectual property rights, comprising
             patents, copyrights, and trademarks, Malackowski TT, which Apple agreed to
             license to Epic subject to the terms of the DPLA, Penwarden depo. at 100:1–2.




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              “[i]t almost feels like they’re abusing expedite requests due to a systematic issue
              on their end in the development/QA/submission process.” DX-3427 at -040.

       258.3 Nonetheless, Apple honored almost all of Epic’s 80+ requests for expedited app
             review in 2020—even though developers are typically required to make such
             expedited requests only in extenuating circumstances. Schmid TT. Those
             expedited app reviews would typically be completed within a few hours. Schmid
             TT.

       258.4 Apple also gave Epic “compliance extension[s],” allowing them leeway to fix their
             apps. DX-4082 at -539; Schmid TT.

259.   Fourth, Apple provided Epic with an unprecedented degree of marketing support. This
       marketing support helped Epic benefit from Apple’s trademarks and brands. Malackowski
       TT.

       259.1 Apple regularly featured Fortnite in areas of the App Store that drove user traffic
             to the game, including “on the games tab and in games we are playing lists.” DX-
             3497 at -748.

       259.2 As noted above, Apple also specially promoted the launch of each iOS app
             developed by Epic. See supra § XI.B. These were significant events. Schmid TT.
             For example, Epic’s lead gameplay programmer appeared during WWDC 15 to
             showcase Epic’s launch of Fortnite through an on-stage demo at WWDC 15—
             reaching the full WWDC 15 audience (and subsequent viewers through YouTube).
             DX-4489 at 10–12; Malackowski TT.

       259.3 Apple also repeatedly offered to feature Epic’s Fortnite app in the App Store and
             promote new seasons of Fortnite through “several different marketing channels.”
             DX-4489 at 11. “These included App Store banners and app featuring as well as
             posts and paid advertisements on social media.” Id.

       259.4 Indeed, Apple even “permitted Fortnite to ‘take over’ the App Store at times,
             featuring the app prominently on the App Store’s most sought-after and frequented
             spaces.” Schmid TT. In December 2018, Apple ran a global promotion that
             featured Fortnite on the App Store’s “Today” tab—the default homepage tab when
             one opens the App Store. DX-4243; DX-3895 at -398; Schmid TT. Apple did the
             same in 2019 for the launch of Fortnite’s Chapter 2, featuring Fortnite on the
             “Today” tab for 24 hours straight. Schmid TT. At the same time, Fortnite also was
             simultaneously provided with a “full-screen takeover” of the App Store’s “Games”
             tab. Schmid TT. No other game has ever been featured as prominently on the App
             Store at any time either before or since. Schmid TT.

       259.5 Another example in which Apple “moved mountains” for Epic was its 2018
             enablement of gifting. DX-4262 at 700. In response to a request from Epic to
             enable gifting for a Fortnite promotion, Apple not only changed its guidelines but
             developed new safety requirements to permit such gifting in Fortnite going
             forward. Schmid TT; DX-4262 at -699.


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       app content. Schmid TT. This kind of business model is facilitated by the App Store,
       including IAP. Schiller TT; Schmalensee TT.

262.   From the start, iOS drove new players to Fortnite, DX-3233 at -265, and Epic realized
       “strong monetization of [Fortnite] on iOS devices.” DX-4531 at 435. For example,
       Fortnite’s introduction to the App Store coincided with the average in-app purchase on
       Epic apps through the App Store roughly doubling. Hitt TT.

263.   That said, the vast majority of Epic’s Fortnite revenue (93%) is generated on non-iOS
       platforms. Hitt TT. Among users who made a purchase between March 2018 and July
       2020, only 13% made a purchase on an iOS device—meaning that Epic was able to transact
       with 87% of paying Fortnite users without paying any commissions to Apple. Hitt TT.

264.   Still, with Apple’s support, in only two short years, Fortnite on iOS earned Epic more than
       $700 million across over 100 million iOS user accounts. Hitt TT.

E.     Epic Games Store is unprofitable and not comparable to the App Store.

265.   As noted above, EGS is not profitable and will not be profitable for at least multiple years,
       if ever. Allison depo. at 89:22–90:3; 119:13–16; Kreiner depo. at 244:2–5; 256:12–16.

       265.1 Epic lost around $181 million on EGS in 2019. DX-4361 at -016. Epic projected
             to lose around $273 million on EGS in 2020. Id. Indeed, Epic committed $444
             million in minimum guarantees for 2020 alone, Allison depo. at 100:19-22, while
             projecting, even with “significant[]” growth, only $401 million in revenue for that
             year, DX-3467 at -131. Epic acknowledges that trend will continue in the
             immediate future: Epic projects to lose around $139 million in 2021. DX-4361 at
             -016.

       265.2 As Epic has acknowledged, the incentives and investments it has made in an
             attempt to grow EGS will result in “unrecouped costs.” Allison depo. at 88:18–
             90:3. That includes at least $330 million in unrecouped costs from minimum
             guarantees alone. DX-3993 at -233. At best, Epic does not expect EGS to have a
             cumulative gross profit before 2027. DX-4361 at 016.

       265.3 As a result, Epic has funded, and must continue to fund, EGS through funding and
             capital raised by other parts of its business, which have been “incredibly profitable”
             for “several years.” Allison depo. at 121:17–122:16.

266.   In addition, EGS provided services and user experiences that were inferior to leading
       platforms like the App Store.

       266.1 It took until 2020 for Epic to make several key “launcher performance
             improvements,” which it acknowledged were a “[b]ig help for Mac.” DX-3678 at
             4.

       266.2 By its own admission, the Epic Games Store—two years after it launched—is still
             missing “critical” features. Allison depo. at 136:17-137:6. It does not offer


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                On August 4, Epic’s client—including the “tech for [hot-fixing]-on competing
                 payment methods”—would “go[] live.”
               On August 13, Epic would activate the hotfix and implement the price
                 reductions.
              DX-4561 at -375. The hotfix was timed to go live two weeks before the launch of
              Fortnite’s Season 14. Id.

275.   In accordance with its timeline, Epic tested the hotfix on multiple occasions. DX-3586;
       DX-4031. This testing was extensive. Grant TT. In between these tests, Epic used
       analytics to determine the number of players that would receive the hotfix once triggered.
       Shobin depo. at 239:9–241:13; DX-3083.

G.     Epic renews its agreement with Apple, then seeks a side deal.

276.   Epic and Epic S.A.R.L. renewed their two DPLAs with Apple on June 30, 2020. Schiller
       TT.

277.   The same day Epic and Epic S.A.R.L. renewed their agreements, Epic sought a “side letter”
       or other special deal from Apple that would provide Epic with unique, preferable terms.
       Schiller TT. Specifically, Epic asked Apple to allow “[c]ompeting payment processing
       options” on iOS apps and to release a “competing Epic Games Store app available through
       the iOS App Store.” DX-4477 (Dkt. 74-4). Epic demanded a response within two weeks.
       Id.

278.   Apple replied on July 10, 2020. DX-4140 (Dkt. 74-5).

       278.1 In that letter, Apple reminded Epic that “[t]he App Store is not simply a
             marketplace—it is part of a larger bundle of tools, technologies and services that
             Apple makes available to developers to develop and create great applications for”
             Apple products, and that Epic “has been a major beneficiary of this investment and
             support.” DX-4140 at 1.

       278.2 Apple continued: “Because of the App Store, Epic has been able to get Fortnite and
             other apps into the hands of millions instantly and at no cost, as Apple charges
             nothing upfront to distribute apps that are free to download. This exposure has
             earned Epic hundreds of millions of dollars from sales of in-app content, and
             brought with it lucrative brand partnerships and paid product placement.” DX-4140
             at 1–2.

       278.3 Apple pointed out that it has maintained the same rules on the App Store since
             2008, and has never allowed anything like what Epic demanded, because “[t]he
             guiding principle of the App Store is to provide a safe, secure and reliable
             experience for users and a great opportunity for all developers to be successful but,
             to be clear, when it comes to striking the balance, Apple errs on the side of the
             consumer.” DX-4140 at 4.

       278.4 In response to Epic’s demand that Apple allow the Epic Store onto iOS, Apple
             explained that it “cannot be confident that Epic or any developer would uphold the


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       283.2 Second, Epic decided to “Establish a 501c4 Organization” to “[a]dvocate” on its
             behalf. DX-4561 at -407. By design, this organization was under the control of
             Epic and its leadership team. DX-4166 at -535. The purpose of establishing a
             separate organization was to create a “sympathetic” public face. DX-4561 at -407.
             “Epic is not sympathetic.” Id. Smaller developers, Epic concluded, “are
             sympathetic.” Id.

       283.3 Third, Epic would “Create the Sustain Campaign,” a “messaging” initiative “to
             ensure we’re not the only voice” because, “[w]hen it comes to the press, that results
             in more neutral to positive coverage.” DX-4561 at -407.

284.   “Communications Phase 2” outlined Epic’s plan once the hotfix went live. DX-4561 at -
       408. It too had three goals. Id.

       284.1 First, Epic would continue its efforts to “seed” the press and “run ads” to “help
             establish our position.” DX-4561 at -408.

       284.2 Second, Epic would leverage “[t]raditional public relations where we use the press
             to apply pressure and drive support.” DX-4561 at -408. Epic decided to “follow a
             two-week cadence where we create news through an inflection point every two
             years, and then generate continued press on that point through a 14-day trail.” Id.
             This “strategy focuse[d] on, exhausts and moves on with three distinct audiences
             (press, consumers & policy makers) to influence the groups most likely to have an
             impact on Apple/Google.” Id.

       284.3 Third, Epic would use “Paid Media Efforts.” DX-4561 at -408. This entailed
             enlisting “a game-changing supporter list” to “influenc[e] the general public.” Id.
             Epic also intended to “target our digital advertising to both function as a
             push/pressure campaign” and create a petition drive to suggest the public supported
             its efforts. Id.

285.   Throughout the summer of 2020, Epic carried out its plan. Epic created the Coalition for
       App Fairness, DX-3774 at -764, and “charged [it] with generat[ing] continuous media and
       campaign tactic pressure on Apple/Google,” DX-3209 at -251; Weissinger TT.

286.   Meanwhile, Epic gamed out various communications strategies depending on Apple and
       Google’s responses to the hotfix. DX-4018 at -998. If Fortnite was “[r]emoved from [the]
       App Store,” Epic decided that its “PR [team would] issue[] [a] statement saying [Apple
       and Google] removed the app because Epic wanted to offer cheaper payment platforms to
       players.” DX-4561 at -416. This was consistent with the input Epic had sought and
       received from an outside consultant: Shift the narrative to “Apple/Google versus the
       player” and “Apple/Google versus the developer.” DX-3933.

287.   Epic also prepared several videos, communications, and other media with which it could
       blitz Apple. Epic prepared a short video called 1984 Fortnite in the style of Fortnite which
       presented an in-brand explanation of what Epic had done. Sweeney TT.




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M.     Epic sues and declares war on Apple.

303.   On August 13, 2020, Mr. Sweeney emailed Tim Cook, Phil Schiller, Matt Fischer and
       others threatening that Epic would be “in conflict with Apple on a multitude of fronts—
       creative, technical, business, and legal.” DX-3906 at 2. Later that day, Epic sued Apple.
       Dkt. 1.

304.   Epic meanwhile unleashed its pre-meditated media blitz.            Epic announced a
       “#FreeFortniteCup” to take place on August 23, inviting players for one last “Battle
       Royale” across “all platforms,” with prizes targeting Apple. DX-3724. In the same press
       release, Epic encouraged iOS Fortnite users to continue playing on other platforms: “If
       you’re left behind on iOS after the Chapter 2 - Season 4 launch, the party continues on
       PlayStation 4, Xbox One, Nintendo Switch, PC, Mac, GeForce Now, and through both the
       Epic               Games                App               at            epicgames.com
       (https://www.epicgames.com/fortnite/mobile/android/getstarted) and the Samsung Galaxy
       Store (https://apps.samsung.com/appquery/appDetail.as?appId=com.epicgames.portal).”
       Id.

305.   Epic released its parody video of the iconic Apple 1984 commercial, mocking Apple and
       its App Store business model. DX-4380.

306.   Mr. Sweeney continued his tweetstorms. He publicized #FreeFortnite on his Twitter
       account. DX-3728. He also criticized Apple’s small business program as providing
       consumers with “no relief” and stated that “[f]or Epic to use Apple payments exclusively
       would be to collude with Apple in restraining competition and inflating in-app purchase
       prices.” DX-5316 at -489.

307.   Epic even released a limited time skin in Fortnite called the Tart Tycoon “that’s widely
       seen as a riff on Apple CEO Tim Cook.” DX-3996.

308.   Epic similarly launched a legal and marketing campaign against Google. DX-3745 at -
       842–84.

N.     Apple terminated Epic’s Developer Program account, as well as its Developer
       Agreement and DPLA with Apple.

309.   On August 14, 2020, Apple sent Epic another letter outlining in greater detail how the
       hotfix breached Epic’s agreements with Apple. DX-3460. Apple reminded Epic that it
       “reviews every app and app update to ensure that apps offered in the App Store are safe,
       provide a good user experience, adhere to [Apple’s] rules on user privacy, and secure
       devices from malware and threats.” Id. at -357. Apple explained that it had “identified
       several violations [by Epic] of the Apple Developer Program License Agreement.” Id. at
       -357. These included violations of Sections 3.1(c), 3.2(f), 3.2.2. 3.3.3, 3.3.25, and 6.1 of
       the DPLA. Id. at -357–59. Apple therefore suspended Epic’s membership in the Apple
       Developer Program. Id. at -359.

310.   In the same letter, Apple once again informed Epic that it could cure its breaches and return
       to the App Store in good standing, giving Epic fourteen days to do so. DX-3460 at -359;


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       Schiller TT. Apple explained that failure to do so would result in termination of Epic’s
       membership in the Developer Program as well as the termination of Epic’s ability to access
       Apple’s intellectual property. DX-3460 at -359.

311.   Epic did not fix Fortnite. Schiller TT. Epic instead twice resubmitted Fortnite for review,
       first on August 20 and again on August 25. Schiller TT. Both of these Fortnite versions
       continued to avoid Apple’s IAP. Schiller TT. Consequently, Apple terminated Epic’s
       Developer Program account, as well as its Developer Agreement and DPLA with Apple,
       on August 28, 2020. Schiller TT.

O.     Epic’s disregard for its own customers is widely derided.

312.   In the aftermath of Epic’s implementation of the hotfix and Fortnite’s removal from the
       App Store, Epic received many complaints from its customers. A number of Twitter users,
       for example, complained about Epic’s decision to violate Apple’s Guidelines and get
       Fortnite removed from the App Store. One user commented in response to a quote from
       an article about Project Liberty “OMFG I hate epic.” DX-5316 at -488. Another user
       requested that Epic “just temporarily remove direct payment so that we can play . . . in
       season 4,” because Epic was “losing [its] players and money, it is a lose-lose situation.”
       Id.

313.   Users on Reddit, too, scorned Epic for Project Liberty, calling it a “publicity stunt” that
       highlighted Epic’s “greed.” DX-4147.

314.   Commentators also highlighted Epic’s decision not to challenge other platforms’
       commissions. DX-3745. “I think a fair reading of Sweeney’s argument is that he’s OK
       with Xbox, PlayStation, and Nintendo requiring a 70/30 revenue split because they deserve
       it, because they invest in hardware,” one wrote. Id. at -482. That was “[n]ot a great
       argument.” Id. “I’d say the saga of Fortnite for Android specifically shows that Google’s
       Play Store does serve a role very much analogous to that of dedicated game console
       platforms,” the author added. Id. “As for the main thrust of his ‘game consoles are
       different’ argument,” the author wrote, “it is undeniably true that Apple makes a lot of
       money from iPhone and iPad hardware sales. And Google effectively makes most of its
       money, across its entire business, from ads. But ‘Apple makes enough money from
       hardware and Google makes enough money from ads’ does not a compelling argument
       make, unless you’re a pretty hardcore anti-capitalist, and Tim Sweeney does not exactly
       seem like an anti-capitalist. And in terms of the law, it seems generous to even call it
       dubious. It tastes like weak sauce even by the standards of sauce obtained from The Weak
       Sauce Store.” Id. at -483.

P.     Nevertheless, Project Liberty remains ongoing.

315.   Despite the negative reaction to Epic’s tactics, Project Liberty remains an ongoing effort.
       Shobin depo at 95:1–3. Since August 2020, there has been at least one weekly meeting for
       Project Liberty. Id. at 95:4–18. During this time, Epic has not considered challenging
       Microsoft’s commission, Samsung’s commission, or Sony’s commission. Shobin depo at
       95:19–96:8.



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325.   The App Store creates a platform through which developers can publish their apps and
       from which a user can download the application. Schmalensee TT.

326.   Users gain greater value from the App Store with more selection in terms of quality apps,
       and app developers gain greater value from developing iOS apps for distribution through
       the App Store when there are more potential users on the other side of the platform.
       Schmalensee TT.

327.   A successful interaction—a download, an app update, or an in-app purchase—will result
       in a transaction simultaneously provided to the developer and the user. Schmalensee TT.

B.     The App Store derives substantial value from strong bilateral indirect network
       effects.

328.   The App Store exhibits strong indirect network effects. Greater consumer participation
       makes the App Store more attractive to developers and greater developer participation
       means more high-quality iOS apps that make the App Store and iOS devices more
       attractive. Schmalensee TT.

329.   In order to encourage consumers’ use of the App Store, Apple does not charge consumers
       access or transaction fees on the App Store Platform. Schmalensee TT. When developers
       pay a nominal fee of $99 per year to participate in the Apple Developer Program, they can
       access an array of powerful tools to create high-quality apps and to offer them on the App
       Store, which in turn increases the value of the platform. Schmalensee TT. The availability
       of such apps makes iOS devices more attractive to potential users. Schmalensee TT. An
       increasing user base, in turn, helps attract additional app developers who are hoping to gain
       access to these users. Schmalensee TT.

330.   The availability of apps and services in the iOS ecosystem contributes to the appeal of
       Apple devices. Schmalensee TT. To increase this appeal, Apple focuses on making sure
       that the App Store facilitates the discovery and purchase of new apps and in-app content
       of high quality, and that customers are satisfied with the App Store. Schmalensee TT.
       Apple has been successful: in a survey, Apple consumers noted being satisfied with the
       variety and “[e]ase of discovering new apps in the App Store,” as well as the high quality
       of those apps. DX-3210, at -259.

331.   Apple’s continuous updates of its hardware also generate indirect network effects, because
       improving the devices that use a particular operating system will make that operating
       system more attractive to developers, which will in turn affect consumer demand.
       Schmalensee TT.

332.   The App Review process itself generates indirect network effects by reassuring consumers
       that Apple’s App Store is a safe and secure place for consumers to download apps.
       Schmalensee TT; Kosmynka TT. Developers, too, recognize that the review process
       creates value for the whole ecosystem. Schmalensee TT. As one developer stated, Android
       has “[n]o review process. Yes, it’s easier on the developer, but it’s detrimental to the whole
       ecosystem.” DX-4626 at -241. Accordingly, Google has begun moving in the direction of



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       the App Store by adding human review (although not to every app or app update) and
       tightening its app screening and review process. Schmalensee TT; Rubin TT.

C.     Apple has adopted pricing strategies, service provision strategies, and rules of
       behavior to attract both consumers as well as developers and to facilitate productive
       interactions between them.

333.   Successful two-sided platforms must ensure that there are a large number of participants
       on both sides of the platform and that transactions on the platform are as easy, safe, and
       reliable as possible. These are defining characteristics of the App Store. Schiller TT.

334.   Apple has consistently recognized that maintaining the App Store requires it to attract and
       retain both users and developers. Schmalensee TT; see also supra § IX. Apple competes
       vigorously for users and develeopers. See supra §§ VII & X.

335.   Apple works very hard to attract and support game app developers on that side of the
       platform. Schmalensee TT; see supra §§ VII–IX.

336.   Apple’s technical support for its game developers is also recognized as industry-leading.
       See supra § VIII.

       336.1 There are many examples of Apple undertaking extraordinary efforts to support
             various developers. Schiller TT.

       336.2 With respect to Epic in particular, as detailed supra § X.C., Apple provided
             substantial technical support for Epic and Fortnite to persuade Epic to continue to
             devote resources to writing and improving iOS games.

337.   Apple also provides its developers with business, marketing, and promotional support, free
       of charge—to ensure that they have success on the App Store. Schmalensee TT.

338.   Apple works just as hard to attract users and keep the installed base of device users happy
       on the other side of the platform. In order to do so, Apple has to make sure its users are
       not worried about security or privacy, and that it is easy for them to find interesting apps.
       See supra § VIII.C–D; Schmalensee TT.

339.   Apple has also continually improved the functionality and design of the App Store to keep
       iOS users engaged and active on the platform. See supra § VIII.D; Hitt TT.

340.   Two-sided transaction platforms establish and enforce clear rules of behavior to prevent
       platform participants from reducing the value of the platform to others. That is another
       defining characteristic of the App Store. Schmalensee TT.

341.   While the key tenets of the App Store Guidelines have remained consistent over time, some
       aspects of the Guidelines have evolved—and each change has benefited consumers and
       developers. See supra § VI; Schiller TT; Kosmynka TT.




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           XIII. THE APP STORE SUPPLIES ONE RELEVANT PRODUCT:
                            GAME APP TRANSACTIONS

342.   As a two-sided transaction platform, the App Store is thus best understood in the context
       of this case as supplying only one relevant product: game app transactions. Schmalensee
       TT.

343.   Game app transactions make up a sizeable segment of all app transactions. Hitt TT. In
       2018, for example, game app transactions accounted for $8.3 billion out of $13.2 billion—
       or 62.9%—in revenue from transactions on the App Store. Hitt TT. Game app transactions
       are distinct from other app transactions for at least seven reasons. Hitt TT; Lafontaine TT.

344.   First, the industry and the public recognize a distinct market for digital game app
       transactions.

       344.1 For example, many of the transaction platforms’ user interfaces, including those of
             the App Store, Google Play, and the Amazon Appstore, reflect the distinction
             between game transactions and non-game transactions, often categorizing “games”
             into a separate tab of apps. Hitt TT; Lafontaine TT. This reflects the recognition
             by the platforms that consumers sometimes visit the platforms looking for games,
             and would benefit from having the games gathered in one location. Lafontaine TT.
             On the App Store in particular, editors consider a different set of factors when
             curating games than they do when curating other apps. Lafontaine TT.

       344.2 The public, too, views games as distinct from other apps. For instance, game
             industry publications like Gamespot.com and gamesradar.com cover developments
             in games across the various game development platforms, including iOS, but do
             not generally cover developments in other apps. Schmid TT.

       344.3 Apple’s internal business structure also recognizes this distinction: At Apple, there
             were two heads of business development for the division spearheading the App
             Store—one for games and one for “all nongaming categories.” Oliver depo. at
             41:14–42:2; Hitt TT. Apple tracks the categories differently, as well; for instance,
             Apple routinely tracked “Games” billings separately from other elements of the
             App Store business. DX-4178 at -986; see also DX-4399 at -617 (same); DX-4593
             at -215–16 (same).

345.   Second, game app transactions are a distinct product because they exhibit peculiar
       characteristics and uses. Hitt TT; Lafontaine TT. Game apps provide a unique form of
       entertainment. Hitt TT; Lafontaine TT. Non-game apps serve a variety of other useful
       purposes. Hitt TT; Lafontaine TT.

346.   Third, game app developers often use specialized technology to create game apps. Hitt
       TT; Lafontaine TT. For example, middleware tools like Unity and Epic’s Unreal Engine
       are designed primarily for game developers. Hitt TT. As discussed above, there are several
       other technologies designed uniquely to improve game apps, such as Apple’s “Game Kit”
       and “Game Center.” See supra § VIII.B.



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347.   Fourth, game apps have distinct developers as game developers, including Epic, who tend
       to specialize in the development of game apps. Hitt TT. For instance, among the set of
       developers who had sold at least one game or item of in-app content in 2019, 88% of their
       App Store revenue was derived from game apps. Hitt TT. And many prominent game
       developers like Electronic Arts, Ubisoft, and Rockstar Games list only games or game-
       related content on the App Store. Hitt TT.

348.   Fifth, game app transactions differ in pricing structure from other app transactions. Games,
       in general, monetize in different ways than do other apps. Lafontaine TT; Hitt TT.

       348.1 For instance, game apps make nearly all of their in-app purchase revenue from non-
             subscriptions. Lafontaine TT; Hitt TT. This differs from other major categories of
             apps. Lafontaine TT; Hitt TT. Music, fitness, and some other apps make virtually
             all of their revenue from subscriptions. Lafontaine TT; Hitt TT.

       348.2 There also is considerable variation in the average transaction price between app
             genres, and, in particular, between game apps and other apps. Hitt TT. The average
             transaction price for game apps is $9.65, while the averages for other app genres
             range between $7.11 for photo and video apps and $14.10 for health and fitness
             apps. Hitt TT.

       348.3 Similar variation is found in the average download price for apps. Hitt TT.
             Including free-to-download apps, game apps have an average download price of
             $0.03. Hitt TT. Other major categories of apps have an average download pricing
             ranging between $0.00 (for social networking apps) to $0.10 (for education apps)—
             more than three times as high as the average transaction price for game apps. Hitt
             TT. Similar trends hold when only pay-to-download apps are considered. Hitt TT.

349.   Sixth, game apps are distributed by specialized vendors. The set of transaction platforms
       and devices available for game apps differs from the set of transaction platforms for all
       apps. Hitt TT; Lafontaine TT.

       349.1 Some of these devices are specifically designed for games and not other kinds of
             apps. Hitt TT; Lafontaine TT. For instance, all the main consoles—PS4, Nintendo
             Switch, and Xbox One—are designed with gaming as their primary purpose. Hitt
             TT. Their controllers are meant for gaming.

       349.2 Similarly, other game transaction platforms focus almost exclusively on game
             transactions, including the PlayStation Store, Nintendo eShop, and EGS. Hitt TT;
             Lafontaine TT. These platforms do not offer other kinds of apps that are commonly
             available on PCs, Macs, iPads, and phones, like Microsoft Office or sophisticated
             photo-editing software. Hitt TT.

       349.3 There also are some devices and transaction platforms for other types of apps that
             may not be substitute platforms for game transactions. For example, apps like
             Spotify can be used on smart speakers or smart home devices (e.g., Google’s Home
             or Amazon’s Echo) while most games cannot. Hitt TT.



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        laptop, 64% a desktop, 61% a console/handheld game device, 56% a non-iOS smartphone,
        and 48% a non-iOS tablet. Hanssens TT; Hitt TT. That means 95% of App Store users
        regularly use, or could have used, a device besides their iOS device. Hanssens TT; Hitt
        TT.

363.    Consumers not only have access to and use multiple devices; they also use those various
        devices to make game transactions. Hitt TT; Lafontaine TT. For example, 22.5% of
        Minecraft’s 2020 purchases were on Android devices; 22.9% on iOS devices; and the
        remainder on PC, consoles, and others. Hitt TT.

364.    Fortnite illustrates the substitutability of game transaction platforms for the purpose of
        making transactions from consumers’ perspectives. Hitt TT.

365.    Among consumers who used iOS to play Fortnite, 80% regularly used a laptop, 59% a
        desktop, 79% a console/handheld game device, 38% a non-iOS smartphone, and 33% a
        non-iOS tablet. Hanssens TT. Among these consumers 57% used their laptops to play
        games, 41% used their desktops, 79% used game consoles/handheld game devices, 27%
        used a non-iOS smartphone, and 18% used a non-iOS tablet. Hanssens TT. In total, 94%
        of iOS Fortnite players regularly use other devices besides their iOS devices and 94% of
        iOS Fortnite players regularly play games on devices other than their iOS device.
        Hanssens TT; Hitt TT.

366.    Because of Fortnite’s cross-play capabilities, these consumers could access Fortnite—at
        least until Epic’s hotfix—and enjoy a comparable experience on their iOS device and a
        different device. Hitt TT; Sweeney TT. As Mr. Penwarden testified during his deposition,
        “[a] Fortnite player can choose to play on their phone in the morning and on a console in
        the evening if that’s what they so choose.” Penwarden depo. at 137:7–9. Epic “run[s] the
        same content—or substantially similar content and same game across multiple platforms.”
        Penwarden depo at 136:3–7. Indeed, Epic touted “Perfect Cross Play” for Fortnite through
        which “[o]ne account will give you the same gaming experience on any platform, anytime,
        anywhere.” DX-3957 at -098.

367.    For Fortnite and the many games like it on the App Store that have cross-wallet and cross-
        progression functionality, an iOS user need not ever make a single paid transaction on the
        App Store to enjoy all the paid features of the game on an iOS device. Hitt TT. That is
        because a consumer could purchase Fortnite’s paid content (like V-bucks) on any
        platform—including the Epic Games Store—and then use that content while playing the
        game on an iOS device. Sweeney TT. Apple thus imposed no restriction on consumers’
        ability to switch between platforms feely. Hitt TT; Penwarden depo. at 136:20–37:9.

368.    Epic’s user data from March 2018 to July 2020 shows that Fortnite users exemplify the
        substitutability of game transactions across game transaction platforms. Hitt TT. During
        that timeframe, 35.9% of users that played Fortnite on iOS devices also played Fortnite on
        another device. For certain platforms, the share of users that accessed Fortnite through a
        second (or more) platforms ranged to as high as 32–54%. Hitt TT.




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        PCs. That’s a real revelation to me – this is a product that wasn’t invented until a few years
        ago, and it’s basically supplanting the personal computer industry as we know it. Over
        time, these platforms will be winnowed down into a much smaller set of competing
        platforms – there might be 1 or 2, maybe 3 winners worldwide across everything –
        computers, game platforms, smartphones, so we should expect a lot of consolidation here,
        and winners and losers, according to who picks the right directions and executes
        successfully on them.” DX-3768 at 26:00.

  XV.      THE EVIDENCE DOES NOT SUPPORT A SINGLE MARKET IN “iOS APP
                                DISTRIBUTION”

384.    Epic has failed to prove the existence of a single market in “iOS App Distribution.”

385.    Epic has failed to prove that apps in general, and iOS apps in particular, are all similarly
        situated with respect to the competitive conditions each type of iOS app faces on other
        platforms and through other services.

386.    Clustering is an economic and legal concept that refers to the combination of individual
        product markets where products may be bought and sold independently. Lafontaine TT.

387.    A classic example of clustering involves hospital services. Hospitals offer many distinct
        products and services, ranging from specialized surgery with few if any substitutes, to tests
        that can also be obtained at outpatient facilities, to medicines that are sold over the counter
        at ordinary supermarkets and drug stores. Lafontaine TT.

388.    Epic is attempting to cluster otherwise independent product markets in a single market.
        Such clustering is permissible only if competitive conditions are similar for the individual
        product markets.

389.    Game and non-game apps cannot be clustered in the same relevant market because the
        competitive alternatives available to game developers and consumers who play games are
        different than those available to other app developers and consumers. Lafontaine TT; Hitt
        TT. The frequency with which apps are free-to-download; monetize through the App
        Store; and monetize through in-app purchases, subscriptions, or both differs among
        different genres of apps. Hitt TT. The average transaction price charged by developers also
        differs between game and non-game apps. Hitt TT. And due to the different monetization
        strategies, commission rates differ between game and non-game apps as well. Hitt TT.

390.    In addition, the evidence shows that competitive conditions are similar for game
        transactions while they differ from other apps. See supra §§ X.B & XIII; Lafontaine TT.

 XVI. THE EVIDENCE DOES NOT SUPPORT EPIC’S EFFORT TO NARROW THE
               RELEVANT MARKET TO AN iOS AFTERMARKET

391.    Epic’s Complaint alleges that “Apple mobile device customers” are “locked in to Apple’s
        ecosystem,” Dkt. 1, ¶ 159, and does not even mention an “aftermarket.” Contrary to the
        complaint, Dr. Evans advances a different relevant market theory, of a foremarket for



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        smartphone operating systems, tied to an alleged aftermarket for iOS app distribution
        services. Evans TT.

392.    The evidence does not support either attempt—in the Complaint, or as conceived by
        Dr. Evans—to define the relevant market as an iOS aftermarket. Hitt TT.

A.      Apple does not sell a smartphone operating system.

393.    There is no foremarket for “smartphone operating systems” in which Apple competes
        because Apple does not sell “smartphone operating systems.” Evans TT. Apple “designs,
        manufactures and markets mobile communication and media devices and personal
        computers, and sells a variety of related software, services, accessories and third-party
        digital content and applications.” DX-3271, at 4. In other words, Apple sells devices,
        which are fully integrated into the iOS ecosystem and include the operating system and
        App Store. Cook TT; Schiller TT.

394.    Just as Apple does not sell “smartphone operating systems,” consumers do not purchase
        operating systems. Hitt TT; Lafontaine TT. Indeed, iOS cannot be purchased or upgraded
        at any price separately from purchasing a device. Hitt TT.

        394.1 The iPhone competes with dozens of smartphones designed and marketed by
              multiple well-funded smartphone manufacturers.            Lafontaine TT.        These
              competitors consistently release new models, and if the iPhone were not a
              competitive offering (i.e., if Apple charged too high a quality-adjusted price, or did
              not continuously develop its technology and designs to attract new smartphone
              users or switchers), then its customer base would quickly evaporate. Lafontaine
              TT. This, in turn, would have adverse network effects on the App Store.
              Schmalensee TT; Lafontaine TT.

        394.2 The competition in the smartphone market imposes constraints on Apple.
              Lafontaine TT.

395.    In addition, even under Epic’s own market definition theory, iOS app distribution would
        have to include tablet distribution as well. Hitt TT. Consumers and developers can transact
        both on iPhone and iPads through the App Store. Schiller TT; Hitt TT. Developers use
        the same tools to create apps for iPhone and iPads, and developers can provide apps that
        are compatible with both iPhones and iPads. Federighi TT; Evans TT. Many apps on the
        App Store can be downloaded on either an iPhone or an iPad, and, when consumers
        purchase a paid-to-download app on an iPhone, they can install it on an iPad (and vice
        versa) without making an additional purchase. Hitt TT.

B.      Game consumers are not locked into any relevant foremarket, whether the device, as
        Epic alleges, or the operating system, as Dr. Evans argues.

396.    The App Store rules at issue in this case have not changed since the App Store was
        introduced in 2008: iOS has always been a closed system, and the App Store has been a
        “walled garden” since inception. DX-3177 at -075–86; Lafontaine TT. Consumers have



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        industry realities, are based on a but-for world that has not been properly specified and Dr.
        Athey has made no effort to measure or quantify the costs she identifies. Athey TT;
        Rubinfeld TT.

402.    In rendering her opinions, Dr. Athey did not cite to any economic literature addressing
        switching costs, including any literature indicating that competition is always maximized
        when switching costs are reduced to zero, nor did she evaluate competition in a
        hypothetical scenario where switching costs would be zero. Athey TT.

403.    Dr. Athey’s opinion is also devoid of any evidentiary support. Athey TT; Schmalensee
        TT.

        403.1 Dr. Athey did not perform any quantitative analysis or original surveys to determine
              the amount of increased switching costs that she contends are caused by the alleged
              Apple restrictions. Athey TT. Dr. Athey provides no evidence quantifying any
              frictions that might arise when moving apps, purchases, or user data across mobile
              platforms and, accordingly, create significant app-related switching costs. Athey
              TT.

        403.2 Dr. Athey also did not evaluate whether Apple’s alleged restrictions would increase
              the time it takes to switch from an iPhone to an Android, nor did she determine the
              amount of time that it takes to switch from an iPhone to an Android. Athey TT.
              Indeed, Dr. Athey provides no evidence of the dollar estimate for switching from
              an iPhone to an Android phones at multiple price points or any evidence for the
              time and cost that would be incurred in order for a user to identify and re-install
              apps on a new mobile operating system after switching from iOS to that new
              platform. Athey TT. Nor did Dr. Athey calculate the average amount of apps that
              must be repurchased when moving from iOS to a new operating system. Athey TT.
              Finally, Dr. Athey did not determine the number of apps that a user would be
              required to repurchase if moving from iOS to a new platform. Athey TT.

404.    Dr. Athey’s assertion that removing Apple’s design decisions, policies, and rules regarding
        the App Store, app review process, and app standards would reduce user switching costs
        ignores the possibility that each platform on which an app operates may require some form
        of customization in order to operate on that platform. Hitt TT. Dr. Athey acknowledges
        that, to operate on iOS, her proposed “economic middleware” would connect to the
        operating system through APIs. Athey TT. She further acknowledges that multiplatform
        app stores, as economic middleware, “would subsequently interact” with the operating
        systems on which they would be operating. Athey TT. Yet Dr. Athey does not address
        whether switching costs would still be reduced if each multiplatform app store utilizes
        different APIs or whether multiplatform app stores can ensure compatibility across
        different platforms. Hitt TT; Schmalensee TT.

405.    Dr. Athey’s demand for forced interoperability also ignores the reality that cross-device
        functionality is already common for apps today. Hitt TT.




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        devices including Macs, PCs, Chromebooks, Android devices, and iOS devices (in addition
        to, of course, the App Store and Google Play Stores prior to Epic’s implementation of the
        hotfix). Hitt TT.

412.    Indeed, game developers choose the particular platforms for which to develop and release
        their games. Hitt TT. Depending on the size of the platform audience, the available
        developer tools, and numerous other factors, developers allocate resources across different
        transaction platforms based on their relative advantages. Hitt TT.

413.    For example, when discussing the launch of Fortnite on mobile platforms, Epic decided to
        “focus [its] engineering efforts” on iOS—for which there was less “risk in . . .
        compat[ability]&perf[romance]”—as opposed to launching Fortnite for both iOS and
        Android devices simultaneously. DX-3732 at -479, -480. Epic even expected to leverage
        their focus on iOS to obtain “extra support” from Apple, id. at -480, underscoring Apple
        treatment of Google Play as a competing transaction platform, Hitt TT.

414.    Moreover, developers can and do utilize substitute game transaction platforms to sell
        content to iOS users that can be used on their iOS devices. Hitt TT. 81% of iOS users
        regularly use other non-iOS devices where other game transaction platforms are available.
        Hitt TT. And game developers can make the content acquired though such transactions
        available for use on a customer’s iOS device. Hitt TT.

415.    Again, Fortnite demonstrates how Epic can make transactions with iOS device users
        through alternative game transaction platforms. Hitt TT. Virtually all Fortnite users on
        iOS regularly use other devices that could be used to play Fortnite and conduct in-game
        purchases, and users who accessed Fortnite on iOS spent most of their time and money in
        regard to Fortnite on non-iOS devices and through game transaction platforms other than
        the App Store. Hitt TT. These transactions are facilitated by the cross-wallet and cross-
        progression functionality permitted by Apple. Hitt TT.

416.    Because developers have the ability to substitute between the App Store and other
        platforms, they are not locked in to the App Store. Hitt TT.

E.      Dr. Evans’s hypothetical monopolist tests fail to properly account for indirect
        network effects, invalidating his conclusions about the relevant antitrust product
        markets.

417.    Dr. Evans advances a hypothetical monopolist test (“HMT”) that, he says, purports to show
        that iOS operating systems and iOS app distribution are a relevant antitrust foremarket and
        aftermarket, respectively. Evans TT.

418.    An HMT is typically used to determine the relevant antitrust market when evaluating
        mergers. Lafontaine TT. It asks whether a hypothetical monopolist in a candidate market
        could impose a small but significant and non-transitory increase in price (“SSNIP”) on its
        products, without causing so many customers to switch to a more affordable substitute that
        the price hike is no longer profitable. Lafontaine TT. If the answer is yes, then the
        candidate market is the relevant antitrust market. Lafontaine TT. If the answer is no, then
        the candidate market is too narrow. Lafontaine TT.


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419.    The HMT is typically applied to one-sided markets. Schmalensee TT. Conducting an
        HMT for two-sided platforms—like smartphone operating systems, app distribution, and
        in-app purchase payment processing—is much more complex, and requires multiple inputs
        that may be difficult to estimate. Schmalensee TT.

420.    This is because two-sided platforms often exhibit indirect network effects. Schmalensee
        TT. As discussed above, these effects are particularly pronounced in two-sided transaction
        platforms like the App Store. Schmalensee TT.

421.    Indirect network effects create feedback loops, such that even small changes on one side
        of the market can, in the long run, cause large changes in the overall popularity of the
        platform. Lafontaine TT. For example, a price increase on side A of a platform will reduce
        participation on that side. Schmalensee TT. While this initial impact may be small, it will
        also make the platform less attractive to participants on side B, leading to decreased
        participation on that side. Schmalensee TT. This, in turn will reduce participation on side
        A, and so on. Schmalensee TT. Since the HMT turns on responses to price increases,
        ignoring indirect network effects will generally lead to markets that are too narrow.
        Schmalensee TT.

422.    There is no consensus among economists about how to design HMTs to properly account
        for these indirect network effects. Shmalensee TT. While Dr. Evans has proposed one
        approach, another economist believes it is conceptually flawed. Schmalensee TT.

423.    Even assuming Dr. Evans’s method is correct, the opinions he offers in this case do not
        meet his own standards. Schmalensee TT. In his own academic work, Dr. Evans has
        acknowledged that a double-sided SSNIP test should include simultaneous testing of both
        sides of the market using at least 14 inputs. Schmalensee TT. He has not followed that
        methodology here. Id.

424.    First, Dr. Evans conducts his foremarket and aftermarket SSNIP tests on the consumer side
        and on the developer side separately. Evans TT. Then, he effectively dismisses indirect
        network effects by claiming that SSNIP on both developers and consumers would be
        profitable, because neither side would respond to the one-sided price increases he tested.
        Evans TT. Notably, Dr. Evans does not perform any actual SSNIP calculations testing
        both sides of the market simultaneously, as required by his own research. Evans TT.

425.    Moreover, none of Dr. Evans’s tests use the minimum 14 inputs required by his own
        methodology. Schmalensee TT. His foremarket SSNIP test uses only two inputs on the
        customer side, and just one on the developer side. Schmalensee TT. And his aftermarket
        SSNIP test uses only four inputs on the consumer side and just one on the developer side.
        Schmalensee TT.

426.    Dr. Evans’s single-sided SSNIP tests—that is, those that purport to measure the effect of
        price changes on only one side of the platform—are also flawed. Lafontaine TT.

427.    First, Dr. Evans claims that a hypothetical monopolist of smartphone operating systems
        could raise price by a SSNIP to consumers, holding the developer price and app supply



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        constant. Lafontaine TT. This test suffers from several critical conceptual and
        methodological flaws and should be disregarded. Lafontaine TT.

428.    As Dr. Evans acknowledges, consumers do not buy smartphone operating systems
        separately from smartphones. Lafontaine TT. There is no price charged to consumers for
        iOS or the Android operating system. Lafontaine TT; Evans TT. Nevertheless, Dr. Evans
        proceeds to “test” the consumer side of his alleged market, which he claims is a two-sided
        transaction platform. Lafontaine TT. Thus, despite his purported focus on iOS consumers,
        he bases his SSNIP on the prices Microsoft charged to manufacturers for smartphone and
        PC operating systems in 2012 and 2009. Evans TT. Even though he purports to evaluate
        the profitability of a SSNIP to smartphone operating systems, Dr. Evans then considers
        whether the SSNIP would result in substantial consumer substitution to other devices.
        Evans TT.

429.    Had Dr. Evans not artificially separated smartphone operating systems from the purchase
        that consumers actually make in his purported foremarket—the smartphone—the SSNIP
        would be based on substantially higher prices. Lafontaine TT.

430.    In his second “test,” Dr. Evans claims that a hypothetical monopolist of smartphone
        operating systems could profitably raise price by a SSNIP to developers, holding consumer
        prices and usage constant. Evans TT. He claims that smartphone operating systems charge
        developers for access to the development tools necessary for writing compatible apps, a
        fee that he characterizes as “nominal.” Evans TT. In particular, he uses Apple’s $99 annual
        developer fee and argues that a 10 percent SSNIP (i.e., a price increase of $9.90) would be
        “negligible compared to the annual costs of any commercial developer” and that it “could
        not have any plausible impact on the decision of any developer of more than completely
        trivial size regarding whether to develop smartphone apps.” Evans TT.

431.    This test suffers from several critical conceptual and methodological flaws and should be
        disregarded. Lafontaine TT. To begin with, there is no market for smartphone operating
        systems independent from iOS app distribution. Lafontaine TT. Operating systems only
        have value to developers insofar as they enable them to transact with consumers.
        Lafontaine TT. As a result, the salient price to developers is the distribution commission—
        not the annual developer fee. Lafontaine TT. Thus, the SSNIP should have been based on
        the commission. Lafontaine TT.

432.    In his third test, Dr. Evans claims that, holding the supply of apps constant, a hypothetical
        monopolist of “iOS app distribution” could profitably impose a SSNIP on consumers (by
        increasing its commission to developers, who he assumes would then pass on 50 percent
        of the increase to consumers). Evans TT. He predicts that “Apple could have increased
        its profits by $887.4 million for FY 2019 by increasing the commission rate” by 31%,
        which under his assumptions corresponds to a 5% price increase for consumers. Evans TT.
        Dr. Evans explains that the increased profits “would swamp any lost profits from reduced
        app spending on switches to Android” and, moreover, that developers would not reduce
        app supply. Evans TT. As a result, according to Dr. Evans, his conclusion that Apple can
        profitably raise commissions would hold even after accounting for developers’ reactions
        and for indirect network effects. Evans TT.


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433.    This “test” suffers from several critical conceptual and methodological flaws and should
        be disregarded. Lafontaine TT. First, Dr. Evans’s model concludes that that Apple has
        left nearly a billion dollars on the table in 2019 alone—a conclusion that conflicts with a
        key assumption underlying economic theory that firms maximize profits. Lafontaine TT.
        More likely is that Dr. Evans’s calculation and conclusion are simply incorrect—and that
        Apple in fact is constrained by existing competition and potential entry in transactions so
        it cannot profitably raise its commission rate. Lafontaine TT.

434.    Next, Dr. Evans focuses entirely on in-app purchases rather than initial downloads—the
        relevant transaction that he should be testing for in an alleged market for app distribution.
        Lafontaine TT. Indeed, Dr. Evans’s opines that in-app purchases are not even in the
        relevant app distribution market. Evans TT.

435.    Finally, the test is not based on reliable substitution data, but flawed survey data from
        Professor Rossi. Lafontaine TT. Professor Rossi’s survey and the resulting data suffer
        from several critical flaws. Lafontaine TT. First, the survey focuses entirely on the price
        of in-app purchases—which, as noted above, are not even within the alleged relevant
        market advanced by Dr. Evans—while ignoring other transactions, like initial downloads
        and updates, that are in the alleged relevant market advanced by Dr. Evans. Lafontaine
        TT. As a result, Dr. Evans’s analysis is unreliable and provides no insight into substitution
        in any alleged iOS app distribution market. Lafontaine TT. Second, Professor Rossi
        framed his questions in ways that likely biased respondents towards responses that would
        indicate that they were less likely to substitute or make changes, which in turn, may have
        biased the SSNIP analysis. Lafontaine TT.

436.    In his fourth test, Dr. Evans claims that a hypothetical monopolist of iOS app distribution
        could profitably impose a SSNIP on developers. Evans TT. This “test” suffers from
        several critical conceptual and methodological flaws and should be disregarded.
        Lafontaine TT. Just like the test on the consumer side, this test focuses entirely on in-app
        purchases instead of initial downloads, and reaches the absurd conclusion that Apple is an
        actual monopolist, but has failed to choose the profit-maximizing price. Lafontaine TT.
        In addition, the test fails to consider any potential developer response to a commission
        increase except exiting iOS altogether. Lafontaine TT. This approach completely ignores
        other likely responses, such as passing the commissions through to consumers, steering
        consumers to websites and other platforms, changing the monetization strategy to become
        more ad-supported or subscription-based, or moving to a web app. Lafontaine TT.

            XVII. THE RELEVANT GEOGRAPHIC MARKET IS DOMESTIC

437.    When defining a geographic market in a case involving two-sided transaction platforms,
        the perspectives of both sides of the platform—here, game developers and consumers who
        play games—are relevant as a matter of economics. Schmalensee TT; Lafontaine TT.




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A.      From the perspective of U.S. consumers, the relevant geographic market is the United
        States.

438.    Like many game transaction platforms, the App Store operates country-specific storefronts,
        and consumers transact through a storefront based on their home country. Schiller TT;
        Schmalnesee TT.

439.    Accordingly, U.S. consumers generally have access only to the App Store’s U.S. storefront;
        they do not have access to the App Store’s foreign storefronts. Schiller TT. Consoles and
        other game transaction platforms similarly organize their stores by country, with available
        content differing by country and payment restrictions in place that prevent shopping in a
        different country’s store. Schmalensee TT.

440.    Consumers have limited capabilities to switch to a storefront other than the storefront of
        their home country. Lafontaine TT.

441.    For the App Store, consumers may change country or region through the software on their
        phones, but the process involves a number of steps and conditions that most consumers
        would find too inconvenient unless strictly necessary (e.g., if actually moving countries).
        Lafontaine TT.

442.    There are other impediments to switching geographic registration. Doing so often requires
        a user to violate the terms of service or provide incorrect registration information.
        Lafontaine TT. Users sometimes must register an account without a credit card; Nintendo,
        for example, has region-specific eShops that only accept credit cards issued from the same
        region. Lafontaine TT; Schmalensee TT; DX-4931. And without a credit card on file these
        consumers would also be unable to download any paid apps or engage in in-app purchases.
        Lafontaine TT. Different countries also have different local laws in place governing apps;
        South Korea and China, for instance, have very rigorous licensing and regulatory
        requirements. DX-4904; Kosmynka TT.

443.    In addition, for many platforms, game apps downloaded from a foreign storefront may not
        work if the user is not in fact a resident of that country. Schmalensee TT. For example,
        Microsoft notes that “If you change your country or region in Microsoft Store, the stuff you
        got in one region might not work in another. This includes: Xbox Live Gold, Xbox Game
        Pass, Apps, games, music purchases, and movie and TV purchases and rentals.” DX-4920.

444.    The typical consumer, therefore, is generally restricted to purchases from platforms that
        operate in their own country. Lafontaine TT.

B.      From the perspective of developers, the U.S. is a separate market for game app
        transactions.

445.    Geographic constraints on U.S. game developers are less pronounced as they can transact
        with foreign consumers by publishing on foreign platforms. Lafontaine TT; Schmalensee
        TT. Foreign game app developers also can transact with U.S. consumers by publishing
        their games on U.S. platforms, including the App Store’s U.S. storefront. Lafontaine TT;
        Schmalensee TT.


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446.    No matter their country of origin, developers compete for U.S. consumers on platforms’
        U.S. storefronts because country-specific storefronts for each platform represent different
        product offerings that do not compete with each other. Lafontaine TT.

C.      Competitive conditions differ significantly across countries.

447.    The competitive conditions each platform faces varies from country to country. Hitt TT.

448.    The set of apps available across the world is not uniform. Hitt TT. So one accessing the
        App Store’s U.S. storefront would not have an identical selection of game apps to a
        consumer accessing a foreign storefront. Hitt TT.

449.    Moreover, different countries feature different slates of competing platforms, with
        differing relative market shares. Hitt TT. In addition, platforms have penetrated different
        segments of consumers in different proportions in different countries. Hitt TT.

450.    All of the above factors affect demand and substitution, creating different market
        conditions in each country. Hitt TT.

451.    Even Epic does not treat each country alike. To the contrary, Epic has experimented with
        offering different prices to its customers in different regions of the world—beyond
        differences dictated by foreign exchange rates. DX-4353 at -494. And when Epic
        “tinker[ed] with prices in some geos” to “map out the demand curve for V-Bucks in
        Fortnite,” Mr. Sweeney recognized that he needed “a breakdown of engagement for all
        territories” as data from one or two other countries was not necessarily representative of
        the U.S. DX-3486 at -414, -417.

       XVIII. APPLE LACKS MONOPOLY OR MARKET POWER IN A PROPERLY
                      DEFINED GAME APP TRANSACTION MARKET

452.    There is no dispute that Apple did not possess market or monopoly power in any relevant
        market related to app distribution in 2007, when it released the iPhone and iOS, in 2008,
        when it created the App Store and established a 30% commission, or in 2009 when it
        introduced the in-app purchase business model for developers. Hitt TT; Evans TT.

453.    Epic appears to contend that Apple obtained monopoly power around 2010. Evans TT. As
        discussed below, the available evidence is inconsistent with Epic’s assertion that Apple has
        possessed or currently possesses monopoly power in a properly defined market.

A.      Apple’s effective and actual commission rate on in-app purchases has decreased, not
        increased, since the App Store was launched.

454.    Apple has never increased its baseline 30% commission. Schiller TT. To the contrary, it
        has lowered the commission in multiple instances, including subscription services and as
        part of its small business program. See supra § VII.C; Hitt TT.

455.    Apple’s effective commission rate has always been lower than the actual rate because the
        App Store offers free-to-download apps on which Apple collects no commission. Hitt TT.


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               to fail to account for the likelihood that different costs and expenses affect Apple’s
               various lines of business differently. Schmalensee TT. Furthermore, Mr. Barnes’
               use of a single line item makes it impossible for even Mr. Barnes to specify what
               costs and expenses are included or excluded in his calculation. Schmalensee TT.

480.    There is no reliable way to identify all costs associated with running the App Store. But it
        is clear that the App Store P&L estimates only cover a fraction of the costs associated with
        running the App Store, particularly since there are substantial joint costs between Apple’s
        hardware and software businesses. Schmid TT.

        480.1 Apple is structured as a functional unit, not as separate business units. As a result
              of Apple’s general philosophy that its products and services are part of an
              ecosystem, Apple views the value of all of its products and services as a whole.
              Thus, Apple’s business is not structured that way that allows a person to push a
              button and obtain an App Store P&L. Cook TT.

        480.2 Apple’s “P&L does not include all expenses associated with the [A]pp [S]tore” and
              is “missing direct costs that are associated with the [A]pp [S]tore.” Rollins depo.
              at 59:7–16. Examples of costs associated with the App Store include engineering
              costs for iOS and the related SDKs, Schiller TT, and WWDC and developer
              outreach, Rollins depo. at 136:4–14. These costs have amounted to “many billions
              of dollars.” Schiller TT; see also Malackowski TT.

481.    How to evaluate the cost of reviewing apps is “an extremely complicated question because
        there’s so many different aspects of it.” Pruden depo. at 53:11–13. As Tim Cook testified,
        Apple does not do P&L’s at an earnings level for anything other than for the total company.
        Cook TT. So did Philip Schiller: “And we think of Apple as one P&L for the whole
        company. I haven’t seen an App Store cost model, and I don’t recall anything like that.”
        Schiller TT.

482.    Most of the App Store’s major competitor platforms also generally charge a 30%
        commission, see supra § XVIII.D, so even if Apple did have higher margins than its
        competitors, those margins could not be the result of the App Store’s commission.

483.    Epic is similar in that it does not maintain P&Ls for specific business units. Sweeney TT;
        Babcock depo. at 141:2–19. Epic does not have a systematic effort to attribute the various
        costs of the Epic teams working on shared technology and services to particular projects.
        Sweeney TT. Mr. Sweeney believes that doing so would be artificial and arbitrary.
        Sweeney TT.

F.      Apple’s profit margins are not evidence of market power.

484.    The fact that a firm has high profits does not necessarily mean that it has market power.
        Lafontaine TT. There are many different reasons for changes in profits or intensity of
        competition. Lafontaine TT. For example, if multiple firms exist in a community with a
        decreasing population, some firms may exit the market for lack of demand—but that does
        not mean the remaining firm is exercising market power. Lafontaine TT.



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485.    When evaluating market power, profitability is one consideration among many. Lafontaine
        TT. Economists generally consider two broad categories of evidence, both of which look
        beyond profitability: (i) “market conditions” or “market structure” and (ii) “market
        outcomes” such as price, quantity, and quality. Lafontaine TT.

        485.1 Evidence of market structure can help establish that an unconcentrated market with
              many small competitors is likely to be competitive, but the inverse is not always
              true—a concentrated market does not always imply the existence of market power.
              Lafontaine TT.

        485.2 Market outcomes have their own nuances. Market outcome measures, particularly
              profit, can be difficult to measure appropriately because price can be measured in
              so many ways. Lafontaine TT. The appropriate measure (or measures) of price
              depend on the circumstances. Lafontaine TT. Further, consumers care about
              quality-adjusted price, not just about absolute price. Lafontaine TT. Even when
              price is correctly analyzed, it often must be considered alongside other factors, such
              as output. Lafontaine TT. If a firm increases the quality of its product, for example,
              a corresponding increase in price is not necessarily anticompetitive. Lafontaine
              TT. For a two-sided transaction platform with a complex pricing structure, a single
              unambiguously best summary measure of price may not exist. Schmalensee TT.
              Finally, the presence of network effects may constrain even a firm with market
              power from charging supracompetitive prices because of its effect on the other side
              of the platform. Schmalensee TT.

486.    Both categories of evidence—market structure and market outcomes—are inconsistent
        with Apple possessing monopoly power or charging supracompetitive prices. Regarding
        market structure, as discussed more fully below, Apple has a low share of a properly
        defined market. Hitt TT; see infra § XVIII.G–H. And as described above, market
        outcomes demonstrate that Apple does not exercise market power because output and
        quality have increased while price has decreased. See supra § XVII.A–C.

487.    Dr. Evans’ analysis of Apple’s profit vis-à-vis market power is erroneous. His suggestion
        that the App Store’s commission is supracompetitive is inconsistent with his claim that
        Apple charges less than the profit-maximizing commission rate. Lafontaine TT;
        Schmalensee TT. And Dr. Evans’s suggestion that Apple earns an unusually high profit
        margin on the App Store as a type of direct evidence of monopoly power is wrong for at
        least three reasons.

488.    First, in differentiated product industries such as this one, price premiums well above
        marginal costs are to be expected and are not, on their own, evidence of supracompetitive
        pricing. Lafontaine TT. Most markets involve differentiated products, and entertainment
        products are classic examples of differentiated products. Lafontaine TT. Operating
        systems for other devices are differentiated from iOS, i.e., they may not be perfect
        substitutes for iOS. Hitt TT. But that is irrelevant identifying the relevant substitutes for
        this case: digital game transactions for developers and consumers. Hitt TT. The fact that
        products are not identical does not imply a lack of competition. Hitt TT. For example, as
        Apple competes for games transactions with other transaction platforms, including those


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        that facilitate only game transactions, it faces competitive constraints in its pricing for game
        transactions from a variety of sources, not all of which offer every service or feature that
        an iOS device offers. Hitt TT.

489.    Second, economists generally do not consider accounting profits to be an accurate measure
        of economic profits, especially for firms like Apple that invest substantially in intellectual
        property. Lafontaine TT.

490.    Third, Dr. Evans improperly inflates the App Store’s margins by failing to allocate to the
        App Store any of the broader Apple ecosystem costs that contribute to the success of the
        App Store. Lafontaine TT.

491.    Even when using the accounting profits that do not fully account for joint costs, however,
        Apple’s 2019 profit on the interlinked business lines of the iPhone, iPad, and App Store
        was just 27%. Evans TT; DX-3911. In comparison to other large platform businesses, this
        figure is not outside the norm. Lafontaine TT.

492.    Indeed, neither Apple’s nor the App Store’s margins are indicative of market power when
        compared to Epic. Fortnite’s gross profit margin was over 86% in the third quarter of
        2017, DX-3657, and was over 68% in the first quarter of 2018, DX-3901. In 2019, Epic
        earned $1.83 billion in gross profits, resulting in an overall gross profit margin of 43%.
        DX-3467 at -129. Epic projected $3.85 billion in total revenue and a gross profit margin
        of 40% for 2020. DX-4376 at -396–97.

G.      Apple’s market share belies market power.

493.    Apple has a low share of a properly defined relevant antitrust market, i.e., the game app
        transactions market.

        493.1 There are multiple measures of output that can be used to measure market shares in
              a two-sided transaction markets like the digital game transactions market, including
              by (i) the number of game transactions that treats each transaction equally,
              regardless of the consume price or value of the app or in-app purchase, or (ii) the
              dollar value of game transactions facilitated. Hitt TT; Schmalensee TT. Dollar
              value is the better measure because developers can sell in-app currencies (such as
              V-bucks) at different price increments, and there does not appear to be market-wide
              measures of the number of game transactions. Hitt TT.

        493.2 Measured in dollar value of game transactions facilitated, Apple’s share of the game
              app transactions market is between 23.3–37.5%. Hitt TT. It is difficult to pinpoint
              an exact percentage of market share due to complications in data reporting,
              including that (i) there is no single source for the total revenue of the digital game
              transactions market or its individual components, and (ii) industry sources vary in
              terms of what types of transactions they include in their revenue estimates and how
              revenues are categorized. Hitt TT. Market share measurements are also
              complicated by the various types of revenue that could be included in the analysis,
              such as digital transactions, subscriptions, and boxed games. Hitt TT. The range
              of 23.3–37.5% accounts for these variables. Hitt TT. But the most appropriate


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        Apple’s large customer base as well as interconnected pricing and demand. See § XII;
        Schmalensee TT.

508.    These strong indirect network effects constrain Apple’s ability to raise prices because even
        small price increases may not be profitable where indirect network effects are strong.
        Schmalensee TT. If Apple were to raise commission rates charged to developers, the
        reduction in developers transacting through the App Store would also lead to a reduction
        in consumers transacting through the App Store due to indirect network effects. Hitt TT.
        This can lead to a downward spiral. Schmalensee TT.

509.    The risk of developers leaving the App Store is significant, particularly with respect to
        game developers that have the ability to operate on multiple transaction platforms. In this
        very case, Epic took actions it knew would likely lead to its removal from the App Store.
        Sweeney TT; see also supra § X.

510.    More broadly, 79% of large developers—and majorities of medium and small
        developers—also already develop for other platforms. DX-4224 at -934. And a 2019
        survey indicated that while 60% of developers supported iOS, only 50% considered it very
        important to their future growth—fewer than the proportion that saw console platforms as
        very important to their futures. DX-4926 at 24.

511.    Indeed, Apple has reduced its commission at various times rather than lose out on
        categories of developers, which would reduce the overall attractiveness of the App Store
        to consumers. See supra § VII.C; Hitt TT. Apple’s reader rule—discussed above—is just
        one example. See supra § VII.C; Hitt TT.

K.      Apple is constrained by alternative options for monetization.

512.    Developers need not even leave the App Store to constrain Apple’s ability to raise prices.
        Hitt TT. If Apple sought to raise its commission, for example, developers could monetize
        through content or digital currencies sold to consumers through another transaction
        platform or directly through a web browser (including a web browser on an iOS device).
        Hitt TT. Developers also could use subscriptions that consumers could use within an iOS
        app but are sold through another transaction platform or directly through the web browser
        (including a web browser on a iOS device). Hitt TT. Developers also could shift to a
        model that used in-app advertising or a model that monetizes through in-app promotions
        and events. Hitt TT.

513.    As discussed in § VII.C, Apple’s multi-platform rule permits game app developers to sell
        content outside of the iOS app (e.g., selling content directly from websites) that users can
        then access in the iOS app. Developers could also offer alternative packages and further
        discounts that are not available on iOS, or through traditional retail channels. Hitt TT;
        Lafontaine TT.

514.    Cross-platform play allows Epic to sell V-Buck transactions outside the App Store that can
        be used in the iOS version of the game, including through the iPhone’s browser. Hitt TT.
        V-Bucks can also be sold in physical stores. Schmid TT. And many Fortnite players on
        iOS devices in fact make purchases, including purchases of V-bucks, on alternative game


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        reliability, security, and functionality of the phone, among other things. Federighi TT;
        Schiller TT; Forstall depo. at 66:4-10; 143:4-12; 145:3-8. And Apple’s decision to
        implement them was reasonable. Rubin TT.

524.    The App Store also was a novel innovation that improved upon preexisting software
        distribution methods. As discussed above, the App Store was a dramatic departure from
        the cumbersome and expensive mobile app distribution process that preceded it. See supra
        §VII. And with Apple’s continued innovation since, including the introduction of IAP and
        the continual development of SDKs, APIs, hardware improvements, and the like, Apple
        has dramatically improved the platform. See supra §§ III; VIII. By both quantitative and
        qualitative measures, this has been a tremendous boon for both consumers and developers.
        See supra §§ VIII, XVIII.A, XVIII.C.

525.    Lifting the challenged technical restrictions—particularly the prohibition on sideloading—
        would greatly undermine these improvements. Sideloading introduces security risks to
        users, Rubin TT, allows installation of unreviewed apps that might install malware or
        otherwise might grant themselves entitlements to a broad array of hardware and software
        in order to, for example, access privileged functionality without alerting the user, Rubin
        TT, makes it difficult to keep sideloaded apps up-to-date and secure, Rubin TT, and allows
        digital piracy and other potential intellectual property violations, Rubin TT. Each of these
        risks counteracts the improvements in security and privacy that Apple consistently has
        made over time.

B.      The “contractual restrictions” challenged by Epic do not constitute anticompetitive
        conduct.

526.    The contractual restrictions challenged by Epic include: (1) Section 3.2(g) of the DPLA,
        which requires that developers distribute native iOS developed using Apple’s IP apps
        through the App Store; (2) Section 3.3.2(b) of the DPLA, which prohibits apps that create
        a store or storefront for other code or applications; and (3) the App Store Review
        Guidelines, which the DPLA requires iOS developers to adhere and which do not permit
        the creation of an interface for displaying third-party apps, extensions, or plug-ins similar
        to the App Store. Dkt. 1 ¶¶ 68–69, 71–72, 77, 79–80.

527.    First, the contract terms Epic challenges are an integral part of a procompetitive intellectual
        property licensing arrangement. Rubinfeld TT.

        527.1 The rights licensed by the DPLA are Apple’s intellectual property—including
              copyrights, patents, trade secrets, and trademarks—and have value to Epic and
              developers in general. See supra § V; Malackowski TT. As Mr. Malackowski
              explained, Epic has no right to use Apple’s proprietary software, tools, or services
              without being granted those rights pursuant to a license agreement. Malackowski
              TT. Epic’s employees agree. Penwarden depo. at 46:15–47:11; DX-3669 at 6–7.

        527.2 The DPLA is a procompetitive license. Rubinfeld TT. By allowing developers to
              integrate Apple’s IP with their own innovations, they have created over a million
              new applications. Hitt TT. Because of Apple’s IP licenses, today, users can access



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               over 1.8 million apps, around 84 percent of which are entirely free. Schiller TT;
               Hitt TT. In return, the licensing agreement allows innovators to receive returns on
               their investments. Malackowski TT.

        527.3 The distribution terms that Epic challenges serve the valid procompetitive purposes
              of the DPLA licensing arrangement. Preventing developers from using Apple’s IP
              to distribute outside the App Store is a legitimate mechanism to reinforce Apple’s
              technical restrictions, protecting consumers and devices, and prevent free-riding
              and avoidance of Apple’s commission. Rubinfeld TT; Malackowski TT. Free-
              riding would exploit not only Apple’s historical innovations and investments but
              also Apple’s willingness to continue to make such innovations and investments in
              the future. Rubinfeld TT.

528.    Second, there is no exclusivity requirement in the Developer Agreement or DPLA that
        would support Epic’s claim that Apple has engaged in anticompetitive conduct.

        528.1 There is no restraint on developers’ ability to develop software for other platforms.
              Developers may develop and distribute apps—even substantively identical apps—
              through other platforms. Hitt TT. Epic’s business model is a clear illustration of
              multi-channel game distribution. Hitt TT.

        528.2 The DPLA’s reasonable restrictions on the use of Apple’s valuable intellectual
              property are clearly spelled out to developers. Rubinfeld TT; Malackowski TT.
              For example, “In order to use the Apple Software and Services, You must first
              accept this Agreement. If You do not or cannot accept this Agreement, You are not
              permitted to use the Apple Software or Services. Do not download or use the Apple
              Software or Services in that case.” DX-3900 at -264. The DPLA explains to
              developers that “Applications developed under this Agreement for iOS Products,
              Apple Watch, or Apple TV can be distributed in four ways: (1) through the App
              Store, if selected by Apple, (2) through the Custom App Distribution, if selected by
              Apple, (3) on a limited basis for use on Registered Devices (as defined below), and
              (4) for beta testing through TestFlight.” Id.

529.    Moreover, there are ways to distribute apps for iOS devices without signing the DPLA or
        abiding by the App Review Guidelines. Schiller TT.

        529.1 As an initial matter, the DPLA applies only to apps “developed using the Apple
              Software.” DX-3900 at -278 (Section 3.2(g)).

        529.2 As Apple’s agreements recognize, “there is always the open Internet.” DX-3691 at
              -084. Developers therefore may create web applications that are written using
              standard web technologies such as HTML, CSS, and JavaScript. Schiller TT;
              Rubin TT. These applications can be accessed on an iPhone using a mobile
              browser—how third-party developers were initially able to distribute apps. Rubin
              TT; see also supra § III.B. Indeed, Apple is committed to providing “a great web
              experience too,” through iOS web browsers, for apps “[i]f the App Store model and
              guidelines are not best for your app or business idea.” DX __ 3695 at -084.



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        542.1 As described above, Fortnite and Epic’s other offerings were available through a
              number of game apps transaction platforms. Fortnite was available through other
              game app transaction platforms before Epic started distributing it on the App Store,
              Hitt TT, and it continues to be available on other platforms even after being pulled
              from the App Store, Sweeney TT. Fortnite will soon be available to iOS users
              though Nvidia GeForce Now, which was recently being tested and is expected to
              launch imminently. Sweeney TT. And consumers can continue to make Fortnite
              transactions through the iPhone browser. See supra § XIV.A.

        542.2 Most consumers can make Fortnite transactions on a non-iOS device. Hitt TT.
              Epic’s “Free Fortnite” demonstrates that Fortnite users can and do switch
              platforms—Epic retained over 80% of iOS Fortnite users’ pre-hotfix revenue
              (across all platforms) in the four-month post-Hotfix period. Hitt TT.

        542.3 The vast majority of Fortnite revenue comes from sources other than iOS. See
              supra § XIV.B.

543.    Indeed, Epic’s economists, Dr. Evans, has declined to express any opinion related to an
        essential facilities claim. Evans TT.

544.    The evidence described above with respect to Epic’s refusal to deal allegations
        demonstrates that Apple has not refused to provide Epic with access to the claimed
        essential facility. See supra § XIX.D.

     XX.   APPLE’S CONDUCT DID NOT HAVE AN ANTICOMPETITIVE EFFECT

A.      The opening of the iPhone platform to third-party developers was procompetitive.

545.    With the introduction of the iPhone, Apple offered consumers a revolutionary new device
        with a new operating system—premised on security, reliability, and privacy. See supra
        §§ III–IV. Consistent with those principles, the iPhone’s operating system, iOS, did not
        permit sideloading, which Apple determined created unacceptable vulnerabilities on the
        iPhone. See supra § III.B. But users could access native apps developed by Apple as well
        as web applications (through a web browser, like Safari). See supra § III.B.

546.    Apple’s original view was that it would not allow third-party apps to be downloaded onto
        the iPhone. See supra § III.B. With the introduction of the App Store, however, Apple
        created an entirely new transactional platform—a new option for digital game transactions.
        Schiller TT; Schmalensee TT; see supra §§ III.A & III.C.

547.    Licensing substantial amounts of intellectual property, Apple created a new platform that
        developers could use to create game apps for consumers. See supra § III. Likewise, the
        App Store created a new, easy-to-use platform that iOS users could use to download
        games—often for free. See supra §§ III & VII.C.

548.    Critically, the App Store’s introduction did not eliminate or restrict any then-existing
        distribution channels. See supra § VI. Developers who did not wish to abide by Apple’s
        terms were free to continue making web apps or connecting with consumers through other


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        platforms, as they had been permitted to do before the App Store. Rubin TT. As Steve
        Jobs emphasized at the launch of the iOS SDK: “Web applications are still fully supported,
        so any Web application can continue to be built, which we are improving upon as well.”
        DX-3177 at -081. The App Store was a new platform whose introduction only expanded
        choice for developers and consumers. Schiller TT; see also supra § IX.

B.      The success of the App Store business model has benefitted consumers.

549.    The App Store provides an easy, seamless process for consumers to find and download
        apps. Schmalensee TT; see also supra § VII.B.

550.    In doing so, the App Store also provides consumers with free access to a huge library of
        safe, secure apps—including thousands of game apps—that enhance their lives.
        Schmalensee TT; Schiller TT. From the start, many of these game apps were free. Schiller
        TT; see also supra § III.E.

551.    The App Store’s pricing structures have continued to encourage free apps. Schmalensee
        TT. Accordingly, the number of free apps that consumers can download from the App
        Store has significantly increased over time. Hitt TT. Today, 83% of apps with at least one
        download on the App Store are free to consumers, including 76% of game apps. Hitt TT.

552.    In particular, the availability of these free apps provides enormous benefits to consumers.
        Schmalensee TT. Most obviously, consumers are able to access and choose between a
        broad variety of apps—from games to health to business productivity—at no cost.
        Schmalensee TT. Even among game apps, they are able to choose among a variety of
        options in each game genre. Schmalensee TT; Hitt TT.

553.    Whether or not they cost consumers anything, all apps on the App Store have benefitted
        from Apple’s vigorous review process and high security and privacy standards.
        Schmalensee TT. This not only ensures iOS users enjoy industry-leading security and
        privacy protections but also allows customers to trust that apps on the App Store meet these
        standards—relieving them of the burden of tracking down technical information on each
        app. Schmalensee TT. Similarly, Apple curates and ranks game apps, making it easier for
        consumers to find interesting content. Schmalensee TT.

554.    Consumers also benefit from indirect network effects fostered by Apple. Schmalensee TT.
        By providing developers with an array of powerful tools to create high-quality apps for a
        nominal cost, Apple has increased the number and quality of apps available to consumers—
        including free apps. Schmalensee TT. This in turn creates a virtuous cycle of attracting
        more users and, in turn, more and better developers. Schmalensee TT.

C.      The success of the App Store business model has benefitted developers.

555.    The App Store has also created tremendous opportunities for developers. Schiller TT;
        Schmalensee TT.

556.    First, the App Store’s appeal to consumers has created an enormous audience of potential
        customers for developers. Schmalensee TT.


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557.    Apple attracts high-value consumers both directly (by continually adding new and better
        consumer-facing features to its devices and its App Store platform, see supra § VIII) and
        indirectly (by adding developer-facing features to its platform, which attract more and
        better developers, which in turn attract more and higher value consumers, see § VIII; Hitt
        TT).

558.    Second, Apple’s IAP functionality facilitates simultaneous transactions, including the
        efficient collection of its commission. Schmalensee TT. This provides more reliable
        exchanges between user and developer and also eliminates burdensome and unreliable self-
        reporting obligations on developers. Schmalensee TT.

559.    Third, Apple’s intellectual property license, policies, support to developers have had a
        democratizing effect. Schiller TT; see also supra § VII.B. Prior to the App Store,
        developers were typically large companies (e.g., Electronics Arts and Epic Games).
        Schiller TT. That changed with the App Store; the tools and services Apple made available
        allowed smaller game developers to compete unlike ever before. Schiller TT.

560.    As discussed above, the robust slate of SDKs, APIs, and other development tools allows
        developers to make apps faster, easier, and cheaper. See supra § VIII. Those benefits are
        particularly valuable to small developers who lack the budgets to employ vast teams of
        programmers for long periods of time. Schiller TT.

561.    From the start, Apple also provided ongoing marketing and editorial support to developers
        as well as billing and taxes services. Schiller TT; see also supra § III. These benefits are
        disproportionately valuable to small developers, most of which have little to no marketing
        budget. DX-3800 at -710.

562.    As early as 2010, developers praised the “App Store democracy . . . where everyone has
        equal opportunity to find success and prosper”—even a two-person development team with
        a shoestring budget. DX-3972 at -419. Apple has continued to promote that environment,
        with the Small Business Program among the most recent examples. DX-4168; see also
        supra §VII.C.

563.    Epic is an example of the massive growth and success developers can and have achieved
        by using the App Store and associated tools and services provided by Apple. Epic used a
        free distribution model with in-app purchases. DX-3691 at 7–8. This business model is
        made possible by the App Store’s commitment to permitting (and, indeed, incentivizing)
        free-to-download apps, Schmalensee TT, and the introduction of IAP, see supra § III.F.
        And Apple’s services have significantly contributed to Fortnite’s rapid growth since 2017.
        DX-3233 (showing large numbers of new players in Fortnite between January and April
        2019 driven by the iOS platform); DX-4205 at -516 (Apple expanded Epic’s potential user
        base by providing it with a memory entitlement that allowed Fortnite to run on 2 GB
        devices, which was not possible on Android).

564.    As a result, Epic has earned more than $700 million through Fortnite transactions on iOS
        devices. Hitt TT.




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F.      The App Store provides a trusted platform for transactions.

578.    Security and privacy are key commitments at Apple. Cook TT; Schiller TT. Thus, Apple
        has focused on creating an ecosystem where users can trust the content that Apple
        publishes, making consumer safety the first order of concern. Cook TT; Kosmynka TT.
        Within Apple, it is well known that the purpose of the App Store is to be a safe and trusted
        place to get apps. Kosmynka TT.

579.    While the security benefits to consumers are obvious, the safety and security afforded
        consumers by this process also benefits developers. Kosmynka TT. That is because such
        a record of safety and security attracts more users and increases their willingness to
        download (and pay money for and on) apps, which in turn increases developer revenue.
        Schmalensee TT.

580.    The safety, security, privacy, and usability delivered by the App Store—including as a
        result of its policies and rules—provides consumers a valuable, differentiated option from
        Android platforms. Rubinfeld TT. This drives competition between iOS and Android
        platforms. Rubinfeld TT.

XXI. THE APP STORE BUSINESS MODEL IS BUTTRESSED BY OVERWHELMING
                    PROCOMPETITIVE JUSTIFICATIONS.

A.      Apple’s conduct is grounded in its legitimate interest in prioritizing user experience.

581.    The very foundation of the App Store is that consumers can trust that they can safely and
        easily download high quality apps for their iPhones and iPads that perform as promised,
        work on their specific devices (whether an iPad or an iPhone), do not jeopardize the safety,
        stability, or reliability of their devices, and offer the privacy protections that consumers
        have come to expect from Apple. Schiller TT. The App Store exists to enhance consumers’
        experience with Apple devices.

582.    Apple’s iOS ecosystem is designed around these principles. The App Store experience is
        intended to make app transactions seamless and user-friendly. Schiller TT; Federighi TT;
        see also supra §§ II–IV. Apple’s walled garden—with rigorous app review and extensive
        guidelines and screening procedures—ensures users receive high-quality apps. Rubin TT.

583.    Apple is the operating system and device manufacturer and therefore has a special interest
        in protecting the integrity and reliability of mobile devices. Schiller TT; Cook TT. The
        contractual and technical restrictions at issue were intended to protect the functionality of
        the device. See supra §§ IV & VI.

584.    Epic’s economist, Dr. Evans, concedes that Apple has established a reputation for the high
        quality of its products. Evans TT. And iOS consistently scores higher than Android on
        metrics of user satisfaction and perceived platform quality. Rubin TT.

585.    The curation processes enabled by the “contractual” and “technical restraints” Epic
        challenges in this case are critical to ensuring low-quality or malicious apps stay out of the
        App Store and the best apps rise to the top. Rubinfeld TT. The immediate goal of the App


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        Store Review Guidelines is to provide quality assurance and ensure that users have a good
        experience with any apps they download from the Store. Rubinfeld TT; see also supra
        § VI.D. And as described above, Apple’s high standards and robust review process
        routinely identify and reject apps that are malicious, offensive, impermissibly intrusive, or
        otherwise low quality. See supra § VI.D.

586.    These processes—developed through considerable investment and experience—are not
        easily replicated, as the experiences of other platforms show. See supra § VI.E. By
        excluding apps that fail the app-review process and not allowing sideloading from third-
        party sources, Apple ensures that in almost every instance users will be exposed only to
        high quality apps. Rubinfeld TT; see also supra § VI.

587.    This instills trust: iOS users know that when they transact on the App Store, they are using
        a reliable and secure platform and will receive a product that has been vetted to meet
        Apple’s high standards. Rubinfeld TT; Schmalensee TT. This consumer confidence in
        turn enriches the App Store ecosystem (and developers) as they are more prone to
        download, use, and pay for developers’ apps. Schmalensee TT; Rubinfeld TT.

588.    These benefits are enjoyed system-wide by users and developers. Rubinfeld TT. But by
        the same token, a developer that circumvents app review or otherwise evades Apple’s
        guidelines, as Epic did, threatens to give users a negative impression of the entire App
        Store. Rubinfeld TT. Such a negative impression harms not just Apple but also all
        developers that offer apps on the App Store. Rubinfeld TT.

589.    For similar reasons, the challenged “contractual” and “technical restraints” are key to
        maintaining Apple’s commitment to security, safety, and privacy. See supra § IV. Mobile
        phones play a unique role in consumers’ lives: Their convenience has led users to store
        more of their private information on them, and users rely on their devices’ functionality.
        Schiller TT; Rubin TT.

590.    Indeed, Epic itself has recognized that consumers expect and value safety and protection
        from malware and privacy breaches. Grant TT; Sweeney TT. 84% of U.S. iPad owners
        report that the security and privacy of their information was an important factor in their
        decision to purchase the iPad. DX-3465 at -095.

591.    Accordingly, Apple has made security and privacy an even bigger focus of the iPhone,
        iOS, and the App Store. Schiller TT. This begins with Apple’s creation of high-quality
        devices, like the iPhone, that contain built-in privacy features and software. Schiller TT.
        But Apple also built from the ground up—and continues to improve—a mobile-tailored
        operating system in iOS, to ensure safety and reliability. Schiller TT. And the App Store
        is designed to further safeguard users’ privacy and security. Schiller TT.

592.    Malicious activity on jailbroken phones illustrates the risks that can be posed by increased
        access to third-party app distribution. Rubin TT. There are many documented cases of
        malware being distributed on jailbroken iPhones in ways that are not possible on non-
        jailbroken iPhones. Rubin TT.




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593.    Thanks in significant part to Apple’s restrictions and review process, Professor Rubin
        found iOS security to be generally superior than that of non-iOS platforms, such as
        Android. Rubin TT. For example, although Google revised its app store review process
        in 2015 to include some element of human-guided analysis, Google acknowledged that its
        human-based review may not be as robust as those from rivals. Rubin TT. In fact,
        Professor Rubin identified multiple examples of malicious apps found on the Google Play
        Store that likely would have been rejected in the App Store review process. Rubin TT.

594.    Apple’s focus on security is no mere pretext—its security processes and features have made
        iOS significantly safer than the Android mobile platform. See supra § VI; Rubin TT.
        Professor Rubin found, for instance, that Apple’s mandatory-verification procedures for
        developers is a very important security deterrent to prevent fraud and to hinder arbitrary
        distribution of malicious or inappropriate content. Id. He also found that iOS’s ban on the
        installation of unsigned, untrusted apps enhanced iOS security relative to Android. Rubin
        TT.

595.    Indeed, Mr. Sweeney himself is an iPhone user that finds Apple’s approach to privacy to
        be superior to Google’s. Sweeney TT. And other systems like Switch, PlayStation, and
        Xbox also have adopted “closed platforms” as Nintendo, Sony, and Microsoft do not allow
        users to install software on their consoles outside of the platform’s official store. Sweeney
        TT. Similarly, the Epic Games Store, Samsung, Microsoft (including Xbox), and Google
        Play all have application review processes and moderate the app content. Schmalensee
        TT.

B.      The challenged contractual provisions prevent free-riding on Apple’s procompetitive
        investments and intellectual property.

596.    To the extent that the license terms actually restrain a developer from using Apple’s IP to
        distribute outside the App Store, those terms serve the valid purpose of preventing free-
        riding on Apple’s IP and allowing Apple to earn a return on its IP. Developers who
        distribute apps through the App Store must first agree to Apple’s DPLA, which includes a
        percentage commission payable to Apple for certain transactions and places limits on what
        they can do with Apple’s intellectual property. See supra § VI.B.

597.    The restraints at issue serve many purposes, including the prevention of free-riding,
        Malackowski TT, which economists and courts widely recognize as a procompetitive
        justification for a vertical restraint that prevents free-riding, Rubinfeld TT. In particular,
        Apple’s policies that all native iOS apps written using Apple-licensed software and tools
        be available only through the App Store prevent free-riding on: (1) Apple’s innovation and
        investments, and (2) other developers that create safe, secure, high quality apps and
        otherwise conform with developers’ responsibilities under the App Store policies and rules.
        Rubinfeld TT.

        597.1 Apple created, continually improves, and maintains its iOS devices, its tools for the
              iOS platform, the iOS operating system, and the App Store (along with its policies
              and rules) that creates a large installed base of iOS devices and users and generates
              a high demand from iOS users for iOS apps. Rubinfeld TT. In the 2020 fiscal year


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               alone, Apple spent $18.8 billion on research and development. DX-4581 at 23.
               Apple is entitled to a return on its enormous investment and is not required to allow
               others to benefit from its innovation for free. Malackowski TT. Indeed, the
               promise of return on investment is a major incentive for inventors to invest in costly
               research and development. Malackowski TT.

        597.2 Further, absent Apple’s contractual provisions that prevent free-riding, developers
              could obtain a private benefit (an incremental lift in demand due to the iOS
              ecosystem’s high reputation) but incur an ecosystem-wide cost (lowering the
              ecosystem’s reputation due to bad experiences by users of the rogue app).
              Rubinfeld TT.

        597.3 Unlike its competitors, Apple does not license its IP to OEMs and is permitted to
              recover a return on its IP in part through the design and sale of its own devices and
              services, including the App Store. Malackowski TT.

C.      The licensing terms in Apple’s DPLA are an integral part of a procompetitive
        intellectual property licensing arrangement.

598.    The introduction of new products is almost always beneficial to consumers. Rubinfeld TT.
        The introduction of the iPhone and the App Store are no exceptions. Rubinfeld TT. And
        when innovators introduce new products—especially entirely new devices or platforms
        like the iPhone and App Store—it is appropriate for them to make design decisions that
        they think best for the success of the new device or platform. Rubinfeld TT.

599.    By virtue of its ownership of crucial intellectual property, Apple could choose to be the
        exclusive developer of iOS apps for the iOS ecosystem. Rubinfeld TT.

600.    But third-party developers collectively bring to bear a broader range of ideas, exposure to
        the needs of diverse (sometimes niche) groups of consumers, their own intellectual
        property rights, and skills and talents. Rubinfeld TT.

601.    Thus, the licensing terms in Apple’s DPLA are an integral part of a procompetitive
        intellectual property licensing arrangement. Rubinfeld TT. By choosing to license its
        intellectual property to third-party developers, Apple creates an integration that can lead to
        more efficient exploitation of the intellectual property, benefiting consumers through the
        reduction of costs and the introduction of new products. Rubinfeld TT. As the Department
        of Justice and Federal Trade Commission’s Antitrust Guidelines recognize, intellectual
        property licensing allows firms to combine complementary factors of production and is
        generally procompetitive. Rubinfeld TT.

602.    The challenged licensing terms do not restrain any competition that would occur in the
        absence of the DPLA. Rubinfeld TT.

       XXII. EPIC’S PROFFERED ALTERNATIVES FOR IOS APP DISTRIBUTION
                     WOULD UNDERMINE APPLE’S BUSINESS MODEL




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603.    Epic seeks an order preventing Apple from (among other things) “[r]estricting, prohibiting,
        impeding or deterring users of iOS devices, through technical, contractual, financial, or
        other means, from downloading, executing, installing and/or updating iOS apps and app
        stores from a distribution channel other than the App Store.” Dkt. 276-1 at 3. Epic also
        seeks to “enjoin Apple from restricting, prohibiting, impeding or deterring the use of in-
        app payment processors other than Apple’s In-App Purchase.” Id. at 6.

604.    Epic has not offered any evidence that these are less restrictive alternatives that would
        allow Apple to achieve its legitimate business goals.

A.      Epic’s proffered “solutions” are premised on the counterfactual that Apple will
        provide free access to its intellectual property.

605.    As discussed above, Apple has protected its innovations by obtaining patents, trademarks
        and copyrights, as well as maintaining trade secrets. See § V. Apple holds over a thousand
        patents—as well as copyrights, trademarks, and trade secrets—in its iOS ecosystem,
        including technology in and relating to iOS, its App Store, and app developer tools.
        Malackowski TT. This includes Apple’s iOS features and functionality as well as its
        SDKs, APIs, and other development tools. Malackowski TT.

606.    Compelled licensing of Apple’s IP on Epic’s preferred terms and conditions would not
        serve the procompetitive purposes of the DPLA, would significantly increase Apple’s
        costs, and would chill Apple’s incentives to invest and innovate in its IP. Rubinfeld TT;
        Malackowski TT.

B.      Epic’s proposed relief would compromise the security of the iOS platform.

607.    As discussed above, Apple has innovated relentlessly—and invested enormous
        resources—to ensure its ecosystem is the most secure in the industry. See §§ IV & VIII.
        Epic’s proposed “solutions” would not maintain the same degree of security within the iOS
        ecosystem.

608.    First, third-party app distribution through alternative stores or sideloading would
        undermine Apple’s app review process by preventing it from applying its rigorous curation
        standards. Rubin TT.

609.    As explained above, the App Store’s review process contributes significantly to iOS apps’
        safety, reliability, and quality. See supra § VI.E. But as Mr. Sweeney admits, Epic’s
        requested remedy would mean that Apple would not necessarily review apps obtained
        through EGS (or another third-party). Sweeney TT.

610.    Without Apple’s app review process, apps would not be vetted through Apple’s industry-
        leading review process. See supra § VI. This would naturally harm the user experience:
        Users would be more likely to encounter malware, offensive or inappropriate material, and
        otherwise low-quality apps. Rubin TT. Moreover, Apple would not necessarily manage
        the entitlements provided to apps, which could create additional risks. For example, if apps
        are distributed through alternative stores or sideloading, they may be granted elevated



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        on iOS using a stamp of a compromised third party or a third party that maintains an
        insecure app review process, or otherwise permitting the installation of apps with
        entitlements that have not been reviewed for malicious or other ulterior motives. Rubin
        TT.

625.    At bottom, Epic’s requested order enjoining Apple from “[r]estricting, prohibiting,
        impeding or deterring users of iOS devices . . . from downloading, executing, installing
        and/or updating iOS apps and app stores from a distribution channel other than the App
        Store,” Dkt. 276-1, would have the extraordinary result of preventing Apple from
        deploying features that it has developed at enormous expense to enhance consumer
        security.

C.      Epic’s proposed relief would undermine the reliability and quality of the iOS
        ecosystem and increase Apple’s costs.

626.    Reliability refers to the concept that a system should consistently operate as expected.
        Rubin TT. Because reliability and security are intertwined, and reliability ensures that
        security controls work as expected, a decrease in security (as discussed above) is likely to
        coincide with a decrease in reliability. Id.

627.    Epic executives have recognized the importance of app quality in the competitive
        landscape, Sweeney TT, but Epic’s proposed solutions would degrade the reliability and
        quality of apps.

628.    Apple’s App Store Review Guidelines are designed not only to ensure that apps function
        properly, but to promote a high-quality experience for the user. Rubin TT. Because of this
        diligence in ensuring app quality, iOS consistently scores higher than Android on metrics
        of user satisfaction and perceived platform quality. Rubin TT. Indeed, Dr. Evans concedes
        that Apple has established a reputation for reliability and quality of its products, and that
        Apple’s brand is recognized as one of the most valuable in the world. Evans TT.

629.    Apple has long provided a level playing field on the App Store, where “the best apps will
        rise to the top because of reviews, ratings, and downloads.” Shoemaker depo. at 172:20–
        22. This meritocracy benefits both consumers, who can more easily find high-quality apps,
        and developers, who can enjoy success for high-quality apps. Schmalensee TT.

630.    For the same reasons described above, Apple would incur significant additional costs in
        attempting to maintain the reliability and quality of apps on the App Store. See supra
        § XXII.C.

D.      Epic’s proposed relief would undermine Apple’s ability to maintain and enforce
        consumer privacy protections.

631.    Apple believes that privacy is a human right. DX-4391 at -603. Apple takes measures to
        ensure user privacy in ways such as, including but not limited to, requiring users to opt in
        before sharing data and implementing differential privacy, which allows Apple to analyze
        de-individuated data. Rubin TT.



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632.    As Dr. Rubin explains, security and privacy are two sides of the same coin. Privacy relates
        to protecting data from unauthorized access or disclosure. Security and privacy are
        intertwined in that security controls dictate the level of privacy enforced, and privacy
        technologies can guarantee a higher degree of security. Rubin TT.

633.    For the reasons discussed above, Epic’s proposed “solutions” will degrade iOS security.
        See supra § XXI.C. This means that they will also degrade users’ privacy. Rubin TT.

634.    The Chinese marketplace presents an example. Rubin TT. Epic’s experts have cited
        China’s Android market as a competitive field. Evans TT; Rubin TT. But the multitude
        of app stores there has increased the frequency of malware downloaded by users. Rubin
        TT. In fact, a 2020 report showed that the top three stores worldwide where users were
        most likely to download malware were all from China and heavily used by Chinese users.
        DX-4934 at 6. As far back as 2013, studies have shown that the fragmentation in China’s
        Android market due to the “little control Google has over it” has resulted in “nearly 35
        percent of the Android apps . . . secretly stealing user data unrelated to the app’s
        functionality.” DX-4555 at -096.

635.    For the same reasons described above, Apple would incur significant additional costs in
        attempting to maintain the privacy protections of apps on the App Store. See supra
        § XXI.C.

E.      Apple would have to redesign iOS to permit the “solutions” Epic seeks.

636.    Unlike macOS, the iPhone is not designed to facilitate sideloading of third-party
        applications. Rubin TT; see § IV.B (describing reasons for designing iOS in a way that
        was more secure than macOS).

637.    Epic’s proposed “solutions” would require Apple to reengineer iOS at great expense.
        Federighi TT. This would countermand Apple’s original decision to not to allow other
        stores within the App Store. Schiller TT.

            XXIII. DR. ATHEY’S “ECONOMIC MIDDLEWARE” APPROACH
                                DOES NOT MAKE SENSE

638.    Dr. Athey defines a new concept in her report that she calls “economic middleware,” or
        simply “middleware” as technologies that have one or more of the following effects:
        (1) reduce user applications-related switching costs, (2) reduce user applications-related
        mixing-and-matching costs, (3) reduce developers’ costs of providing services that enable
        user app migration and synchronization to multiple platforms, further reducing user app-
        related switching and mixing-and-matching costs; and (4) reduce developers’ multi-
        homing costs. Athey TT.

639.    Middleware, as technically defined, aims to ease the development of creating software for
        a given operating system as well as ease the ability to create software (e.g., games) that
        works on multiple devices and operating systems. Hitt TT; Schmalensee TT.




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640.    Dr. Athey’s “economic middleware” is different from the well-established definition of
        middleware, which is software that lies between an operating system and the applications
        running on it. Hitt TT. Essentially functioning as a hidden translation layer, middleware
        enables communication and data management for distributed applications. Hitt TT. It is
        sometimes called plumbing, as it connects two applications together so data and databases
        can be easily passed between the pipe. Hitt TT; Athey TT. There is no question that Apple
        permits middleware to run on iOS. Hitt TT.

641.    Dr. Athey’s methodoly—and thus her conclusions—are unreliable. Hitt TT; Schmalensee
        TT; Rubinfeld TT.

642.    First, reducing switching costs does not necessarily increase competition, and Dr. Athey
        cites no economic literature supporting her belief that competition necessarily would be
        enhanced here. Athey TT; Rubinfeld TT.

643.    Rather, the impact of switching costs on equilibrium prices is an empirical question.
        Rubinfeld TT. Dr. Athey has not performed the empirical analysis required for her opinion
        to be reliable. Rubinfeld TT.

644.    Moreover, multi-platform app stores do not typically offer significant technical
        middleware solutions that improve developers’ abilities to write apps for specific operating
        systems. Hitt TT. At most, multi-platform app stores typically offer some APIs that serve
        a limited middleware role. Hitt TT.

645.    Forcing a device manufacturer to accept the operation of a multi-platform app store on their
        device need not serve as “economic middleware” and could in fact generate additional costs
        for consumers and developers that Dr. Athey has not considered. Hitt TT. For instance,
        developers that wish to offer their app on both Steam and EGS would have to utilize two
        sets of APIs for the same operating system, increasing costs. Hitt TT. And there is no way
        for a multi-platform app store to ensure compatability of apps across platforms.
        Schmalensee TT.

646.    Dr. Athey’s proposals to reduce switching costs between the iOS and other platforms also
        would reduce product differentiation between iOS and other platforms—a manifestation of
        the intense product-design competition between platforms. Rubinfeld TT. Thus, Dr.
        Athey’s proposal would reduce existing competition. Rubinfeld TT.

647.    Dr. Athey’s analysis also ignores the role of Apple’s intellectual property. Rubinfeld TT.
        She acknowledges that her proposed “economic middleware” would connect to operating
        systems through APIs—which at least in the case of iOS would require the use of Apple’s
        intellectual property. Athey TT. But she does not assess the costs, much less justify, the
        imposition of an obligation on Apple to redesign its existing intellectual property—devices
        and software—as well as a subsequent duty on Apple to license that modified intellectual
        property on the terms and conditions Epic prefers. Rubinfeld TT. Indeed, Dr. Athey did
        not speak to any engineers, review any documents from Apple or Epic regarding the
        implementation of “economic middleware” in iOS, or review any Apple code in analyzing
        whether and how “economic middleware” could be implemented in iOS. Athey TT.



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648.    In addition, most if not all of the gains Dr. Athey imagines would come from her
        hypothetical multi-platform app stores (e.g., reduced “mix-and-matching” costs and
        reduced switching costs) are already possible and have in fact been implemented by
        developers of iOS apps, including Epic, without the need for multi-platform app stores.
        Hitt TT. For instance, until the Hotfix, iOS Fortnite users could freely transfer their
        content, purchases, and game progress between devices on which users play the game. Hitt
        TT; Athey TT. Indeed the majority of top games in terms of revenue generated through
        the App Store already have systems that allow users to transfer their content to a different
        device (mobile or otherwise). Hitt TT.

XXIV. IAP IS NOT A SEPARATE PRODUCT BUT RATHER AN INTEGRAL PART OF
                              THE APP STORE.

649.    IAP did not exist prior to the App Store. Schiller TT. It was specifically developed to
        provide App Store developers with the ability to offer enhanced in-app content without
        having to create a separate version of the app for users. Schiller TT.

650.    IAP is associated with several areas of commerce within the Apple ecosystem, including
        setup of an account, purchase and transacting, financial management tax, fraud prevention
        steps, and customer support. Gray TT. These areas are connected to various areas of Apple
        Media Products (“AMP”), such as the App Store, the iTunes Store on iOS, Apple Music,
        and iCloud. Gray TT. This suite of services goes well beyond mere payment processing:
        As Epic’s executives discussed internally, “when you come to IAP within a game, outside
        of AppStore and Google Play, there is really no truly comprehensive payment solution that
        does everything needed for a game company.” DX-4496 at -170.

A.      IAP is an integrated feature of iOS app distribution.

651.    IAP is not merely a payment processor or payment settlement form. Schmalensee TT;
        Schiller TT. In fact, IAP does not process payments itself—that function is performed by
        third parties like Chase. Schmalensee TT. Rather, the bundle of IAP-related services
        allows consumers to view their purchase history and to restore purchases, Gray TT,
        provides family account sharing and global parental controls, Schmalensee TT, enables
        customer support for in-app transactions issues, Schiller TT, and boosts transaction
        security, Gray TT. IAP is thus an integrated suite of services within the iOS app
        distribution feature set. Schmalensee TT; Gray TT; DX-3891 at -612; see also supra §
        III.F.

652.    IAP supplies multiple services to both developers and users that are inseparable from the
        transactions facilitated by the App Store. Schmalensee TT. The very purpose of the App
        Store is to provide transaction services involving digital content simultaneously to both
        developers and consumers. Schmalensee TT. Consumers make payments and receive
        products, and developers receive payments and deliver products (or have Apple make
        delivery for them). Schmalensee TT. For transactions for which the developer expects a
        payment, delivery of that payment is an integral part of the transaction, and making that
        payment is an integral part of the transaction for the consumer involved. Schmalensee TT.




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653.    Payment and the accompanying services supplied by IAP are thus inputs into the
        transactions provided by the App Store. Schmalensee TT. The two sides of a transaction
        platform are not economically separable; if a developer wishes to earn revenue from its
        digital products, app distribution is inseparable from payment. Schmalensee TT.

B.      No demand exists for IAP that is separate from distribution via the App Store.

654.    There is no separate demand for IAP and app distribution. Schmalensee TT.

655.    Developers have a contractual obligation to pay a commission to Apple for in-app
        purchases. See supra § VI.C. Thus, even if developers were allowed to contract directly
        with third-party payment processors or do so via some intermediary system like Square,
        any developer using another payment processor instead of IAP would have to pay that
        processor’s fees in addition to the commission that it is contractually obligated to pay
        Apple. Schmalensee TT; DX-3256 at 345–46; Gray TT. Therefore, because using third-
        party payment processors would be more expensive for developers, no rational developer
        would use them. Schmalensee TT.

656.    Although Apple has long collected commissions through IAP, Apple has never charged
        separately for the use of its payment solution. Schiller TT. Nor has Apple ever marketed
        its IAP technology for use on other digital transaction platforms or offered to sell IAP
        services separately. Schiller TT; Schmalensee TT.

657.    Similarly, other platforms require developers to use their game payment systems, including
        Google Play, Steam, Samsung’s Galaxy Store, Xbox Live Store, and Sony’s PlayStation
        Store. Evans TT. There is no evidence that these platforms have separately marketed or
        offered for sale their payment solutions.

658.    The fact that some developers like Epic have tried to circumvent IAP by using their own
        payment processors does not provide any valid evidence that there is a separate demand by
        these developers for such services. Schlamensee TT. Rather, it shows that developers
        would prefer to not pay, or pay less in, commission to Apple for Apple’s services and the
        use of its intellectual property. Schlamensee TT.

659.    In the but-for world contemplated by Epic—in which IAP was optional—Apple would still
        be entitled to charge a commission whether or not developers chose to use IAP.
        Schmalensee TT. Given that third-party payment processors would charge an additional
        fee—and that constructing a payment solution would require investment by the
        developer—there is no reason to believe that developers would prefer unproven payment
        mechanisms that simply added to their costs for app distribution. Schmalensee TT.

     XXV. EVEN IF IAP WERE A SEPARATE PRODUCT, IT HAS NOT BEEN TIED

A.      There is no “iOS in-app payment processing” market.

660.    Dr. Evans claims that there is a relevant market for payment solutions for accepting and
        processing payments for digital content purchased within an iOS App. Evans TT. As an
        initial matter, it is unclear what the alleged product would be in an “iOS in-app payment


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        processing market” because, as Dr. Evans acknowledges, developers must create payment
        solutions by working with payment processors or gateways. See supra § XXIV.A;
        Schmalensee TT.

661.    Epic’s proposed definition hinges on the existence and application of the challenged
        restraints as Epic alleges; without those alleged restraints, the relevant market would be
        different. Evans TT.

662.    Dr. Evans seeks to support the existence of such a market through an inapt comparison
        payment processing services. Evans TT. As discussed above, IAP is not a mere payment
        processing technology as IAP provides a far broader suite of services than mere payment
        processing. See supra § III.F & XXIV. Even according to Dr. Evans, a competing payment
        solution would have to be the creation of a new collobaration between a developer and
        third-party payment processor. Evans TT.

663.    Comparisons of Apple’s 30% commission to the transaction fees charged by other third-
        party payment processors also fail to account for all the benefits Apple provides that
        payment processors do not. Schiller TT. Even Epic does not view EGS’s commission as
        a payment processing fee but rather a payment “for access to our audience.” Allison depo.
        222:15.

664.    Apple’s commission on in-app purchases, collected through IAP, and the fee assessed by
        third-party payment processors are thus apples and oranges. Lafontaine TT; Hitt TT.

665.    Dr. Evans advances an HMT that, he says, shows that payment processing solutions within
        iOS is a standalone relevant market. Evans TT. This test is fatally flawed and should be
        disregarded. Schmalensee TT. In order to show that Apple profitably raised the price of
        payment solutions by more than a SSNIP, Dr. Evans compares Apple’s App Store
        commission rate to the alleged average rate of third-party processing fees. Evans TT. But
        the App Store commission rate is not a payment processing fee. Schmalensee TT. While
        the App Store does provide payment processing services, it also provides numerous other
        services to attract and retain both end-users and developers. Schmalensee TT. It is also a
        critical part of the broader iOS platform, from which users and developers benefit.
        Schmalensee TT. In other words, it is no surprise that the App Store commission rate is
        higher than the average rate of third-party processing fees, because developers are paying
        for a lot more than just processing. Schmalensee TT.

B.      Apple has no market power in a market that includes all reasonably interchangeable
        payment processing providers.

666.    If a discrete in-app payment processing market existed, Apple would not come close to
        possessing market power. Schmalensee TT.

667.    There is nothing inherently different about performing the narrow task of payment
        processing in the iOS context as opposed to any other platform. Schmalensee TT.
        Accordingly, the relevant market would include payment processing services that operate
        on a variety of platforms, including large companies like PayPal, Stripe, and Square.
        Schmalensee TT. Epic’s chief economic expert does not offer an opinion on what the


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        for which Apple collects no commission. Lafontaine TT. And Epic recently launched a
        subscription service that, were Fortnite still available on iOS, would have allowed Epic to
        sell subscriptions outside of the App Store that could then be used by iOS users. Hitt TT.

675.    Other apps, such as Netflix, at times have opted for similar strategies that do not use IAP.
        Schiller TT.

676.    Consumers, likewise, are not required to use IAP. Again, many applications are completely
        free and do not offer in-app purchases at all. Schmalensee TT. For those apps that do offer
        in-app digital content for sale, users may download and access apps for free and purchase
        the digital content on other platforms. Schmalensee TT. For example, consumers can buy
        V-Bucks from Epic’s website using the Safari or Chrome browsers. Lafontaine TT.
        Consumers can then use those V-Bucks on the Fortnite iOS app without using IAP.
        Sweeney TT. Indeed, this kind of cross-platform functionality has been a point of emphasis
        for Apple given its focus on improving consumers’ experience. DX-3796 at -513–14.

D.      Apple’s conduct did not foreclose any significant share of the relevant market.

677.    As discussed above, the amount processed by Apple through the App Store’s U.S.
        storefront in 2018 was at most 3% of the total dollars processed in the U.S. by online
        payment processing companies and less than .2% of the total e-commerce volume in the
        U.S. in 2018. Schmalensee TT; see also supra § XXV.B. Thus, Apple was not capable of
        foreclosing a significant share of any relevant “payment processing” market. Schmalensee
        TT.

678.    Nor did Apple’s IAP requirement prevent developers from using other payment processing
        services for transactions that did not take place in an iOS app. For instance, 65.6% of the
        consumers who play Fortnite on iOS exclusively make purchases on other platforms that
        they can then access in iOS. Lafontaine TT; Hitt TT.

679.    Moreover, IAP facilitated new forms of commerce by enabling the freemium and paymium
        models. Schmalensee TT.

          XXVI. THE APP STORE’S IAP REQUIREMENT IS SUPPORTED BY
                         PROCOMPETITIVE JUSTIFICATIONS

A.      Apple’s IAP is integral to Apple’s ability to efficiently collect its commission.

680.    To collect its contractually-agreed commission on sales of in-app digital content, Apple
        needs to know when such transactions take place. Schiller TT. Ensuring that devlopers
        use IAP for such sales ensures that happens. Schiller TT. It also ensures Apple’s
        commission is collected efficiently by automatically deducting the commission from
        transactions. Gray TT.

681.    To do so, IAP quickly performs several functions as discussed above. See supra § III.F &
        XXIV. By automating all of these processes, IAP obviates the need for (and expense of)
        tracking, audit, and collection of Apple’s commissions on any in-app purchases of digital
        content. Schmalensee TT. Indeed, without such automatic processes, a developer using


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        an external payment mechanism could seek to evade a commission owed to Apple, and
        Apple would have no technological ability to collect any commissions on the sale.
        Schmalensee TT. This would lead to laborious reconciliation efforts and dispute
        resolution—turning an automated, near-instantaneous process accomplished through IAP
        into a fraught and drawn-out one. Schmalensee TT.

682.    It also ensures Apple is able to prevent developers from free-riding on Apple’s intellectual
        property. Rubinfeld TT. Without IAP, developers bypassing IAP would in effect exploit
        Apple’s historical innovations and investments while avoiding paying the renumeration an
        intellectual property holder is entitled to collect. Rubinfeld TT. Basic principles of
        economics state that this would chill Apple’s incentives to make similar investments and
        undertake the risk of similar innovations in the future—to the detriment of consumers and
        developers. Rubinfeld TT. Indeed, the prevention of free-riding is widely recognized by
        economists and courts as procompetitive. Rubinfeld TT.

B.      Apple’s IAP provides a safe, secure, efficient, and familiar experience for consumers.

683.    The combination of IAP services provides many benefits to consumers. Schiller TT.

684.    First, it enables a safe and secure marketplace for private transactions. Schmalensee TT.

685.    IAP is at least as secure, and has the potential to be more secure, than other payment
        processing services such as PayPal because it utilizes a built-in services versus accessing
        third-party libraries that may or may not have malware. Gray TT. IAP also protects the
        privacy and security of iOS users by withholding their private information from developers
        that users may not trust as much as they do Apple. Schmalensee TT; Rubin TT.

686.    Apple has legitimate grounds for concern about permitting app developers to handle
        payment processing themselves, because it exposes consumers to security and privacy
        risks. Other platforms have had security problems; indeed, Fortnite itself has experienced
        hacking attacks. DX-4921 at 1–3. And Apple’s ability to monitor and detect fraud and
        abuse—and therefore to protect its consumers—would be greatly curtailed. Rubin TT.

687.    As discussed above, IAP also is very convenient, single point of sale for consumers. See
        supra § III.F. IAP also provides and enables a number of convenient features for iPhone
        customers, including family account sharing, global parental controls, payment histories,
        and restoration and reinstallation. See supra § III.F.

688.    Consumers experience a seamless process even when they obtain a new device.
        Schmalensee TT. That is because Apple can carry the consumer’s preferences forward
        because they are linked to the Apple account. Gray TT. The account linkage also allows
        IAP to offer features and services that would be difficult or impossible for third-party
        processors to provide, such as a feature enabling users to view their entire purchase history
        and understand their spending behavior on different apps over time. Schmalensee TT.

689.    The safest way an electronic payment can be processed is to have sufficient information
        available to make good fraud decisions and to implement secure protocols. Gray TT.



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690.    Indeed, these features represent the significant investment and commitment Apple has
        made to ensure IAP is continually modernized to improve consumers’ experience on the
        App Store. Gray TT. Apple has continually invested in and modernized IAP-related
        services to the benefit of consumers and developers. Gray TT; Schmalensee TT.

        690.1 For example, in 2011, Apple developed a state-of-the-art technology so that IAP
              could support the purchase of subscriptions, including for magazines, music
              streaming and online video content, an innovative offering that developers and
              users alike have embraced since it was introduced. Schiller TT.

        690.2 Apple also changed the way it managed payment removal from a consumer’s
              account to ensure that the purchase process remains seamless. Gray TT.

        690.3 Moreover, Apple’s 2017 redesign of the App Store made in-app purchases more
              discoverable by featuring them in search results and on an app’s product page, and
              allowed consumers to start purchasing in-app content on the App Store itself, after
              which they would be redirected to the app to complete the transaction.
              Schmalensee TT.

C.      Apple’s IAP also benefits developers.

691.    The direct positive effects of the smooth functioning of IAP that consumers enjoy feed
        positive indirect network effects that benefit developers. Schmalensee TT. When
        consumers enjoy a better customer experience, developers indirectly benefit as well due to
        increasing demand of their apps, and vice versa. Schmalensee TT. In contrast, if some
        developers deployed third-party payment processors instead of the App Store’s facility,
        their customers’ purchase experiences could be less satisfactory. Schmalensee TT. This is
        likely to make the App Store as a whole less attractive to affected consumers, which, in
        turn, would make it a less profitable venue for developers. Schmalensee TT.

692.    IAP has many benefits to developers as well. For instance, it takes care of currency
        conversions and tax-law compliance, so developers can focus on creating high-quality
        apps. Schiller TT; Schmalensee TT. Without IAP, developers would have to contract with
        a different third-party and incur an additional cost of these services. Gray TT.

693.    IAP also conducts fraud-related and credit-worthiness checks, through which Apple
        essentially vouches for the customers and ensures each developer is paid. Schmalensee
        TT; Gray TT. These features are particularly useful for smaller developers who would not
        have consumer trust without the backing of Apple. Schmalensee TT. These fraud checks
        also help avoid problems like those Epic has experienced using third-party payment
        processors in Fortnite, which caused a “dramatic increase in . . . fraud” in 2020. DX-3683
        at -549.

694.    Moreover, IAP enabled monetization methods—including freemium and paymium—that
        had not been previously available in the App Store. See supra § III.F. These strategies
        rely upon IAP’s seamlessness and suite of integrated services, which permit developers to
        offer a convenient pricing strategy that attracts price-sensitive consumers that might want



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        clear. Schmalensee TT; see also supra § VIII. There is certainly no guarantee that an
        alternative model compelled by judicial decree would be any better. Schmalensee TT.

703.    Alternative payment solutions also could put customer security at risk. Schmalensee TT.
        As discussed above, IAP has been designed with robust security features. See supra § III
        & IV.C. “[W]hen you use in-app purchase, you’re using services that are built in on the
        phone versus a third-party library that may or may not have malware in it. . . . People can
        use infected libraries to give you third-party functionality. And then your password and
        user name are out there.” Shoemaker depo. at 149:21–150:2.

704.    In part because fraud detection techniques become more effective when there is more data
        to operate with, IAP’s widespread use within the Apple ecosystem has made its security
        protections particularly sophisticated. Rubin TT. Alternative payment solutions would
        deprive consumers of that benefit as no individual payment solution would have the same
        pool of data from which it could improve its security features. Rubin TT. Eliminating IAP
        would be like going in a store and paying for each individual item separately with a
        different payment and constantly providing your credit card. Cook TT.

705.    In addition, it is “a huge undertaking to build” a system akin to IAP—as Epic realized when
        creating EGS. DX-4497 at -170. Apple had the resources to build such a system and to
        continually invest in its improvement. Schiller TT. Creating an industry-leading service
        to further enhance the appeal and useability of the App Store was consistent with Apple’s
        values. Schiller TT. Making IAP secure, private, and reliable was also in Apple’s interest:
        Apple has a recognized brand for services that are secure, private, and reliable, Cook TT;
        Evans TT, and reducing frictions were in Apple’s interst as the operator of the App Store
        platform, Schiller TT; Schmalensee TT.

706.    Developers and payment processing services may not share those values or priorities, nor
        may many of them have the resources to invest in similarly robust protections to those
        Apple has created with IAP. Schmalensee TT. Thus, alternative payment solutions may
        not invest in the same security mechanisms—such as the manner in which Apple maintains
        consumers’ payment methods and payment details in a
                             where even Apple employees do not have access to them—and because
        of their technical nature, many consumers may not understand the security risks they would
        take on by using alternative payment systems. Rubin TT; Schmalensee TT.

707.    Epic’s proposal would also undermine Apple’s customer-first principle. Schiller TT.
        Apple thinks holistically about the consumer experience and promote consistency across
        Apple devices. Schiller TT. Epic’s proposed relief would create a fractured environment,
        forcing consumers to use potentially dozens of different payment processors across various
        apps and devices instead of IAP—a single, secure solution in which consumers’ have
        learned to trust. Rubin TT.




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                             PROPOSED CONCLUSIONS OF LAW

                                     I.      INTRODUCTION1

1.      The Court observed at the preliminary injunction stage that Epic’s claims are “at the
        frontier edges of antitrust law.” Dkt. 118 at 10. The corollary to that observation is that in
        the heartland of antitrust law—as interpreted and applied by the Supreme Court and the
        Ninth Circuit—Epic’s claims are without merit.

2.      Apple launched the iPhone in 2007, the App Store in 2008, and IAP in 2009. These were
        (and remain) revolutionary advancements in hardware and software innovation and
        integration, making possible the “smartphones” that are ubiquitous today but were
        unknown at the turn of this century. All of these features are genuine improvements that
        offer procompetitive benefits to developers and consumers in the form of increased
        security, privacy, and reliability, a more user-friendly experience, and differentiation from
        competitors. Apple obviously had no monopoly at the outset, and nothing that has
        transpired in the intervening decade changes that reality. To the contrary, Apple is subject
        to fierce competition in all of its business lines, and new competitors have emerged even
        during the pendency of this case.

3.      In the product market relevant to Epic’s claims (digital game transactions), the App Store
        competes with transaction platforms available on other smartphones, other tablets, other
        mobile gaming devices, game consoles, and PCs. A nascent group of game streaming
        services is also attempting to disrupt the game app industry. Apple has no monopoly (or
        market) power, has undertaken no exclusionary conduct, has engaged in no concerted
        activity, and has inflicted no anticompetitive effects. On the contrary, there has been an
        explosive increase in the output of apps (including digital game transactions) without any
        increase in price. Indeed, Apple’s commission is competitive with that charged by all other
        digital game transaction platforms, and reductions in the App Store’s commission rates
        over time are inconsistent with the exercise of market power. In addition, the App Store
        offers numerous procompetitive benefits to developers and consumers, including unrivaled
        reliability, functionality, security, and privacy. Epic, in particular, has greatly benefited
        from Apple’s innovative products and services, including access to Apple’s proprietary
        software and other intellectual property.

4.      Resolution of the case in Apple’s favor depends simply on a straightforward application of
        settled law to the facts to be established at trial, whereas each of Epic’s liability theories
        would require this Court to depart from established principles of antitrust law:



 1
     Apple respectfully sets forth below the conclusions of law that the Court can and should adopt
     in ruling that each and every one of Epic’s causes of action (and, if necessary, requested
     remedies) fails as a matter of law or equity in light of the record that will be laid by the end of
     trial. The organization generally follows the parties’ Joint Submission Regarding Trial
     Elements, Legal Framework, and Remedies, Dkt. 276 (“Joint Elements Submission”), to which
     cross-references are included for convenience.


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      (a)     Epic’s monopoly maintenance claim is premised on the notion that the antitrust
      laws preclude Apple from imposing conditions on the licensed use of its intellectual
      property, and impose on Apple a duty to deal with Epic on the terms preferred by Epic—
      to the detriment of other developers and consumers alike. But Apple has no obligation to
      license its intellectual property, and aside from a limited exception not applicable here,
      businesses are free to choose the parties with whom they will deal, as well as the prices,
      terms and conditions of that dealing.

      (b)     Epic’s essential facility claim relies on a theory of liability—denial of essential
      facility—that has never even been recognized by the Supreme Court. And even to the
      extent some courts have entertained such a claim, they have done so only with respect to
      preexisting, fixed bottlenecks, such as power grids and bridges, not a firm’s proprietary
      intellectual property developed through years of innovation. Epic’s essential facility
      claim asks the Court to be the first to hold that Section 2 requires innovating firms to
      make their innovations available to competitors on whatever terms competitors demand.

      (c)     Epic’s tying claim under Section 1 asks the Court to view the functionalities of
      the App Store separately, rather than as an integrated whole. Moreover, there is not even
      a tie here, because there is no requirement that Epic use IAP (the alleged tied product) in
      order to access Apple’s distribution services (the alleged tying product). If accepted, the
      longstanding limitations on tying liability—an already dubious and deteriorating theory
      of antitrust liability—would evaporate.

      (d)     Epic’s claim for concerted action under Section 1 urges the Court to hold Apple
      liable for concerted restraint in violation of the antitrust laws—the most suspect kind of
      conduct under the Sherman Act—even though there is no concerted action alleged. Epic
      would transform every unilateral course of dealing that includes a purchase contract,
      terms and conditions, or even an invoice into a conspiratorial restraint of competition.
      There is no basis in law for such an expansion of the meaning of concerted action.
5.    The antitrust laws “were enacted for the protection of competition, not competitors.”
      Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 767 n.14 (1984) (quotation marks
      omitted). Far from protecting competition, Epic’s calculated media and legal “Project
      Liberty” campaign—including its surreptitious implementation of an undisclosed “hotfix”
      to intentionally and knowingly deprive Apple of revenue that Epic agreed to pay—arises
      out of its disagreement with the terms of a license agreement with Apple. At bottom, Epic
      is asking this Court to force alternative terms on Apple so that Epic can make more money.
      But Epic’s request would harm other developers and consumers, in addition to imposing
      unprecedented obligations on Apple to open its proprietary systems and engineering to
      third parties.

6.    Apple is among the most innovative, competitive, dynamic, and creative companies in the
      United States, and millions of people benefit from its products and services. Those
      products and services are the result of billions of dollars of investment, in addition to
      substantial time and thought, and represent Apple’s intellectual property. Apple licenses
      that property—including access to iOS, development tools, and other proprietary
      resources—to Epic and other game developers on transparent terms. Those terms are



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         calibrated to protect the security, privacy, and reliability of iOS devices and their users,
         and do not violate the federal or state antitrust laws.

                    II.     MARKET DEFINITION (ALL EPIC COUNTS)2

A.       General Principles

7.       A “threshold step in any antitrust case” is to define the relevant market. FTC v. Qualcomm
         Inc., 969 F.3d 974, 992 (9th Cir. 2020) (citing Ohio v. Am. Express Co., 138 S. Ct. 2274,
         2285 (2018)). “[C]ourts usually cannot properly apply the rule of reason without an
         accurate definition of the relevant market. Without a definition of the market there is no
         way to measure the defendant’s ability to lessen or destroy competition.” Amex, 138 S. Ct.
         at 2285 (quotation marks, alterations, and footnote omitted).

8.       Generally speaking, “[t]he relevant market is the field in which meaningful competition is
         said to exist.” Image Technical Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1202
         (9th Cir. 1997). A “relevant market must include both a geographic market and a product
         market.” Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120 (9th Cir. 2018).

9.       It is the plaintiff’s burden to establish the relevant product and geographic markets. See
         Thurman Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369, 1373 (9th Cir. 1989);
         Fount-Wip, Inc. v. Reddi-Wip, Inc., 568 F.2d 1296, 1302 (9th Cir. 1978) (noting that
         plaintiffs bear the “burden of proof” to establish a relevant market). To meet that burden,
         a plaintiff must produce specific evidence supporting the proposed market definition that
         is “relevant to the particular legal issue being litigated.” 5C Philip E. Areeda & Herbert
         Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application
         ¶ 533c (4th ed. 2020 supp.); see also Moore v. James H. Matthews & Co., 550 F.2d 1207,
         1218–19 (9th Cir. 1977) (plaintiff failed to establish “the relevant product market” where
         it failed to introduced adequate regarding “the products involved as to price, use, quality,
         and characteristics”); United States v. H & R Block, Inc., 833 F. Supp. 2d 36, 64 (D.D.C.
         2011) (“Courts correctly search for a relevant market—that is a market relevant to the
         particular legal issue being litigated.” (alteration and quotation marks omitted)).

10.      The relevant product market “must encompass the product at issue as well as all economic
         substitutes for the product.” Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1045
         (9th Cir. 2008); see also 5C Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An
         Analysis of Antitrust Principles and Their Application ¶ 530c (4th ed. 2020 supp.) (“To
         define a market is to identify those producers providing customers of a defendant firm (or
         firms) with alternative sources for the defendant’s product or service.”). “Economic
         substitutes have a ‘reasonable interchangeability of use’ or sufficient ‘cross-elasticity of
         demand’ with the relevant product.” Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120 (9th
         Cir. 2018) (quoting Newcal, 513 F.3d at 1045).

11.      For products to be economic substitutes, they must be “reasonably interchangeable by
         consumers for the same purpose.” United States v. E.I. du Pont de Nemours & Co., 351

 2
      Market definition is addressed in § 4, pages 8–21 of the Joint Elements Submission.


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       U.S. 377, 395 (1956). “Interchangeability implies that one product is roughly equivalent
       to another for the use to which it is put: while there may be some degree of preference for
       the one over the other, either would work effectively. Queen City Pizza, Inc. v. Domino’s
       Pizza, Inc., 124 F.3d 430, 437 (3d Cir. 1997) (quotation marks omitted). For example, “[a]
       person needing transportation to work could buy a Ford or Chevrolet automobile, or could
       elect to ride a horse or bicycle, assuming those options were feasible.” Id. (quotation marks
       omitted).

12.    A plaintiff cannot ignore economic reality and “arbitrarily choose the product market
       relevant to its claims”; rather, the plaintiff must “justify any proposed market by defining
       it with reference to the rule of reasonable interchangeability and cross-elasticity of
       demand.” Buccaneer Energy (USA) v. Gunnison Energy Corp., 846 F.3d 1297, 1313 (10th
       Cir. 2017) (quotation marks omitted). The proper market “can be determined only after a
       factual inquiry into the commercial realities faced by consumers.” High Tech. Careers v.
       San Jose Mercury News, 996 F.2d 987, 990 (9th Cir. 1993) (quotation marks omitted).

13.    The relevant market must include “the group of sellers or producers who have the actual
       or potential ability to deprive each other of significant levels of business.” Image Technical
       Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1202 (9th Cir. 1997) (quotation marks
       omitted).

14.    Where a defendant presents evidence of substitutability, it is the plaintiff’s burden to rebut
       that evidence to the extent it seeks to exclude products from its proposed market,
       particularly where it proposes a “very narrow definition.” Fount-Wip, Inc. v. Reddi-Wip,
       Inc., 568 F.2d 1296, 1302 (9th Cir. 1978); see also Rodney v. Nw. Airlines, Inc., 146 F.
       App’x 783, 787 (6th Cir. 2005) (stating that the plaintiff “carries the burden of proving that
       no . . . substitutes are available” (citing Int’l Logistics Grp. v. Chrysler Corp., 884 F.2d
       904, 908 (6th Cir. 1989))). The plaintiff must therefore “demonstrat[e] that there are not
       appropriate economic substitutes” for the defendant’s product. Pistacchio v. Apple Inc.,
       No. 20-CV-7034, 2021 WL 949422, at *2 (N.D. Cal. Mar. 11, 2021).

15.    As to geographic markets, “[t]he criteria to be used in determining the appropriate
       geographic market are essentially similar to those used to determine the relevant product
       market.” Brown Shoe Co. v. United States, 370 U.S. 294, 336 (1962). “A geographic
       market is an area of effective competition where buyers can turn for alternate sources of
       supply.” Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d 1484, 1490 (9th
       Cir. 1991) (quotation marks and alteration omitted). “The relevant geographic market for
       goods sold nationwide is often the entire United States.” Heerwagen v. Clear Channel
       Commc’ns, 435 F.3d 219, 228 (2d Cir. 2006).




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B.       Product Market3

         i.      The App Store Is a Two-Sided Transaction Platform

16.      The determination of the relevant product market takes on additional complexity when
         dealing with two-sided platforms. See generally Ohio v. Am. Express Co., 138 S. Ct. 2274
         (2018) (addressing two-sided platforms in the context of antitrust market definition). “[A]
         two-sided platform” is one that “offers different products or services to two different
         groups who both depend on the platform to intermediate between them.” Id. at 2280.

17.      In Ohio v. American Express Co., 138 S. Ct. 2274 (2018), the plaintiffs challenged
         “anti-steering” provisions in Amex’s contracts with merchants, which prohibited
         merchants from compelling or encouraging consumers to use other credit cards with lower
         merchant fees. See id. at 2282–83. The plaintiffs alleged that these provisions were
         anticompetitive in that they resulted in higher merchant fees. See id. at 2283.

18.      To determine the anticompetitive effect of the challenged contractual provisions, the Court
         focused first on the proper market definition. The Court held that “credit-card networks
         are two-sided platforms.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018). Amex
         acted as an intermediary between two sides of the credit-card network, with consumers on
         one side (using Amex’s cards and obtaining rewards) and merchants on the other (paying
         a fee to Amex but benefitting from an efficient payment solution and Amex’s network of
         consumers). See id.

19.      The relevant feature of two-sided platforms is that they exhibit “indirect network effects,”
         meaning that “the value of the services” that the platform provides “increases as the number
         of participants on both sides of the platform increases.” Ohio v. Am. Express Co., 138 S.
         Ct. 2274, 2281 (2018). The existence of these network effects requires that platforms “be
         sensitive to the prices that they charge each side,” because they cannot raise prices on one
         side without “risking a feedback loop of declining demand.” Id.

20.      Two-sided transaction platforms are a subset of two-sided platforms. The distinguishing
         characteristic of two-sided transaction platforms is that “they cannot make a sale to one
         side of the platform without simultaneously making a sale to the other.” Ohio v. Am.
         Express Co., 138 S. Ct. 2274, 2280 (2018); see also id. at 2298 (Breyer, J., dissenting)
         (noting that “there are four relevant features of [two-sided transaction platforms]: they (1)
         offer different products or services, (2) to different groups of customers, (3) whom the
         ‘platform’ connects, (4) in simultaneous transactions”).

21.      Two-sided transaction platforms exhibit “pronounced indirect networks effects and
         interconnected pricing and demand,” and are thus “best understood as supplying only one
         product—transactions—which is jointly consumed by [users on both sides of the
         platform].” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2286 & n.8 (2018). The services



 3
      Product market definition is addressed in § 4.1, pages 10–20 of the Joint Elements Submission.


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       that the platform provides to each side of the platform “are both inputs to this single
       product.” Id. at 2286 n.8.

22.    The Court in Amex explained that credit-card networks were properly understood as a
       two-sided transaction platform because “no credit-card transaction can occur unless both
       the merchant and the cardholder simultaneously agree to use the same credit-card
       network.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2280 (2018). Credit-card networks
       accordingly exhibit indirect network effects—“[a] credit card, for example, is more
       valuable to cardholders when more merchants accept it, and is more valuable to merchants
       when more cardholders use it.” Id. at 2281.

23.    The parties’ economic experts agree that the App Store, like the credit-card networks in
       Amex, is a two-sided transaction platform. FOF ¶ 323.

24.    Just like the credit-card networks in Amex, the App Store “cannot make a sale to one side
       of the platform without simultaneously making a sale to the other,” Ohio v. Am. Express
       Co., 138 S. Ct. 2274, 2280 (2018), because the App Store makes a “sale” to developers
       only when an app is distributed to consumers or consumers initiate a digital transaction on
       the app. In other words, the App Store “facilitate[s] a single, simultaneous transaction”
       between app developers, including game app developers, and iOS users. Id.; FOF ¶ 324.
       Those transactions are valuable for the App Store’s consumers, who obtain high-quality
       apps or in-app products, as well as for developers, who receive revenue or obtain wider
       distribution of their products. FOF ¶ 326.

25.    The App Store also exhibits the “pronounced indirect networks effects” that Amex held are
       common to all two-sided transaction platforms—as more developers offer their apps
       through the App Store, the platform becomes more valuable to consumers, and vice versa.
       FOF ¶ 328. These indirect network effects are evident from Apple’s business model: Apple
       invests substantial resources to provide support to developers, including game app
       developers, to attract and retain them on the App Store ecosystem, while also ensuring that
       consumers remain satisfied by implementing processes to keep the apps on the App Store
       curated, secure, and safe. FOF ¶¶ 330, 334. And the App Store is characterized by
       interconnected pricing and demand, another feature of two-sided platforms. FOF ¶ 507.

26.    Moreover, Apple is “sensitive to the prices that [it] charge[s] each side” of the App Store,
       Ohio v. Am. Express Co., 138 S. Ct. 2274, 2281 (2018), and encourages participation on
       the consumer side of the platform by making their use of the App Store free. Apple directly
       earns revenue through the App Store only from the developer side of the platform.
       Developers are free to select their own monetization strategy and pay Apple a commission
       only for particular transactions that are defined in advance. FOF ¶¶ 48.3–48.5; cf. Amex,
       138 S. Ct. at 2288 (explaining that credit-card networks offer rewards to consumers and
       charge fees to merchants); US Airways, Inc. v. Sabre Holdings Corp., 938 F.3d 43, 56–57
       (2d Cir. 2019) (explaining that travel-booking platforms pay travel agents for each booking
       and collect booking fees from airlines).

27.    The Court previously observed that market definition in this case turns in part on “the
       question of perspective,” and that “there are at least three possible perspectives on the


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       relevant market: (1) the consumer who purchases the apps or games, (2) the developer
       who makes the apps or games, and (3) the competing app store or digital marketplace that
       distributes the apps or games.” Dkt. 118 at 20.

28.    The question of perspective is informed by the Supreme Court’s instruction that
       competition on two-sided transaction platforms “cannot be accurately assessed by looking
       at only one side of the platform in isolation.” Ohio v. Am. Express Co., 138 S. Ct. 2274,
       2287 (2018). “[A]s a matter of law,” therefore, “in a case brought under the Sherman Act
       that involves a ‘two-sided transaction platform,’ the relevant market must always include
       both sides of the platform.” US Airways, Inc. v. Sabre Holdings Corp., 938 F.3d 43, 56–
       57 (2d Cir. 2019); see Am. Express, 138 S. Ct. at 2280–87, 2298 (stating that “in two-sided
       transaction markets, only one market should be defined,” even where the platform offers
       “different products or services to two different groups who both depend on the platform to
       intermediate between them” (quotation marks and alteration omitted)).

29.    The perspective of a competing app store or digital marketplace may be helpful, in some
       contexts, to determine market definition. FOF ¶ 381. The fact that platforms monitor the
       business of their competitors suggests that those platforms understand that consumers see
       those competitors as substitutes. Id.

30.    Accordingly, because the App Store is a two-sided transaction platform, in order to
       determine the scope of the relevant product market within which the App Store operates—
       that is, the kind of transactions relevant to this case—the Court must consider the
       perspectives of consumers and developers. This necessarily follows from Amex’s holding
       that “[e]valuating both sides of a two-sided transaction platform is . . . necessary to
       accurately assess competition.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2287 (2018).

       ii.    The Relevant Product Market Is Digital Game Transactions

31.    In its complaint, Epic has alleged two purportedly distinct product markets—the
       distribution of iOS apps and payment processing for iOS apps. Dkt. 1 ¶¶ 7, 10. As
       discussed below, these are not appropriate product markets as a matter of fact or law. There
       is only one relevant product market applicable to the claims asserted by Epic in this lawsuit:
       digital game transactions between game app developers and consumers of game app
       content (“digital game transactions,” in brief). FOF ¶ 342.

32.    Because the App Store is a two-sided transaction platform, the relevant market “must . . .
       include both sides of the platform.” US Airways, Inc. v. Sabre Holdings Corp., 938 F.3d
       43, 56–57 (2d Cir. 2019). That means that the relevant product for Epic’s antitrust claims,
       and the product that must be evaluated for substitutability, is transactions through the App
       Store—not iOS devices or the App Store itself. And the product market must be tailored
       to Epic’s claims in this case. See Moore v. James H. Matthews & Co., 550 F.2d 1207, 1218
       (9th Cir. 1977). This framework imposes two important considerations for the relevant
       market: (1) the market must encompass platforms other than the App Store, and (2) the
       market must be focused on digital transactions for games, not other types of apps.




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33.    As set forth below, Epic ignores these considerations in proposing a product market that
       fails to take into account substitutability by consumers and developers. A product market
       definition that focuses solely on iOS is under-inclusive because it fails to account for the
       multiple platforms through which consumers play and developers make available digital
       game transactions. And a product market definition that focuses on all digital
       transactions—without regard to subject matter or purpose—is over-inclusive because not
       all digital transactions are substitutable for one another. For example, a download of a
       yoga app is not a reasonable substitute for a purchase of in-game content on Candy Crush
       Saga. The relevant product market thus is digital game transactions across all competing
       platforms.

              b.      The Relevant Market Includes All Digital Transaction Platforms, Not
                      Just iOS

34.    The relevant market in this case must include digital transactions on other platforms, not
       just iOS.

35.    The relevant market must include “all sellers or producers who have actual or potential
       ability to deprive each other of significant levels of business.” Thurman Indus., Inc. v. Pay
       ‘N Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989). Identifying such sellers or
       producers is critical, because “a threshold step in any antitrust case is to accurately define
       the relevant market, which refers to the area of effective competition.” FTC v. Qualcomm
       Inc., 969 F.3d 974, 992 (9th Cir. 2020) (quotation marks omitted).

36.    In defining the relevant product market, the relevant inquiry is whether digital transactions
       on other platforms provide alternatives to the App Store, not whether consumers or
       developers prefer one platform over another. Courts have accordingly rejected product
       market definitions as unduly narrow where they are based on a particular mode of
       distributing a product. See, e.g., Thurman Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d
       1369, 1377 (9th Cir. 1989) (rejecting argument that goods and services sold at “home
       centers” comprise a separate product market because there was no evidence that
       “consumers are unwilling to patronize a variety of retailers other than home sellers” in
       satisfying their home improvement purchase needs); Westman Comm’n Co. v. Hobart Int’l,
       Inc., 769 F.2d 1216, 1220–21 (10th Cir. 1986) (“[T]he fact that ‘one-stop distribution’ is
       an effective way or even superior way to compete does not mean that the relevant market
       is limited to those who use that method of competition.”). Thus, “the mere preference for
       one form of delivery over another does not create separate markets for the same product
       delivered one way as opposed to another.” PepsiCo, Inc. v. Coca-Cola Co., 114 F. Supp.
       2d 243, 250 (S.D.N.Y. 2000).

37.    A product market that focuses solely on iOS without considering these other platforms is
       under-inclusive because it does not include all digital game transactions that are reasonably
       interchangeable to consumers and developers. See, e.g., Big Bear Lodging Ass’n v. Snow
       Summit, Inc., 182 F.3d 1096, 1105 (9th Cir. 1999) (dismissing antitrust claim where the
       plaintiff failed to allege “there are no other goods or services that are reasonably
       interchangeable”); Spindler v. Johnson & Johnson Corp., No. 10-CV-1414, 2011 WL



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       12557884, at *2 (N.D. Cal. Aug. 1, 2011) (the product market “must encompass the
       product at issue well as all economic substitutes for the product”).

38.    Developers offer their apps and the associated in-game content across multiple transaction
       platforms, and consumers execute digital game transactions across multiple platforms,
       expanding the “area of effective competition” far beyond simply iOS. FOF ¶¶ 351–76.
       Apple thus faces competition from the numerous alternative means of facilitating game
       transactions, all of which must be considered in defining the scope of the product market.
       This competition is apparent from both the consumer perspective and the developer
       perspective.

39.    First, from the consumer perspective, the App Store competes with other game transaction
       platforms. Most modern smartphone users have access to a variety of different devices,
       such as laptops, desktop computers, tablets, smart TVs, and game consoles. FOF ¶¶ 358–
       62. These devices can each be used to access apps, and as particularly relevant here, to
       access game apps and engage in digital game transactions. FOF ¶ 363.

40.    Indeed, consumers can choose which devices to use for playing games and making game
       app purchases depending on the situation. While an iPhone user is waiting for the bus in
       the morning, for example, she might decide to play a session of Fortnite on her phone for
       a few minutes. Or she might instead use a mobile gaming device (such as the Nintendo
       Switch) or a non-iOS tablet for the same purpose. That same iPhone user, arriving home
       at night, might choose to play Fortnite or Halo on a game console or PC—or she might
       purchase a new game altogether. She might choose instead to play World of Warcraft on
       her PC or buy some in-game currency. Or she might purchase some levels in Candy Crush
       Saga and play them on her iPhone. In all circumstances, Apple and the App Store have to
       compete with other game app platforms for consumer time and purchases.

41.    A survey conducted by one of Apple’s experts revealed that many consumers of game apps
       do in fact own multiple devices and have access to multiple game platforms that are
       reasonably interchangeable. For instance, 81% of App Store users regularly use a device
       besides their iOS device, and 41% of them regularly use a game console or handheld game
       device. FOF ¶ 361. The same survey showed that, with respect to consumers who used
       iOS to play Fortnite, 94% regularly used or could have used game consoles or handheld
       game devices in the last twelve months. FOF ¶ 365. Epic’s user data demonstrates a
       similar point: between March 2018 and July 2020, 35.9% of users who played Fortnite on
       iOS devices also played Fortnite on another device. FOF ¶ 367.

42.    Consumers do not just have access to multiple devices; they actually transact across those
       devices and platforms. For instance, consumers can and do access the popular game
       Minecraft on a variety of platforms, purchasing content on these disparate platforms. In
       2020, 22.5% of Minecraft purchases were on Android devices, 22.9% were on iOS, and
       the remainder were split among PC, consoles, and web versions of the game. FOF ¶ 363.
       Consumers also engage in Fortnite transactions across a number of platforms, with the
       PlayStation 4 generating 46.8% of total Fortnite revenues from March 2018 through July
       2020 and Xbox One generating the second-highest share of revenues at 27.5%. FOF ¶ 369.



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       iOS ranked fifth among all Fortnite-accessible platforms in terms of revenue, with just
       7.0% of total revenue. Id.

43.    The launch of Fortnite on the Nintendo Switch in June 2018 provides an illustrative case
       study of how consumers readily substitute between game transaction platforms. Apple’s
       expert, Professor Hitt, analyzed the dataset of consumers who, in June 2018, accessed
       Fortnite on both iOS and Nintendo Switch, and found that after the Nintendo Switch was
       introduced in June 2018, there was significant decrease in the percentage of time these
       consumers spent playing Fortnite on iOS, as well as a significant percentage decrease in
       the revenue generated by these consumers through purchases made on iOS. FOF ¶¶ 373–
       74. These data demonstrate that consumers view the various game app platforms as
       substitutable, switching the platform through which they make purchases as new entrants
       join the market.

44.    More recently, consumers are beginning to have new alternatives for digital transactions
       for game apps that do not even require access to a second device. Several online,
       cloud-based streaming game platforms have begun to emerge, including Google Stadia,
       Nvidia GeForce Now, PlayStation Now, Microsoft Xbox Cloud Gaming, and Amazon’s
       Luna. FOF ¶¶ 245–245.5. These platforms are accessible through a web browser
       (including, for example, Safari) and allow consumers to play games directly on the
       platform rather than downloading the game to a particular device. Id. Fortnite is expected
       to soon be available on Nvidia GeForce Now for iOS users, thus giving iOS users an
       alternative way to play Fortnite that does not require a second device. FOF ¶ 350.

45.    It bears emphasis that the alternative of playing games through the Safari web browser has
       always been available to consumers. When the iPhone was first launched, Apple
       emphasized to developers that they could create web apps for consumers. FOF ¶¶ 28–28.4.
       Even today, Apple’s agreements remind developers that “there is always the open
       Internet.” FOF ¶ 529.2. Thus, no game app developer must go through the App Store in
       order to distribute game apps to iOS users, because all developers are free to offer their
       games as web apps, accessible through the Safari web browser.

46.    Second, from the developer perspective, there also is robust competition with the App
       Store. Developers, similar to consumers, can choose to use many different platforms on
       many types of devices to distribute their apps. FOF ¶ 352. A large share of iOS developers,
       for instance, also create games for Google Play, and of the top 100 game apps by estimated
       revenue, ninety-nine appear on both platforms. Id. Game app developers also regularly
       distribute their apps through the Microsoft Store, Amazon App Store, Nintendo eShop, and
       PlayStation Store, or even through their own websites. FOF ¶ 353.

47.    One reason for this developer cross-pollination is that developing games for a broad set of
       platforms has been made substantially easier by new technologies and evolving game
       developer tools. FOF ¶ 354. Epic itself distributes Fortnite on all the major game app
       platforms and apparently views the platforms as substitutable, because it has encouraged
       users who could no longer play on iOS following Fortnite’s removal from the App Store
       to play on other platforms. FOF ¶¶ 355–355.4. Epic has even benefited from the



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       competition among game app platforms by, for example, obtaining marketing support from
       Apple that had benefits for its other platforms. FOF ¶ 356.

48.    Competition for developers across platforms is evidenced by the fact that the highest
       commission rate Apple charges—30%—for digital game transactions matches the
       commission charged by the other major game app platforms. FOF ¶ 472. And, like Apple,
       many of the other platforms also offer discounts for subscriptions or small businesses, as
       Apple does. FOF ¶ 474. Google, for example, recently announced that it will charge a
       15% commission for the first $1 million in revenue that a developer makes, a similar policy
       to the one Apple adopted just months ago. FOF ¶ 166. Google’s near-replication of a
       discount offered by Apple is clear evidence of competition for developers. Although Epic
       points to some small market outliers in an attempt to show that a 30% commission is
       supracompetitive, there is no serious question that the major platform operators who
       provide access to the largest number of consumers generally charge a base 30%
       commission (which Apple, in certain circumstances, reduces to 15%).

49.    This cross-platform competition is apparent from the fact that Fortnite was successful long
       before it ever launched on iOS. FOF ¶ 355.1. And even as Fortnite continues to earn Epic
       billions of dollars each year, purchases on iOS comprise only a small fraction of the total
       amount of revenue Fortnite brings in—Epic is able to reach the majority of its existing
       customer base through platforms other than the App Store. FOF ¶ 369. Even after its
       removal from the App Store, Fortnite still offers a highly profitable revenue stream for
       Epic. FOF ¶ 517.2. Thus, even as it claims in this lawsuit that the App Store constitutes
       its own discrete market, Epic has long treated the App Store as but one of several alternative
       means through which users can download Fortnite and play with their friends across a
       multitude of platforms.

50.    Developers can and do make decisions about which platform(s) to distribute their apps
       through and are sensitive to factors such as the commission rate on the platform, the
       technical capabilities of the device(s) on which a platform is available, the available
       developer tools, the number of consumers on the platform, the amount consumers on that
       platform are expected to spend, and other services offered by the platform. And even if
       developers do not move entirely away from a platform based on these factors, they may
       allocate marketing and game development efforts across platforms differently based on
       these factors. Indeed, Epic has done just that, focusing first on its Fortnite iOS launch
       before devoting resources to the launch of Fortnite on Android. FOF ¶ 382.

51.    Epic’s implementation of Project Liberty demonstrates the competition for developers.
       Epic executed Project Liberty knowing that it would likely lead to Fortnite’s removal from
       the App Store, and Epic’s co-founder has acknowledged as much in this litigation. FOF
       ¶ 294. Yet Epic went forward anyway, despite the fact that nothing would have stopped it
       from bringing this lawsuit while remaining in compliance with the DPLA and keeping
       Fortnite on the App Store. And after Fortnite was removed from the App Store (as Epic
       knew it would be), Epic ran advertisements explaining that iOS Fortnite players could
       move to other platforms to continue playing the latest version of Fortnite. FOF ¶ 304.
       Epic’s own conduct thus demonstrates that it views iOS as interchangeable with other



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       platforms—it would rather not be on the App Store at all and earn no revenue, than be on
       the App Store and pay Apple a 30% commission.

52.    Moreover, many developers—including Epic—specifically develop their games to be
       compatible across platforms and enable cross-platform play. FOF ¶¶ 165.1, 249.2. That
       means that a player who downloads a game like Fortnite on his iPhone and creates an
       account can also play using that same account (and all of the features purchased or
       unlocked for that account) on any other platform to which he has access. FOF ¶¶ 249.2,
       255.1. Thus, if a user has already downloaded a game on his iPhone, Apple still must
       compete with other platforms in terms of persuading that consumer to use the App Store—
       as opposed to the numerous other game app platforms—to make purchases that will
       enhance the user’s playing experience across all platforms. This competition is effective
       in part because, as noted above, most iOS users already have access to other devices. FOF
       ¶ 358.

53.    Epic has maximized this cross-elasticity through the concept of a “cross-wallet.” FOF
       ¶¶ 367–415. Not only can Fortnite players use the features and upgrades they purchase on
       one platform for play on other platforms too, but they also can purchase Epic’s
       “currency”—V-Bucks—on one platform and use them on another. FOF ¶ 367. And in
       fact, an iOS Fortnite player does not even have to have access to anything other than an
       iPhone to utilize this cross-wallet feature—the player can navigate to EGS on Safari and
       purchase V-Bucks directly from Epic, then use those V-Bucks on his iOS Fortnite game to
       buy in-game features and upgrades without ever transacting through Apple. Id.

54.    Third, the perspective of market participants also supports this market definition. Apple
       views the App Store as competing directly with other game transaction platforms—like
       Google Play, the Nintendo eShop, and Steam—for both consumers and developers. FOF
       ¶¶ 379–80. For instance, a 2017 Apple presentation identified Google Play as a competitor.
       FOF ¶ 238. And in 2009, Apple executives discussed the PSP Go (a mobile console) as a
       “key competitor” to the iPhone. FOF ¶ 240. This focus is reflective of the fact that
       consumers see the App Store as reasonably interchangeable with other transaction
       platforms.

55.    Once Apple introduces evidence of interchangeability—as it has done here—it is Epic’s
       burden to “rebut” that showing with evidence demonstrating that the products are not
       interchangeable. Fount-Wip, Inc. v. Reddi-Wip, Inc., 568 F.2d 1296, 1302 (9th Cir. 1978);
       see also United States v. Sabre, 452 F. Supp. 3d 97, 142 (D. Del. 2020) (noting that where
       the defendant has introduced evidence that a product should be part of the relevant market,
       “the burden is on the [plaintiff] to show that [that product] is not part of the
       relevant . . . market” (emphasis added)).

56.    That is because market definition is an element of Epic’s claims, and as a matter of law,
       the relevant product market “must encompass the product at issue as well as all economic
       substitutes for the product.” Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1045
       (9th Cir. 2008); see also Pistacchio v. Apple Inc., No. 20-CV-7034, 2021 WL 949422, at
       *1 (N.D. Cal. Mar. 11, 2021) (same). “Including economic substitutes ensures that the
       relevant product market encompasses the group or groups of sellers or producers who have


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       actual or potential ability to deprive each other of significant levels of business.” Hicks v.
       PGA Tour, Inc., 897 F.3d 1109, 1120 (9th Cir. 2018) (quotation marks omitted).

57.    Where a “plaintiff fails to define its proposed relevant market with reference to the rule of
       reasonable interchangeability and cross-elasticity of demand . . . the relevant market is
       legally insufficient.” Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436
       (3d Cir. 1997).

58.    If Epic cannot rebut the evidence showing that other transaction platforms are reasonably
       interchangeable with the App Store, then any market definition in this case that excludes
       those platforms is “legally insufficient.” Queen City Pizza, Inc. v. Domino’s Pizza, Inc.,
       124 F.3d 430, 436 (3d Cir. 1997). Indeed, this Court has recently recognized in a related
       antitrust suit against Apple that a plaintiff’s claim must fail if it has not demonstrated “that
       there are not appropriate economic substitutes.” Pistacchio v. Apple Inc., No.
       20-CV-7034-YGR, ECF No. 61, at 3 (N.D. Cal. Mar. 11, 2021).

59.    Epic has not rebutted the evidence showing that transactions executed on other platforms
       are reasonably interchangeable with those executed on the App Store. The fact there are
       minor differences between various platforms—for example, some are for mobile use, and
       some allow for higher graphics quality—is not sufficient to rebut the substantial evidence
       of interchangeability of transactions among those platforms. Some platforms—Android
       app stores, non-iOS tablets, and the Nintendo eShop for the Nintendo Switch—are for
       mobile use and thus transactions executed on those platforms are clearly interchangeable
       with those on the App Store. Other platforms—non-portable game consoles and PCs,
       including Macs—do not offer transactions for execution on mobile devices but offer other
       advantages to consumers, and thus transactions executed on those platforms also are
       economic substitutes for digital game transactions on iOS. And the new online game
       streaming services described above promise to provide additional substitutes, including for
       iOS users.

       60.     Minor differentials in price or latency, or an additional step to access (such as
       having to subscribe to a service) does not mean a product is not interchangeable. Even
       “significant price differences do not always indicate distinct markets.” AD/SAT, Div. of
       Skylight, Inc. v. Associated Press, 181 F.3d 216, 228 (2d Cir. 1999); see also Allen-Myland,
       Inc. v. Int’l Bus. Machs. Corp., 33 F.3d 194, 206 (3d Cir. 1994) (“Interchangeability
       implies that one product is roughly equivalent to another for the use to which it is put; while
       there may be some degree of preference for the one over the other, either would work
       effectively.”); 5E Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
       Antitrust Principles and Their Application ¶ 562c (4th ed. 2020 supp.) (“Products can be
       near-perfect substitutes even when their prices or qualities differ.”). There is no evidence
       here of an even a moderate price difference, left along a significant one, among the
       numerous alternative platforms for digital game transactions.

61.    Far from showing an absence of interchangeability, the evidence demonstrates that
       competition is working precisely as economic principles anticipate. Apple removed
       Fortnite from the App Store in August 2020 because of Epic’s willful breach. FOF ¶ 301.
       By the time trial in this case begins, Nvidia GeForce Now expects to make Fortnite


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       available to all iOS users on their iOS devices via its online game streaming service. FOF
       ¶ 350. In just a few months, the market has already reacted to the removal of Fortnite from
       the App Store and developed an alternative, confirming that the market, and not the
       judiciary, is the best mechanism to provide consumers alternatives to the App Store.

62.    That web apps may be less convenient in some respects or that some consumers might
       prefer to play games on a portable device rather than on a PC is irrelevant. “[W]here there
       are market alternatives that buyers may readily use for their purposes, illegal monopoly
       does not exist merely because the product said to be monopolized differs from others. If it
       were not so, only physically identical products would be a part of the market.” United
       States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 394 (1956). What matters is
       whether consumers have alternatives to the narrower product market the plaintiff seeks to
       define, and the undisputed evidence here shows that they do. Epic has failed to “carr[y]
       the burden of proving that no . . . substitutes are available.” Rodney v. Nw. Airlines, Inc.,
       146 F. App’x 783, 787 (6th Cir. 2005).

63.    Accordingly, the product market here extends to all transaction platforms that facilitate
       digital transactions between developers and consumers of game apps.

              c.      The Relevant Market Is Limited to Digital Transactions for Games

64.    The product market must be defined as game transactions, not all app transactions.

65.    “The outer boundaries of a product market are determined by the reasonable
       interchangeability of use or the cross-elasticity of demand between the product itself and
       substitutes for it.” Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962). Where
       products are not interchangeable, they are not part of the same product market. See, e.g.,
       Golden Gate Pharmacy Servs., Inc. v. Pfizer, 433 F. App’x 598, 599 (9th Cir. 2011)
       (holding that the “pharmaceutical industry” was not a relevant product market because
       there were no fact alleged showing that all pharmaceutical products were interchangeable).

66.    The principal complaint by the sole plaintiff in this lawsuit (Epic Games, Inc.) is its
       purported inability to reach iOS users with its products, i.e., Fortnite and other game apps,
       and the relevant market thus is appropriately defined is digital transactions for game apps.
       Epic is a developer of game apps, FOF ¶ 248, and the antitrust claims it asserts focus almost
       exclusively on Fortnite (a game), Dkt. 1 ¶ 16, and the Epic Games Store, described by Epic
       as “a digital video game storefront through which gamers can download various games,
       some developed by Epic, and many offered by third-party game developers,” id. ¶ 27. The
       outer boundaries of the product market in this case are clear, and stop at the edges of the
       game app transaction market. There is no evidence that digital transactions in game apps
       are interchangeable with digital transactions in non-game apps. FOF ¶¶ 343–50. To the
       contrary, game apps are a discrete subset of the wide variety of apps offered by Apple
       through the App Store, and they generally are not substitutable with other apps.

67.    From the consumer perspective, transactions in game apps are interchangeable with other
       digital game transactions, but not with (for example) transactions in weather or news apps.
       FOF ¶ 345. Game apps are even segregated on platforms like the App Store from other



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       apps, usually in a standalone “Games” tab, to cater to consumers who are interested in
       using the App Store for games. FOF ¶¶ 344.1–344.3. Moreover, there are specialized
       marketplaces for games and game transactions, some of which reside on special devices.
       FOF ¶ 349. Some platforms—like the Sony PlayStation and its PlayStation Store, or Valve
       and Steam for desktops/laptops—focus exclusively on games and game transactions. FOF
       ¶¶ 349–349.3. A consumer dissatisfied with his experience on the App Store thus can turn
       to these other platforms to seek out an alternative digital-transaction experience for game
       apps, but cannot use those same alternatives for other types of apps. Accordingly, digital
       game transactions have “characteristics peculiar to [them] rendering [them] generally
       noncompetitive” with other app transactions. Brown Shoe Co. v. United States, 370 U.S.
       294, 326 (1962).

68.    From the developer perspective, developers that develop game apps, including Epic itself,
       tend to specialize in the development of game apps, not apps in general. FOF ¶ 347.
       Developers that develop game apps for the App Store derive over 88% of their revenue
       from the App Store from game apps that they distribute, meaning that less than 12% of
       their revenue comes from other, non-game apps. Id. At the same time, non-game apps
       may be subject to other new technologies, such as wearable devices (e.g., Fitbit), that may
       not affect game apps. FOF ¶ 350.

69.    Epic’s expert incorrectly contends that Apple has focused exclusively on the fact that the
       plaintiff here, Epic, is in the business of game apps as the basis for Apple’s definition of
       the market. In fact, Apple has not centered its market definition on Epic. Rather, Apple
       has analyzed the interchangeability of digital game transactions with transactions for other
       types of apps, and analyzed the relevant market characteristics. Epic ignores the many
       reasons why digital game transactions on iOS are economically interchangeable with other
       digital game transactions, but not with transactions for other apps, all detailed above.

70.    In any event, market definition must be tailored to the legal claims raised by the plaintiff.
       See 5C Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
       Principles and Their Application ¶ 533c (4th ed. 2020 supp.) (a market must be “relevant
       to the particular legal issue being litigated”). In Amex, for example, the relevant market
       was the two-sided market for credit-card transactions, because the plaintiffs alleged that
       Amex had unreasonably restrained trade in that market to better compete against other
       credit card companies. Ohio v. Am. Express Co., 138 S. Ct. 2274, 2287 (2018). But of
       course credit card companies also compete with banks that issue credit cards—credit card
       companies want their consumers to purchase goods and services on credit rather than
       through a bank-issued debit card, and have to therefore offer competitive incentives to
       encourage consumers to do so. In a different case, thus, the relevant market might be
       defined more broadly. See also 5C Areeda & Hovenkamp, supra, ¶ 533c (explaining that
       various markets “may be relevant to the consideration of some antitrust violation, but the
       court must choose one or the other judge” the case at hand).

71.    It is legally irrelevant to market definition that Epic’s affiliates offer products and services
       other than game apps (or a game app store). For example, Epic Games International S.à.r.l.
       (“Epic International”) produces Unreal Engine, a graphics engine that Epic International
       licenses to other developers for use in creating games, videos, and animations. FOF ¶ 250.


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       But Epic International is not a plaintiff in this lawsuit, and therefore its products (and the
       markets in which they compete) are irrelevant. Moreover, Unreal Engine is not an app of
       any kind, and Epic has never sought to distribute it to iOS users through the App Store or
       otherwise. It is a software tool that developers use (and pay Epic International a license
       fee for using) to develop their own products. Id.; see also infra § III.D.i (¶¶ 544–53).

72.    A different plaintiff facing a different type of competitive injury may very well
       (appropriately) allege a different type of market. And a government plaintiff may proceed
       under a broader market in an effort to combat all alleged anticompetitive effects, or may
       offer several alternative markets. But Epic’s claims—the only claims at issue in this suit—
       are focused on the competitive injury to Epic and its consumers, and what Epic complains
       about is the allegedly anticompetitive effects of Apple’s conduct on its ability to distribute
       its games (in particular, Fortnite) to iOS users, and its ability to execute digital transactions
       for those users.

73.    Epic’s contention that this approach is unworkable and arbitrary is incorrect—Epic brings
       this suit in its own capacity, not as part of a class action (which it opted out of) or as a
       representative of the public interest. Epic can thus assert only harm accruing to it, not to
       the market participants. Epic “lack[s] standing to seek—and the district court therefore
       lacks authority to grant—relief that benefits third parties.” McKenzie v. City of Chicago,
       118 F.3d 552, 555 (7th Cir. 1997). If there is competition with respect to the market in
       which Epic operates (i.e., digital game transactions), then Epic has suffered no antitrust
       injury—whether or not there is a lack of competition in some other market.

               d.      Epic Has Failed to Prove a Single Market for “iOS App Distribution”

74.    Epic’s proposed market definition of a single market for “iOS App Distribution” rests on
       the counterfactual that game and non-game digital transactions face similar competitive
       conditions.

75.    The technical term for what Epic attempting to do is “clustering,” in which two distinct
       product markets facing similar “competitive conditions” may be analyzed together as a
       matter of “administrative convenience.” ProMedica Health Sys., Inc. v. FTC, 749 F.3d
       559, 565–66 (6th Cir. 2014) (quotation marks omitted). “The rationale for clustering
       nonsubstitutable goods into a single market must be regarded as a severe exception to
       ordinary market definition criteria, which define markets in terms of substitutability.” 5E
       Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles
       and Their Application ¶ 565c (4th ed. 2020 supp.)

76.    Epic’s expert, Dr. Evans, has disclaimed any attempt to define a cluster marketNor could
       Epic establish that digital game transactions and other types of digital transactions should
       be “clustered” for analytical purposes. See generally, Herbert Hovenkamp, Digital Cluster
       Markets (Working Paper 2021), https://ssrn.com/abstract=3820062.

77.    The “critical question that must be answered when determining whether a particular
       product should be included in a cluster market” is: ‘are the items subject to the same
       competitive conditions?” FTC v. Staples, Inc., 190 F. Supp. 3d 100, 123 (D.D.C. 2016).



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       “Most fundamentally, goods cannot be clustered unless there is a sufficient basis for
       inferring that the defendant has the required degree of market power over each of the goods
       in the cluster.” 5E Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
       Antitrust Principles and Their Application ¶ 565c (4th ed. 2020 supp.) (emphasis added).
       For example, in United States v. Philadelphia National Bank, 374 U.S. 321 (1963), the
       Supreme Court held that certain commercial banking services could be clustered for
       analytical purposes, but only after independently analyzing each service’s lack of
       interchangeability with comparable non-bank offering. See id. at 356–57. That is the
       standard Epic would have to satisfy in order to justify a clustered market encompassing
       both game and non-game digital transactions.

78.    Game and non-game digital transactions cannot be clustered in the same relevant market
       because the competitive alternatives available to game developers and consumers who
       engage in digital game transactions are from those available to other app developers and
       consumers. As the evidence demonstrates, a consumer who wishes to execute digital game
       transactions can do so on many different platforms. FOF ¶¶ 358–63. And as discussed
       above, see supra § II.B.ii.b (¶ 67), games are recognized by transaction platforms as a
       discrete type of offering, usually listed under a separate tab. There are many differences
       between game and non-game transactions, explored below, that make clustering
       inappropriate.

79.    Importantly, “[t]he rationale for clustering should . . . disappear[] as soon as it [is] clear
       that the defendant’s market position varie[s] from item to item in the proposed cluster.”
       5E Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
       Principles and Their Application ¶ 565c (4th ed. 2020 supp.). And here, the evidence
       shows more than good reason for doubting that competitive conditions for digital game
       transactions and other digital transactions are similar.

       iii.   The App Store Does Not Constitute a Single-Brand Aftermarket

80.    In its Complaint, Epic proposed two variants of an iOS-only market: (1) the “iOS App
       Distribution Market” and the “iOS In-App Payment Processing Market.” Dkt. 1 ¶¶ 51–57,
       109–18. As the Court has previously recognized, “[c]ourts have expressly cautioned
       against such a narrowing of the relevant market definition.” Dkt. 118 at 16 (citing United
       States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 392–93 (1956)).

81.    Following entry of the preliminary injunction order, Epic altered its proposed product
       market definition. Without seeking leave to amend its Complaint, Epic contended (through
       service of an expert report) that smartphone operating systems (like iOS and Android)
       compete in a “foremarket,” and that consumers are thereafter locked into an “aftermarket”
       for the distribution of apps through each of those operating systems.

82.    Epic did not allege in its Complaint the existence of a “foremarket” for operating systems
       or an “aftermarket” for app distribution services. See generally Dkt. 1. Indeed, neither of
       those terms appears anywhere in its Complaint.




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83.      A plaintiff’s failure to plead a cognizable market is a legal defect that justifies dismissal.
         See Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436–37 (3d Cir. 1997).
         The Court would be justified in simply disregarding Epic’s new “aftermarket” theory as
         improperly pled and dismissing the case for failure to plead a cognizable market. See 5C
         Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles
         and Their Application ¶ 531f (4th ed. 2020 supp.) (“If an antitrust complaint requires proof
         of a relevant market the plaintiff must allege such a market in its complaint . . . .”).

84.      The “aftermarket” theory was surfaced by Epic for the first time in an expert report served
         (but not filed with the Court) on February 16, 2021. Expert discovery closed on March 31,
         2021, and Apple filed its proposed findings of fact and conclusions of law a week later, on
         April 7, 2021. Apple timely objected to Epic’s new “aftermarket” theory of market
         definition as beyond the pleadings in its Proposed Conclusions of Law. See Fed. R. Civ.
         P. 15(a).4

85.      Epic never sought leave to amend its complaint to plead a new theory of market definition.
         On the contrary, Epic expressly represented to the Court that it would not be amending its
         complaint. See Hr’g Tr. 8:14 (Sept. 28, 2020).

86.      Epic had ample time to develop its legal theories before filing its Complaint. As explained
         further below, Epic commenced “Project Liberty” in 2019,
                                                . FOF ¶ 272. Epic thereafter instituted a coordinated
         legal, marketing, and public relations campaign culminating with the triggering of the
         “hotfix” in July 2020 and the filing of the Complaint in this action immediately thereafter.
         FOF ¶¶ 274–300.

87.      In these circumstances, there is no basis for allowing Epic to amend its Complaint to
         include new theories of market definition. Rather, Epic must proceed to trial on the market
         definitions it proposed in its Complaint. As noted, there is no “aftermarket” theory pleaded
         in the Complaint, and Epic has failed entirely to prove the theory of market definition it
         did offer in the Complaint. All of its claims fail for that reason alone.

88.      Even if the Court were inclined to allow Epic to amend its Complaint at this late date, and
         literally on the eve of trial, such an amendment would be futile because Epic’s aftermarket
         theory is untenable as a matter of law, as explained below.

89.      Epic attempts to fit its market definition into the facts presented in Eastman Kodak Co. v.
         Image Technical Servs., Inc., 504 U.S. 451 (1992), claiming there is a foremarket for iOS
         operating systems and an aftermarket for iOS App Distribution. But, as explained below,
         Epic’s reliance on Kodak disregards the nature of the two-sided transaction platform that
         all parties agree is at issue here and seeks to extend the limited circumstances presented in
         Kodak in ways no court has sanctioned before.



 4
      The Court directed the parties not to file motions in limine before trial. Hr’g Tr. 18:2 (Mar. 1,
      2021).


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90.    Epic’s decision to rest its entire case on a single-brand aftermarket theory amounts to an
       implicit concession that well-established, mainstream principles of antitrust law do not
       support Epic’s proposed market definition. Rather, Epic must rely on exceptions upon
       exceptions, seeking refuge in the smallest and furthest corners of antitrust law, and pushing
       the boundaries of market definition far beyond what prior cases have accepted. If Epic
       cannot prevail on its new “aftermarket” theory, all of its claims are barred at the threshold
       of proving a cognizable market definition. And Epic cannot prevail on that theory.

              b.      There Is No Relevant or Cognizable Foremarket

91.    Any foremarket for smartphone operating systems is irrelevant. Epic agrees that the App
       Store constitutes a two-sided transaction platform, and the Supreme Court has directed that
       two-sided transaction platforms must be understood as “supplying only one product—
       transactions.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2286 n.8 (2018). The relevant
       question is thus not whether other devices are functionally equivalent to an iPhone (or offer
       an operating system functionality equivalent to that of iOS), but rather whether other
       platforms are reasonably interchangeable for the product at issue, that is, digital
       transactions for game apps. As set forth above, other platforms do act as substitutes for the
       App Store in the facilitation of digital transactions for game apps. Substitution of the
       physical device through which these platforms can be accessed is irrelevant because, as
       noted above, the great majority of iOS users actually have access to multiple devices that
       offer a variety of alternative platforms for digital transactions. FOF ¶¶ 358–63.

92.    Moreover, there is no foremarket for smartphone operating systems. Apple does not sell
       “smartphone operating systems.” FOF ¶ 393. Rather, it sells devices—like the iPhone and
       the iPad—that run on the proprietary iOS operating system and include many integrated
       features, such as the App Store. Id. As relevant here, there is no market in which
       consumers can purchase iOS for use on other devices—neither consumers nor developers
       pay an explicit price for operating systems, as Dr. Evans concedes. FOF ¶ 394.

93.    There is vigorous competition in the market for smartphones, which is what Apple actually
       sells. FOF ¶ 394.2. Dr. Evans’ attempt to artificially separate devices and operating
       systems ignores the market reality that when consumers purchase mobile devices, such as
       an iOS device or a Samsung device, they receive the entire bundle associated with the
       devices, including an operating system like iOS or Android. FOF ¶ 393.

94.    Even if operating systems could constitute a foremarket, Epic’s market definition is too
       narrow because it excludes operating systems for tablets. FOF ¶ 395. Both iPhones and
       iPads use the App Store to facilitate digital transactions. Id. Developers who want to
       distribute apps through the App Store can use the same tools to create apps for iPhones and
       iPads, and most apps on the App Store can be downloaded on either an iPhone or an iPad.
       Id. Epic’s erroneous omission of tablets is significant because there are many operating
       systems available for tablets besides iOS and Android. FOF ¶ 242. Thus Epic’s “duopoly”
       theory has no merit, even on its own terms.




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               c.      iOS App Distribution Does Not Constitute a Single-Brand
                       Aftermarket

95.     Even if operating systems constituted a cognizable foremarket, Epic’s single-brand
        aftermarket for distribution of iOS apps is legally untenable.

96.     The Supreme Court has stated that “in some instances one brand of a product can constitute
        a separate market.” Eastman Kodak Co. v. Image Technical Servs., Inc., 504 U.S. 451, 482
        (1992). But those circumstances are exceedingly limited—“[i]n general, a manufacturer’s
        own products do not themselves comprise a relevant product market. . . . [A] company does
        not violate the Sherman Act by virtue of the natural monopoly it holds over its own
        product.” Apple Inc. v. Psystar Corp., 586 F. Supp. 2d 1190, 1198 (N.D. Cal. 2008)
        (quotation marks omitted). Indeed, “[a] single brand is never a relevant market when the
        underlying product is fungible.” 5E Philip E. Areeda & Herbert Hovenkamp, Antitrust
        Law: An Analysis of Antitrust Principles and Their Application ¶ 563d (4th ed. 2020
        supp.).

97.     In fact, “[i]t is an understatement to say that single-brand markets are disfavored. From
        nearly the inception of modern antitrust law, the Supreme Court has expressed skepticism
        of single-brand markets.” In re Am. Express Anti-Steering Rules Antitrust Litig., 361 F.
        Supp. 3d 324, 343 (E.D.N.Y. 2019); see also Apple Inc. v. Psystar Corp., 586 F. Supp. 2d
        1190, 1198 (N.D. Cal. 2008) (“Even where brand loyalty is intense, courts reject the
        argument that a single branded product constitutes a relevant market.” (quotation marks
        omitted)); Herbert J. Hovenkamp, Markets in IP & Antitrust, 100 Geo. L.J. 2133, 2137
        (2012) (“[A]ntitrust law has found that a single firm’s brand constitutes a relevant market
        in only a few situations.”).

98.     Epic’s economic expert contends that the skepticism of single-brand markets is irrelevant
        here because economists generally do not encounter the facts of this particular case. That
        is a false tautology. Every case presents unique facts, but that does not alter the legal
        principle that there is a “heavy presumption” against single-brand markets, or that plaintiffs
        must prove “exceptional market conditions” in order to establish a single-brand market. In
        re Am. Express Anti-Steering Rules Antitrust Litig., 361 F. Supp. 3d 324, 343 (E.D.N.Y.
        2019) (quoting Domed Stadium Hotel, Inc. v. Holiday Inns, Inc., 732 F.2d 480, 488 (5th
        Cir. 1984)).

99.     A single-brand market may be plausible in a derivative “aftermarket” in which customers
        were not informed about restrictive policies at the time they purchased the product from
        the primary market or were subject to post-purchase policy changes that limited their
        options in the aftermarket. See Eastman Kodak Co. v. Image Technical Servs., Inc., 504
        U.S. 451, 464–78 (1992).

100.    As a matter of law, however, an “antitrust plaintiff cannot succeed on a Kodak-type [single-
        brand-aftermarket] theory when the defendant has not changed its policy after locking-in
        some of its customers, and the defendant has been otherwise forthcoming about its pricing
        structure and service policies.” PSI Repair Servs., Inc. v. Honeywell, Inc., 104 F.3d 811,
        820 (6th Cir. 1997) (emphasis added); see also, e.g., Avaya Inc., RP v. Telecom Labs, Inc.,


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        838 F.3d 354, 405 (3d Cir. 2016) (no Kodak-type aftermarket “when customers were put
        on clear notice that purchasing [defendant’s product] precluded use of [third-party]
        maintenance”); DSM Desotech, Inc. v. 3D Sys. Corp., 749 F.3d 1332, 1346 (Fed. Cir. 2014)
        (“[I]t is only the customers who learned about the [allegedly anticompetitive policy] after
        purchasing their equipment that are relevant to the ‘locked-in’ analysis.”); SMS Sys. Maint.
        Servs., Inc. v. Digital Equip. Corp., 188 F.3d 11, 19 (1st Cir. 1999) (concluding that “the
        easy availability of information” and “purely prospective nature” of an allegedly
        anticompetitive policy “take [a] case out of Kodak’s precedential orbit”); United Farmers
        Ass’n, Inc. v. Farmers Ins. Exch., 89 F.3d 233, 238 (5th Cir. 1996) (rejecting claim that
        insurance agents were “locked-in” to a particular insurance company because the agents
        “would clearly have become aware of [the alleged anticompetitive] policy long before they
        faced significant switching costs”); Teradata Corp. v. SAP SE, No. 18-CV-03670, 2018
        WL 6528009, at *16 (N.D. Cal. Dec. 12, 2018) (single-brand markets are possible only in
        situations in which customers face “restrictions that were undisclosed at the time of the
        purchase of the product from the primary market”).

101.    Another court in this District has accurately explained that “to establish a single-brand
        aftermarket under Kodak and [Newcal Indus., Inc. v. IKON Office Solution, 513 F.3d 1038
        (9th Cir. 2008)], the restriction in the aftermarket must not have been sufficiently disclosed
        to consumers in advance to enable them to bind themselves to the restriction knowingly
        and voluntarily.” Datel Holdings Ltd. v. Microsoft Corp., 712 F. Supp. 2d 974, 987 (N.D.
        Cal. 2010) (emphasis added).

102.    The assessment of a single-brand market involving two-sided transaction platforms must
        take into account interchangeability and the viability of switching on both sides of the
        platforms. See In re Am. Express Anti-Steering Rules Antitrust Litig., 361 F. Supp. 3d 324,
        344–45 (E.D.N.Y. 2019) (assessing interchangeability from the perspective of both
        merchants and cardholders); Ohio v. Am. Express Co., 138 S. Ct. 2274, 2281 n.2, 2282,
        2287 (2018) (defining the relevant market to include all credit card transactions despite
        observing, for example, that not all consumers own credit cards from all brands and “only
        a small number of Visa and Master Card cardholders have an Amex”).

103.    iOS app distribution does not constitute a single-brand aftermarket.

104.    First, there has been no material change in the conditions for accessing the App Store for
        either side of the platform. This is a legal requirement for any theory of a single-brand
        aftermarket. Failure to show a change in policy following lock-in—which does not exist
        either—is fatal to Epic’s aftermarket theory. See PSI Repair Servs., Inc. v. Honeywell, Inc.,
        104 F.3d 811, 820 (6th Cir. 1997).

105.    For consumers, iOS has always been a closed system, and the App Store has been a “walled
        garden” with respect to native apps from its inception. FOF ¶ 396. Yet consumers have
        always had (and continue to have) the ability to use web apps through their Internet
        browser, forgoing the App Store altogether, and that feature is becoming increasingly more
        attractive for some developers. FOF ¶ 400. Moreover, extensive information about
        gaming options, including on iOS, is easily accessible to consumers online. FOF ¶ 396.



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106.    For developers, Apple’s terms have been consistently and clearly communicated through
        the DPLA, a comprehensive and transparent licensing agreement that sets out in minute
        detail the terms under which developers may use Apple’s intellectual property. FOF ¶ 406.
        Any changes to the DPLA since its creation have been pro-developer: for example, in 2016,
        Apple announced that the commission on subscription renewals after one year would be
        reduced to 15%, and in 2020 announced that the commission for small app developers
        would likewise be reduced to 15%. FOF ¶¶ 161.2, 166. It is thus “clear [that developers]
        knowingly and voluntarily signed [the DPLA] in which they agreed to bind themselves” to
        Apple’s policies. W. L.A. Pizza, Inc. v. Domino’s Pizza, Inc., No. 07-CV-7484, 2008 WL
        11424181, at *7 (C.D. Cal. Feb. 26, 2008).

107.    Second, there is no lock-in of customers. The App Store competes against many other
        game app platforms for both consumers and developers in the market for digital game
        transactions. See supra § II.B.ii.a (¶¶ 34–64). As explained above, many consumers
        already have access to alternative platforms through which they can purchase and play
        games, and many consumers actually do use those alternative platforms to play games like
        Fortnite. FOF ¶¶ 358–63.

108.    Moreover, cross-platform games like Fortnite offered on a variety of platforms are
        becoming increasingly prevalent, and they make switching between platforms seamless
        because a consumer can carry over all of her rewards and progress between platforms. FOF
        ¶ 255.1. Likewise, most developers who distribute their games through the App Store also
        develop and distribute games through other platforms, making those platforms a viable
        alternative for consumers who, for whatever reason, desire to switch from the App Store.
        FOF ¶¶ 351–52. As a result, neither consumers nor developers are “locked in” to the App
        Store—they can and do pursue game transactions on a variety of other platforms.

109.    Epic thus has established neither of the two legal elements of an aftermarket, and it
        therefore has failed to meet its burden to prove the relevant market. For that reason alone,
        Epic’s claims fail.

110.    Indeed, if Epic’s foremarket-aftermarket approach were accepted, every game console
        manufacturer (including Microsoft, Sony, and Nintendo) would be considered a
        monopolist for digital game transactions on their own platforms. Game console
        manufacturers, like Apple, impose restrictions designed to ensure that all purchases of apps
        and in-app upgrades for their platforms go through their proprietary application transaction
        platforms. FOF ¶ 534. And a consumer who purchases a game console incurs a substantial
        upfront cost and will face some costs associated with purchasing a new game console if
        she wants to move platforms. See Jonathon Dornbush & Jordan Sirani, Update:
        Comparing the Price of Every Game Console, with Inflation, IGN (Sept. 18, 2020),
        https://perma.cc/B62Y-KPS5. Yet Epic does not claim that every game console
        manufacturer has unlawfully created and maintained a monopoly, and in fact, appears
        content to offer Fortnite and other Epic games on those platforms without complaint.

111.    Epic’s aftermarket approach to market definition also is inconsistent with its recognition
        that the App Store constitutes a two-sided transaction platform. As Epic’s expert, Dr.
        Evans, states: “app stores, which are online marketplaces, are two-sided platforms with


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        indirect effects; meet the economic definition of transaction platforms; and . . . sound
        economic analysis needs to consider both users and developers and the interdependencies.”
        Yet Epic does not actually follow through and analyze the App Store as a two-sided
        transaction platform, as required by law. Ohio v. Am. Express Co., 138 S. Ct. 2274, 2287
        (2018). Instead, Epic and Dr. Evans analyze each side of the App Store individually, thus
        failing to account for the indirect network effects that characterize two-sided transaction
        platforms. FOF ¶¶ 423–24. This analytical error infects all of Epic’s aftermarket analysis,
        thus rendering Epic’s proposed aftermarket defective as a matter of law.

112.    Because it is Epic’s burden to establish the market definition, and it has failed to do so, all
        of Epic’s claims fail for that reason alone.

        iv.    The Hypothetical Monopolist Test Does Not Support Epic’s Market
               Definition

113.    Largely disregarding the legal standards outlined above, Epic invokes the “hypothetical
        monopolist test” set forth in the federal agencies’ horizontal merger guidelines as support
        for its legally defective market definition. The test does not apply to Epic’s claims and,
        even if it did, it does not support Epic’s market definition.

               b.      The Hypothetical Monopolist Test Cannot Apply Here as a Matter of
                       Law

114.    The hypothetical monopolist test is an inappropriate and unworkable method for
        determining the relevant market in the context of monopolization claims involving a
        two-sided transaction platform such as the App Store. Accordingly, Epic cannot rely on
        the hypothetical monopolist test to support its single-brand market theory.

115.    Under the hypothetical monopolist test, courts “ask[] whether a monopolist in the proposed
        market could profitably impose a small but significant nontransitory price increase
        [‘SSNIP’].” Theme Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d 991, 1002 (9th Cir.
        2008). If enough “customers would respond to a SSNIP by purchasing substitute products,
        the SSNIP would not be profitable”; and where the SSNIP would not be profitable, “the
        market definition should be expanded to include those substitute products that constrain
        the monopolist’s pricing.” Id.

116.    The hypothetical monopolist test is set forth in the federal antitrust enforcers’ “Horizontal
        Merger Guidelines,” which provides information regarding the Justice Department’s
        approach to mergers that raise competition issues under Section 7 of the Clayton Act (15
        U.S.C. § 18). U.S. Dep’t of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines
        § 4.1.1 (2010). The guidelines themselves “are not binding on the courts.” Olin Corp. v.
        FTC, 986 F.2d 1295, 1300 (9th Cir. 1993). On its own terms, the hypothetical monopolist
        test applies only to mergers, and that is the context in which it is most often deployed. See,
        e.g., Saint Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775,
        783–84 (9th Cir. 2015) (analyzing market definition for challenge to merger under Section
        7 of the Clayton Act); United States v. Oracle Corp., 331 F. Supp. 2d 1098, 1111–12 (N.D.
        Cal. 2004) (same).



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117.    The hypothetical monopolist test does not apply to monopolization claims involving
        two-sided transaction platforms. The hypothetical monopolist test, “as it is usually
        conceived,” makes no sense when applied to two-sided transaction platforms, because there
        are two prices that must be considered, one on each side of the platform. See Lapo
        Filistrucchi et al., Market Definition in Two–Sided Markets: Theory and Practice, 10 J.
        Competition L. & Econ. 293, 330 (2014). There is thus a “consensus in the literature” that,
        if it is to be applied at all, the test would have to be modified to “take into account changes
        in profits on both sides of the market and all feedback between demands on the two sides.”
        Id. at 331.

118.    The danger of applying the hypothetical monopolist test in the context of two-sided
        transaction platforms arises in part from the existence of indirect network effects, which
        require the analysis to take into account the fact that a price increase on one side of the
        platform and resulting departure of users will cause a corresponding departure of users on
        the other side. See Lapo Filistrucchi et al., Market Definition in Two–Sided Markets:
        Theory and Practice, 10 J. Competition L. & Econ. 293, 331 (2014).

119.    Epic’s own expert—Dr. Evans—has warned against this very shortcoming. As he stated
        in a 2008 article, “[t]he standard tools of antitrust and merger analysis, which were
        developed based on the economics of single-sided businesses, do not necessarily apply in
        ways that are material to the analysis of competition that involves multisided businesses.”
        David S. Evans & Michael D. Noel, The Analysis of Mergers that Involve Multisided
        Platform Businesses, 4 J. Competition L. & Econ. 663, 664 (2008). Dr. Evans went on to
        explain that the hypothetical monopolist test “for defining a relevant market does not apply
        without significant modifications” to multisided businesses. Id. at 667 (emphasis added).
        That is because by imposing a SSNIP on side A, and “ignoring side B, the analyst fails to
        consider that the hypothetical price increase reduces the number of side A customers
        available to side B, which thereby reduces the prices that side B customers will pay, and
        furthermore reduces the number of side B customers available to side A, which in turn
        reduces the prices that side A customers will pay.” Id. As a result, traditional application
        of the test to only one side of a two-sided platform would define the market “too narrowly,”
        with “estimates of market concentration too high.” Id. Dr. Evans further explained that
        the mistake is even “more profound” than simply an erroneous market definition, because
        the analysis could lead to “condemning practices that are innocuous in a two-sided
        context.” Id.; see also David S. Evans & Michael D. Noel, Defining Markets that Involve
        Multi-Sided Platform Businesses 17 (Reg-Markets Ctr., Working Paper No. 07-18, 2007),
        http://ssrn.com/abstract=1027933 (noting that “[t]here are many reasons to be wary of
        mechanical market definition exercises such as [the] SSNIP test”).

120.    Consistent with the economic literature, Amex holds that a hypothetical monopolist test
        focusing on only one side of the platform is not permissible, because “[e]valuating both
        sides of a two-sided transaction platform is . . . necessary to accurately assess competition.”
        Ohio v. Am. Express Co., 138 S. Ct. 2274, 2287 (2018). The Second Circuit’s Amex
        decision similarly emphasized that to the extent the hypothetical monopolist test can ever
        be applied to two-sided transaction platforms, it must “consider the feedback effects
        inherent on the platform by accounting for the reduction in [demand on one side of the



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        platform] that would accompany any degree of . . . attrition” on the other side. United
        States v. Am. Express Co., 838 F.3d 179, 200 (2d Cir. 2016).

121.    At least one court evaluating two-sided transaction platforms after Amex has declined to
        apply the hypothetical monopolist test, instead relying upon traditional economic
        “‘practical indicia’ to assess whether products are ‘reasonably interchangeable.’” United
        States v. Sabre Corp., 452 F. Supp. 3d 97, 138, 142 (D. Del. 2020) (rejecting the DOJ’s
        proposed market definition relying on the hypothetical monopolist test in a merger case
        involving two-sided transaction platforms).

122.    Epic’s expert, Dr. Evans, attempts to apply the traditional hypothetical monopolist test to
        two different markets in the context of this case, but neither of his tests supports Epic’s
        relevant market theory.

123.    In his first test, Dr. Evans attempts to establish a market for operating systems by applying
        the SSNIP to the price of an iOS device itself. That is legal error in at least two ways.

124.    First, the price of both operating systems and iOS devices are meaningless here, because
        the relevant product is transactions, not operating systems or iOS devices. FOF ¶ 342.
        Epic is not a competitor or consumer in the mobile devices or the operating systems
        markets. Nor did Epic plead in its Complaint the existence of a foremarket for operating
        systems or assert any claim for relief regarding any market for operating systems or
        devices. See supra § II.B.iii (¶¶ 80–90); FOF ¶ 391. Whether a single seller of mobile
        operating systems or smartphones could profitably exercise monopoly power is thus
        irrelevant to this case.

125.    Second, even assuming a foremarket for operating systems could otherwise be relevant to
        this case, Dr. Evans’ analysis is incorrect in that he applies the hypothetical monopolist test
        to iOS devices, not to operating systems. FOF ¶ 428. Any evidence of substitution revealed
        by Dr. Evans’ analysis thus relates not to his alleged foremarket for operating systems, but
        to an entirely different market for iOS devices. That is presumably because consumers do
        not purchase operating systems as standalone products; they purchase smartphones. FOF
        ¶ 394. There is therefore not even a rational way to apply the hypothetical monopolist test
        to Dr. Evans’ proposed foremarket. Thus, Dr. Evans’ first test does not support Epic’s
        foremarket theory.

126.    In his second test regarding the purported aftermarket for app distribution, Dr. Evans once
        again purports to apply the SSNIP to the wrong thing—this time, he applies the SSNIP to
        the price that a consumer pays for digital transactions. That is, he questions whether a
        hypothetical monopolist could profitably impose a SSNIP to an app or in-app content,
        concluding that it could. But Dr. Evans focuses exclusively on the price of in-app
        purchases, to the exclusion of other digital transactions in the relevant market. FOF ¶ 435.

127.    Moreover, both of Dr. Evans’ tests commit precisely the conceptual mistake that the
        academic literature (including his own writings) warns against: he analyzes each side of
        the platform individually, thereby ignoring the strong indirect network effects that are the
        characteristic feature of two-sided transaction platforms. See David S. Evans & Michael



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        D. Noel, The Analysis of Mergers that Involve Multisided Platform Businesses, 4 J.
        Competition L. & Econ. 663, 667 (2008). Indeed, in the case of the App Store, if a small
        number of consumers were to leave the platform because of increased transaction fees or
        other costs, then the App Store would become less valuable to developers, who may then
        also depart, leading to a “feedback loop of declining demand.” Ohio v. Am. Express Co.,
        138 S. Ct. 2274, 2281 (2018). Yet Dr. Evans assumes that a departure of consumers will
        have no corresponding departure of developers, ignoring the indirect network effects he
        admits are indicative of a two-sided transaction platform. FOF ¶ 424.

128.    Dr. Evans’ failure to consider these indirect network effects leads him to propose a market
        that is too narrow. Without accounting for the indirect network effects of a two-sided
        transaction platform, the hypothetical monopolist test overstates the ability of a
        hypothetical monopolist to profitably raise prices. While an increase in price on one side
        of the platform may initially appear profitable when accounting only for the loss of
        consumers on that side of the platform, the increase may in fact be unprofitable after
        consumers on the other side of the platform also depart upon realizing that the value of the
        platform to them has decreased. Thus, Dr. Evans’ hypothetical monopolist test overstates
        the ability of Apple (or any other operator of a two-sided transaction platform) to profitably
        raise prices above a competitive level, leading him to define the market to exclude the
        competitors that constrain Apple’s market power.

129.    For these and other reasons, Dr. Evans’ application of the hypothetical monopolist test does
        not satisfy the standard for reliability of expert evidence under Federal Rule of Evidence
        702.5

130.    In the Ninth Circuit, it is the responsibility of the trial court to “assure that the expert
        testimony ‘both rests on a reliable foundation and is relevant to the task at hand.’”
        Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010) (quoting Daubert v. Merrell Dow
        Pharm., Inc., 509 U.S. 579, 597 (1993)). “[E]xpert evidence is inadmissible where the
        analysis is the result of a faulty methodology or theory.” City of Pomona v. SQM N. Am.
        Corp., 750 F.3d 1036, 1047–48 (9th Cir. 2014) (quotation marks omitted). The expert’s
        methodology must have obtained “general acceptance” in the relevant scientific
        community. Daubert, 509 U.S. at 594 (quotation marks omitted).

131.    Dr. Evans’ application of the hypothetical monopolist test is unreliable and has not
        obtained “general acceptance” because the test as applied by Dr. Evans fails to account for
        indirect network effects. See Lapo Filistrucchi et al., Market Definition in Two-Sided
        Markets: Theory and Practice, 10 J. Competition L. & Econ. 293, 331 (2014) (noting the
        “consensus in the literature” that any application of the hypothetical monopolist test to a
        two-sided transaction platform would have to take into account indirect network effects).
        Dr. Evans asserts, without any actual analysis or tests, that because the separate effects of
        price changes on each side are small (based on his erroneous results from other tests), there
        are no indirect network effects. FOF ¶ 424. But as Dr. Evans’ own publications confirm,
        to properly account for indirect network effects in the context of a two-sided transaction
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     The Court directed the parties not to file motions in limine before trial. Hr’g Tr. 18:2 (Mar.
     1, 2021).


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        platform, an economist should consider at least fourteen parameters in the demand
        system.” David S. Evans & Michael D. Noel, Analyzing Market Definition and Power in
        Multi-Sided Platform Markets 22–27 (Oct. 21, 2005), https://perma.cc/PHC9-MHJ8. Dr.
        Evans does not even enumerate those fourteen parameters here, and in fact accounts for
        less than four inputs per side. FOF ¶ 423.

132.    Remarkably, Dr. Evans does not dispute that his methodology is flawed. Instead, he claims
        that any shortcomings should be excused under the maxim that perfection should not be
        the enemy of the good. That concession is fatal—in a case in which a firm seeks to compel
        its competitor to restructure its business model and provide access to its intellectual
        property at no or nominal cost, the guiding economic analysis should be based on hard
        science and reliable methodologies, not aphorisms. It is not enough to merely find a “good
        enough” means of assessing market definition. There is no “good enough” standard in
        economic science—either the methodology is sound, or it is not. And the product of an
        unsound methodology cannot be relied on by the Court.

133.    Dr. Evans himself has reiterated that while it might be “technically possible to extend the
        hypothetical monopoly test to two-sided platforms, the challenges of implementing the
        SSNIP test empirically in two-sided markets are likely to be overwhelming in practice.”
        David S. Evans, The Antitrust Economics of Free, Comp. Pol. Int’l, Spring 2011, at 84
        (emphasis added). The challenges were overwhelming here, as Dr. Evans admits, yet he
        applied the test anyway. That is not a reliable methodology.

134.    Importantly, Epic, not Apple, bears the burden of proving market definition. See Thurman
        Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369, 1373 (9th Cir. 1989). Epic’s own
        expert, though, has already admitted that his analysis of market definition is deficient,
        conceding that his application of the hypothetical monopolist test is deficient and offering
        no alternative analysis for the Court to consider. As a result, Dr. Evans’ application of the
        hypothetical monopolist test is unreliable and his opinion on that basis is inadmissible.

135.    The defects in Dr. Evans’ application of the hypothetical monopolist test do not present a
        typical “battle of the experts”; rather, they present a legal bar to admissibility of his
        opinion. Reliability of expert testimony depends on “appropriate criteria such as
        testability, publication in peer-reviewed literature, known or potential error rate, and
        general acceptance.” City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th Cir.
        2014). All of these sources demonstrate not only that Dr. Evans’ methodology is not
        accepted in relevant academic community, but also that Dr. Evans’ peers and Dr. Evans
        himself have expressly warned against application of the hypothetical monopolist test in
        this context without appropriate modifications or caveats. In a different case, the
        hypothetical monopolist test may be appropriate, but here, where Dr. Evans has admitted—
        both in this case and his own pre-litigation writings—that the hypothetical monopolist test
        is flawed in this context, the Court must exercise its gatekeeping function and preclude
        admissibility of Dr. Evans’ testimony in this respect at trial.

136.    For the same reasons, Epic’s criticism of Apple’s experts for not performing a hypothetical
        monopolist test is also legally deficient, and any testimony from Epic’s experts to that
        effect is inadmissible as both unreliable and irrelevant pursuant to the Daubert standard.


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        Such testimony does not have “a valid connection to the pertinent inquiry,” Primiano v.
        Cook, 598 F.3d 558, 565 (9th Cir. 2010) (quotation marks omitted), because the
        hypothetical monopolist test is neither a necessary nor sufficient predicate to market
        definition in this context. And such testimony does not have a “reliable basis in the
        knowledge and experience of the relevant discipline” for all of the reasons outlined above.
        Id. (quotation marks omitted).

137.    As misapplied by Epic’s experts, the hypothetical monopolist test is irrelevant and
        unreliable as a methodology to evaluate the proper market in this case. No testimony
        regarding the application (or non-application) of the hypothetical monopolist test is
        admissible.

               c.      Even If the Hypothetical Monopolist Test Could Apply, It Is Not
                       Dispositive

138.    In any event, the hypothetical monopolist test, even if otherwise applicable here, is not
        dispositive. “The outer boundaries of a product market are determined by the reasonable
        interchangeability of use or the cross-elasticity of demand between the product itself and
        substitutes for it.” Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962). Epic
        appears to erroneously assume that the hypothetical monopolist test is the only permissible
        methodology for defining a market—Dr. Evans’ critiques of Apple’s experts are largely
        limited to criticizing their failure to apply the hypothetical monopolist test. This
        assumption is legally incorrect.

139.    “[T]here is no requirement in [the Ninth] Circuit that an expert use any particular form of
        analysis in developing an opinion on market definition.” Sumotext Corp. v. Zoove, Inc.,
        No. 16-CV-1370, 2020 WL 533006, at *11 (N.D. Cal. Feb. 3, 2020) (rejecting party’s
        objection that the opposing expert’s opinion on market definition was “unreliable because
        he failed to perform the SSNIP test”). This Court has observed in other cases that there is
        no “legal support” for the proposition that an expert opinion is “inadmissible because he
        failed to conduct either a formal econometric analysis of cross-elasticity of demand or a
        ‘hypothetical monopolist’ test.” Apple iPod iTunes Antitrust Litig., No. 05-CV-37-YGR,
        2014 WL 4809288, at *7 (N.D. Cal. Sept. 26, 2014). Were it otherwise, and the
        hypothetical monopolist test were necessary to a proper evaluation of market definition as
        Epic contends, many landmark antitrust cases would have to be condemned for evaluating
        market definition without any reference to SSNIP or the hypothetical monopolist test. See,
        e.g., Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285–87 (2018); Brown Shoe Co. v. United
        States, 370 U.S. 294, 325–28 (1962); Image Technical Servs., Inc. v. Eastman Kodak Co.,
        125 F.3d 1195, 1202–06 (9th Cir. 1997).

140.    For example, in addition to assessing quantitative data regarding the cross-elasticity of
        demand, the Ninth Circuit allows courts to apply “a qualitative approach when determining
        the relevant market.” GSI Tech., Inc. v. Cypress Semiconductor Corp., No. 11-CV-3613,
        2015 WL 364796, at *3 (N.D. Cal. Jan. 27, 2015); see also, e.g., Tanaka v. Univ. of S. Cal.,
        252 F.3d 1059, 1063–64 (9th Cir. 2001) (analyzing market definition using only qualitative
        factors and without reference to the hypothetical monopolist test).



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141.    Under this approach, courts may define the boundaries of a market by looking to “such
        practical indicia as industry or public recognition of the submarket as a separate economic
        entity, the product’s peculiar characteristics and uses, unique production facilities, distinct
        customers, distinct prices, sensitivity to price changes, and specialized vendors.” Brown
        Shoe Co., 370 U.S. 294, 325 (1962); see also McWane, Inc. v. FTC, 783 F.3d 814, 829–30
        (11th Cir. 2015) (noting that “[c]ourts routinely rely on qualitative economic evidence to
        define relevant markets” (quotation marks omitted)).

142.    Indeed, relying on the hypothetical monopolist test to the exclusion of qualitative factors
        can be dangerous and lead to unduly narrow markets. One of Epic’s experts, Dr. Cragg,
        testified that in the Amex case before the Second Circuit, multiple sources of analysis,
        including a hypothetical monopolist test, led to the erroneous conclusion that the market
        there was one-sided. Dr. Cragg went on to note that he has forgone applying the
        hypothetical monopolist in prior cases, and that many economists have opined that a
        hypothetical monopolist or a SSNIP test is not necessary to define a relevant market,
        because there’s a certain circularity to the definition.

143.    Even if Epic were correct that one of the factors, “sensitivity to price changes,” weighed in
        favor of its market definition, all of the remaining factors support Apple’s market
        definition.

144.    First, there is widespread industry and public recognition of the market for digital
        transactions for game apps. The detailed analysis set forth above makes clear that
        consumers in fact have a variety of options for downloading and playing game apps, and
        have a variety of devices available to them to do so. See supra § II.B.ii.a (¶¶ 39–45). And
        as noted above, Apple’s internal analyses confirm that it views itself as being in
        competition with other digital transaction platforms for game apps. See supra § II.B.ii.a
        (¶ 54).

145.    Second, digital transactions for game apps have “peculiar characteristics or uses.”
        Non-game apps serve a wide range of useful functions—they might give you directions,
        perform complex equations, or find a good restaurant. But all game apps have the same
        distinct use—the entertainment of the user. To be sure, game apps also have wide variety
        in terms of design and complexity, but all game apps share a common use among users that
        distinguishes them from non-game apps.

146.    Third, game apps have unique production facilities or technology. Many game apps require
        special software to run effectively. FOF ¶ 345. Epic knows this well, as it designed the
        Unreal Engine, software specifically designed to help developers create games for
        distribution on various game transaction platforms. FOF ¶ 250.

147.    Fourth, digital transactions for game apps have distinct customers. On the one side are
        game developers, which as noted above, tend to specialize in the production of game apps
        and tend to derive the great majority of their revenue from game apps as opposed to
        non-game apps. See supra § II.B.ii.b (¶ 68). On the other side are consumers, many of
        which might play games casually, but only a subset of which consistently make purchases
        on games like Fortnite, engage in online play, or purchase consoles or other


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        gaming-specific devices. When Epic issues new content for Fortnite, it is targeting a
        specific subset of the iPhone user base.

148.    Fifth, digital transactions for game apps have distinct prices. As discussed elsewhere, see
        infra § III.B.i.a (¶ 230), the 30% base commission rate is standard in the industry for digital
        transactions for game apps. Although there are some small market outliers, the major
        market participants—Apple, Google, Microsoft, Sony, Nintendo, etc.—all charge a base
        commission of 30%, with reduced rates in certain circumstances. This pricing supports the
        notion that these platforms are in competition with each other in the same market.

149.    Finally, there are specialized vendors for digital transactions for game apps. While some
        platforms, like the App Store, offer a wider variety of apps, many platforms focus
        exclusively or nearly exclusively on games. A consumer cannot buy (and likely would not
        want to buy) a map app for use on the PlayStation 5, but rather would go to that platform
        specifically to execute digital transactions for games. FOF ¶¶ 349–349.3. Epic appears to
        recognize that games are a discrete subset of apps, as it describes EGS as “a digital video
        game storefront through which gamers can download various games, some developed by
        Epic, and many offered by third-party game developers.” Dkt. 1 ¶ 27.

150.    All of this evidence must be also be considered against the larger backdrop of the evidence
        of interchangeability. The App Store competes with other transaction platforms—
        including those provided through desktops, laptops, gaming consoles, and other
        smartphones—in the market for digital transactions for game apps. Consumers have a
        variety of choices when determining whether to download a game app on their phone, their
        PC, their Nintendo Switch, or some other device, and Apple, like all other market
        participants in this area, must compete to persuade consumers to use its platform for those
        digital transactions. And iOS users even have the option—as they always have—to use
        the web for digital game transactions.

151.    For all of these reasons, Epic’s proposed market definition is untenable.

C.      Geographic Market6

152.    Epic’s complaint proposes a “worldwide” geographic market, Dkt. 1 ¶¶ 57, 118, and its
        expert proposes a global market excluding China. Both of these proposed geographic
        markets are legally improper and ignore significant barriers that separate the U.S. market
        for digital game transactions from the rest of the world. The correct relevant geographic
        market is the United States, and more specifically, it is U.S. consumers and developers
        inside and outside of the United States who sell to U.S. consumers. FOF ¶¶ 438–46.

153.    The geographic market in a case involving a two-sided transaction platform must take into
        account both sides of the platform—here, consumers and developers. FOF ¶ 437.
        Moreover, when evaluating the geographic market, it is inappropriate to merge multiple
        geographic areas into one market when there are “barrier[s]” preventing competition
        between the areas, Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d 1484,

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     Geographic market definition is addressed in § 4.2, page 21 of the Joint Elements Submission.


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        1490 (9th Cir. 1991), or if consumers in one geographic area do not have access to “external
        sources” of the relevant product, Pacifica Kidney Ctr., Inc. v. Nat’l Med. Care, Inc., 995
        F.2d 232 (9th Cir. 1993) (unpublished opinion).

154.    Courts must also keep in mind a core tenet of American antitrust law: It “do[es] not
        regulate the competitive conditions of other nations’ economies.” Matsushita Elec. Indus.
        Co. v. Zenith Radio Corp., 475 U.S. 574, 582 (1986). The U.S. antitrust laws are concerned
        only with U.S. consumer welfare, not the welfare of foreign consumers. See Vollrath Co.
        v. Sammi Corp., No. 85-CV-820, 1989 WL 201632, at *8 n.21 (C.D. Cal. 1989) (noting
        that “harm to . . . Korean manufacturers could not form the basis of an antitrust claim”).

155.    The evidence demonstrates that Epic’s proposed global market is legally untenable.

156.    Consumers generally access game app platforms like the App Store through country-
        specific “storefronts.” FOF ¶ 438. The storefronts of different countries are distinct from
        each other, offering differing apps and features. FOF ¶ 439. For example, in some
        countries, such as China and South Korea, there are specific licensing and disclosure
        requirements that must be met before apps, including games, can be released to the public.
        FOF ¶ 442.

157.    Consumers in a given country, by default, access game app platforms through their
        respective domestic storefronts. FOF ¶¶ 440–41. Consumers are generally restricted to
        their domestic storefronts because of regulatory restrictions, language barriers, and
        currency differences. FOF ¶¶ 441–42; cf. TYR Sport, Inc. v. Warnaco Swimwear, Inc., 709
        F. Supp. 2d 802, (C.D. Cal. 2010) (considering “differences in local regulations” and
        “currency and pricing” as important barriers to a geographic market). On the App Store,
        for instance, consumers cannot change their storefront to that of another country without
        completing a complicated and inconvenient process. FOF ¶ 441. And they must have a
        domestic credit card or bank to use a particular storefront. FOF ¶ 442.

158.    U.S. consumers, then, cannot “practicably turn” to any other country’s storefront for digital
        game transactions, United States v. Philadelphia Nat’l Bank, 374 U.S. 321, 359 (1963)
        (quotation marks omitted), but instead effectively have access to digital game transactions
        in only the United States, FOF ¶ 444. There are no “alternate sources of supply” of digital
        game transactions. Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d 1484,
        1490 (9th Cir. 1991) (quotation marks omitted). As a result, from the perspective of
        consumers, the United States is a distinct area of competition.

159.    On the developer side of the platform, however, the same restrictions do not exist. Both
        foreign and U.S. developers can and do transact with U.S. consumers through the U.S.
        storefronts of game app platforms. FOF ¶ 445 No significant barriers prevent a Chinese
        game developer, for example, from selling a game to U.S. consumers on the App Store’s
        U.S. storefront. Id. Hence, on the developer side of the platform, the geographic market
        should include both foreign and U.S. developers who sell to U.S. consumers.




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                           III.    EPIC’S SHERMAN ACT CLAIMS

A.      General Principles

160.    The principal theories of relief in Epic’s Complaint arise out of Sections 1 and 2 of the
        Sherman Act. See generally Dkt. 1. Epic has asserted six claims under the Sherman Act,
        organized under four legal frameworks:

        (1)     Unlawful monopoly maintenance under Section 2 of the Sherman Act:

                        -Unlawful monopoly maintenance in the “iOS App Distribution Market,”
                        see infra § III.B.i (¶¶ 216–330);

                        -Unlawful monopoly maintenance in the “iOS In-App Payment Processing
                        Market,” see infra § III.B.ii (¶¶ 331–73);
        (2)     Denial of essential facility in the “iOS App Distribution Market” under Section 2
                of the Sherman Act, see infra § III.B.iii (¶¶ 374–419);

        (3)     Tying in the App Store in the “iOS App Distribution Market” to In-App Purchase
                in the “iOS In-App Payment Processing Market” under Section 1 of the Sherman
                Act, see infra § III.C.i (¶¶ 423–86);

        (4)     Unreasonable restraints of trade under Section 1 of the Sherman Act:

                        -Unreasonable restraints of trade in the “iOS App Distribution Market,”
                        see infra § III.C.ii (¶¶ 487–530); and

                        -Unreasonable restraints of trade in the “iOS In-App Payment Processing
                        Market,” see infra § III.C.iii (¶¶ 531–41).

        i.      Epic’s Theories of Liability

161.    Each of these legal frameworks consists of different, although sometimes overlapping,
        basic elements.

162.    A plaintiff pursuing a Section 2 claim for unlawful monopoly maintenance must show:
        “(a) the possession of monopoly power in the relevant market; (b) the willful acquisition
        or maintenance of that power; and (c) causal antitrust injury.” FTC v. Qualcomm Inc., 969
        F.3d 974, 990 (9th Cir. 2020) (quotation marks omitted). The second of these elements
        requires the plaintiff to show the willful maintenance of monopoly power “through
        exclusionary conduct.” MetroNet Servs. Corp. v. Qest Corp., 383 F.3d 1124, 1130 (9th
        Cir. 2004). The full framework for unlawful monopoly maintenance claims under Section
        2 is set forth below. See infra § III.B.i (¶¶ 216–19).

163.    A plaintiff pursuing a Section 2 claim for denial of an essential facility must show (1) that
        the defendant is “a monopolist in control of an essential facility”; (2) that the plaintiff “is
        unable reasonably or practically to duplicate the facility”; (3) that the defendant “has
        refused to provide [the plaintiff] access to the facility”; and (4) that “it is feasible for [the


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        defendant] to provide such access.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d
        1171, 1185 (9th Cir. 2016). The full framework for essential facility claims under Section
        2 is set forth below. See infra § III.B.iii (¶¶ 374–84).

164.    A plaintiff pursuing a Section 1 claim for unlawful tying must show the linking of two
        separate products from two separate product markets. See Jefferson Parish Hosp. Dist. No.
        2 v. Hyde, 466 U.S. 2, 21 (1984), abrogated on other grounds by Ill. Tool Works Inc. v.
        Indep. Ink, Inc., 547 U.S. 28 (2006). Tying claims are assessed under either the per se
        framework or the rule of reason analysis, see id. at 29, although under either analysis, the
        Court must assess the anticompetitive effects of the alleged tying. The full framework for
        tying claims under Section 1 is set forth below. See infra § III.C.i.a (¶¶ 426–30).

165.    A plaintiff pursuing a Section 1 claim for unreasonable restraint of trade must prove “(1)
        the existence of an agreement, and (2) that the agreement was in unreasonable restraint of
        trade.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1178 (9th Cir. 2016).
        Except for a small number of agreements that are treated as per se unreasonable restraints
        of trade, agreements alleged to be in restraint of trade are analyzed under the
        burden-shifting framework of the “rule of reason.” Ohio v. Am. Express Co., 138 S. Ct.
        2274, 2284 (2018). The full framework for claims of unreasonable restraint of trade under
        Section 1 is set forth below. See infra § III.C.ii (¶¶ 487–504).

166.    Although Epic has pursued different theories of relief here, all of its claims revolve around
        and challenge the same fundamental “contractual and technical restrictions.” Dkt. 1 ¶ 17.

167.    First, Epic challenges several contractual provisions:

        A.      Section 3.2(g) of the DPLA, which provides:

        Applications for iOS Products, Apple Watch, or Apple TV developed using the Apple
        Software may be distributed only if selected by Apple (in its sole discretion) for
        distribution via the App Store, Custom App Distribution, for beta distribution through
        TestFlight, or through Ad Hoc distribution as contemplated in this Agreement.
        B.      Section 3.3.2(b) of the DPLA, which provides:

        Interpreted code may be downloaded to an Application but only so long as such
        code . . . (b) does not create a store or storefront for other code or applications . . . .
        C.      Section 3.2.2(i) of the App Store Review Guidelines, which prohibits:

        Creating an interface for displaying third-party apps, extensions, or plug-ins similar to the
        App Store or as a general-interest collection.
        D.     Section 3.1.1 of the App Store Review Guidelines, which provides:

        If you want to unlock features or functionality within your app, (by way of example:
        subscriptions, in-game currencies, game levels, access to premium content, or unlocking
        a full version), you must use in-app purchase. Apps may not use their own mechanisms
        to unlock content or functionality, such as license keys, augmented reality markers, QR
        codes, etc. Apps and their metadata may not include buttons, external links, or other calls
        to action that direct customers to purchasing mechanisms other than in-app purchase.


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        E.     Section 3.1.3(a) of the App Store Review Guidelines, which provides:

        Apple may allow a user to access previously purchased content or content
        subscriptions . . . , provided that you agree not to directly or indirectly target iOS users to
        use a purchasing method other than in-app purchase, and your general communications
        about other purchasing methods are not designed to discourage use of in-app purchase.
168.    Second, Epic challenges two technical designs of iOS and the App Store:

        A.     iOS does not permit users to download app stores or apps directly from the websites
               (i.e., sideloading), and instead requires that native apps be downloaded only from
               the App Store. See Dkt. 1 ¶ 66.

        B.     Apple pre-installs the App Store on the home screen of every iOS device it sells,
               and does not pre-install competing app stores on iOS devices or allow users to
               remove the App Store. See Dkt. 1 ¶ 67.

        ii.    Business Justifications and Procompetitive Effects

169.    Common to all of Epic’s theories is that the Court must (assuming Epic can clear the
        numerous other threshold legal questions) assess the competitive effects of the challenged
        contractual and technical restraints, including any legitimate procompetitive business
        justifications for the conduct. Each legal framework for liability, however, analyzes
        procompetitive business justifications under a different paradigm.

170.    First, in an unlawful monopoly maintenance claim under Section 2, “the plaintiff is obliged
        to make out a prima facie case that the monopolist has engaged in ‘exclusionary’ conduct,”
        and “[a]t that point the proof burden ordinarily shifts to the defendant to offer a
        ‘justification’ for the conduct.” 6C Philip E. Areeda & Herbert Hovenkamp, Antitrust Law:
        An Analysis of Antitrust Principles and Their Application ¶ 658f (4th ed. 2020 supp.); see
        also FTC v. Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020) (“[I]f a plaintiff successfully
        establishes a prima facie case under § 2 by demonstrating anticompetitive effect, then the
        monopolist may proffer a ‘procompetitive justification’ for its conduct.” (quotation marks
        omitted)). The plaintiff “may rebut an asserted business justification by demonstrating
        either that the justification does not legitimately promote competition or that the
        justification is pretextual.” Image Technical Servs., Inc. v. Eastman Kodak Co., 125 F.3d
        1195, 1212 (9th Cir. 1997).

171.    At no point in a Section 2 monopoly maintenance claim is the Court to consider the
        availability of less restrictive alternatives, because in an unlawful monopoly maintenance
        claim under Section 2, “there is no least restrictive alternative requirement,” Image
        Technical Servs., Inc. v. Eastman Kodak Co., 903 F.2d 612, 620 (9th Cir. 1990), and there
        is no “‘balancing’ of social gains against competitive harms,” 6C Philip E. Areeda &
        Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
        Application ¶ 658f (4th ed. 2020 supp.); see also Behrend v. Comcast Corp., No.
        03-CV-6604, 2012 WL 1231794, at *19 (E.D. Pa. Apr. 12, 2012).

172.    Second, in an essential facility claim under Section 2, once the defendant has offered
        legitimate business justifications for its conduct, the plaintiff bears “the burden of proving


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        that the defendant acted without a legitimate business justification.” City of Vernon v. S.
        Cal. Edison Co., 955 F.2d 1361, 1366–68 (9th Cir. 1992). This element is part of the
        plaintiff’s burden to show that providing access to the essential facility would be feasible.
        See City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1380 (9th Cir. 1992).

173.    Third, in an unreasonable restraint of trade claim under Section 1, procompetitive business
        justifications are part of the rule-of-reason balancing. Under that framework, “the plaintiff
        has the initial burden to prove that the challenged restraint has a substantial anticompetitive
        effect that harms consumers in the relevant market. If the plaintiff carries its burden, then
        the burden shifts to the defendant to show a procompetitive rationale for the restraint. If
        the defendant makes this showing, then the burden shifts back to the plaintiff to
        demonstrate that the procompetitive efficiencies could be reasonably achieved through less
        anticompetitive means.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018) (citations
        omitted).

174.    Fourth, in a tying claim under Section 1, procompetitive business justifications provide an
        affirmative defense to a tying claim analyzed under the per se rule. See Mozart Co. v.
        Mercedes-Benz of N. Am., Inc., 833 F.2d 1342, 1348 (9th Cir. 1987). If the tying claim is
        analyzed under the rule-of-reason framework, then procompetitive business justifications
        are analyzed in the ordinary course of that analysis as set forth above.

175.    Despite the varying frameworks and burdens, the procompetitive design of iOS and the
        App Store is relevant to all of Epic’s claims, assuming Epic could satisfy the other elements
        of its claims. It therefore is useful upfront to preview the various ways in which Apple has
        designed the App Store to be procompetitive in numerous respects.

176.    The “walled garden” design of iOS and the App Store has many procompetitive effects,
        discussed in more detail with regard to particular claims below. See infra § III.B.i.d
        (¶¶ 299–317), § III.B.ii.d (¶¶ 352–65). Some cross-cutting points, however, bear mention
        at the outset.

177.    The design of iOS enhances product reliability and security, as well as consumer safety
        and privacy. Because Apple is able to curate which native apps users are able to download
        to their iPhones, it is better able to protect its users from malware, spyware, privacy
        breaches, or other content that may be harmful to users or their devices. The security,
        privacy, and reliability that Apple provides is a result of its substantial investment into the
        App review process, through which native iOS apps are reviewed by Apple’s review team
        to ensure that consumers are receiving a safe and secure experience. Apple has invested
        substantial resources into ensuring that the App Store is the most trusted place to download
        apps.

178.    These security, privacy, and reliability features also benefit developers, because developers
        who distribute their apps through the App Store benefit from the credibility and goodwill
        Apple has established through its curation of the App Store. Apple puts its reputation
        behind all of the apps distributed through the App Store, and consumers are thus willing to
        download apps from smaller developers who otherwise may not have an existing reputation
        for consumer security or reliability. Developers therefore benefit from having a centralized


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        marketplace for apps that users know and trust. These are the network effects that
        characterize two-sided transaction platforms.

179.    Indeed, Apple’s “walled garden” approach is a point of competitive differentiation from
        smartphones and tablets that run on other operating systems, particularly Android. Android
        devices typically allow sideloading, third-party app stores, and other alternative methods
        of app distribution. Consumers who value such features may purchase those devices, while
        consumers who believe the additional risks outweigh the benefits may purchase iOS
        devices. Similarly, developers who value alternative distribution channels may choose to
        create Android apps, while others may choose to create native iOS apps to distribute
        through the App Store (or web apps if they wish to reach iOS users through other means).
        If iOS were forced to be more like Android, this important aspect of consumer and
        developer choice would be eliminated, and one of the technological grounds on which
        Android and iOS devices actively compete (“open” vs. “closed” systems) would be
        resolved by judicial fiat rather than by operation of the free market.

180.    The design of iOS also protects Apple’s proprietary information and intellectual property,
        and prevents free-riding. The innovation offered by the App Store has not come without
        cost—Apple has invested billions of dollars into the development of iOS and the App Store,
        and continues to make substantial investments to improve the quality of the services offered
        therein. Apple must do so because, as noted above, it is in constant competition with other
        transaction platforms that offer similar services. Apple has chosen to make iOS and the
        App Store available to third-party developers, and to provide tools to developers to help
        them design iOS-compatible apps, contingent on developers executing a license agreement
        that gives them a limited license to use Apple’s intellectual property. The “walled garden”
        design of iOS prevents developers from free-riding on Apple’s innovation and design.
        There is no dispute here that development and distribution of iOS-compatible apps requires
        use of Apple’s intellectual property, and the terms and conditions that Apple places on the
        licensing of that intellectual property are a procompetitive component of the design of iOS
        that allow Apple’s property rights to be shared while still incentivizing innovation by other
        firms.

181.    It is noteworthy in this respect that Epic persistently misquotes Section 3.2(g) of the DPLA,
        which—according to the Complaint—“requires that developers distribute their apps only
        through the App Store.” Dkt. 1 ¶ 71 (emphasis added). What the DPLA actually says is
        that “[a]pplications for iOS Products . . . developed using the Apple Software may be
        distributed only if selected by Apple (in its sole discretion) for distribution via the App
        Store.” FOF ¶ 106.3 (emphasis added). Epic, while complaining about Apple’s
        requirement that native iOS apps be distributed through the App Store, fails to
        acknowledge that such apps use Apple’s intellectual property.

182.    These and a number of other procompetitive effects of the design of iOS and the App Store
        are discussed in more detail below, but they make clear as a threshold matter that what
        Epic is challenging here is a feature that was designed from the start to encourage
        innovation, enhance the consumer experience, and broaden choice. Developers, including
        Epic, have benefitted greatly from the design of iOS, and it is through Apple’s careful
        curation of the App Store that the thriving app marketplace has emerged.


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        ii.     Causal Antitrust Injury7

183.    Another element that is common to all of Epic’s Sherman Act claims and that should be
        considered as a threshold matter is the issue of causal antitrust injury.

184.    Every plaintiff bringing an antitrust claim must show “(1) unlawful conduct, (2) causing
        an injury to the plaintiff, (3) that flows from that which makes the conduct unlawful, and
        (4) that is of the type the antitrust laws were intended to prevent.” Feitelson v. Google Inc.,
        80 F. Supp. 3d 1019, 1027 (N.D. Cal. 2015) (quotation marks omitted). The Ninth Circuit
        has also imposed an additional element—that “the injured party be a participant in the same
        market as the alleged malefactors,” meaning “the party alleging the injury must be either a
        consumer of the alleged violator’s goods or services or a competitor of the alleged violator
        in the restrained market.” Somers v. Apple, Inc., 729 F.3d 953, 963 (9th Cir. 2013)
        (quotation marks omitted).

185.    Most relevant here, “[t]he Supreme Court has made clear that injuries which result from
        increased competition . . . are not encompassed by the antitrust laws.” Am. Ad Mgmt., Inc.
        v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1057 (9th Cir. 1999). “Where the defendant’s
        conduct harms the plaintiff without adversely affecting competition generally, there is no
        antitrust injury.” Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145, 1158 (9th Cir.
        2003).

186.    Epic has not identified any injury of the type the antitrust laws protect. At bottom, Epic
        does not like the terms on which Apple has chosen to deal with it or other developers, but
        that is not a basis for an antitrust claim. What Epic really wants is to avoid paying the 30%
        commission that it agreed to pay Apple. At most, that is an injury to Epic, it is not an injury
        to competition. See Gorlick Distrib. Ctrs., LLC v. Car Sound Exhaust Sys., Inc., 723 F.3d
        1019, 1024–25 (9th Cir. 2013) (explaining that a plaintiff must show injury to “competition
        in the market as a whole, not merely injury to itself as a competitor”). Epic also seeks to
        dictate the terms upon which Apple licenses its intellectual property to developers so that
        Epic can earn more money, but again, that is not an antitrust injury.

        iii.    Foreign Trade Antitrust Improvements Act8

187.    The final piece that is common to all of Epic’s Sherman Act claims is that foreign
        conduct—including consumer spending on foreign storefronts of the App Store—is
        irrelevant to Epic’s Sherman Act claims.

188.    “The FTAIA provides that the Sherman Act ‘shall not apply to conduct involving trade or
        commerce (other than import trade or import commerce) with foreign nations unless—(1)
        such conduct has a direct, substantial, and reasonably foreseeable effect—(A) on trade or



 7
     Causal antitrust injury is addressed in § 7.3, page 67 of the Joint Elements Submission.
 8
     The Foreign Trade Antitrust Improvements Act is addressed in § 9, pages 82–83 of the Joint
     Elements Submission.


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        commerce which is not trade or commerce with foreign nations.’” United States v. Hui
        Hsiung, 778 F.3d 738, 750–51 (9th Cir. 2015) (quoting 15 U.S.C. § 6a).

189.    “[The FTAIA] initially lays down a general rule placing all (nonimport) activity involving
        foreign commerce outside the Sherman Act’s reach. It then brings such conduct back
        within the Sherman Act’s reach provided that the conduct both (1) sufficiently affects
        American commerce, i.e., it has a direct, substantial, and reasonably foreseeable effect on
        American domestic, import, or (certain) export commerce, and (2) has an effect of a kind
        that antitrust law considers harmful, i.e., the effect must giv[e] rise to a [Sherman Act]
        claim.” United States v. Hui Hsiung, 778 F.3d 738, 754 (9th Cir. 2015) (quoting F.
        Hoffmann–La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 162 (2004)).

190.    A direct effect “follows as an immediate consequence of the defendant’s activity,” “without
        deviation or interruption.” United States v. LSL Biotechnologies, 379 F.3d 672, 680 (9th
        Cir. 2004) (quotation marks omitted).

191.    An effect is substantial if it “involves a sufficient volume of U.S. commerce” and is not “a
        mere ‘spillover effect,’” see Sun Microsystems Inc. v. Hynix Semiconductor Inc., 534 F.
        Supp. 2d 1101, 1110 (N.D. Cal. 2007), and it is reasonably foreseeable if it would “have
        been evident to a reasonable person making practical business judgments,” Animal Sci.
        Prods., Inc. v. China Minmetals Corp., 654 F.3d 462, 471 (3d Cir. 2011).

192.    Epic’s proposed “worldwide market” for “iOS app distribution” includes non-import
        commerce with foreign nations—i.e., the distribution of apps to consumers in other
        countries. The FTAIA, however, provides that the Sherman Act does not apply to such
        conduct unless an exception applies.

193.    Epic has not carried its burden of establishing that the distribution of apps to consumers in
        other countries has either a direct or a substantial effect on U.S. commerce. All of the
        conduct of which it complains in this suit occurred in the United States—the design of iOS,
        the design and launch of the App Store, the implementation of IAP, the execution of the
        DPLA, and the termination of Epic’s DPLA following its willful breach. There is no
        evidence that any conduct overseas has any domestic effect, and, more importantly, no
        evidence that any conduct overseas has any anticompetitive domestic effect. See United
        States v. Hui Hsiung, 778 F.3d 738, 754 (9th Cir. 2015).

194.    Indeed, Epic cannot prove that foreign conduct has an effect here, because Magistrate
        Judge Hixson denied Epic’s application to take discovery regarding Apple’s activities and
        customers outside of the United States, concluding that “[a]ll of the claims and defenses in
        this case arise under U.S. or California law, not some non-existent worldwide antitrust
        law.” See Dkt. 226 at 3. Epic did not appeal that order, and no discovery was thus taken
        concerning foreign conduct. Evidence regarding conduct overseas thus simply is not in the
        record.

195.    That any foreign conduct of Apple is excluded from Epic’s Sherman Act claims is further
        made apparent by the fact that Epic has attempted to pursue litigation against Apple for its
        foreign conduct in other, foreign forums. The Court may properly take judicial notice of



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        these proceedings. See U.S. ex rel. Robinson Rancheria Citizens Council v. Borneo, Inc.,
        971 F.2d 244, 248 (9th Cir. 1992). For example, there currently is pending a proceeding
        against Apple in Australia related to its conduct relevant in that jurisdiction. See Josh
        Taylor, Fortnite Maker Epic Games Sues Apple in Australia for App Store Ban, The
        Guardian (Nov. 17, 2020), https://perma.cc/2VV4-2TM7. Epic also tried to bring suit
        against Apple in the UK for foreign conduct, although that case was dismissed. See Epic’s
        Bid to Sue Apple Over Fortnite in UK Rejected, BBC News (Feb. 22, 2021),
        https://perma.cc/JNU8-VCTY.        And Epic filed a complaint with the European
        Commission’s directorate-general for competition, alleging that Apple’s foreign conduct
        violated EU law. See Epic Game Files EU Antitrust Complaint Against Apple, Epic Games
        (Feb. 17, 2021), https://perma.cc/3P4U-62TS. Thus, even Epic appears to recognize that
        its Sherman Act claims are limited to domestic conduct.

196.    Epic’s failure to carry its burden under the FTAIA has at least two consequences for this
        case. First, nothing that Apple is alleged to have done overseas is relevant to Apple’s
        liability here—only its conduct within the United States need be considered. Second, any
        relief that Epic obtains must be limited to the United States for the same reason. If Epic
        prevails on liability and obtains injunctive relief, such injunctive relief must be limited, as
        a matter of law, to the United States. Foreign conduct that does not have an anticompetitive
        effect in the United States is beyond the scope of the Sherman Act, and thus cannot be
        enjoined pursuant to such a claim.

197.    International comity also requires that the court not consider foreign conduct. Hartford
        Fire Ins. Co. v. California, 509 U.S. 764, 797–98 & n.24 (1993); see also Unigestion
        Holdings, S.A. v. UPM Tech., Inc., 305 F. Supp. 3d 1134, 1145 (D. Or. 2018) (even where
        “the FTAIA does not bar the application of the Sherman Act,” a “[c]ourt may still apply
        the principles of international comity”).

198.    Courts consider “several elements” in deciding whether to abstain from applying U.S. law
        to conduct occurring in other countries: (1) the degree of conflict with foreign law or
        policy; (2) the nationality or allegiance of the parties and the locations or principal places
        of business of corporations; (3) the extent to which enforcement by either state can be
        expected to achieve compliance; (4) the relative significance of effects on the United States
        as compared with those elsewhere; (5) the extent to which there is explicit purpose to harm
        or affect American commerce; (6) the foreseeability of such effect; (7) the relative
        importance to the violations charged of conduct within the United States as compared with
        conduct abroad. Metro Indus. v. Sammi Corp., 82 F.3d 839, 846 (9th Cir. 1996).

199.    Courts have recognized that “rampant extraterritorial application of U.S. law ‘creates a
        serious risk of interference with a foreign nation’s ability independently to regulate its own
        commercial affairs.’” Motorola Mobility LLC v. AU Optronics Corp., 775 F.3d 816, 824
        (7th Cir. 2015) (quoting F. Hoffmann–La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 165
        (2004)). This is particularly true in private antitrust actions, such as this one, because
        “private plaintiffs often are unwilling to exercise the degree of self-restraint and
        consideration of foreign governmental sensibilities generally exercised by the U.S.
        Government.” Joseph P. Griffin, Extraterritoriality in U.S. and EU Antitrust Enforcement,
        67 Antitrust L.J. 159, 194 (1999); see also Empagran, 542 U.S. at 171 (explaining how


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        and why the government, “unlike a private plaintiff,” is empowered to seek broader
        remedies “to protect the public from further anticompetitive conduct and . . . harm”).

200.    Because Epic is seeking injunctive relief, and other countries have their own robust
        competition laws and enforcers, these concerns are even more acute. The Supreme Court
        has recognized that European competition law, for example, treats vertical restraints
        differently than U.S. antitrust law. F. Hoffmann–La Roche Ltd. v. Empagran S.A., 542
        U.S. 155, 167 (2004) (citing 2 W. Fugate, Foreign Commerce and the Antitrust Laws §
        16.6 (5th ed. 1996)). Using U.S. law to proscribe conduct that is or may be lawful where
        it occurred risks violating the “golden rule among nations”—to “give the respect to the
        laws, policies and interests of others that [we] would have others give to [our] own in the
        same or similar circumstances.” Mujica v. AirScan Inc., 771 F.3d 580, 608 (9th Cir. 2014)
        (quotation marks omitted).

201.    Accordingly, as under the FTAIA, international comity compels the Court to limit the focus
        of the case to domestic conduct, and any injunctive relief awarded to Epic must be confined
        to the United States.

B.      Sherman Act Section 2 (Epic Counts 1, 2, and 4)

202.    Epic brings two claims under Section 2 of the Sherman Act for unlawful monopoly
        maintenance. In Count 1, Epic alleges that Apple engaged in unlawful monopolization of
        the “iOS App Distribution Market” because it “prevents the distribution of iOS apps
        through means other than the App Store and prevents developers from distributing
        competing app stores to iOS users.” Dkt. 1 ¶ 188. In Count 4, Epic alleges that Apple has
        a monopoly in the “iOS In-App Payment Processing Market” that it has unlawfully
        maintained by requiring “iOS developers that sell in-app content to exclusively use Apple’s
        In-App Purchase.” Id. ¶ 220.

203.    Epic also has brought a claim under Section 2 of the Sherman Act that Apple has violated
        the Sherman Act “through its unlawful denial to Epic and other app distributors of an
        essential facility—access to iOS.” Dkt. 1 ¶ 197.

204.    A careful analysis of each of the elements of Epic’s Section 2 claims makes clear that
        Epic’s claims fail for numerous reasons. See infra §§ III.B.i–II.B.iii (¶¶ 216–419). Indeed,
        whereas Apple’s arguments and defenses fit squarely within the established framework for
        Sherman Act claims, Epic urges the Court to sanction unprecedented expansions of the
        antitrust laws that are squarely foreclosed by binding precedent and antithetical to the
        animating purposes of the Sherman Act.

205.    The principal authority on which Epic relies for its novel theories of Section 2 liability is
        United States v. Microsoft, 253 F.3d 34 (D.C. Cir. 2001), in which the D.C. Circuit partially
        affirmed a district court’s liability findings (but vacated the remedy) regarding Microsoft’s
        practice of discouraging users of Windows from using an Internet browser other than
        Microsoft’s own Internet Explorer. Microsoft was decided two decades ago, in a different
        technological era and context, and by a different Circuit. And it does not support Epic’s
        claims here.



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206.    Microsoft was accused of monopolizing the market for Intel-compatible PC operating
        systems through a variety of allegedly anticompetitive acts and contractual restrictions.
        See United States v. Microsoft, 253 F.3d 34, 47 (D.C. Cir. 2001). First, the plaintiffs
        challenged certain provisions in Microsoft’s agreements licensing Windows to OEMs that
        prohibited OEMs from removing any desktop icons from Windows (including Microsoft’s
        Internet Explorer), from altering the “boot sequence,” or from otherwise altering the
        appearance of the Windows desktop, all of which had the effect of restraining OEMs’
        ability to replace Internet Explorer with a different Internet browser. See id. at 60–61.
        Second, the plaintiffs challenged the integration of Internet Explorer into Windows, which
        prevented OEMs from removing the browser. See id. at 64. Third, the plaintiffs challenged
        Microsoft’s agreements with various Internet Access Providers that offered Internet
        Explorer at an attractive (below cost) price and that encouraged Internet Access Providers
        to promote Internet Explorer in exchange for better integration with Windows. See id. at
        67–68. Fourth, the plaintiffs challenged various agreements Microsoft had with Internet
        Content Providers, Independent Software Vendors, and Apple to promote or require the
        usage of Internet Explorer on various platforms in exchange for technical information
        about upcoming Windows updates and upgrades. See id. at 71–72. And finally, the
        plaintiffs challenged steps that Microsoft had taken to obstruct the development of software
        that would threaten Microsoft’s monopoly in operating systems. See id. at 74.

207.    The D.C. Circuit found that much, although not all, of Microsoft’s conduct had
        anticompetitive effects because it tended to exclude competition through coercive
        agreements and strategic restrictions, rather than through innovation or having the superior
        product. The D.C. Circuit also held that Microsoft failed in numerous places to offer any
        evidence of legitimate procompetitive justifications for its conduct. See United States v.
        Microsoft, 253 F.3d 34, 71–73, 76–77 (D.C. Cir. 2001). However, the Court vacated the
        relief ordered (divestiture) and remanded to a different judge for further proceedings. See
        id. at 97–118.

208.    There are several distinguishing factors that make Microsoft largely inapplicable to this
        case.

209.    First, unlike here, there was no single-brand market alleged in Microsoft. See United States
        v. Microsoft, 253 F.3d 34, 52 (D.C. Cir. 2001) (defining the market as “‘the licensing of all
        Intel-compatible PC operating systems worldwide’”). The conduct challenged in
        Microsoft thus did not simply affect Microsoft’s own products and intellectual property,
        but rather weakened the intellectual property rights of others and sought to control the
        market through anticompetitive conduct rather than through innovation. Here, by contrast,
        Apple developed an innovative operating system and transaction platform for use on its
        devices (and for its consumers), and the only anticompetitive conduct alleged relates to an
        alleged foreclosure of competition in the (inaccurately defined) market for only Apple
        products. The differing market scope makes Microsoft an inapt comparator.

210.    Second, much of the challenged conduct involved Microsoft’s efforts, through contractual
        and technical restrictions, to force third parties to use and sell its intellectual property. See
        United States v. Microsoft Corp., 253 F.3d 34, 59–78 (D.C. Cir. 2001). Here, however, the
        facts are inverted—Apple is not forcing Epic to use its intellectual property; rather, Apple


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        makes that intellectual property available to Epic and other developers on transparent
        terms. Unlike in Microsoft, Epic is seeking to compel Apple to make its intellectual
        property available to it on terms dictated by Epic. The anticompetitive conduct alleged in
        Microsoft is far afield from the terms of access to Apple’s own intellectual property that
        are at issue here.

211.    Third, whereas Microsoft urged that its intellectual property rights (namely, its copyrights)
        gave it “an absolute and unfettered right to use its intellectual property as it wishes,” United
        States v. Microsoft Corp., 253 F.3d 34, 63 (D.C. Cir. 2001), Apple has made no such claim
        here. Rather, the crux of Apple’s argument, detailed below, see infra § III.B.i.b (¶¶ 246–
        83), is that a patent or copyright holder has a right to exclude others from using its work,
        or to set terms and conditions for the licensing of that work. Microsoft sought to insulate
        itself from liability for all conduct related to the exercise of its intellectual property rights,
        whereas Apple has invoked only the indisputable maxim that a rights holder has the right
        to license or not license its work to others on terms that it sets.

212.    The D.C. Circuit in Microsoft in fact supports Apple’s legal arguments here, because the
        court recognized that a firm may take steps to protect its intellectual property. With respect
        to “[t]he only license restriction Microsoft seriously defend[ed] as necessary to prevent a
        ‘substantial alteration’ of its copyrighted work,” the court agreed that such a restriction
        was “not an exclusionary practice that violates § 2 of the Sherman Act,” because it validly
        protected Microsoft’s copyright from being exploited by original equipment
        manufacturers. United States v. Microsoft Corp., 253 F.3d 34, 63 (D.C. Cir. 2001). And
        the D.C. Circuit rejected the “second variation” of Microsoft’s “copyright defense” only
        because Microsoft “never substantiate[d]” its claim that other restrictions were necessary
        to protect its intellectual property rights. Id. Thus, Microsoft actually supports the notion
        that a firm may take measures to protect its intellectual property rights from unlawful
        exploitation, provided that (as here) the firm introduces evidence to connect its intellectual
        property rights with the challenged conduct, which Microsoft did not do.

213.    Third, the D.C. Circuit found in numerous places that Microsoft had failed to offer any
        procompetitive justifications for its conduct. See United States v. Microsoft Corp., 253
        F.3d 34, 72 (D.C. Cir. 2001) (“Microsoft had an opportunity to, but did not, present the
        District Court with evidence demonstrating that the exclusivity provisions have some such
        procompetitive justification.”); id. at 74 (“Microsoft offers no procompetitive justification
        for the exclusive dealing arrangement.”); id. at 76 (“Microsoft offered no procompetitive
        justification for the default clause . . . .”); id. at 77 (“Microsoft offers no procompetitive
        explanation for its campaign to deceive developers.”); id. (“Microsoft does not . . . offer
        any procompetitive justification for pressuring Intel not to support cross-platform Java.”).
        Here, by contrast, Apple has set forth a host of legitimate procompetitive justifications for
        its conduct, and there is no evidence that these justifications are pretextual. See infra
        § III.B.i.d (¶¶ 299–317), § III.B.ii.d (¶¶ 352–67). The complete absence of any
        procompetitive justifications for the conduct challenged in Microsoft distinguishes this
        case.

214.    Fourth, the decision in Microsoft was issued at an early stage of the information economy,
        when the intersection between antitrust law and technology was still being explored.


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        Epic’s expert, Dr. Evans, has himself argued that “the economic analysis presented in
        support of [the government’s claim] was internally inconsistent, based on unsound
        economic theory, and conflicted with the facts.” David S. Evans et al., An Analysis of the
        Government’s Economic Case in U.S. v. Microsoft, The Antitrust Bulletin 163, 167 (2001).
        Dr. Evans has further criticized the absence of “evidence in the record that the actions the
        district court found unlawful had a material effect on Netscape’s share of browser use, or
        significantly harmed consumers.” Id.

215.    In any event, anticompetitive conduct must necessarily be evaluated on the facts of the
        case—a blanket comparison to Microsoft and the host of anticompetitive conduct alleged
        there is inappropriate. That is made clear by the fact that the D.C. Circuit’s chief criticism
        of Microsoft’s case was its failure to offer any evidence of legitimate business justifications
        for its conduct. Instead, the proper course of analysis is to hold Epic to its burden of proof
        on each of the elements for each of its claims. That exercise confirms what the broad
        principles of antitrust law already make clear: There is no legal support for the novel and
        unwarranted expansion and reinterpretation of the antitrust laws that Epic urges here.

        ii.    Sherman Act Section 2 – Monopoly Maintenance in the “iOS App
               Distribution Market” (Epic Count 1)9

216.    In Count 1, Epic alleges that Apple engaged in unlawful monopolization of the “iOS App
        Distribution Market” because it “prevents the distribution of iOS apps through means other
        than the App Store and prevents developers from distributing competing app stores to iOS
        users.” Dkt. 1 ¶ 188.

217.    In order to prevail on a claim of unlawful monopolization under Section 2 of the Sherman
        Act, a plaintiff must show: “(a) the possession of monopoly power in the relevant market;
        (b) the willful acquisition or maintenance of that power; and (c) causal antitrust injury.”
        FTC v. Qualcomm Inc., 969 F.3d 974, 990 (9th Cir. 2020) (quotation marks omitted).
        Causal antitrust injury is an element common to all antitrust claims and is addressed above.
        See supra § III.A.iii (¶¶ 183–86).

218.    As the Ninth Circuit recently explained, “proving an antitrust violation under [Section] 2
        of the Sherman Act is more exacting than proving a [Section] 1 violation,” and “a court
        [that] finds that the conduct in question is not anticompetitive under § 1 . . . need not
        separately analyze the conduct under § 2.” FTC v. Qualcomm Inc., 969 F.3d 974, 991–92
        (9th Cir. 2020); see also Williams v. I.B. Fischer Nev., 999 F.2d 445, 448 (9th Cir. 1993)
        (conduct that fails to establish a claim under Section 1 generally “cannot be used as the
        sole basis for a § 2 claim” (quotation marks omitted)); Foremost Pro Color, Inc. v. Eastman
        Kodak Co., 703 F.2d 534, 543 (9th Cir. 1983) (conduct that could not support a Section 1
        claim “is of no assistance” in attempt to state Section 2 claim), overruled on other grounds
        by Hasbrouck v. Texaco, Inc., 842 F.2d 1034 (9th Cir. 1987).



 9
     The elements of unlawful monopoly maintenance under Section 2 of the Sherman Act are
     addressed in § 7, page 51 of the Joint Elements Submission.


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219.    Because Count 1 and Count 3 (regarding unreasonable restraints on trade under Section 1)
        are premised on alleged restraints in “the [DPLA] and the terms of Apple’s App Store
        Review Guidelines unreasonably” and their alleged effects on “competition in the iOS App
        Distribution Market,” Dkt. 1 ¶ 211; see also id. ¶¶ 129–34 (Epic’s overlapping allegations
        of alleged contractual restraints), Count 1 fails for the same reasons that Count 3 fails, see
        infra § III.C.ii (¶¶ 487–530).

220.    In any event, Epic’s Count 1 fails on its own terms.

               b.      Apple Lacks Monopoly Power10

221.    Epic’s unlawful monopolization claim fails at the outset because Apple lacks monopoly
        power (or market power) in the relevant product market: digital game transactions.

222.    Monopoly power is “the power to control prices or exclude competition.” United States v.
        Grinnell Corp., 384 U.S. 563, 571 (1966) (quotation marks omitted). “[A] firm is a
        monopolist if it can profitably raise prices substantially above the competitive level,”
        United States v. Microsoft Corp., 253 F.3d 34, 51 (D.C. Cir. 2001), “without inducing so
        rapid and great an expansion of output from competing firms as to make the
        supracompetitive price untenable,” Harrison Aire, Inc. v. Aerostar Int’l, Inc., 423 F.3d 374,
        380 (3d Cir. 2005) (quotation marks omitted).

223.    Section 2 monopolization claims “must be judged on a market-by-market basis.” United
        States v. Syufy Enters., 903 F.2d 659, 672 n.22 (9th Cir. 1990); see also Walker Process
        Equip., Inc. v. Food Mach. & Chem. Corp., 382 U.S. 172, 177 (1965) (“Without a
        definition of [the] market there is no way to measure [the defendant’s] ability to lessen or
        destroy competition.”).

224.    A plaintiff can prove monopoly power directly or indirectly. United States v. Microsoft,
        253 F.3d 34, 51 (D.C. Cir. 2001). “[D]irect evidence” of monopoly power includes
        “evidence of restricted output and supracompetitive prices.” Rebel Oil Co. v. Atl. Richfield
        Co., 51 F.3d 1421, 1434 (9th Cir. 1995). “Because such direct proof is only rarely
        available, courts more typically examine market structure in search of circumstantial
        evidence of monopoly power. Under this structural approach, monopoly power may be
        inferred from a firm’s possession of a dominant share of a relevant market that is protected
        by entry barriers.” Microsoft, 253 F.3d at 51 (D.C. Cir. 2001) (citations omitted).

225.    To show monopoly power using indirect evidence, a plaintiff must: “(1) define the relevant
        market; (2) show that the defendant owns a dominant share of that market; and (3) show
        that there are significant barriers to entry and show that existing competitors lack the
        capacity to increase their output in the short run.” Rebel Oil Co. v. Atl. Richfield Co., 51
        F.3d 1421, 1434 (9th Cir. 1995). The “Supreme Court has never found a party with less
        than 75% market share to have monopoly power.” Kolon Indus. Inc. v. E.I. DuPont de
        Nemours & Co., 748 F.3d 160, 174 (4th Cir. 2014).


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     Monopoly power is addressed in § 7.1, pages 52–54 of the Joint Elements Submission.


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226.    Courts also consider “structural characteristics of markets in determining whether or not a
        firm has monopoly power, including the relevant size and strength of competitors, …
        probable development of the industry, . . . [and] potential competition.” ABA Section of
        Antitrust Law, Antitrust Law Developments 236 (8th ed. 2017). For example, in two-sided
        platform markets “[i]ndirect network effects [] limit [a] platform’s ability to raise overall
        prices and impose a check on its market power.” Ohio v. Am. Express Co., 138 S. Ct. 2274,
        2281 (2018).

227.    A dominant market share is not the same as market power, but rather may show “whether
        the defendant possesses sufficient leverage to influence marketwide output.” Rebel Oil
        Co. v. Atl. Richfield Co., 51 F.3d 1421, 1437 (9th Cir. 1995). “With a dominant share of
        the market’s productive assets, a firm may have the market power to restrict marketwide
        output and, hence, increase prices, as its rivals may not have the capacity to increase their
        sales quickly to make up for the reduction by the dominant firm.” Id.

228.    Because “[a] mere showing of substantial or even dominant market share alone cannot
        establish market power sufficient to carry out a predatory scheme,” Epic “must show that
        new rivals are barred from entering the market and show that existing competitors lack the
        capacity to expand their output to challenge the predator’s high price.” Rebel Oil Co. v.
        Atl. Richfield Co., 51 F.3d 1421, 1438–39 & n.10 (9th Cir. 1995) (“telltale factors” include
        “market share, entry barriers and the capacity of existing competitors to expand output”).
        Entry barriers are market characteristics “that prevent new rivals from timely responding
        to an increase in price above the competitive level.” FTC v. Qualcomm Inc., 411 F. Supp.
        3d 658, 684 (N.D. Cal. 2019) (quotation marks omitted), rev’d on other grounds, 969 F.3d
        974 (9th Cir. 2020). They include “additional long-run costs that were not incurred by
        incumbent firms but must be incurred by new entrants,” or “factors in the market that deter
        entry while permitting incumbent firms to earn monopoly returns.” L.A. Land Co. v.
        Brunswick Corp., 6 F.3d 1422, 1427–28 (9th Cir. 1993) (quotation marks omitted).

                       Apple Lacks Monopoly Power in the Relevant Market for Digital Game
                       Transactions

229.    There is no direct or indirect evidence indicating that Apple has monopoly power in the
        relevant market. As discussed above, see supra § II.B.ii (¶¶ 31–79), the relevant market is
        digital transactions between game app developers and consumers of game app content.
        And Apple does not own a dominant share of that market. Rather, Apple’s share of the
        digital game transactions market is relatively small, between 23.3% and 37.5%. FOF
        ¶ 493.2. With no evidence of monopoly power or even market power, Epic’s Section 2
        monopolization claim fails at the start.

230.    Nor is there any evidence of supracompetitive pricing that would constitute direct evidence
        of monopoly power. The commission Apple charges developers—generally 30%, and
        lower in many circumstances—is in line with other platforms that undisputedly compete
        with one another (and with Apple). Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1434
        (9th Cir. 1995). Many other platforms—including the largest competitors in the market
        for digital game transactions—have a similar payment structure and the same base level of
        commission. Most notable here, the app transaction platforms operated by Google and


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        Microsoft; the transaction platforms that are part of the Xbox, PlayStation, and Nintendo
        ecosystems; and Steam, the largest PC-game distribution platform, all charge a 30% base
        commission. FOF ¶ 472. In many ways, even Apple’s 30% commission rate is actually
        below the competitive rate, because many of the platforms charging the same commission
        (including those through which Epic distributes Fortnite) do not provide the same services
        to developers or the nearly one billion consumers worldwide as Apple does. FOF ¶ 473.

231.    Before the introduction of the App Store, software developers, including game app
        developers, received a smaller portion (at most, 30%) of the revenue share. FOF ¶ 469.
        Since then, competing transaction platforms and other competing services have entered the
        marketplace, including Google Play, Samsung Galaxy Store, Switch, Windows Phone
        Store, Amazon App Store, Origin, console marketplaces, online game streaming services,
        and, of course, EGS. FOF ¶ 494.1. In addition, many game streaming services, including
        Amazon Luna, Google Stadia, Microsoft xCloud, NVIDIA GeForce Now, and PlayStation
        Now, now compete with Apple. FOF ¶ 502.

232.    Apple’s profit margins do not establish monopoly power. “Many courts have disparaged
        the evidentiary value of high profits to indicate monopoly power.” High Tech. Careers v.
        San Jose Mercury News, No. 90-CV-20579, 1995 WL 115480, at *3 (N.D. Cal. Mar. 14,
        1995); see also In re IBM Peripheral EDP Devices, Antitrust Litig., 481 F. Supp. 965, 981
        (N.D. Cal. 1979) (“[T]he inference that a defendant that enjoys healthy profits only does
        so because of an unhealthy market structure is not a strong one.”); Forsyth v. Humana,
        Inc., 827 F. Supp. 1498, 1511 (D. Nev. 1993) (“[P]roof of excessive profits . . . may be
        misleading and subject to several interpretations.”). That is because “competitive firms
        may be highly profitable merely by virtue of having low costs as a result of superior
        efficiency.” Blue Cross & Blue Shield United of Wis. v. Marshfield Clinic, 65 F.3d 1406,
        1412 (7th Cir. 1995).

233.    Economic literature supports this skepticism. An economic methodology that focuses on
        “accounting profits or markups as an indicator of market power” is “far from ideal.”
        Jonathan B. Baker & Timothy F. Bresnahan, Empirical Methods of Identifying and
        Measuring Market Power, 61 Antitrust L.J. 3, 5 (1992); see also Richard Schmalensee,
        Another Look at Market Power, 95 Harv. L. Rev. 1789, 1805 (1982) (“There are . . . serious
        problems with using profitability to gauge market power.”). “[H]igh profits or margins
        might reflect efficiencies, such as low costs or superior product design, rather than market
        power.” Baker & Bresnahan, supra, at 5. Moreover, “the way accountants spread costs
        over time and adjust asset values for depreciation frequently causes accounting measures
        of profit to bear little relation to those underlying economic concepts that might in principle
        be related to market power.” Id.; see also Schmalensee, supra, at 1805 (“[I]t is very
        difficult in practice to measure actual profitability, and it may be even more difficult to
        measure excess profits.”). “These problems loom so large that antitrust today does not rely
        heavily on profitability measures in making inferences about market power.” Baker &
        Bresnahan, supra, at 5.

234.    The commission rate of 12% that Epic has set for EGS does not prove that Apple’s
        commission is supracompetitive. While Epic’s commission is lower than Apple’s, it does
        not offer all the services that Apple provides. EGS is essentially a storefront—it lacks the


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        integrated features that make the App Store a desirable platform for consumers and
        developers.

235.    Likewise, the commission rates of payment processors identified by Epic are not evidence
        that Apple’s commission is supracompetitive. Again, the benefits conferred by Apple in
        exchange for its commission are significant. It is not merely a “payment processing” fee—
        indeed, Epic’s own CEO conceded that commissions paid to game app transaction
        platforms do not simply compensate for the cost of processing payments. FOF ¶ 251.3.
        Rather, in exchange for its commission, Apple provides developers a marketplace to
        transact with more than a billion consumers who trust the App Store and trust the content
        it offers. Apple also provides access to and use of its intellectual property, centralized and
        secure payment processing, bandwidth, customer service, programming, online stores, the
        platform (including security protections and operation of on-device functionality),
        development tools, constant marketing, reviews and curation of apps, tools for testing,
        campaign management, anti-fraud measures, and more. FOF ¶¶ 691–93. Apple has
        developed a comprehensive platform for the distribution of apps and facilitation of digital
        transactions between consumers and developers—its competitive commission rate
        represents Apple’s commission for all of those services, not just the processing of
        payments for digital transactions.

236.    Additionally, there is no evidence of “significant barriers to entry” or that “existing
        competitors lack the capacity to increase their output in the short run.” Rebel Oil Co. v.
        Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995). EGS, Google Play, Samsung Galaxy
        Store, Switch, Windows Phone Store, Amazon App Store, Origin, console marketplaces,
        and online game streaming services have all started to facilitate transactions for digital
        content following the creation of the App Store. FOF ¶¶ 494.1, 502. Given the entry of
        these competing platforms and streaming services, it is clear that there are no significant
        barriers to entry that would suggest market power or monopoly power. FOF ¶ 494.2

                       Apple Lacks Monopoly Power Even Under Epic’s Erroneous Market
                       Definition

237.    Epic has posited a market definition that is restricted to the distribution of iOS apps—and
        that is not limited to game apps—essentially attempting to define the market in such a way
        as to vest Apple with a monopoly by definition.

238.    Even under Epic’s definition of the “iOS App Distribution” market, Apple lacks monopoly
        power for Section 2 purposes.

239.    First, there is no evidence of restricted output or increased prices. See Rebel Oil Co. v. Atl.
        Richfield Co., 51 F.3d 1421, 1437 (9th Cir. 1995) (“With a dominant share of the market’s
        productive assets, a firm may have the market power to restrict marketwide output and,
        hence, increase prices . . . .”). In fact, the evidence is squarely to the contrary. The App
        Store has grown by leaps and bounds since its creation in 2008, and continues to grow and
        evolve. FOF ¶ 575. Output—whether measured in terms of total apps or app
        transactions—has steadily increased. FOF ¶¶ 575–76. Meanwhile, the effective
        commission rate of the App Store has gone down, as Apple has offered certain categories


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        of developers lower commission rates. FOF ¶ 569. Apple has thus acted in the exact
        opposite way one would expect a monopolist to act—it has reduced prices and increased
        output.

240.    Second, consumers and developers often “multi-home” across multiple devices and digital
        transaction platforms, meaning that they have access to games across a variety of devices,
        not just iOS-compatible devices. FOF ¶¶ 358–63. As discussed above, see supra § II.B.ii.a
        (¶¶ 39–45), this fact shows why Epic’s market definition is unduly narrow; but it also
        shows that even if the market were construed as Epic proposes, Apple would lack market
        power because it is subject to competitive constraints.

241.    Indeed, the fact that Apple charges the same 30% commission rate (and actually lower in
        many instances) that other app distributors and game app platforms do is evidence that
        these platforms compete with each other. According to Epic’s (erroneous) application of
        the hypothetical monopolist test, Apple could raise the effective downstream prices to
        consumers by 5% and remain profitable, but Epic offers no persuasive reason for why
        Apple has not done so. The answer of course, is that Apple is constrained by competition.

242.    Third, Apple’s pricing also is constrained by other app distribution options available on
        iOS devices. Since the launch of the iPhone (and even before the App Store), developers
        have been able to offer web apps, accessible through the Safari web browser on the iPhone.
        FOF ¶ 548. That functionality was not removed with the launch of the App Store—
        developers still were (and are) able to offer web apps as an alternative (or in addition) to
        native iOS apps. Id. The DPLA acknowledges this, as it notes that “there is always the
        open Internet” for the distribution of apps. FOF ¶ 529.2 New game streaming services are
        beginning to take advantage of this feature to offer a variety of games to iOS users without
        going through the App Store. FOF ¶¶ 503.1–503.2. Indeed, Fortnite itself is expected to
        be available (through Nvidia’s GeForce Now service) by the time trial starts in this case.
        FOF ¶ 542.1. The availability of these alternatives constrains Apple’s market power in
        distributing native iOS apps through the App Store. FOF ¶ 504.

243.    Fourth, consumers can and do switch away from iOS devices to Android devices. FOF
        ¶ 399.2. Consumers are not locked into iOS once they purchase an iPhone, and they can
        and do switch to phones with new operating systems with some frequency. Id. While
        switching devices is not as simple as switching shampoos, that does not mean there is no
        competition or that consumers are “locked in.” See, e.g., Commercial Data Servers, Inc.
        v. Int’l Bus. Mach. Corp., 262 F. Supp. 2d 50, 69 (S.D.N.Y. 2003) (“The fact that existing
        IBM customers would need to spend money to migrate to another computing system does
        not establish ‘lock-in.’”). No one would say, for instance, that two car companies do not
        compete with one another just because buying a new car is a substantial investment of
        resources. See, e.g., Town Sound & Custom Tops, Inc. v. Chrysler Motors Corp., 959 F.2d
        468, 480 (3d Cir. 1992) (recognizing that “auto manufacturers are perfectly capable of
        producing functionally similar and competitive products” to one another). Consumers and
        developers have knowledge of the relative qualities and prices of the products ex ante (and
        Apple’s commission has not gone up since the App Store was released) and can make
        informed purchasing decisions. And, like vehicles and many other commodities, phones



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        and operating systems have to be updated and replaced with at least some regularity, giving
        consumers periodic opportunities to reevaluate their purchasing decisions.

244.    Finally, developers who choose to take advantage of Apple’s proprietary tools and
        distribute apps through the App Store have access to alternative business models besides
        paid downloads and in-app purchases, constraining Apple’s ability to charge
        supracompetitive prices for its services. Developers have many options for monetizing
        apps that avoid Apple’s commission entirely, including selling in-app currency through
        other platforms (including on a web browser), selling subscriptions on other platforms, or
        using in-app advertising. FOF ¶ 93. The vast majority of apps—83%—on the App Store
        are free. FOF ¶ 551. While some developers may prefer to avoid in-app advertising, that
        alternative nonetheless restricts the commission rate that Apple can charge developers,
        dispelling the notion that it has unfettered dominion over the prices it charges through the
        App Store.

245.    Thus, regardless of the proper market definition, Apple does not have market power (much
        less monopoly power) in any relevant product market, and Epic cannot prevail on its
        Section 2 monopolization claim.

                c.     Apple Has Not Engaged in Exclusionary Conduct with Respect to
                       App Distribution11

246.    Even assuming that Apple has monopoly power in a relevant product market, Epic’s
        monopoly maintenance claim for the distribution of iOS apps nonetheless fails because
        Epic has failed to show that Apple is engaged in exclusionary conduct.

247.    A plaintiff alleging a Section 2 monopolization claim must prove “the willful acquisition
        or maintenance of [monopoly] power as distinguished from growth or development as a
        consequence of a superior product, business acumen, or historic accident.” United States
        v. Grinnell Corp., 384 U.S. 563, 570–71 (1966). The plaintiff must therefore show
        “anticompetitive abuse or leverage of monopoly power, or a predatory or exclusionary
        means of attempting to monopolize the relevant market.” FTC v. Qualcomm Inc., 969 F.3d
        974, 990 (9th Cir. 2020) (quotation marks omitted).

248.    In a Section 2 monopoly maintenance case, “the plaintiff is obliged to make out a prima
        facie case that the monopolist has engaged in ‘exclusionary’ conduct,” and “[a]t that point
        the proof burden ordinarily shifts to the defendant to offer a ‘justification’ for the conduct.”
        6C Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
        Principles and Their Application ¶ 658f (4th ed. 2020 supp.). Once a plaintiff has already
        established a “prima facie case under § 2 by demonstrating anticompetitive effect, then the
        monopolist may proffer a ‘procompetitive justification’ for its conduct.” FTC v.
        Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020) (quoting United States v. Microsoft, 253
        F.3d 34, 59 (D.C. Cir. 2001)). “[T]he burden does not shift to [the defendant] to provide
        such justifications unless and until the [plaintiff] meets its initial burden of proving

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     The requirement of exclusionary conduct is addressed in §§ 7.2–7.2.1, pages 55–58 of the Joint
     Elements Submission.


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        anticompetitive harm.” Id. at 996. Here Epic is unable to meet its initial burden of proving
        anticompetitive harm for a number of reasons.

                       The Technical Design of iOS Cannot Form the Basis for Antitrust
                       Liability

249.    Apple did not engage in exclusionary conduct by making the design decision to prevent
        sideloading of native apps onto iOS devices. The basis for Epic’s Section 2 monopolization
        claim under Count 1 is that Apple has designed iOS in such a way as to prevent firms like
        Epic from offering a competing app store for the distribution of iOS apps, and has enforced
        those technical restrictions through the DPLA. See Dkt. 1 ¶¶ 184–92. Epic’s allegations
        thus depend on the notion that Apple’s design and implementation of its own intellectual
        property can constitute exclusionary conduct. That theory fails as a matter of law.

250.    For purposes of establishing exclusionary conduct, “the introduction of technologically
        related products, even if incompatible with the products offered by competitors, is alone
        neither a predatory nor anticompetitive act.” Foremost Pro Color, Inc. v. Eastman Kodak
        Co., 703 F.2d 534, 544 (9th Cir. 1983), overruled on other grounds by Hasbrouck v.
        Texaco, Inc., 842 F.2d 1034 (9th Cir. 1987); see also United States v. Microsoft Corp., 253
        F.3d 34, 65 (D.C. Cir. 2001) (“As a general rule, courts are properly very skeptical about
        claims that competition has been harmed by a dominant firm’s product design changes.”).

251.    That is because “[a] monopolist, no less than any other competitor, is permitted and indeed
        encouraged to compete aggressively on the merits, and any success it may achieve solely
        through the process of invention and innovation is necessarily tolerated by the antitrust
        laws.” Foremost Pro Color, Inc. v. Eastman Kodak Co., 703 F.2d 534, 544–45 (9th Cir.
        1983) (quotation marks omitted), overruled on other grounds by Hasbrouck v. Texaco,
        Inc., 842 F.2d 1034 (9th Cir. 1987); see also Cal. Computer Prods., Inc. v. Int’l Bus. Machs.
        Corp., 613 F.2d 727, 744 (9th Cir. 1979) (a market participant has “the right to redesign its
        products to make them more attractive to buyers whether by reason of lower manufacturing
        cost and price or improved performance”).

252.    Accordingly, as a matter of law, “a design change that improves a product by providing a
        new benefit to consumers does not violate Section 2 absent some associated
        anticompetitive conduct.” Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp.
        LP, 592 F.3d 991, 998–99 (9th Cir. 2010). “If a monopolist’s design change is an
        improvement, it is necessarily tolerated by the antitrust laws, unless the monopolist abuses
        or leverages its monopoly power in some other way when introducing the product.” Id. at
        1000 (quotation marks and citation omitted). Apple’s design of iOS and the App Store
        precluding third-party app stores (and the attendant problems of control and
        interoperability), in order to protect its own intellectual property, the reliability of the
        hardware and software, and the security and privacy of user data, is procompetitive.

253.    In United States v. Microsoft, the court considered whether Microsoft was unlawfully
        maintaining a monopoly in the personal computer market through legal and technical
        restrictions that it had imposed on manufacturers and users. See United States v. Microsoft
        Corp., 253 F.3d 34, 47 (D.C. Cir. 2001). As relevant here, the D.C. Circuit rejected the


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        argument that Microsoft engaged in anticompetitive conduct when it designed a Java
        Virtual Machine (“JVM”), which did not work with an operating system developed by a
        rival. Id. at 75. The court explained that “a monopolist does not violate the antitrust laws
        simply by developing a product that is incompatible with those of its rivals.” Id.

254.    Here, what Epic challenges is a technical design feature of iOS and the App Store, namely,
        Apple’s “walled garden.” Apple designed and built iOS and the App Store so that
        consumers could safely download, install, and operate apps from the App Store. FOF
        ¶¶ 68–75. This was a thoughtful and conscious design choice made by Apple, based on its
        decades of experience with macOS in the desktop environment. FOF ¶ 70. Apple sought
        to leverage that experience—and refine the macOS design for mobile phone use—by
        designing iOS with new security and reliability protections that would enhance consumers’
        experience. FOF ¶ 72. Indeed, this is one of the bases on which Apple competes with
        other digital transaction platforms.

255.    The contractual and technical restrictions that Epic challenges as anticompetitive do not
        constitute exclusionary conduct as a matter of law. iOS has never allowed third-party app
        stores or sideloaded apps on iOS or the App Store. And Apple has not never allowed
        consumers to download native apps except through the App Store, but rather since its
        inception, the App Store has been designed to permit Apple to curate the flow of native
        apps to consumers. FOF ¶ 396. In fact, iOS prevented “sideloading” even before the App
        Store was launched. FOF ¶ 73. Distributing apps through the App Store also makes it
        feasible and efficient to apply and implement iOS updates, whereas third-party app stores
        would present continued problems of interoperability. As addressed in more detail below,
        see infra § III.B.i.d (¶¶ 299–317), that design feature offers many procompetitive benefits,
        including giving consumers a secure platform to download, install, and operate apps, and
        giving developers a reliable way to distribute apps to Apple’s many consumers, FOF
        ¶¶ 581–95. Regardless of whether Epic believes these technical restrictions are the only
        way to benefit consumers, there is no question that consumers and developers alike derive
        benefits from the design of iOS and the App Store. And that fact alone means that those
        restrictions do not constitute exclusionary conduct.

                       Apple Has a Right to Set Terms of Access to Its Intellectual Property

256.    The technical and contractual restrictions that Epic challenges also do not constitute
        exclusionary conduct because they are merely terms of a license to access and use Apple’s
        proprietary intellectual property. All developers, including Epic, who wish to distribute
        apps through the App Store must sign the DPLA, which expressly grants developers “a
        limited license to use the Apple Software and Services provided to [developers] under this
        Program to develop and test [developer’s] Applications on the terms and conditions set
        forth in this Agreement.” FOF ¶ 103. The contract thus expressly contemplates that
        developers are seeking a “license” to use Apple’s intellectual property. What Epic seeks
        to do through this lawsuit is to access and benefit from Apple’s intellectual property for
        only a nominal developer fee of $99, rather than for the additional 30% commission rate it
        agreed to.




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257.    As the creator of iOS, as well as the SDKs, APIs, and other tools that work with iOS, Apple
        is not obliged to provide access to its intellectual property on the terms demanded by Epic
        and does not engage in exclusionary conduct when it sets terms of access to its intellectual
        property.

258.    “[M]arket power does not ‘impose on the intellectual property owner an obligation to
        license the use of that property to others.’” Intergraph Corp. v. Intel Corp., 195 F.3d 1346,
        1362 (Fed. Cir. 1999) (quotation marks omitted). And because intellectual property carries
        “the legal right to refuse to license . . . , the existence of a predicate condition to a license
        agreement cannot state an antitrust violation.” Townshend v. Rockwell Int’l Corp., No.
        99-CV-400, 2000 WL 433505, at *8 (N.D. Cal. Mar. 28, 2000). Epic must thus prove not
        just that Apple has imposed licensing terms, but also that the challenged restraints had an
        “actual [anticompetitive] effect on competition.” FTC v. Qualcomm Inc., 969 F.3d 974,
        989 (9th Cir. 2020) (quotation marks omitted).

259.    iOS is protected by numerous intellectual property rights, and federal law authorizes Apple
        to exclude others from using those rights. If Apple chooses to allow third parties to access
        and use that intellectual property protecting iOS and the related hardware and software, it
        may establish the terms of such use. Apple has invested billions of dollars into the
        development of iOS and the App Store. FOF ¶ 169. It holds numerous intellectual property
        rights related to iOS, the app developer tools, the App Store, and the underlying hardware,
        and it has chosen to license certain of those rights out to developers for the purpose of
        growing the App Store and providing consumers the best experience. FOF ¶¶ 89.1–89.2.
        Developers who want to native iOS apps must use Apple’s intellectual property in order
        for those apps to be compatible with iOS and usable for consumers. FOF ¶ 89. Apple
        grants developers a limited license for developers to use its intellectual property in the
        DPLA, but sets forth numerous terms and conditions on that access, including, for example,
        the requirement that developers not offer their apps through platforms that facilitate the
        “sideloading” of apps onto iPhones. FOF ¶¶ 105–107. All developers, including Epic,
        who wish to develop native apps for iOS must agree to those terms before Apple will
        license its intellectual property.

260.    As a matter of law, Apple is permitted to set conditions for access to its intellectual
        property. See Townshend v. Rockwell Int’l Corp., No. 99-CV-400, 2000 WL 433505, at
        *8 (N.D. Cal. Mar. 28, 2000). “[T]he antitrust laws do not negate the patentee’s right to
        exclude others from patent property.” Intergraph Corp. v. Intel Corp., 195 F.3d 1346,
        1362 (Fed. Cir. 1999). “The commercial advantage gained by new technology and its
        statutory protection by patent do not convert the possessor thereof into a prohibited
        monopolist.” Abbott Labs. v. Brennan, 952 F.2d 1346, 1354 (Fed. Cir. 1991).

261.    A patent accordingly “empowers the owner to exact royalties as high as he can negotiate
        with the leverage of that monopoly,” Brulotte v. Thys Co., 379 U.S. 29, 33 (1964), and a
        patent owner may refuse to license an invention altogether, Image Technical Servs., Inc. v.
        Eastman Kodak Co., 125 F.3d 1195, 1216 (9th Cir. 1997) (noting that it could find “no
        reported case in which a court has imposed antitrust liability for a unilateral refusal to sell
        or license a patent”).



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262.    Because Apple is not obliged to license its intellectual property at all, and is permitted to
        set terms and conditions on access to the intellectual property it does choose to license, it
        necessarily follows that Apple is not (and cannot be) required to license its intellectual
        property on terms that Epic believes would be more favorable to it. See, e.g., U.S. Dep’t
        of Justice & Fed. Trade Comm’n, Antitrust Guidelines for the Licensing of Intellectual
        Property § 2.1 (2017) (“The antitrust laws generally do not impose liability upon a firm for
        a unilateral refusal to assist its competitors, in part because doing so may undermine
        incentives for investment and innovation.”).

                       Apple Has No Duty to Deal on Terms Demanded by Epic

263.    Epic’s theory of exclusionary conduct fails for an additional, independent reason: Apple
        cannot be held to have engaged in exclusionary conduct based on a refusal to deal with
        Epic on its preferred terms, i.e., a claim that Apple is obliged to deal with its competitors
        (or would-be competitors) so as not to foreclose competition in the relevant market.

264.    As a general matter, a firm does not engage in exclusionary conduct merely because it
        elects not to deal with a competitor, or elects not to deal with a competitor on that
        competitor’s preferred terms. See Verizon Commc’ns Inc. v. Law Offices of Curtis V.
        Trinko, LLP, 540 U.S. 398, 408 (2004). “[T]here is no duty to deal under the terms and
        conditions preferred by a competitor’s rivals.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc.,
        836 F.3d 1171, 1184 (9th Cir. 2016) (alteration and quotation marks omitted). Without
        such a duty, any claim premised on a rival’s refusal to cooperate with the plaintiff
        necessarily fails for lack of exclusionary conduct. See Pac. Bell Tel. Co. v. linkLine
        Commc’ns, Inc., 555 U.S. 438, 451 (2009). And so long as “a firm has no antitrust duty to
        deal with its competitors . . . , it certainly has no duty to deal under terms and conditions
        that the rivals find commercially advantageous.” Id. at 450.

265.    The only possible exception arises under Aspen Skiing Co. v. Aspen Highlands Skiing
        Corp., 472 U.S. 585 (1985), in which the defendant, who owned three out of the four ski
        resorts in the relevant market, discontinued a joint lift-ticket package with its lone
        competitor and then refused to sell the competitor any lift tickets for the purpose of
        bundling lift tickets. Id. at 592–94. Aspen Skiing—like all of Epic’s theories of liability—
        is at the outer bounds of antitrust law. Verizon Commc’ns Inc. v. Law Offices of Curtis V.
        Trinko, LLP, 540 U.S. 398, 409 (2004) (“Aspen Skiing is at or near the outer boundary of
        § 2 liability.”). It provides only a “limited exception” to the general rule that firms have
        no obligation to deal with their rivals.

266.    As an initial matter, of course, Apple has not refused to deal with Epic. It has removed the
        Fortnite app from the App Store and expelled Epic from the developer program for breach
        of the DPLA and the App Store Review Guidelines, which are rules that apply to all
        developers. FOF ¶ 106. Apple has represented in open court that it would accept Epic
        back into the developer program if Epic reversed the changes to Fortnite and agreed to
        abide by the terms of the DPLA. See Hr’g Tr. 22:20–23:1 (Aug. 24, 2020). Apple simply
        has refused to deal under the terms unilaterally demanded by Epic.




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267.    In any event, to establish a duty to deal under Aspen Skiing, a plaintiff must prove at a
        minimum that (1) there was a unilateral termination prior, long-term, and profitable
        voluntary course of dealing with the plaintiff on terms comparable to those that it now
        demands; (2) that “the only conceivable rationale or purpose” for terminating that course
        of dealing “is ‘to sacrifice short-term benefits in order to obtain higher profits in the long
        run from the exclusion of competition’”; and (3) “the refusal to deal involves products that
        the defendant already sells in the existing market to other similarly situated customers.”
        Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir. 2016); see also
        FTC v. Qualcomm Inc., 935 F.3d 752, 755 (9th Cir. 2019) (“The Supreme Court recognized
        a very limited exception to that general rule [of no duty to deal] when a monopolist
        terminated a voluntary and profitable course of dealing with a competitor and sacrificed
        short-term benefits to exclude competition in the long run.”).

268.    To satisfy the first element, Epic must prove that a preexisting course of dealing was both
        profitable to Apple and operated for a long term. See, e.g., Verizon Commc’ns Inc. v. Law
        Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 409 (2004) (dismissing claim because the
        defendant had not “voluntarily engaged in a course of dealing with its rivals”). And Epic
        must further prove that Apple refused to continue to do business on the parties’ preexisting
        terms. See Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir. 2016).
        Absent proof that Apple offers the services at issue on the terms demanded by Epic “in the
        existing market to other similarly situated customers,” there is no basis to show that Apple
        has “single[d] out” Epic “for anticompetitive treatment.” FTC v. Qualcomm Inc., 969 F.3d
        974, 994–95 (9th Cir. 2020) (quotation marks omitted).

269.    Epic has made no effort to satisfy the first element. The App Store has been a “walled
        garden” since its inception in 2008. FOF ¶ 396. Apple has never offered to Epic or any
        other developer unfettered access to iOS to distribute apps. At all times, native iOS apps
        have been distributed through the App Store. Apple thus has not deviated from a
        preexisting course of dealing, a required element of any refusal-to-deal claim.

270.    To satisfy the second element of a duty to deal, Epic must prove that Apple’s refusal to
        assist Epic was “irrational but for its anticompetitive effect.” Novell, Inc. v. Microsoft
        Corp., 731 F.3d 1064, 1075 (10th Cir. 2013) (Gorsuch, J.). This requires proof not only
        that Apple “decided to forsake short-term profits,” but also that its “refusal to deal was part
        of a larger anticompetitive enterprise, such as . . . seeking to drive a rival from the market
        or discipline it for daring to compete on price.” Id.

271.    Epic has adduced no evidence that Apple’s conduct sacrificed short-term profits in favor
        of a long-term anticompetitive advantage. That is, there is no evidence that the contractual
        or technical restrictions challenged have the effect of reducing Apple’s profits in the
        short-term so that it may obtain an anticompetitive advantage for a long period of time.
        And as detailed below, there are numerous procompetitive business justifications for the
        curated design of the App Store. Absent affirmative evidence from Epic excluding the
        possibility of any procompetitive justifications for the design of the App Store, Epic’s
        refusal-to-deal claim fails.




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272.    Nor can Epic prove the third element of a duty to deal—that the alleged refusal involves
        products that Apple already sells into the market to other similarly situated customers. In
        FTC v. Qualcomm Inc., 969 F.3d 974 (9th Cir. 2020), the Ninth Circuit held that there was
        duty to deal because there was “no evidence that Qualcomm singles out any specific chip
        supplier for anticompetitive treatment.” Id. at 995. Similarly, here, Epic has not alleged
        that Apple has singled it out for anticompetitive treatment—it protests only the standard
        licensing terms applicable to all developers.

273.    Epic has thus satisfied none of the elements for establishing a duty to deal, and its claim of
        exclusionary conduct thus cannot rest on that theory.

                       Epic’s Framing of a “Conditional Refusal-to-Deal” Does Not Alter the
                       Analysis

274.    Seeking to sidestep the mountain of precedent against it, Epic argues that it is not bringing
        a duty-to-deal, refusal-to-deal, or a compulsory licensing claim. Instead, its expert claims
        that Epic has alleged a tying arrangement or a “conditional refusal-to-deal.” However
        Epic’s claim is framed, it asks the Court to prohibit Apple from exercising its right to
        choose with whom it will deal and on what terms. Basic antitrust principles prohibit such
        a claim except in the narrow circumstances already addressed above.

275.    A “conditional refusal to deal” is not a discrete theory in antitrust law; rather, it is a term
        sometimes used in academic literature to refer to “tying and exclusive dealings.” Viamedia,
        Inc. v. Comcast Corp., 951 F.3d 429, 453 (7th Cir. 2020) (“[T]ying and exclusive dealing
        are two common examples” of “conditional refusals to deal” (quotation marks omitted)).
        Epic does not assert an exclusive dealing theory, and thus its “conditional refusal to deal”
        label adds nothing to its tying claim. Neither the Supreme Court nor the Ninth Circuit has
        recognized a discrete antitrust theory of “conditional refusal to deal,” much less affirmed
        the imposition of liability under such a theory. Once again, Epic is beyond the boundaries
        of established law.

276.    Moreover, framing the claim as a “conditional refusal to deal” does not mean the law
        regarding refusals to deal is inapplicable. The general rule—subject only to the limited
        exception outlined above—is that “businesses are free to choose the parties with whom
        they will deal, as well as the prices, terms and conditions of that dealing.” Pac. Bell Tel.
        Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 448 (2009); see also Aerotec Int’l, Inc. v.
        Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir. 2016) (“[T]here is no duty to deal
        under the terms and conditions preferred by a competitor’s rivals.” (alteration and quotation
        marks omitted)). Aspen Skiing is the “one, limited exception to this general rule.” FTC v.
        Qualcomm Inc., 969 F.3d 974, 993 (9th Cir. 2020). The law regarding refusal to deal thus
        encompasses a claim of the type urged here—a desire to change the terms on which a
        licensee does business with its competitors.

277.    The Ninth Circuit, in fact, has rejected efforts to extend refusal-to-deal liability beyond the
        narrow confines of Aspen Skiing, expressing “caution about using the antitrust laws to
        remedy what are essentially contractual disputes between private parties engaged in the
        pursuit of technological innovation.” FTC v. Qualcomm Inc., 969 F.3d 974, 997 (9th Cir.


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        2020). The Court thus rejected the invitation to “adopt an additional exception, beyond the
        Aspen Skiing exception that the [plaintiff] concede[d] does not apply here, to the general
        rule that businesses are free to choose the parties with whom they will deal, as well as the
        prices, terms, and conditions of that dealing.” Id. (quotation marks omitted).

278.    What Epic apparently alleges is that Apple must be compelled to make iOS interoperable
        with third-party app stores (in particular, EGS), but a “company has no general legal duty
        to assist its competitors, including by making its product interoperable, licensing to
        competitors, or sharing information with its competitors.” Final Jury Instructions at 19,
        The Apple iPod iTunes Antitrust Litig., No. 05-CV-37-YGR (N.D. Cal. Dec. 15, 2014).
        However it describes its theory of liability, Epic’s claims, if accepted, would require Apple
        to make affirmative changes to the design of iOS to make it compatible and interoperable
        with third-party app stores, essentially, a demand that Apple alter its conduct to assist Epic.
        See Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1079 (10th Cir. 2013) (Gorsuch, J.)
        (“Whether one chooses to call a monopolist’s refusal to deal with a rival an act or omission,
        interference or withdrawal of assistance, the substance is the same and it must be analyzed
        under the [refusal-to-deal] test we have outlined.”).

279.    The Tenth Circuit rejected a similar theory of liability in Novell, Inc. v. Microsoft Corp.,
        731 F.3d 1064 (10th Cir. 2013) (Gorsuch, J.). There, the plaintiff alleged that Microsoft
        had engaged in anticompetitive conduct by not giving software developers (including the
        plaintiff) access to “namespace extensions,” which would have made it easier for
        developers to design software that would be fully interoperable with Microsoft Windows.
        See id. at 1068–69. The district judge granted judgment as a matter of law and the Tenth
        Circuit affirmed, applying the test from Aspen Skiing and rejecting the plaintiff’s attempt
        to avoid the demanding test for refusal-to-deal liability by recasting its claim as one for “an
        ‘affirmative’ act of interference with a rival.” Id. at 1078. “Traditional refusal to deal
        doctrine,” the Tenth Circuit explained, “is not so easily evaded.” Id.

280.    Consistent with this precedent, courts have held that forcing a firm to make its products
        interoperable with a competitor’s is anticompetitive, not procompetitive. That is because
        the “creation of technological incompatibilities, without more, does not foreclose
        competition; rather, it increases competition by providing consumers with a choice among
        differing technologies, advanced and standard, and by providing competing manufacturers
        the incentive to enter the new product market by developing similar products of advanced
        technology.” Foremost Pro Color, Inc. v. Eastman Kodak Co., 703 F.2d 534, 542 (9th Cir.
        1983).

281.    Since the admonition in linkLine that firms have “no duty to deal under terms and
        conditions that the rivals find commercially advantageous,” Pac. Bell Tel. Co. v. linkLine
        Commc’ns, Inc., 555 U.S. 438, 448 (2009), no court has upheld an antitrust claim on the
        theory that a firm has an obligation to make its platform interoperable with the products of
        its rivals, as Epic demands here. Just the contrary, courts have consistently held that absent
        a duty to deal, a firm is free to design its products as essentially “walled gardens” that, like
        iOS, are not open for use by other firms except on specified terms. See Bookhouse of
        Stuyvesant Plaza, Inc. v. Amazon.com, Inc., 985 F. Supp. 2d 612, 617, 623 (S.D.N.Y. 2013)
        (dismissing monopolization claim premised on Amazon’s decision to manage its digital


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        rights such that only books downloaded from Amazon could be read on a Kindle device);
        MiniFrame Ltd. v. Microsoft Corp., No. 11-CV-7419, 2013 WL 1385704, at *3, *5
        (S.D.N.Y. Mar. 28, 2013) (dismissing monopolization claim based on Microsoft’s change
        to the Windows licensing agreement that rendered a competitor’s previously interoperable
        product incompatible with Windows), aff’d, 551 F. App’x 1 (2d Cir. 2013). As a leading
        treatise on intellectual property and antitrust explains, although “[o]ne might . . . imagine
        that an antitrust argument could be constructed against the use of proprietary interfaces”
        like iOS because of the power such an interface might over a market in complementary
        goods, “[w]e are aware of no such antitrust case,” and “we think no successful antitrust
        claim along these lines is possible.” Herbert Hovenkamp et al., IP and Antitrust: An
        Analysis of Antitrust Principles Applied to Intellectual Property § 12.03[D][1] (3rd ed.
        2020 supp.). “The reason has to do with intellectual property. . . . If an interface is itself
        patentable or copyrightable, compelling access to that interface would present a
        fundamental conflict between the antitrust and intellectual property regimes because it
        would compel the licensing of an intellectual property right itself.” Id.

282.    Epic’s contention that it seeks a right not to deal with Apple is incorrect. Epic wants to
        continue to have access to iOS itself, as well as the IP-protected SDK and thousands of
        APIs that it and numerous other developers have used to develop iOS-compatible apps. It
        wants to continue to have access to Apple’s substantial consumer base. It wants to compel
        Apple to make iOS compatible with apps distributed through EGS. Epic thus wants to
        require Apple to continue to do business with it, but demands that the Court dictate the
        terms of that arrangement. And the terms that Epic demands are that Apple provide all of
        these benefits for nothing more than a nominal developer fee, and without otherwise having
        the ability to set any terms or conditions for the use of its intellectual property. That is
        evident from Epic’s temporary restraining order and preliminary injunction applications,
        which sought to enjoin Apple from terminating its contracts with Epic. See Dkts. 17, 61.
        Clearly, what Epic seeks is not a right to not deal with Apple, but an order directing Apple
        to deal with Epic on the terms Epic desires. But without a duty to deal, Apple cannot be
        compelled to do so.

283.    Because Apple has no duty to deal with Epic in the first place—much less a duty to alter
        the terms of its license agreement or its business model to accommodate Epic’s preferred
        terms of access—it has not engaged in exclusionary conduct that would give rise to a
        Section 2 monopolization claim.

                d.     Apple’s Conduct with Respect to App Distribution Does Not Have
                       Anticompetitive Effects12

284.    Epic’s monopoly maintenance claim fails for the additional reason that there is no evidence
        that the challenged conduct has anticompetitive effects. As the Ninth Circuit has explained,
        “[t]o be condemned as exclusionary, a monopolist’s act must have an ‘anticompetitive
        effect.’” FTC v. Qualcomm, Inc., 969 F.3d 974, 990 (9th Cir. 2020) (quoting United States
        v. Microsoft Corp., 253 F.3d 34, 58 (D.C. Cir. 2001)). Anticompetitive effects are those
12
     The requirement of anticompetitive effects is addressed in § 7.2.2, pages 59–61 of the Joint
     Elements Submission.


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        that “harm the competitive process and thereby harm consumers. In contrast, harm to one
        or more competitors will not suffice.” Id. (quotation marks and citation omitted). As
        discussed above, the conduct on which Epic relies for its antitrust claims cannot be
        considered anticompetitive or exclusionary, and thus cannot have anticompetitive effects.

285.    The plaintiff bears the burden of proving “that the monopolist’s conduct indeed has the
        requisite anticompetitive effect.” United States v. Microsoft Corp., 253 F.3d 34, 58–59
        (D.C. Cir. 2001). As a matter of law, “a plaintiff may not use indirect evidence to prove
        unlawful monopoly maintenance via anticompetitive conduct under § 2.” FTC v.
        Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020) (emphasis in original). Courts “will not
        infer competitive injury from price and output data absent some evidence that tends to
        prove that output was restricted or prices were above a competitive level.” Ohio v. Am.
        Express Co., 138 S. Ct. 2274, 2288 (2018) (quotation marks omitted).

286.    Evidence of anticompetitive effects includes “proof of actual detrimental effects on
        competition, such as reduced output, increased prices, or decreased quality in the relevant
        market.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018) (quotation marks,
        alteration, and citation omitted). Epic cannot prove any of these, as set forth below—output
        has increased, prices have remained stable or declined, and quality has improved in any
        market proposed by the parties or their experts in this case.

287.    Accordingly, Epic “must show that diminished consumer choices and increased prices are
        the result of a less competitive market due to either artificial restraints or predatory and
        exclusionary conduct.” FTC v. Qualcomm, Inc., 969 F.3d 974, 990 (9th Cir. 2020). To
        suffice, anticompetitive effects must be “significant and more-than-temporary.” Am. Prof’l
        Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal & Prof’l Publ’ns, Inc., 108 F.3d
        1147, 1151 (9th Cir. 1997) (quotation marks omitted).

288.    In markets that include two-sided transaction platforms, courts must consider “indirect
        network effects and interconnected pricing and demand,” because “[e]vidence of a price
        increase on one side of a two-sided transaction platform cannot by itself demonstrate an
        anticompetitive exercise of market power,” as the defendant’s “business model [may]
        spur[] robust interbrand competition and . . . increase[] the quality and quantity of [relevant]
        transactions” when both sides of the market are considered. Ohio v. Am. Express Co., 138
        S. Ct. 2274, 2286–87, 2290 (2018).

289.    “[I]n assessing alleged antitrust injuries, courts must focus on anticompetitive effects ‘in
        the market where competition is [allegedly] being restrained.’” FTC v. Qualcomm Inc., 969
        F.3d 974, 992 (9th Cir. 2020) (quoting Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190
        F.3d 1051, 1057 (9th Cir. 1999)).

290.    Under the proper market—digital transactions between game app developers and
        consumers of game app content—Epic has not even attempted to make any showing of
        anticompetitive effects.

291.    Even under its erroneous market definition, however, Epic has not met its burden of
        showing that Apple’s conduct has any anticompetitive effect. Rather, the design of iOS



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        game streaming services, and EGS have all emerged as competitors in the market for digital
        transactions on game apps. FOF ¶¶ 494.1–494.2. Moreover, many game streaming
        services, such as Amazon Luna, Google Stadia, Microsoft xCloud, Nvidia GeForce Now,
        and PlayStation Now, have entered the market. FOF ¶¶ 245–245.5.

297.    Not only has the introduction of the App Store spurred competitive innovations, it also has
        increased the quality of products in the relevant market. After Apple pioneered security
        protocols as part of iOS and the App Store, other platforms have followed suit, adopting
        similar security measures in recognition of their importance to consumers. FOF ¶¶ 142–
        43. Consumers thus enjoy a safer experience than they would have if the use of uncurated
        native apps was the norm for these various devices.

298.    In short, the evidence shows that Apple’s conduct does not have an anticompetitive effect
        in any relevant market.

                e.      Any Allegedly Anticompetitive Conduct Is “Redeemed” by a
                        Multitude of Procompetitive Business Justifications13

299.    Even if Epic were capable of prevailing over the preceding hurdles, Apple has proffered a
        number of procompetitive justifications for its conduct here. In a Section 2 monopoly
        maintenance case, “the plaintiff is obliged to make out a prima facie case that the
        monopolist has engaged in ‘exclusionary’ conduct,” and “[a]t that point the proof burden
        ordinarily shifts to the defendant to offer a ‘justification’ for the conduct.” 6C Philip E.
        Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and
        Their Application ¶ 658f (4th ed. 2020 supp.). Thus, once a plaintiff has already
        established a “prima facie case under § 2 by demonstrating anticompetitive effect, then the
        monopolist may proffer a ‘procompetitive justification’ for its conduct.” FTC v.
        Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020) (quoting United States v. Microsoft, 253
        F.3d 34, 59 (D.C. Cir. 2001)). But importantly, “the burden does not shift to [the
        defendant] to provide such justifications unless and until the [plaintiff] meets its initial
        burden of proving anticompetitive harm.” Id. at 996.

300.    An “antitrust defendant’s conduct is redeemed by a legitimate business purpose.”
        Universal Analytics, Inc. v. MacNeal-Schwendler Corp., 914 F.2d 1256, 1258 (9th Cir.
        1990). Accordingly, there can be no “antitrust liability if there was a legitimate business
        justification” for the defendant’s conduct. Oahu Gas Serv., Inc. v. Pac. Res. Inc., 838 F.2d
        360, 369 (9th Cir. 1988). Apple’s demonstrated legitimate business purposes therefore
        preclude liability for Epic’s claims.

301.    In a case such as this, however, where a plaintiff’s claim is premised on the purported
        refusal by the defendant to deal with the plaintiff on the terms preferred by the plaintiff, it
        is the plaintiff’s burden to affirmatively establish that there was no legitimate business
        reason for the defendant to refuse to deal with the plaintiff on the plaintiff’s preferred terms.
        See FTC v. Qualcomm Inc., 969 F.3d 974, 994 (9th Cir. 2020) (noting that “[n]othing in

13
     Procompetitive business justifications are addressed in §§ 7.2.3–7.2.5, pages 62–66 of the
     Joint Elements Submission.


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        the record or in the district court’s factual findings rebuts” defendant’s legitimate business
        justifications). Thus, a prior course of dealing cannot be “irrational” for purposes of a
        refusal-to-deal claim if the defendant acted for a legitimate business reason. See Novell,
        Inc. v. Microsoft Corp., 731 F.3d 1064, 1075 (10th Cir. 2013) (Gorsuch, J.) (quotation
        marks omitted).

302.    Regardless of which party bears the burden at this stage, however, there are numerous
        procompetitive justifications for the design of iOS and the App Store, including its
        limitations on the distribution of apps outside of the App Store.

303.    There are many types of procompetitive justifications. For example, a defendant’s conduct
        is justified if undertaken to “enhance[] the quality or attractiveness of a product, increase[]
        efficiency by reducing costs or otherwise benefit[] consumers.” Image Technical Servs.,
        Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1220 n.12 (9th Cir. 1997) (quotation marks
        omitted). “[A] different business model” that spurs “competitive innovations,” increasing
        output and “improving the quality of the services” is also procompetitive. Ohio v. Am.
        Express Co., 138 S. Ct. 2274, 2282 (2018).

                       Consumer Safety and Security

304.    Ensuring consumer safety or improving product security and privacy are legitimate
        business justifications for a firm’s conduct. See Cont’l T. V., Inc. v. GTE Sylvania Inc.,
        433 U.S. 36, 55 n.23 (1977).

305.    Apple’s conduct is justified by its interest in ensuring consumer safety or improving
        product security, privacy, and reliability. Part of the consumer experience that Apple
        provides is its protection of consumer safety, security, privacy, and reliability, and
        consumers choose Apple because of its commitment to protecting consumers’ safety,
        security, privacy, and reliability. Apple continues to invest in protecting consumer safety
        security, and reliability. FOF ¶ 581. Malicious apps in non-iOS app stores present severe
        security issues for non-iOS devices, in addition to, for example, causing crashes or other
        reliability problems. FOF ¶ 74.5. In light of this risk, Apple has invested considerable
        resources to ensure that the App Store is the most trusted place to download apps. FOF
        ¶¶ 582–86. Epic itself has recognized that consumers place a very high value on safety and
        safeguarding users from malware and privacy breaches. FOF ¶ 590.

306.    The security provided by the technical design of iOS also benefits developers. Because
        Apple puts its reputation behind apps distributed through the App Store, the requirement
        that every app be reviewed and distributed through the App Store provides credibility to
        developers. FOF ¶ 587. Consumers trust Apple and are more willing to take a chance on
        newer and smaller developers. Id. If a developer circumvents the app review process, that
        has the potential to hurt all other developers who distribute apps via the App Store because
        users’ confidence in iOS apps could be undermined by a poor experience with an app
        containing malware or that is otherwise unsuitable for distribution through the App Store.
        FOF ¶ 588.

                       Maintaining Quality and Improving Ease of Access



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307.    Maintaining or improving the quality of a product or service is a legitimate business
        justification. See Cal. Computer Prods., Inc. v. Int’l Bus. Machs. Corp., 613 F.2d 727, 744
        (9th Cir. 1979); Data Gen. v. Grumman Sys. Support Corp., 36 F.3d 1147, 1183 (1st Cir.
        1994). Likewise, improving the ease with which consumers can use a service is a
        legitimate business justification. See In re Payment Card Interchange Fee & Merch.
        Discount Antitrust Litig., 986 F. Supp. 2d 207, 228 (E.D.N.Y. 2013), rev’d on other
        grounds, 827 F.3d 223 (2d Cir. 2016).

308.    Apple has a legitimate interest in maintaining or improving the quality of its services. Here,
        Apple’s conduct reflects a consistent prioritization of its consumers and the quality of
        service they receive from the App Store. FOF ¶ 581. The App Store provides a seamless,
        user-friendly experience in which the downloaded apps actually work on consumers’
        devices. FOF ¶ 582. And the App Store’s curation of apps helps consumers find these
        quality apps in a one-stop shop. Because the App Store is the only place that distributes
        native iOS apps to iOS users, the confidence that users feel in downloading apps from the
        App Store proliferates to the entire iOS ecosystem. FOF ¶ 587. By excluding from the
        iOS ecosystem any apps that fail the app-review process, Apple serves an important
        certification role that gives users confidence that they can safely download apps onto their
        iPhones.

                       Broadening Consumer Choice and Increasing Output

309.    Broadening consumer choice is a legitimate business justification. See Paladin Assocs.,
        Inc. v. Mont. Power Co., 328 F.3d 1145, 1157 (9th Cir. 2003). Increasing output also is a
        legitimate business justification. See Law v. Nat’l Collegiate Athletic Ass’n, 134 F.3d
        1010, 1023 (10th Cir. 1998).

310.    Apple’s conduct is justified because it has broadened consumer choice and increased
        output. As discussed, see supra § III.B.i.c (¶ 292), the App Store’s launch facilitated the
        rapid proliferation of apps, including game apps. At its launch, the App Store’s U.S.
        storefront provided 452 third-party apps by 312 distinct developers. FOF ¶ 219. In that
        first year alone of operation, consumers made 603 million downloads of third-party apps.
        FOF ¶ 224.1. As of 2020, there are approximately 1.8 million apps in the App Store, with
        billions of downloads of apps. FOF ¶ 467.3. Because of the App Store, consumers now
        have access to millions of third-party apps in a safe and secure environment.

                       Enhancing Interbrand Competition

311.    Increasing interbrand competition is a legitimate business justification. See Leegin
        Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 890 (2007) (“The promotion of
        interbrand competition is important because the primary purpose of the antitrust laws is to
        protect this type of competition.” (alteration and quotation marks omitted)); see also
        Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1180 n.2 (9th Cir. 2016)
        (describing “the enhancement of Interbrand competition” as a “well-recognized economic
        benefit[]” (quotation marks omitted)).




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312.    Apple’s “walled garden” is part of what allows it to differentiate itself from other operating
        systems like Android. Android devices, unlike Apple, typically allow sideloading and
        third-party app stores. FOF ¶ 74.1. A consumer choosing which device to purchase thus
        can choose between Apple, with its more secure operating system on the one hand, and
        Android, with its more open operating system on the other. Likewise, developers can
        choose between prioritizing apps for Apple and Android based on the same preferences.
        This differentiation thus increases competition between Apple and Android, because it
        gives consumers a meaningful point of comparison that allows them to purchase a device
        tailored to their preferences.

                       Protecting Intellectual Property and Preventing Free-Riding

313.    Protecting a firm’s proprietary information and intellectual property and preventing
        free-riding are legitimate business justifications. See Gorlick Distrib. Ctrs., LLC v. Car
        Sound Exhaust Sys., Inc., 723 F.3d 1019, 1026 (9th Cir. 2013); Technical Res. Servs., Inc.
        v. Dornier Med. Sys., Inc., 134 F.3d 1458, 1467 (11th Cir. 1998); Eastman Kodak Co. v.
        Image Technical Servs., Inc., 504 U.S. 451, 461 (1992).

314.    Similarly, a firm’s desire to exclude others, or profit from, its intellectual property is a
        presumptively legitimate and procompetitive business justification. See Image Technical
        Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1219 (9th Cir. 1997).

315.    At bottom, Epic’s claims center on Apple’s refusal to license its intellectual property to
        Epic on terms that Epic would prefer. iOS, and the multitude of developer tools that Apple
        licenses through the terms Epic has challenged, are the subject of numerous patents and
        trademarks. [FOF]. As set forth above, Apple has no antitrust duty to share its intellectual
        property with Epic, and Apple also “certainly has no duty to deal under terms and
        conditions that [Epic] find[s] commercially advantageous.” Pac. Bell Tel. Co. v. linkLine
        Commc’ns, Inc., 555 U.S. 438, 450 (2009). Antitrust claims premised on an intellectual
        property owner’s refusal to license threaten the very purposes of intellectual property and
        antitrust law. “[S]uch claims will detract from the advantages lawfully granted to the
        holders of patents or copyrights by subjecting them to the cost and risk of lawsuits based
        upon the effect, on an arguably separate market, of their refusal to sell or license. The cost
        of such suits will reduce a patent holder’s incentive . . . to risk the often enormous costs in
        terms of time, research, and development. Such an effect on patent and copyright holders
        is contrary to the fundamental and complementary purposes of both the intellectual
        property and antitrust laws, which aim to encourag[e] innovation, industry and
        competition.” See Image Technical Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195,
        1218 (9th Cir. 1997)

316.    The design of iOS protects Apple’s proprietary information and intellectual property, and
        prevents free-riding. Apple has invested billions of dollars in the development of iOS and
        the App Store. FOF ¶ 169. It also has made available a variety of tools to developers to
        help them design iOS-compatible apps for distribution through the App Store. Without the
        “walled garden” design of the App Store, developers could exploit Apple’s intellectual
        property and free-ride on its success and innovation by bypassing Apple altogether. In
        fact, conditions on the terms of an intellectual property license are an integral part of a


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        procompetitive intellectual property licensing arrangement, because they allow valuable
        intellectual property rights to be shared among complementary businesses while still
        incentivizing innovation by other firms by foreclosing freeriding. FOF ¶ 598. Apple’s
        business desire to reap the benefits of the software and system that it built is inherently
        procompetitive.

317.    Apple has proffered several valid, procompetitive justifications for its design of iOS and
        the App Store. The “technical and contractual restrictions” that Epic challenges actually
        improve the consumers’ overall experience on the App Store and protect their safety,
        security, and privacy.

               f.      Apple’s Procompetitive Justifications Are Not Pretextual

318.    Because Apple has proffered procompetitive justifications for its conduct, Epic may prevail
        on a claim under Section 2 only if it demonstrates that each of Apple’s proffered
        procompetitive justifications is invalid or pretextual. See Universal Analytics, Inc. v.
        MacNeal-Schwendler Corp., 914 F.2d 1256, 1258–59 & n.4 (9th Cir. 1990). It has not
        done so.

319.    Epic bears the burden of proving that Apple’s “conduct [was not] redeemed by a legitimate
        business purpose.” Universal Analytics, Inc. v. MacNeal-Schwendler Corp., 914 F.2d
        1256, 1258–59 & n.9 (9th Cir. 1990). The plaintiff “may rebut an asserted business
        justification by demonstrating either that the justification does not legitimately promote
        competition or that the justification is pretextual.” Image Technical Servs., Inc. v. Eastman
        Kodak Co., 125 F.3d 1195, 1212 (9th Cir. 1997). To prove pretext, the plaintiff must
        adduce evidence that directly undermines the veracity of the defendant’s proffered
        justification. See Image Technical Servs. v. Eastman Kodak Co., 903 F.2d 612, 618–19
        (9th Cir. 1990); see also ACT, Inc. v. Sylvan Learning Sys., Inc., 296 F.3d 657, 668 (8th
        Cir. 2002) (evaluating whether the “declared business reasons for [the conduct] were
        pretext for [the defendant’s] true goal” (emphasis added)). Courts are hesitant to
        “second-guess [a defendant’s] business judgment” because “[t]he question is not whether
        [the defendant] made the right or wrong decision; it is whether [the defendant] acted for an
        unlawful reason.” Clark v. Mirage Casino-Hotel, Inc., 815 F. App’x 150, 152 (9th Cir.
        2020) (discussing pretext in the labor discrimination context).

320.    It is not sufficient to show that the challenged conduct was motivated only in part by
        anticompetitive intent—if the evidence “at most shows that a secondary motivation of the
        [challenged conduct] was to disadvantage the competition,” the existence of other
        procompetitive justifications for the conduct precludes a Section 2 claim. Universal
        Analytics, Inc. v. MacNeal-Schwendler Corp., 914 F.2d 1256, 1259 (9th Cir. 1990).

321.    Epic has not shown that all of Apple’s justifications are pretextual, as is its burden.

322.    First, Epic has not shown that Apple’s justification of enhancing consumers’ safety,
        security, privacy, and reliability is pretextual. Epic’s expert admits that the requirement of
        exclusive distribution through the App Store provides security benefits to consumers. At
        that point, the inquiry ends—Apple has offered a legitimate business justification for its



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        conduct, and Epic has admitted that such justification is not pretextual, because the conduct
        actually does advance the stated end. Indeed, even as Epic objects that third-party app
        stores might offer comparable security measures, there is substantial evidence that Apple’s
        design of the App Store has in fact benefitted customers by providing a safe platform
        through which to download native apps. FOF ¶ 594. If Epic’s demanded changes were
        implemented, there is no guarantee that third-party app stores would offer comparable
        security measures, and some customers may not know ex ante whether they are
        downloading an app through a third-party app store that provides the same quality of
        security as the App Store. Moreover, breaches in security owing to malware from other
        platforms could be erroneously attributed to Apple.

323.    In any event, it is not Apple’s burden to prove that its security measures cannot be improved
        upon or protect against every conceivable threat to iPhone users. Even if some security
        threats remain, Apple protects its users better than anyone else does. It is able to do so
        because the App Store’s design gives it the power to curate apps in a way that enhances
        reliability, security, and privacy, and thus benefits consumers. See, e.g., United Nat’l
        Maint., Inc. v. San Diego Convention Ctr. Corp., Inc., No. 07-CV-2172, 2008 WL
        11333629, at *7 (S.D. Cal. Feb. 19, 2008) (finding no pretext where the defendant
        implemented a security policy that “present[ed] an efficient and feasible way to deal with
        security concerns related to this particular category of employees”). There is no evidence
        that this justification is mere pretext.

324.    Second, Epic has not shown that Apple’s justification of maintaining or improving the
        quality of its services is pretextual. There is no evidence suggesting that Apple does not
        genuinely care about the quality of services it offers to its customers, nor is there any
        evidence that Apple does not genuinely believe that iOS offers consumers an enhanced
        experience. In fact, the evidence shows the contrary—that iOS and the App Store were
        designed with consumers in mind from the start, and with an eye toward providing a new
        and unique premium experience. FOF ¶ 581.

325.    Third, Epic has not shown that Apple’s justification of broadening consumer choice is
        pretextual. See Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145, 1157 (9th Cir.
        2003). Again, the most Epic can do is argue that Apple could broaden consumer choice in
        other ways, but that does not mean that Apple’s stated justification is pretextual. Even if
        Apple has misjudged the extent to which the design of the App Store broadens consumer
        choice, that would not give rise to a claim of pretext.

326.    Fourth, Epic has not rebutted Apple’s legitimate business interest in protecting its
        proprietary information and intellectual property and preventing free-riding. There is no
        evidence that Apple is not genuinely interested in protecting its intellectual property, nor
        is there any evidence to doubt that Apple has a real commitment to preventing free-riding.

327.    Epic’s attempted analogy to macOS—which does not have a similar “walled garden”
        design—is inapt. Section 2 does not require an alleged monopolist to “alter its way of
        doing business whenever some other approach might yield greater competition.” Verizon
        Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 415–16 (2004).
        There are meaningful differences between macOS and iOS that Apple determined


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        warranted a different approach between the two operating systems. FOF ¶ 72. The fact
        that Apple has chosen to protect its intellectual property on iOS in a different way from
        how it does so for macOS does not mean that Apple’s justifications are pretextual.

               g.      There Is No Least Restrictive Alternative Requirement

328.    Epic cannot prevail by showing that there were less restrictive alternatives to the challenged
        conduct. “[T]here is no least restrictive alternative requirement in the context of a Section
        2 claim.” Image Technical Servs., Inc. v. Eastman Kodak Co., 903 F.2d 612, 620 (9th Cir.
        1990); accord Apple iPod iTunes Antitrust Litig., No. 05-CV-0037-YGR, 2014 WL
        12719194, at *1 (N.D. Cal. Nov. 25, 2014); Allied Orthopedic Appliances, Inc. v. Tyco
        Health Care Grp. L.P., Nos. 05-CV-6419, et al., 2008 WL 7346921, at *16 (C.D. Cal. July
        9, 2008), aff’d, 592 F.3d 991 (9th Cir. 2010). That is because the Sherman Act “does not
        give judges carte blanche to insist that a monopolist alter its way of doing business
        whenever some other approach might yield greater competition.” Verizon Commc’ns Inc.
        v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 415–16 (2004); see also Int’l Rys.
        of Cent. Am. v. United Brands Co., 532 F.2d 231, 239–40 (2d Cir 1976) (stating that proof
        of a company’s reasonable steps to preserve its business interests does not, without more,
        raise a genuine issue of material fact under § 2).

329.    In any event, as discussed with regard to Epic’s Section 1 claims, see infra § III.C.ii.b
        (¶¶ 516–30), forcing Apple to change the way it enables the distribution of apps and
        monetizes the App Store to allow alternative marketplaces to distribute apps for iOS
        devices would not “be virtually as effective” or come “without significantly increased
        cost.” In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 958
        F.3d 1239, 1260 (9th Cir. 2020) (quotation marks omitted).

330.    While Epic asks the Court to balance the procompetitive and anticompetitive effects of
        Apple’s conduct, that is also inappropriate for a Section 2 claim. Under the burden-shifting
        framework sometimes used for Section 2 cases, a plaintiff only may “show that the
        proffered business justification is pretextual.” Behrend v. Comcast Corp., 03-CV-6604,
        2012 WL 1231794, at *19 (E.D. Pa. Apr. 12, 2012); see also Morris Commc’ns Corp. v.
        PGA Tour, Inc., 364 F.3d 1288, 1295 (11th Cir. 2004) (holding that once the defendant has
        met its burden to show its valid business justification, the plaintiff only may show that the
        proffered business justification is pretextual); ACT, Inc. v. Sylvan Learning Sys., Inc., 296
        F.3d 657, 670 (8th Cir. 2002) (holding that when a valid business reason exists for the
        conduct, that conduct cannot support the inference of a Section 2 violation). There is no
        balancing inquiry with respect to this claim.

        iii.   Sherman Act Section 2 – Monopoly Maintenance in the “iOS In-App
               Payment Processing Market” (Epic Count 4)

331.    In Count 4, Epic claims that Apple has a monopoly in the “iOS In-App Payment Processing
        Market” that it has unlawfully maintained by requiring “iOS app developers that sell in-
        app content to exclusively use Apple’s In-App Purchase.” Dkt. 1 ¶¶ 219–20.




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332.    As explained with regards to Epic’s other Section 2 monopolization claim based on Apple’s
        distribution terms, see supra § III.B.i (¶ 218), “proving an antitrust violation under Section
        2 of the Sherman Act is more exacting than proving a Section 1 violation,” “a court [that]
        finds that the conduct in question is not anticompetitive under § 1 . . . need not separately
        analyze the conduct under § 2.” FTC v. Qualcomm Inc., 969 F.3d 974, 991–92 (9th Cir.
        2020). Because Counts 4 and 5 are both premised on Apple’s requirement that developers
        use Apple’s In-App Purchase for in-app purchases of in-app content, Dkt. 1 ¶ 227; see also
        id. ¶¶ 129–34 (Epic’s overlapping allegations concerning IAP), Count 4 fails for the same
        reasons that Count 5 fails. See infra § III.C.iii (¶¶ 531–41).

               b.      Apple Lacks Monopoly Power in the Relevant Market14

333.    Like Epic’s Section 2 monopolization claim for the distribution of apps, Epic’s Section 2
        claim regarding IAP fails because Apple does not have monopoly power or even market
        power in the relevant product market.

334.    As discussed above, see supra § II.B.ii (¶¶ 31–79), the relevant market is digital
        transactions between game app developers and consumers of game app content. Epic does
        not even try to argue that Apple has monopoly power in that market. Thus, because Apple’s
        definition of the market is correct, Epic’s claim fails at the outset for lack of monopoly
        power.

335.    In the absence of evidence that Apple has a monopoly in the relevant market, Epic instead
        invites the Court to apply an “iOS In-App Payment Processing Market.” Dkt. 1 ¶ 109. But
        as discussed previously, see supra § II.B.iii (¶¶ 80–112), that is not a properly defined
        market. And even accepting that it is, Apple does not have monopoly power in a market
        that includes all reasonably interchangeable payment processing providers.

336.    If Epic’s conception of the market as consisting of “payment processors” is correct—
        although this conception fails because IAP is not even a payment processor—then Apple
        lacks monopoly power because it competes with companies like PayPal, Stripe, and
        Square, and occupies only a small fraction of the market. FOF ¶ 667. By way of example,
        in 2018, the App Store’s U.S. storefront processed less than 3% of the total dollars
        processed in the United States by online payment processing companies. FOF ¶ 669.

337.    Even limiting the scope only to iOS, as detailed above, see supra § III.B.i.a (¶ 242), the
        App Store is not the only way to distribute apps to iOS consumers. Developers can instead
        offer web apps, accessible through the Safari web browser on an iOS device. FOF ¶ 233.
        Apple imposes no constraints on the type of payment solutions that may be used for web
        apps, and thus has no control over that portion of the market. Epic has not shown that,
        accounting for that portion of the market, Apple has a monopoly in the market for in-app
        payment processing; rather Epic ignores that segment of the proposed “market” altogether.



14
     The requirement of monopoly power is addressed in § 7.1, pages 52–54 of the Joint Elements
     Submission.


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        It is Epic’s burden to prove monopoly power, yet it has failed to address the numerous
        other firms with which Apple competes.

338.    Therefore, not only does Apple lack monopoly power in the properly defined market, it
        also lacks monopoly power in Epic’s proposed market. Epic’s claim fails.

                c.     Apple Has Not Engaged in Exclusionary Conduct with Respect to
                       IAP15

339.    Even accepting that Apple has monopoly power in a relevant market, Apple has not
        engaged in exclusionary conduct in anticompetitive maintenance of any such monopoly
        power, a necessary element of a monopolization claim. While Epic complains about
        Apple’s “contractual terms” that require developers, such as Epic, to use its IAP for certain
        transactions, that conduct is not unlawful.

340.    Epic argues that its claims are based on a desire not to deal with Epic, but that again
        misapprehends the law and the nature of the claims. Epic is not forced to do business with
        Apple at all, and, more importantly, it is not forced to use IAP. Epic, like all other
        developers, is free to monetize (or not monetize its app) in many ways. For example, Epic
        could use in-game advertising, for which it pays no commission to Apple. FOF ¶ 249.11.
        It could sell the Fortnite app itself, which does not require the use of IAP, but rather a
        different set of APIs not challenged by Epic. FOF ¶ 55.

341.    Thus, when Epic executes a digital transaction through the App Store, it is already doing
        business with Apple, and is doing business voluntarily. Epic is objecting in this lawsuit to
        the terms and conditions Apple has set for digital transactions that are executed using its
        intellectual property. In other words, Epic’s complaint is that it is being required to pay
        for the monetization option it selected for Fortnite and other apps. The question is thus
        whether Epic may dictate the terms on which it uses Apple’s services to execute digital
        transactions.

342.    Apple is not required to deal with Epic on Epic’s preferred terms. See supra § III.B.i.b
        (¶¶ 263–83). “[T]here is no duty to deal under the terms and conditions preferred by a
        competitor’s rivals.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th
        Cir. 2016) (alteration and quotation marks omitted). As with its distribution business
        model, Apple is entitled to charge for the services it provides to developers, including the
        licensing of its intellectual property, and to select the best way to collect those charges.
        Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 448 (2009) (“As a general
        rule, businesses are free to choose . . . [the] terms[] and conditions” of their dealings with
        their competitors.). Regardless of Epic’s preferences, there is nothing unlawful about
        Apple setting specific terms for the use of its intellectual property and creating an
        innovative mechanism to ensure that it does, in fact, receive its revenue share. As with



15
     The requirement of exclusionary conduct is addressed in §§ 7.2–7.2.1, pages 55–58 of the Joint
     Elements Submission.


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        Count 1, Apple has no duty to deal with Epic, and no duty to deal with Epic on the terms
        demanded, and thus has not engaged in unlawful exclusionary conduct.

               d.      Apple’s Conduct with Respect to IAP Does Not Have Anticompetitive
                       Effects16

343.    Even assuming that Apple’s conduct was unlawful, Epic’s claim still fails because there is
        no evidence that the effect of that conduct is anticompetitive, a necessary element of a
        Section 2 monopolization claim.

344.    First, there is no reduced output. Instead, there are more digital game transactions than
        ever. Since the App Store’s launch, the number of digital game transactions has increased
        dramatically. FOF ¶ 575. There is thus no evidence that “output was restricted” as is
        required to show injury to competition. Ohio v. Am. Express Co., 138 S. Ct. 2274, 2288
        (2018) (quotation marks omitted).

345.    Second, there is no evidence of increased prices. Far from being supracompetitive, the
        commission that Apple charges to developers for all its services—of which IAP is only
        one—is consistent with the value provided by Apple and its relevant comparators. IAP,
        for example, adds value by offering both a safe and convenient mechanism by which
        consumers are able to make purchases of digital content on the App Store via a single,
        secure payment mechanism that is seamlessly integrated into the app distribution platform.
        FOF ¶¶ 683–88. This benefits developers (especially small ones), who do not have to
        create payment solutions for their apps, and also consumers, who are able to purchase
        in-app digital content across all of their apps without reentering payment information each
        time. FOF ¶¶ 691–96.

346.    Apple’s commission is in line with its competitors, including Google, Samsung, Sony,
        Nintendo and Microsoft. See supra § III.B.i.a (¶ 230). In fact, the emergence of these
        competitors—who all use commission rates at or above those paid by developers for digital
        game transactions on the App Store—demonstrates that IAP has encouraged competition
        by offering a feasible business model that others can replicate and offer in competition to
        the App Store.

347.    The payment processing fees charged by others, such as PayPal, Stripe, Square, and
        Braintree, are inapt comparators. Apple’s commission is not a payment processing fee—
        Epic’s CEO confirmed in his testimony that commission rates for digital transactions do
        not represent mere payment processing fees. FOF ¶ 251.3. Rather, it reflects Apple’s
        commission for the use of its intellectual property (iOS and the App Store), the numerous
        resources it offers to developers (e.g., the SDK), and the other promotional benefits that
        Apple provides (access to a strong user base, advertising and marketing). FOF ¶¶ 651–52.
        The payment processors Epic identifies do not provide any of the same associated benefits



16
     Anticompetitive effects are addressed in § 7.2.2, pages 59–61 of the Joint Elements
     Submission.


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        that Apple provides to the developers. None of them, for instance, provide a platform for
        distributing apps to consumers around the world.

348.    Not only is Apple’s commission comparable to other platforms’, it includes the fees Apple
        pays to Chase and payment networks. As noted below, see infra § III.C.i.c (¶ 456), IAP is
        not really a payment processor, insofar as Apple relies on third-party service providers to
        actually process payments, FOF ¶ 651. Moreover, the commission would be collectible
        from developers even if they moved to a different payment solution. Therefore, even if
        developers were allowed to contract directly with third-party payment processors or to use
        an intermediary system like Square, any developer using a third-party payment processor
        would have to pay both those processor fees and Apple’s commission. Using third-party
        payment processors would be more expensive for developers because they would have to
        pay both fees.

349.    Finally, rather than harming competition, like the introduction of iOS and the App Store,
        the introduction of IAP has improved the quality of the product ultimately provided to
        consumers. Because of IAP, developers have an opportunity to use different monetization
        strategies, such as the “freemium” and “paymium” models that allow users to access
        primary content in an app for free and purchase in-app “upgrades” or “premium”
        experiences. FOF ¶ 679. IAP’s seamlessness and bundled services give developers an
        opportunity to offer a pricing strategy that attracts both price-sensitive consumers that
        might want to use the app without any additional in-app content, while also earning more
        from other users of the app who are willing to spend to enable additional special features.
        FOF ¶¶ 683–690.

350.    But while many developers choose to use IAP for these reasons, Apple does not require
        them to use it at all. Developers are free to monetize their apps in different ways, and
        Apple does not prevent developers, including Epic, from monetizing their applications in
        a manner that avoids any commission to Apple, encouraging innovative monetization
        strategies that allow developers to tailor their app to their consumers. FOF ¶ 93. For
        example, some developers sell physical services or products, and others decide not to sell
        digital goods via iOS apps. Id. In fact, 83% of apps on the App Store are entirely free.
        FOF ¶ 551.

351.    In short, given the value provided by IAP and the innovation it has spurred across the
        market, there is no evidence that the contractual terms that Epic challenges have had an
        anticompetitive effect.

               e.      Any Allegedly Anticompetitive Conduct Is “Redeemed” by a
                       Multitude of Procompetitive Business Justifications17

352.    To the extent the terms of the DPLA with respect to IAP have any anticompetitive effects,
        Apple has proffered a number of procompetitive justifications for its conduct here. See


17
     Business justifications are addressed in §§ 7.2.3–7.2.5, pages 62–66 of the Joint Elements
     Submission.


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        Universal Analytics, Inc. v. MacNeal-Schwendler Corp., 914 F.2d 1256, 1258 (9th Cir.
        1990) (An “antitrust defendant’s conduct is redeemed by a legitimate business purpose.”).

                       Collection of Commission

353.    The collection of a commission for delivery of a product is a legitimate business
        justification. See Morris Commc’ns Corp. v. PGA Tour, Inc., 364 F.3d 1288, 1296 (11th
        Cir. 2004) (“Section 2 of the Sherman Act does not require [the defendant] to give its
        product freely to its competitors.”).

354.    Apple’s IAP is integral to its ability to collect its commission. Apple has invested billions
        of dollars building, developing, and improving the App Store. FOF ¶ 169. Epic does not
        dispute (nor could it dispute) that Apple is entitled to collect a commission from those
        firms—like Epic—that seek to license Apple’s intellectual property. A license is necessary
        because each time a digital transaction is effected through the App Store, it reflects the use
        of Apple’s intellectual property in the development of the digital content that has been
        purchased, the operation of the digital content on Apple’s iOS technology, and the
        technology that is being used to facilitate the digital transaction. FOF ¶ 89.

355.    Apple’s commission is the primary method through which Apple monetizes the App Store,
        including the proprietary tools and resources made available to developers. IAP allows
        Apple’s commission to be automatically deducted from transactions, obviating the need
        for (and expense of) separately tracking, auditing, and collecting commissions on in-app
        purchases of digital content. FOF ¶¶ 681–82. It prevents free riding on Apple’s intellectual
        property by developers, such as Epic, who otherwise might be able to bypass Apple’s
        commission by distributing outside the iOS native-app distribution and payment processing
        system. See Coast to Coast Entm’t, LLC v. Coastal Amusements, Inc., No. 05-CV-3977,
        2005 WL 7979273, at *22 (D.N.J. 2005) (reasoning that the defendant’s “motive was to
        protect the return on its investment . . . and to prevent any free riders from taking advantage
        of its contributions, which in effect enhances competition”). Based on Apple’s business
        judgment, it has decided that the best way to collect compensation from developers,
        including for their access to Apple’s considerable consumer base, is through the use of
        IAP.

356.    More specifically, Apple has determined that the use of IAP is the most efficient way to
        ensure that it is able to collect its commission. If developers who earn money from in-app
        purchases—and owe a contractually agreed upon commission to Apple for those purchases
        (which Epic does not dispute Apple is entitled to)—were able to circumvent IAP, Apple
        would have limited ability, from a technical perspective, to collect any commissions on
        those sales. FOF ¶ 681. Instead, Apple would largely have to rely on developers
        themselves to accurately report the revenue earned and remit the commission back to
        Apple. Apple would have little to no ability to confirm that developers were remitting the
        full, contractual amount, or that they were timely doing so, imposing additional costs on
        Apple and directly injuring its ability to collect a commission for the licensing of its
        intellectual property. FOF ¶ 682.




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357.    Epic’s “Project Liberty” demonstrates the practical problems with dispensing with IAP.
        Epic has never argued that a 30% commission on digital in-app transactions is
        anticompetitive, only that the compelled use of IAP is anticompetitive. See Dkt. 1 ¶¶ 216–
        32. Yet through its circumvention of IAP, Epic has never paid to Apple its 30%
        commission for the digital in-app transactions executed through its alternative payment
        mechanism on the iOS version of Fortnite. Instead of having the ability to take its
        commission directly from the transaction as it is being executed (as IAP allows it to do),
        Apple has been forced to bring claims for breach of contract and invest substantial
        resources in pursuing this litigation. The required use of IAP helps to avoid situations
        exactly like the one Apple currently is in.

358.    Protection of its intellectual property through rational means of collecting commission is a
        valid business justification for Apple’s conduct. See Consultants & Designers, Inc. v.
        Butler Serv. Grp., Inc., 720 F.2d 1553, 1559 (11th Cir. 1983) (concluding that the
        defendant had “a legitimate interest in protecting from opportunistic appropriation its
        investment”).

359.    It is legally irrelevant whether Apple initially thought the App Store would generate a
        profit. Epic has not challenged the price that Apple charges to facilitate digital
        transactions, and so any complaint about the profit margins of the App Store as compared
        to 13 years ago is untethered to the claims asserted here. Moreover, if it is actually the case
        that Apple incorrectly predicted the profit margins for the App Store (an assertion not borne
        out by the evidence as Apple does not calculate profit margins for the App Store), the 30%
        commission rate has remained constant at all times, except insofar as Apple has reduced
        the effective commission rate by offering special reduced rates for many developers. FOF
        ¶¶ 569–71. The justifications for setting a 30% commission rate are at least as legitimate
        today as they were thirteen years ago.

360.    It also is irrelevant that Apple does not collect a commission on the sale of physical goods
        and services and thus does not require the use of IAP for these transactions. This policy is
        not news to Epic (or any other developer), as it has been in place since the inception of
        IAP. FOF ¶ 159. For digital transactions, Apple is delivering digital content directly to
        the user. FOF ¶ 55. But Apple does not play the same role for an order of physical goods
        or services—Apple has no control over or insight into whether an order from Amazon is
        timely delivered, a driver requested through Uber arrives on time, or a consumer product
        is in the condition promised. Apple made the judgment that collecting a commission only
        for digital transactions would be most consistent with the services it provides. It was
        entitled to make that judgment without second-guessing by Epic or the courts. See Verizon
        Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004).

                       Consumer Safety and Security

361.    Enhancing consumer safety and security is a legitimate business justification. See Cont’l
        T. V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 55 n.23 (1977).

362.    Apple’s IAP provides a safe way for consumers to purchase digital content. IAP is a safe
        and secure method for purchasing digital content. FOF ¶¶ 684–85. Specifically, IAP has


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        the potential to be more secure than other services, such as PayPal, because it utilizes built-
        in service versus accessing third-party libraries that may or may not have malware. FOF
        ¶ 685. As for hardware, Apple uses a biometric scanner as part of its Touch ID to
        authenticate transactions, and similarly offers users its revolutionary Face ID technology
        to make purchases. FOF ¶¶ 175, 179. IAP protects the privacy and security of iOS users
        by withholding their private information from developers or other third parties. FOF ¶ 685.
        Because developers must use IAP for digital transactions, Apple and its users can be
        confident that digital transactions will be completed in a safe and secure manner, and that
        users’ payment methods and instruments will be protected. Allowing new payment
        solutions for digital transactions would introduce new security risks for digital transactions,
        and Apple has reasonably elected to mitigate against those risks by requiring the use of
        IAP.

                       Providing Better Service to Consumers

363.    Providing enhanced services to consumers is a legitimate business justification. See Cal.
        Computer Prods., Inc. v. Int’l Bus. Machs. Corp., 613 F.2d 727, 744 (9th Cir. 1979).

364.    IAP allows Apple to provide better service to consumers by providing a single point of
        sale, rather than requiring that consumers manage different payment options for every app
        they use. FOF ¶ 687. Through a streamlined process, IAP identifies customers and
        devices; conducts fraud-related checks; conducts credit-worthiness checks; stores and
        stacks payment instruments; delivers content; and conducts asynchronous dealing. FOF
        ¶ 693. In addition, through IAP, users can customize their settings for use across all apps.
        FOF ¶ 688. Because Apple manages those settings, when consumers obtain a new device,
        they can keep them without having to customize them a second time on a different device,
        adding further value to consumers. Id. Furthermore, IAP enables Apple to monitor
        transactions and ensure that developers deliver the digital goods and services that
        consumers have paid for. FOF ¶ 686. Consumers can thus make purchases through the
        App Store with confidence that they will actually receive what they purchase.

                       Improving Product Quality for Developers

365.    Improving product quality for the benefit of buyers is a legitimate business justification.
        See Cal. Computer Prods., Inc. v. Int’l Bus. Machs. Corp., 613 F.2d 727, 744 (9th Cir.
        1979) (concluding that the defendant, “assuming it was a monopolist, had the right to
        redesign its products to make them more attractive to buyers . . . by . . . improved
        performance”).

366.    Along with helping Apple provide a better service for consumers, IAP improves the quality
        of Apple’s service for developers, too. IAP aids with currency conversion and compliance
        with tax laws. FOF ¶ 692. IAP also conducts fraud-related and credit-worthiness checks.
        FOF ¶ 693. By doing so, Apple verifies customers for developers and ensures that
        developers actually get paid for the products and services they provide to consumers.

367.    Having a secure payment solution—including measures that detect fraud, restore
        consumers’ purchases on their new devices, ensure that developers do not mishandle funds,



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        protects against accidental purchase, safeguard the privacy of users, and monitor the
        delivery of digital transactions—makes the App Store more appealing to users, which in
        turn enhances the value of the platform to developers. In addition, the centralized payment
        system enables Apple to aggregate payments, which is especially valuable to smaller
        developers or those pursuing small transactions. FOF ¶ 693. Developers benefit also
        because new users of their app will instantly have a seamless and familiar way to make
        in-app transactions and will not be deterred by the frustration of having to add new payment
        information for each app they use. FOF ¶ 691. In this way, making IAP the exclusive
        payment processing function for iOS apps is valuable because each additional app that uses
        IAP increases the value of IAP to all other developers and consumers. If, on the other
        hand, some developers use a less effective third-party payment solution, consumers’
        dissatisfaction with those alternatives is likely to make the App Store less attractive to
        consumers as a whole (who may have little or no visibility into the payment solutions used
        by each developer) and thus less profitable for developers.

               f.      Apple’s Procompetitive Justifications Are Not Pretextual

368.    Because Apple has proffered these valid, business justifications for its conduct, Epic may
        prevail on a claim under Section 2 only if it demonstrates that each of Apple’s proffered
        procompetitive justifications is invalid or pretextual. See Universal Analytics, Inc. v.
        MacNeal-Schwendler Corp., 914 F.2d 1256, 1258–59 & n.4 (9th Cir. 1990). It has not
        done so.

369.    First, although Epic thinks that Apple could prevent free riders without requiring the use
        of IAP for digital transactions, Apple is entitled to make its own business decision about
        the best way to do so, efficiently and effectively. Courts are ill-suited “to act as central
        planners, identifying the proper. . . terms of dealing.” Verizon Communications Inc. v. Law
        Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004), and Epic’s invitation to second
        guess Apple’s own business judgment should be rejected.

370.    Second, with respect to the security features of IAP, Epic cannot deny that Apple has
        legitimately endeavored to provide a safe and secure mechanism for transactions between
        developers and consumers. All antitrust law requires is that Apple has legitimate, non-
        pretextual reasons for its conduct, and Apple has shown that it does. “[F]irms must have
        broad discretion to make decisions based on their judgments of what is best for them and .
        . . business judgments should not be second-guessed even where the evidence concerning
        the rationality of the challenged activities might be subject to reasonable dispute.” In re
        Citric Acid Litig., 191 F.3d 1090, 1101 (9th Cir. 1999).

371.    Third, Epic cannot prove that Apple’s interest in providing a better service to consumers
        through exclusive use of IAP is pretext. As noted above, requiring the use of IAP for digital
        transactions enables Apple to exercise quality over such transactions. FOF ¶ 55. Apple’s
        business reasoning is internally consistent, and there is no evidence that Apple’s desire to
        enhance the value of the App Store by providing better service to its consumers is
        pretextual.




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372.    Fourth, Epic cannot deny that Apple has a genuine interest in providing quality services to
        its developers. And based on Apple’s business judgment, it has determined that requiring
        the use of IAP for digital transactions adds value, enhances the value of the platform, and
        thereby increases its value to developers. Once again, even if Epic could prove that Apple
        is “mistaken” about whether exclusive use of IAP in fact enhances value for developers,
        that is not enough to show pretext. Day v. Sears Holdings Corp., 930 F. Supp. 2d 1146,
        1171 (C.D. Cal. 2013).

373.    As discussed with regard to Epic’s Section 2 claim regarding app distribution, a plaintiff
        may not prevail in a Section 2 claim by showing that there were less restrictive alternatives
        to the challenged conduct or by inviting the Court to balance competitive and
        anticompetitive effects. See supra § III.B.i.f (¶¶ 328–30).

        iv.     Sherman Act Section 2 – Essential Facility (Epic Count 2)18

374.    Epic also claims that Apple has violated the Sherman Act “through its unlawful denial to
        Epic and other app distributors of an essential facility—access to iOS,” Dkt. 1 ¶ 197. This
        claim fails as a threshold matter, because there is no essential facility doctrine under
        Section 2.19

375.    The Sherman Act generally “does not restrict the long recognized right of a trader or
        manufacturer engaged in an entirely private business, freely to exercise his own
        independent discretion as to parties with whom he will deal.” United States v. Colgate &
        Co., 250 U.S. 300, 307 (1919). There is consequently no general duty to cooperate with
        rivals. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir. 2016); see
        also Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1073 (10th Cir. 2013) (Gorsuch, J.)
        (holding that “a strong presumption of legality” attaches to unilateral action because
        “[e]xperience teaches that independent firms competing against one another is almost
        always good for the consumer”). Only in exceptional circumstances—which, for the
        reasons noted above, are not present here, see supra § III.B.i.b (¶¶ 263–83)—will a firm
        be compelled to do business with its competitor, such as where there is a “unilateral
        termination of a voluntary and profitable course of dealing,” MetroNet Servs. Corp. v.
        Qwest Corp., 383 F.3d 1124, 1132 (9th Cir. 2004).

376.    Epic invokes an even narrower exception to the general rule that there is no general duty
        to cooperate with rivals: an essential facility claim, which is “a variation on a refusal to
        deal claim.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir.
        2016).




18
     The elements of an essential facility claim are addressed in § 8, pages 68–69 of the Joint
     Elements Submission.
19
     Apple acknowledges that the Ninth Circuit has recognized an essential facility claim in limited
     circumstances, but respectfully preserves herein its contention that there is no such claim under
     Section 2 of the Sherman Act.


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377.    The Supreme Court has “never recognized” an essential facility doctrine under Section 2.
        Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 411 (2004);
        accord Metronet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1129 (9th Cir. 2004). Rather,
        the Court has recognized that “[f]irms may acquire monopoly power by establishing an
        infrastructure that renders them uniquely suited to serve their customers.” Trinko, 540 U.S.
        at 407. Accordingly, compelling such firms to share the source of their advantage is in
        tension with the underlying purpose of antitrust law, id. at 407–08, and, absent a duty to
        cooperate, any claim premised on a rival’s refusal to deal with or assist the plaintiff fails,
        see Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 451 (2009). Courts
        therefore are hesitant “to act as central planners, identifying the proper price, quantity, and
        other terms of dealing—a role for which they are ill suited.” Trinko, 540 U.S. at 408.

378.    In the lower courts, the essential facility analysis finds its “roots” in cases involving
        concerted refusals to deal by multiple firms that took control of physical bottlenecks
        because, in “that setting, . . . [t]he defendants had not built or created anything except a
        combination to take over existing facilities” and “mandating the [defendants] admit their
        competitors merely permitted joint ownership of common facilities.” SCFC ILC, Inc. v.
        Visa USA, Inc., 36 F.3d 958, 971 (10th Cir. 1994).

379.    Whatever merit such a theory has in the context of concerted action, such analysis “cannot
        automatically govern unilateral denial of an essential facility” because “concerted action
        is exceptional, whereas unilateral action is omnipresent,” and courts must “be very wary
        about examining the decisions of each of those firms in our economy.” Alaska Airlines,
        Inc. v. United Airlines, Inc., 948 F.2d 536, 544 (9th Cir. 1991) (quoting Philip E. Areeda,
        Essential Facilities: An Epithet In Need of Limiting Principles, 58 Antitrust L. J. 841, 844–
        45 (1990)).

380.    In the context of unilateral action, the essential facility doctrine has no legal basis. A
        plaintiff pursuing such a claim is essentially seeking to appropriate its competitor’s
        property for itself, compelling the competitor to give up the lawful advantage the
        competitor achieved through innovation and investment so that the plaintiff may benefit
        from that innovation at the expense of the competitor. See MetroNet Servs. Corp. v. Qwest
        Corp., 383 F.3d 1124, 1129 (9th Cir. 2004). The essential facility doctrine is thus decidedly
        anticompetitive when applied to unilateral conduct, and thus is “inconsistent with
        antitrust’s purpose.” 7D Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An
        Analysis of Antitrust Principles and Their Application ¶ 771b (4th ed. 2020 supp.).

381.    Indeed, such a claim threatens to discourage firms from investing in innovative product
        designs in the first place. If a firm’s property can be appropriated by competitors any time
        it becomes too valuable, then firms would have little incentive to invest resources in the
        development of cutting-edge products, to the detriment of consumers. As then-Judge
        Gorsuch has explained, “Forcing firms to help one another . . . risks reducing the incentive
        both sides have to innovate, invest, and expand[,] . . . results inconsistent with the goals of
        antitrust. ” Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1073 (10th Cir. 2013) (Gorsuch,
        J.).




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382.    In light of the Supreme Court’s refusal, thus far, to recognize such a claim, and its
        inconsistency with the purposes and design of antitrust law, an essential facility claim is
        untethered to the law and cannot serve as the basis for liability under Section 2.

383.    In fact, Epic appears to have (rightfully) abandoned this theory of liability. None of Epic’s
        experts mention the theory at all, much less provide analytical or economic support for the
        theory. And Epic’s own lead economist states that the allegations here should be
        characterized as tying or as a conditional refusal to deal, apparently disclaiming essential
        facility as a viable theory of liability. Thus, along with having no basis in the law, Epic’s
        essential facility claim has no support in the record. This claim may be dismissed on the
        pleadings.20

384.    In any event, Epic has not proved and cannot prove an essential facility claim. To establish
        a violation of the essential facility doctrine, Epic must show (1) that Apple is “a monopolist
        in control of an essential facility”; (2) that Epic “is unable reasonably or practically to
        duplicate the facility”; (3) that Apple “has refused to provide [Epic] access to the facility”;
        and (4) that “it is feasible for [the defendant] to provide such access.” Aerotec Int’l, Inc.
        v. Honeywell Int’l, Inc., 836 F.3d 1171, 1185 (9th Cir. 2016). Epic has not satisfied any of
        these elements.

                b.      iOS Is Not an Essential Facility Under Any Market Definition21

385.    The first and second elements of an essential facility claim—whether the defendant is in
        control of an essential facility and whether the defendant may reasonably or practically
        duplicate the facility—often collapse into a single inquiry of whether the facility in
        question is an essential facility. “[T]he second element is effectively part of the definition
        of what is an essential facility in the first place. That is to say, if the facility can be
        reasonably or practically duplicated it is highly unlikely, even impossible, that it will be
        found to be essential at all.” City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1380
        (9th Cir. 1992). Accordingly, it is appropriate to assess the first two elements of an
        essential facility claim in tandem.

386.    Essential facilities typically are limited to physical infrastructures of a finite availability
        (such as a bridge or a power network) that are not capable of being replicated by
        competitors and serve as a conduit for the distribution of another product. For example,
        sports stadiums facilitate the display of indoor sports, see Fishman v. Estate of Wirtz, 807
        F.2d 520, 532 (7th Cir. 1986), and railroad bridges permit continuation of rail service and
        delivery of freight, see United States v. Terminal R.R. Ass’n, 224 U.S. 383, 392–94 (1912).

387.    “Essential means essential,” not “‘best,’ ‘most profitable’ or ‘preferable.’” JamSports &
        Entm’t, LLC v. Paradama Prods., Inc., 336 F. Supp. 2d 824, 839 (N.D. Ill. 2004). Only

20
     The Court directed the parties not to file motions in limine before trial. Hr’g Tr. 18:2 (Mar. 1,
     2021).
21
     The meaning of an essential facility is addressed in §§ 8.2–8.4, pages 73–77 of the Joint
     Elements Submission.


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        preexisting “bottlenecks” (such as bridges and infrastructure networks) typically have been
        deemed essential facilities by the courts. See MCI Commc’ns Corp. v. Am. Tel. & Tel. Co.,
        708 F.2d 1081, 1148 (7th Cir. 1983).

388.    Even if it is not economically feasible for the plaintiff to duplicate the alleged essential
        facility, that facility is not essential if alternatives are available to the plaintiff. See Blix
        Inc. v. Apple, Inc., No. 19-CV-1869-LPS, 2020 WL 7027494, at *7 (D. Del. Nov. 30,
        2020). The alternative need not be of equivalent quality or efficiency, for “even if [a
        plaintiff] was denied access to the most desirable facilities, that is not enough to make out
        an essential facilities claim” so “long as there is an alternative (albeit inferior)” facility that
        the plaintiff could access (or create). JamSports & Entm’t, LLC v. Paradama Prods., Inc.,
        336 F. Supp. 2d 824, 839 (N.D. Ill. 2004).

389.    As discussed above, see supra § II.B.ii (¶¶ 31–79), the relevant product market here is
        digital transactions for game apps, and Apple does not have a monopoly (or even market
        power) in that product market, see supra § III.B.i.a (¶¶ 229–36). For this reason alone,
        Epic’s essential facility claim fails.

390.    Moreover, iOS cannot be an “essential” facility in this market because there are numerous
        platforms through which competitors facilitate digital transactions (and Epic in fact owns
        one of them, EGS). Indeed, Epic’s own allegations establish that iOS is not an essential
        facility because Epic has been (and continues to be) successful in distributing its software
        programs, including Fortnite, to consumers through alternative platforms. FOF ¶¶ 355–
        355.4; see also Blix Inc. v. Apple, Inc., No. 19-CV-1869, 2020 WL 7027494, at *7 (D. Del.
        Nov. 30, 2020) (“Blix has not stated a claim for liability under the essential facilities
        doctrine because Blix’s allegations, taken as true, demonstrate that the MacOS App Store
        is not an essential facility. Blix alleged that BlueMail (1) ‘achieved success on multiple
        platforms,’ i.e., not just on Apple’s platforms and (2) was sold in the market for five years
        before it became available in MacOS App Store.” (emphasis in original)). And as
        discussed in more detail above, see supra § II.B.ii.a (¶¶ 46–53), developers have many
        ways to distribute their game apps, including through Google Play, Samsung Galaxy Store,
        Switch, Windows Phone Store, Amazon App Store, Origin, and, of course, EGS. FOF
        ¶ 494.1.

391.    Epic, however, insists that the product market is the distribution of iOS apps. Even if the
        Court were to accept that proposed market, a proprietary operating system encompassing
        features and functionalities protected by patent, copyright, and other intellectual property
        laws and doctrines cannot be an essential facility. The refusal to license intellectual
        property, including software and/or operating systems cannot give rise to liability under an
        essential facility theory. See, e.g., SolidFX, LLC v. Jeppesen Sanderson, Inc., 935 F. Supp.
        2d 1069, 1082–83 (D. Colo. 2013) (rejecting argument that integration software was
        essential facility because doing so would “subvert . . . the rights granted a copyright
        holder” and the “assertion of one’s copyright interests is [a] per se legitimate” business
        justification for a refusal to deal). For example, because “[t]he Copyright Act expressly
        grants to a copyright owner the exclusive right to distribute the protected work, . . . ‘[t]he
        owner of the copyright, if [it] pleases, may refrain from vending or licensing and content
        [itself] with simply exercising the right to exclude others from using [its] property.’” Data


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        Gen. Corp. v. Grumman Sys. Support Corp., 36 F.3d 1147, 1186 (1st Cir. 1994) (quoting
        Fox Film Corp. v. Doyal, 286 U.S. 123, 127 (1932)).

392.    Indeed, the “imposition of a duty to license might serve to chill the very kind of innovative
        process” that intellectual property laws incentivize and Apple undertook to develop iOS.
        In re E. I. DuPont de Nemours & Co., 96 F.T.C. 653, *67 (1980). A firm’s proprietary
        intellectual property cannot be an essential facility, because “an intellectual property owner
        has the right unilaterally to decide not to use or license its intellectual property.” Herbert
        Hovenkamp et al., IP and Antitrust: An Analysis of Antitrust Principles Applied to
        Intellectual Property § 13.03 [C][2] (3rd ed. 2020 supp.). And there is “no case in which
        a United States court consciously held that an intellectual property right was itself an
        essential facility that must be licensed on reasonable and nondiscriminatory terms.” Id.;
        see also Data Gen. Corp. v. Grumman Sys. Support Corp., 761 F. Supp. 185, 192 (D. Mass.
        1991) (“[A] better mousetrap is not necessarily an essential facility.”).

393.    iOS is not an essential facility. Rather, it is a proprietary operating system that is the result
        of substantial investment—of both time and money—by Apple. It consists of many design
        choices and features that are protected by patents, trademarks, and copyrights. FOF ¶¶ 89–
        89.4. Apple has no obligation—under the antitrust laws or otherwise—to redesign its
        proprietary systems to accommodate Epic, nor does it have an obligation to license its
        intellectual property out to would-be competitors on terms favorable to those firms. Just
        the opposite—an alleged monopolist “is much more likely to be held liable for failing to
        leave its rivals alone than for failing to come to their aid.” Novell, Inc. v. Microsoft Corp.,
        731 F.3d 1064, 1072 (10th Cir. 2013) (Gorsuch, J.).

394.    A proprietary operating system cannot constitute an essential facility. Producers of
        technological devices—such as computers, phones, automobiles, appliances, etc.—have
        the choice when designing their products to adopt (or adapt) an existing open-source
        operating system (such as Linux or Android), licensing a proprietary operating system
        (such as Microsoft), or developing their own operating system (as Apple did with iOS). A
        firm that elects to design its own operating system cannot be compelled to provide public
        access to that operating system once it proves workable and desirable for other competitors.
        See Herbert Hovenkamp et al., IP and Antitrust: An Analysis of Antitrust Principles Applied
        to Intellectual Property § 13.03 [C][2] (3rd ed. 2020 supp.). It is the firm’s prerogative to
        decide whether and to what extent to make its operating system available to others, and a
        firm’s decision to restrict access (or to set terms of access) is not a basis for antitrust
        liability.

395.    If Epic’s proposed application of the essential facility theory were correct, a firm “might
        be deterred from investing, innovating, expanding (or even entering a market in the first
        place) with the knowledge anything it creates it could be forced to share.” Novell, Inc. v.
        Microsoft Corp., 731 F.3d 1064, 1073 (10th Cir. 2013) (Gorsuch, J.). In such
        circumstances, a firm would have little incentive to engage in the expensive and laborious
        process of innovating new products if any innovation would have to be shared with others
        at terms dictated by competitors, and in fact it may be economically irrational for firms to
        make such investments if courts could impose “forced sharing.” Id. Accordingly, “a
        court’s role is not to force access to proprietary information,” because “that would reduce


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        incentive to innovate and ultimately harm consumers.” Morris Commc’ns Corp. v. PGA
        Tour, Inc., 235 F. Supp. 2d 1269, 1285 (M.D. Fla. 2002). Epic cannot “just demand the
        right to piggyback on its larger rival” in court, rather than “investing [or] innovating” itself.
        Novell, 731 F.3d at 1073.

396.    Because iOS does not constitute an essential facility under any market definition, Epic’s
        claim fails at the first element.

                c.      Epic Has “Access” to iOS22

397.    Even if iOS could constitute an essential facility, Epic’s claim still fails because Epic does
        have access to iOS through the terms of the DPLA. “[W]here access exists, the [essential
        facility] doctrine serves no purpose.” Verizon Commc’ns Inc. v. Law Offices of Curtis V.
        Trinko, LLP, 540 U.S. 398, 411 (2004). A plaintiff must prove it was “frozen out of” access
        to the facility. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1185 (9th Cir.
        2016). To do so, it must identify what kind of access it sought, prove that it made a request
        for such access, and prove that the defendant refused to grant it such access. See City of
        Vernon v. S. Cal. Edison Co., 955 F.2d 1361, 1367 (9th Cir. 1992).

398.    To start, Epic does not allege what constitutes “access to iOS,” what actions by Apple
        allegedly constitute a denial of such access, or why any such actions are not reasonable.
        See Dkt. 1 ¶ 197. That alone dooms Epic’s essential facility claim.

399.    Even more damning, Epic’s own experts admit that Epic has access to iOS, stating that
        Apple allows developers to create apps for iPhones by giving them access to the iOS
        operating system. Having identified the alleged essential facility as iOS, and then
        affirmatively offering evidence that Epic (and other developers) have access to iOS, Epic
        has no basis on which to maintain its essential facility claim.

400.    Epic has not made a cognizable demand for “iOS” access that Apple has refused. See City
        of Vernon v. S. Cal. Edison Co., 955 F.2d 1361, 1367 (9th Cir. 1992) (“But, even had
        Vernon offered some evidence which raised a material issue of fact with respect to Edison’s
        reasons for refusing relative size share access, we can find no authority—and Vernon has
        pointed to none—which supports Vernon’s theory that ‘reasonable’ access to Edison’s
        facilities must take the form of relative size share access.”). On the contrary, Epic
        requested and received access to iOS on the same terms as all other developers, i.e., through
        the DPLA.

401.    Nor did Apple deny access to an essential facility by merely refusing to deal in a manner
        “conducive to [Epic’s] existing business model,” MetroNet Servs. Corp. v. Qwest Corp.,
        383 F.3d 1124, 1130 (9th Cir. 2004), “in the most profitable manner” to Epic, id., or on
        Epic’s preferred terms, Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1185
        (9th Cir. 2016) (plaintiff had access to facility even where process for doing so was
        “Kafkaesque” and inferior to “certain [other] customers”); Ferguson v. Greater Pocatello

22
     Access to an essential facility is addressed in § 8.5, pages 78–79 of the Joint Elements
     Submission.


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        Chamber of Commerce, Inc., 848 F.2d 976, 983 (9th Cir. 1988) (rejecting claim because
        plaintiff did not outbid its competitors for access to facility).

402.    Epic clearly did (prior to Project Liberty) distribute its apps through iOS and the App Store.
        So do millions of other developers. “[T]he access factor cannot be read to mean that the
        courts will secure a better deal for an antitrust plaintiff.” City of Coll. Station, Tex. v. City
        of Bryan, Tex., 932 F. Supp. 877, 888 (S.D. Tex. 1996). As Epic knows, the DPLA sets
        forth the specific terms of Epic’s access to iOS and its use of Apple’s intellectual property.
        What Epic really means is that it does not like the terms of the access it does have. Even
        so, Epic does not claim that these terms prevent it from being profitable. Just the opposite:
        Epic has made over $700 million dollars through its distribution of Fortnite through iOS.

403.    The fact that Epic might make more money if Apple implemented Epic’s demanded
        changes is irrelevant. The essential facility doctrine does not require that Apple change its
        business model based on Epic’s demand. For example, in City of Vernon v. Southern
        California Edison Co., a California city sued a public utility based on the utility’s alleged
        refusal to provide a specific type of access to its transmission lines. 955 F.2d 1361, 1363
        (9th Cir. 1992). The Ninth Circuit rejected the city’s essential facility claim, explaining
        that it was not “a case where [the utility] simply refused to supply [the city] with its power
        needs,” and that the city’s “demand that [the utility] turn over its facility to a city simply
        because the city could save money by obtaining cheaper power stands the essential facility
        doctrine on its head.” Id. at 1367.

404.    The same reasoning applies here—this is not a case in which Apple has refused to allow
        Epic access to iOS; rather, Epic is looking for better terms of access. There is no support
        for the notion that the essential facility doctrine can be used to bludgeon a competitor into
        granting the plaintiff unrestricted access to its intellectual property on terms of the
        plaintiff’s choosing, and Epic’s insistence otherwise fails.

                d.      Epic Has Not Shown That It Is Feasible for Apple to Alter the App
                        Store’s Design in the Way Epic Demands23

405.    Epic has not shown that it is feasible for Apple to give Epic the “access” it desires.

406.    For denial of access to give rise to liability, it must be technically and practicably feasible
        for the monopolist to give competitors access to its essential facility. See MCI Commc’ns
        Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1133 (7th Cir. 1983); see also Hecht v. Pro-
        Football, Inc., 570 F.2d 982, 992–93 (D.C. Cir. 1977). “[This] element basically raises the
        familiar question of whether there is a legitimate business justification for the refusal to
        provide the facility.” City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1380 (9th Cir.
        1992).

407.    “Although the defendant generally has the burden of coming forward with a legitimate
        business justification after the plaintiff has shown evidence of monopolistic intent, the
        plaintiff . . . ultimately has the burden of proving that the defendant acted without a

23
     Feasibility of access is addressed in § 8.6, pages 80–81 of the Joint Elements Submission.


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        legitimate business justification.” City of Vernon v. S. Cal. Edison Co., 955 F.2d 1361,
        1366–68 (9th Cir. 1992).

408.    As discussed above, see supra § III.B.i.d (¶¶ 299–317), Apple has offered many
        procompetitive business justifications for the design of the App Store and the terms of the
        DPLA, including maintaining the quality of the service it provides and providing consumer
        security and privacy. An essential facility claim fails unless the plaintiff proves that all of
        the defendant’s business justifications were invalid and/or pretextual. See, e.g., City of
        Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1381 (9th Cir. 1992) (affirming judgment
        in favor of defendant because plaintiff failed to disprove business justifications). And Epic
        has not shown that these justifications are pretextual. Even though it posits that Apple’s
        app review process and other features of the App Store could be more robust, that is not
        the standard for rebutting a legitimate business justification. Apple has adduced substantial
        evidence that its design of iOS and the App Store was motivated at least in part by
        procompetitive business justifications, and that is all that is required. See supra § III.B.i.e
        (¶¶ 318–27).

409.    Nor can Epic satisfy its burden of showing that providing the “access” to iOS it demands
        would be economically feasible. See City of Malden, Mo. v. Union Elec. Co., 887 F.2d
        157, 160 (8th Cir. 1989) (use must be “economically and technically feasible”); MCI
        Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1133 (7th Cir. 1983) (similar);
        Morris Commc’ns Corp. v. PGA Tour, Inc., 117 F. Supp. 2d 1322, 1327 (M.D. Fla. 2000)
        (similar).

410.    There is no evidence that it would be economically feasible for Apple to change the design
        of iOS and the App Store. The feasibility requirement is “analyzed not in terms of all the
        possibilities” but rather “in the context of [the defendant’s] normal course of business.”
        Laurel Sand & Gravel, Inc. v. CSX Transp., Inc., 924 F.2d 539, 545 (4th Cir. 1991). Epic,
        therefore, must show in Apple’s “normal course of business,” it would be feasible for
        Apple to allow Epic to have the type of access it seeks.

411.    In order to show that it would be feasible to provide access in its “normal course of
        business,” a plaintiff can show that the defendant already provides that access to other
        actors. Laurel Sand & Gravel, Inc. v. CSX Transp., Inc., 924 F.2d 539, 545 (4th Cir. 1991).
        For example, in Laurel Sand & Gravel, the Fourth Circuit concluded that the plaintiff, a
        subsidiary railroad which was seeking access to railroad track, failed on the feasibility
        element because “[t]here is no evidence that [the defendant] rents track to subsidiary
        railroads.” Id. Because there was no evidence that the defendant was granting access to
        other subsidiary railroads (and refusing to grant access only to the plaintiff in particular),
        there was no basis for the court to infer that providing the type of access demanded was
        feasible for the defendant. Id. The court thus analyzed feasibility “not in terms of all the
        possibilities of [the defendant] as a railroad, but in the context of its normal course of
        business.” Id.

412.    So too here. While Epic seeks a special deal, there is no evidence that Apple provides, or
        has ever provided, this type of “access” to other developers. Instead, all developers have
        access to iOS through the terms of the DPLA, which are equally applicable to Epic. The


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        terms of the DPLA are Apple’s “normal course of business,” and they do not allow Epic
        the special type of access it demands here.

413.    Therefore, it would be not be feasible for Apple to change the design of iOS and the App
        Store.

                e.     Epic Lacks Standing to Bring an Essential Facility Claim Based on Its
                       Alleged Market Definition24

414.    Finally, even if Epic could otherwise satisfy the elements of an essential facility claim, its
        claim fails for an alternative reason: Epic does not compete with Apple in any market that
        comprises or is “controlled” by operating systems, including iOS, and thus lacks standing.

415.    Only competitors of the defendant may assert essential facility claims. Ferguson v. Greater
        Pocatello Chamber of Commerce, Inc., 848 F.2d 976, 983 (9th Cir. 1988). Specifically,
        Epic must prove that it is a competitor of Apple “in the field of the facility itself or in a
        vertically related market that is controlled by the facility.” Intergraph Corp. v. Intel Corp.,
        195 F.3d 1346, 1357 (Fed. Cir. 1999).

416.    In its capacity as a “consumer” of iOS (i.e., a developer), Epic has no standing to bring an
        essential facility claim.

417.    Nor can Epic proceed as a “competitor” of Apple’s, because Epic does not compete with
        Apple to provide access to iOS, nor does Epic allege otherwise.

418.    Courts have regularly rejected essential facility claims brought by plaintiffs who were
        potential users that were not allowed to license patented or copyrighted technology.
        Intergraph Corp. v. Intel Corp., 195 F.3d 1346, 1356–57 (Fed. Cir. 1999); see also
        Interface Grp., Inc. v. Mass. Port Auth., 816 F.2d 9, 12 (1st Cir. 1987) (agency operating
        airport did not compete with charter airline that was denied access to a terminal and
        maintenance of its choice); Garshman v. Universal Res. Holding, Inc., 824 F.2d 223 (3d
        Cir. 1987) (pipeline not obliged to sell space to gas explorers with whom it was not in
        competition). That principle applies a fortiori here, where Epic was allowed to access
        Apple’s intellectual-property-protected iOS (prior to its breach) pursuant to the DPLA’s
        terms and conditions.

419.    Epic contends that the essential facility doctrine affords standing to plaintiffs who are
        presently unable to compete with a defendant by virtue of that defendant’s denial of access
        to an essential facility. But all of the cases suggesting that would-be competitors have
        standing to bring essential facilities claims involved claims by actual competitors or former
        competitors driven out of business due to their alleged inability to access an essential
        facility. See MCI Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1092 (7th Cir.
        1983) (claims brought by actual competitors of defendant); Alaska Airlines, Inc. v. United
        Airlines, Inc., 948 F.2d 536, 538 (9th Cir. 1991) (same); Hecht v. Pro-Football, Inc., 570

24
     Standing to bring an essential facility claim is addressed in § 8.1, pages 70–72 of the Joint
     Elements Submission.


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        F.2d 982, 985 (D.C. Cir. 1977) (claims brought against owners of NFL team by a rival
        group of promoters who tried but failed to obtain a competing football franchise because
        they could not gain access to the city’s football stadium). Epic does not allege—much less
        provide evidence to show—that it was driven out of business based on Apple’s conduct
        here. Epic therefore lacks standing to bring an essential facility claim based on its own
        product market. See Ferguson v. Greater Pocatello Chamber of Commerce, Inc., 848 F.2d
        976, 982–83 (9th Cir. 1988) (holding that a university renting its stadium to one producer
        of trade shows was not required to rent to other trade show producers precisely because the
        plaintiffs and defendant were not in competition).

C.      Sherman Act Section 1 (Epic Counts 3, 5, and 6)

420.    In addition to Section 2, Epic brings claims under Section 1 of the Sherman Act.

421.    The core distinction between Section 2 monopolization claims and Section 1 claims is that
        Section 1 of the Sherman Act proscribes only “concerted action that restrains trade.” Am.
        Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 190 (2010). The distinction is
        material, and the requirement of concerted action a significant one, because the Sherman
        Act “treat[s] concerted behavior more strictly than unilateral behavior.” Copperweld Corp.
        v. Indep. Tube Corp., 467 U.S. 752, 768 (1984).

422.    Epic’s claims under Section 1 must therefore all be evaluated through the lens of concerted
        activity—only if Epic can show coordinated activity among market participants may it take
        advantage of the standard for liability under Section 1.

        ii.     Sherman Act Section 1 – Tying (Epic Count 6)25

423.    Count 6 of Epic’s complaint alleges that Apple unlawfully ties iOS App Distribution
        services (the alleged tying product market) to iOS In-App Payment Processing (“IAP”)
        services (the alleged tied product market). Dkt. 1 ¶¶ 233–45. Epic argues that the terms
        of the DPLA constitute an unlawful tying arrangement, because developers who distribute
        their apps through the App Store and who wish to offer digital in-app transactions on their
        apps must use IAP to conduct transactions with iOS users. See generally id. Epic contends
        that the alleged tying arrangement should be condemned under both the per se rule and the
        rule of reason.

424.    Epic’s Section 1 tying claim fails at the outset because it relies on an improper market
        definition. Properly defined, there are not separate markets for iOS App Distribution
        services and IAP, but rather a single market for digital game transactions. See supra
        § II.B.ii (¶¶ 31–79). Epic’s tying claim is untenable under the proper market definition,
        because there can be no tying claim where there is only one relevant product market at
        issue. See Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 21 (1984), abrogated on
        other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28 (2006).



25
     The elements of a tying claim are addressed in § 6, page 34 of the Joint Elements Submission.


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425.    Even taking Epic’s tying claim on its own terms, it still has no merit. IAP is not a separate
        product from the App Store’s distribution services, much less on that Apple has ever made
        separately available; rather, it is an integrated functionality within those services. No
        demand exists for IAP that is separate from distribution via the App Store, and thus there
        can be no “tie” between IAP and the App Store. Moreover, Epic is not coerced into using
        IAP—developers distributing apps through the App Store are free to monetize their apps
        in a variety of ways that do not involve an in-app purchase. And finally, the evidence
        shows that the App Store and its IAP functionality are procompetitive, not anticompetitive.
        Epic’s tying claim fails.

                b.     Legal Principles26

426.    Tying involves the linking of two separate products from two separate product markets.
        Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 21 (1984), abrogated on other
        grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28 (2006). In a tying
        arrangement, a party “conditions the sale of one product (the tying product) on the buyer’s
        purchase of a second product (the tied product).” Cascade Health Sols. v. PeaceHealth,
        515 F.3d 883, 912 (9th Cir. 2008). “[T]he essential characteristic of an invalid tying
        arrangement lies in the seller’s exploitation of its control over the tying product to force
        the buyer into the purchase of a tied product that the buyer either did not want at all, or
        might have preferred to purchase elsewhere on different terms.” Jefferson Par., 466 U.S.
        at 12; see also Aerotec Int’l, Inc. v. Honeywell Int’l Inc., 836 F.3d 1171 (9th Cir. 2016) (“A
        tie only exists where the defendant improperly imposes conditions that explicitly or
        practically require buyers to take the second product if they want the first one.” (quotation
        marks omitted)); Golden Boy Promotions LLC v. Haymon, 15-CV-3378, 2017 WL 460736,
        at *7 (C.D. Cal. Jan. 26, 2017) (“[T]he main question is whether the defendant has made
        the first product effectively unavailable to those who do not buy its second product.”
        (quotation marks omitted)); Nicolsi Distrib., Inc. v. FinishMaster, Inc., No. 18-CV-3587,
        2019 WL 1560460, at *8 (N.D. Cal. Apr. 10, 2019) (“Because [the plaintiff] does not, and
        admittedly cannot, allege that [the defendant] conditioned the body shops’ purchase of
        paint on their purchase of supplies, [the plaintiff’s] tying claims fail as a matter of law.”).

427.    Tying arrangements are evaluated under Section 1 of the Sherman Act using either per se
        or rule of reason analysis. See Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 29
        (1984). The per se rule that applies to tying claims is distinct from the per se rule that
        applies to other antitrust claims. Courts have “[c]ome to see that arguable tie-ins are to be
        found everywhere, [and] that most of them serve legitimate objectives without threatening
        competitive vitality in the second market or anywhere else and without even harming
        buyers.” 17 Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
        Antitrust Principles and Their Application ¶ 1701c (4th ed. 2020 supp.). As a result, the
        tying “per se” rule is “most peculiar”; for instance, even when tying is treated as per se
        illegal, “the Supreme Court has almost always been willing to consider a defendant’s
        offered justifications.” Id. ¶¶ 1701c, 1760(b); see also Viamedia, Inc. v. Comcast Corp.,


26
     The elements of a per se and a rule-of-reason tying claim are addressed in §§ 6.2 and 6.3,
     pages 37–39, 49–50 of the Joint Elements Submission.


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        951 F.3d 429, 468 (7th Cir. 2020); Mozart Co. v. Mercedes-Benz of N. Am., Inc., 833 F.2d
        1342, 1348 (9th Cir. 1987) (“We have recognized that antitrust defendants may
        demonstrate a business justification for an otherwise per se illegal tying arrangement.”).

428.    Under the per se rule, “a plaintiff must prove: (1) that the defendant tied together the sale
        of two distinct products or services; (2) that the defendant possesses enough economic
        power in the tying product market to coerce its customers into purchasing the tied product;
        and (3) that the tying arrangement affects a not insubstantial volume of commerce in the
        tied product market.” Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 913 (9th Cir.
        2008) (quotation marks omitted). Additionally, “[u]nder Ninth Circuit law,” a plaintiff
        must show that the tie has a “pernicious effect on competition and lack of . . . any redeeming
        virtue.” Spindler v. Johnson & Johnson Corp., No. 10-CV-1414, 2011 WL 13278876, at
        *4 (N.D. Cal. 2011) (quoting In re eBay Seller Antitrust Litig., 545 F. Supp. 2d 1027, 1033–
        34 (N.D. Cal. 2008)); see also Siegel v. Chicken Delight, 448 F.2d 43, 47 (9th Cir. 1971).

429.    If a tying claim does not fall within the per se framework, it is analyzed under the rule of
        reason, under which the plaintiff must establish four elements to carry its burden on the
        first step of the analysis. These elements are similar to those that must be established under
        the per se rule. First, it must prove that “two separate product markets have been linked”
        through the alleged tying of two separate and distinct products. Jefferson Par. Hosp. Dist.
        No. 2 v. Hyde, 466 U.S. 2, 21 (1984). Second, it must show “the existence of a tie” by
        showing that the defendant “explicitly or implicitly imposes conditions linking the sale of
        a tying product with the sale of the tied product.” Aerotec Int’l, Inc. v. Honeywell Int’l,
        Inc., 836 F.3d 1171, 1178 (9th Cir. 2016). Third, it must prove that the defendant possesses
        market power in the relevant tying product market and that it was thereby “‘coerced’ into
        buying the tied products from the defendant.” Cascade Health Sols. v. PeaceHealth, 515
        F.3d 883, 900 (9th Cir. 2008); see also Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28,
        46 (2006) (“[I]n all cases involving a tying arrangement, the plaintiff must prove that the
        defendant has market power in the tying product.”); Paladin Assocs. v. Mont. Power Co.,
        328 F.3d 1145, 1159 (9th Cir. 2003) (“Essential to . . . a tying claim is proof that the seller
        coerced a buyer to purchase the tied product.”). And finally, it must show that the alleged
        tie “has a substantial anticompetitive effect that harms consumers” in the relevant tied
        product market. FTC v. Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020); see Brantley
        v. NBC Universal, Inc., 675 F.3d 1192, 1200 (9th Cir. 2012) (stating that plaintiff must
        show “an ‘actual adverse effect on competition’ caused by the tying arrangement” in the
        tied market).

430.    The principal distinction between the per se rule and the rule of reason is that under the per
        se rule, if the plaintiff establishes the four requisite elements, the tie is unlawful unless the
        defendant’s justifications are sufficient to establish an affirmative defense. But under the
        rule of reason, establishing the same four elements satisfies only the plaintiff’s burden at
        the first step of the burden-shifting framework. The burden then shifts to the defendant “to
        show a procompetitive rationale for the restraint.” FTC v. Qualcomm Inc., 969 F.3d 974,
        991 (9th Cir. 2020) (quoting Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018));
        accord County of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1159 (9th Cir. 2001).
        If the defendant makes that showing, the burden shifts back once again to the plaintiff, who
        must “show that an alternative is substantially less restrictive and is virtually as effective


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        in serving the legitimate objective without significantly increased cost.”         County of
        Tuolumne, 236 F.3d at 1159 (quotation marks omitted).

                c.     The Per Se Rule Is Inapplicable to This Case27

431.    Because the elements of the per se rule and the rule of reason largely overlap—and because
        Epic cannot establish any of them—the question of what framework applies to Epic’s tying
        claim is somewhat academic. To the extent the framework affects the disposition of the
        case, however, the rule of reason, and not the per se rule, applies to Epic’s tying claim.

432.    The categories of conduct condemned per se are “narrow.” Texaco Inc. v. Dagher, 547
        U.S. 1, 8 (2006). Per se treatment is reserved for restraints that, “after considerable
        experience,” Broad. Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1, 9 (1979), have
        been found to “always or almost always . . . tend to restrict competition and decrease
        output,” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2283 (2018). For instance, “horizontal
        territorial limitations” are one of the few “classic examples of a per se violation” meriting
        an exception to the standard rule of reason analysis. United States v. Topco Assocs., Inc.,
        405 U.S. 596, 608 (1972). By and large, however, the rule of reason should govern antitrust
        tying claims, particularly in cases involving business models or arrangements without
        “close parallel[s] in prior antitrust case,” because “simplistic application of per se tying
        rules carries a serious risk of harm.” United States v. Microsoft, 253 F.3d 34, 89 (D.C. Cir.
        2001); see FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 458–59 (1986) (“[W]e have been
        slow . . . to extend per se analysis to restraints imposed in the context of business
        relationships where the economic impact of certain practices is not immediately obvious.”).

433.    As the Ninth Circuit recently emphasized, “novel business practices—especially in
        technology markets—should not be ‘conclusively presumed to be unreasonable and
        therefore illegal without elaborate inquiry as to the precise harm they have caused or the
        business excuse for their use.’” FTC v. Qualcomm Inc., 969 F.3d 974, 990–91 (9th Cir.
        2020) (quoting United States v. Microsoft, 253 F.3d 34, 91 (D.C. Cir. 2001)). This
        statement aligns with the D.C. Circuit’s holding in United States v. Microsoft that in cases
        “involv[ing] software that serves as a platform for third-party applications,” courts should
        evaluate alleged ties under “the rule of reason, rather than per se analysis.” 253 F.3d at 84,
        89.

434.    Moreover, when there are “plausible arguments that a practice enhances overall efficiency,
        and makes markets more competitive, per se treatment is inappropriate, and the rule of
        reason applies.” Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145, 1155 (9th Cir.
        2003).

435.    Both the Ninth Circuit and the D.C. Circuit have expressed deep concern that “wooden
        application of per se rules” to “platform software markets” could “cast a cloud over
        platform innovation.” United States v. Microsoft, 253 F.3d 34, 94–95 (D.C. Cir. 2001);
        see FTC v. Qualcomm, 969 F.3d 974, 991 (9th Cir. 2020); see also In re: Cox Enters., 871
        F.3d 1093, 1102 (10th Cir. 2017) (“Courts have also acknowledged that some industries or

27
     Application of the per se rule is addressed in § 6.1, page 34 of the Joint Elements Submission.


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        products are sufficiently distinct that per se treatment is inappropriate. This is especially
        true in the world of technology, where courts are often unfamiliar with the products and
        market structure, and thus can’t be certain of the potential for anticompetitive effects.”);
        Rachel S. Tennis & Alexander Baier Schwab, Business Model Innovation and Antitrust
        Law, 29 Yale J. on Reg. 307, 319 (2012) (explaining that “treat[ing] novel products or
        business practices as anticompetitive” can have long-lasting negative effects in technology
        markets, where innovation “is essential to economic growth and social welfare” and “an
        erroneous decision will deny large consumer benefits”).

436.    Although the required use of a platform’s proprietary payment solution for digital
        transactions is common in the industry (even beyond simply digital game transactions), no
        court has ever determined that such an arrangement constitutes tying, much less per se
        unlawful tying. And for good reason: These arrangements have had significant
        procompetitive effects, both in the game industry and the app industry more broadly. FOF
        ¶¶ 680–98; see supra § III.B.ii.d (¶¶ 352–67); Leegin Creative Leather Products, Inc. v.
        PSKS, Inc., 551 U.S. 877, 894 (2007) (holding that per se rule should be rejected where
        alleged restraint could have “either procompetitive or anticompetitive effects”); see also
        17A Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
        Principles and Their Application ¶ 1703g (4th ed. 2020 supp.) (recognizing “[m]ajor
        beneficial possibilities” of tying arrangements, including “protecting quality, lowering
        costs or increasing value, increasing price competition, aiding entry, or rewarding a
        valuable patent”).

437.    Indeed, the Supreme Court has been narrowing, not expanding, the categories of conduct
        to which the per se rule applies. See, e.g., Leegin Creative Leather Products, Inc. v. PSKS,
        Inc., 551 U.S. 877, 899–900 (2007) (overruling precedent holding that vertical price
        restraints should be evaluated under the per se rule); Nat’l Collegiate Athletic Ass’n v. Bd.
        of Regents of Univ. of Oklahoma, 468 U.S. 85, 100–01 (1984) (carving out exception to
        the general rule that horizontal price restraints should be evaluated under the per se rule).

438.    Application of the rule of reason here also is consistent with economic literature authored
        by Epic’s own expert. In 2004, Dr. Evans coauthored an article arguing that “modern
        economic thinking supports a rule of reason approach toward tying,” rather than a per se
        approach. Christian Ahlborn et al., The Antitrust Economics of Tying: A Farewell to Per
        Se Illegality, 49 Antitrust Bulletin 287, 289–90 (2004). The authors explain that “the
        principal implication of several decades of economic investigation on the competitive
        effects of tying is that there should be no presumption on the part of competition authorities
        that tying and bundling are anticompetitive, even when undertaken by firms with monopoly
        power.” Id. at 329.

439.    Epic asks the Court to break new ground—or perhaps more accurately, return to the stone
        age of antitrust law—and invalidate as per se unlawful Apple’s business practices. But the
        practices challenged here are light years away from being properly categorized as per se
        anticompetitive. In these circumstances, Qualcomm and Microsoft require the Court to
        reject Epic’s attempt to invoke the per se rule. Epic’s tying claim must instead be analyzed
        under the rule of reason.



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               d.      iOS App Distribution and IAP Are Not Separate Products28

440.    Epic’s claim fails under either the rule of reason or the per se rule because Epic cannot
        establish a prerequisite of any tying claim: that the alleged tying product (iOS app
        distribution services) and the alleged tied product (IAP) are “separate and distinct
        product[s].” Rick-Mik Enters., Inc. v. Equilon Enters. LLC, 532 F.3d 963, 974 (9th Cir.
        2008); United States v. Microsoft Corp., 253 F.3d 34, 85 (D.C. Cir. 2001) (“[U]nless
        products are separate, one cannot be ‘tied’ to the other.”). Two principles are relevant in
        this case: integration and consumer demand.

441.    First, as this Court has previously explained, two items are “a single product” if they are
        “an ‘integrated service.’” Epic Games, Inc. v. Apple Inc., No. 20-CV-5640-YGR, 2020
        WL 5993222, at *16 & n.28 (N.D. Cal. Oct. 9, 2020). After all, “[a]lmost every product
        can be viewed as a package of component products: a pair of shoes, for example, as a
        package consisting of a left shoe and a right shoe; a man’s three-piece suit as a package
        consisting of a jacket, vest, and pants; a belt as a package consisting of a buckle and a
        strap.” Jack Walters & Sons Corp. v. Morton Bldg., Inc., 737 F.2d 698, 703 (7th Cir. 1984).
        To avoid absurd results, courts must, therefore, ensure that the two allegedly tied items are
        not merely “a package of components” that provide a single service to the customer. Id.;
        see Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 39 (1984) (“[T]here must be a
        coherent economic basis for treating the tying and tied products as distinct” because “[a]ll
        but the simplest products can be broken down into two or more components that are ‘tied
        together’ in the final sale.”).

442.    To the extent Epic argues, through its experts, that “integration” is not a useful concept in
        the context of alleged tying, the law is otherwise. As established above, a finding that two
        products are integrated is in fact legally dispositive of a tying claim. Whatever the views
        of Epic’s economic experts, they cannot override the clear legal principles that make
        integration a controlling factor in a tying claim.

443.    Second, aside from integration, the other way that courts evaluate whether two items are
        separate products is based on “the character of the demand for the two items.” Jefferson
        Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 19 (1984). There must be “sufficient demand
        for the purchase of [the tied product] separate from [the tying product] to identify a distinct
        product market in which it is efficient to offer [the tied product] separately from [the tying
        product].” Id. at 21–22.

444.    With respect to Epic’s claims, this separate-demand requirement means Epic must prove
        that some users (i.e., customers and developers) want IAP—which is not even functional
        outside of iOS—as an independent product separate from the App Store, and that
        “separating them is physically and economically possible.” 17D Philip E. Areeda &
        Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
        Application ¶ 1743 (4th ed. 2020).


28
     The requirement of two products is addressed in § 6.2.1, pages 40–41 of the Joint Elements
     Submission.


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445.    To evaluate “consumer demand for the tied product separate from the tying product,”
        courts “examine[] direct and indirect evidence.” Rick-Mik Enters., Inc. v. Equilon Enters.
        LLC, 532 F.3d 963, 975 (9th Cir. 2008). “Direct evidence addresses the question whether,
        when given a choice, consumers purchase the tied good from the tying good maker, or from
        other firms. Indirect evidence includes the behavior of firms without market power in the
        tying good market, presumably on the notion that (competitive) supply follows demand.”
        Id. (citations omitted). Where “competitive firms always bundle the tying and tied goods,”
        then they are not two separate products, but “a single product.” Id.

446.    The Microsoft court elaborated on this point, noting that the separate-demand test is only
        “a rough proxy” for evaluating whether a tying arrangement is “welfare-enhancing.”
        United States v. Microsoft Corp., 253 F.3d 34, 87 (D.C. Cir. 2001). In the abstract, there
        “is always direct separate demand for products: assuming choice is available at zero cost,
        consumers will prefer it to no choice.” Id. But when “the entire ‘competitive fringe’
        engages in the same behavior as the defendant,” there are likely “strong net efficiencies,”
        and “the tying and tied products should be declared one product.” Id. at 88 (quoting 17D
        Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles
        and Their Application ¶ 1744c4 (1996)).

               e.      IAP Is an Integrated Feature of iOS and the App Store

447.    The evidence establishes that IAP is an integrated functionality of the App Store’s
        facilitation of digital transactions. FOF ¶¶ 651–53; see United States v. Microsoft Corp.,
        253 F.3d 34, 93 (D.C. Cir. 2001) (noting that “integration [is] common” among
        technological products and services). As the Ninth Circuit explained in Rick-Mik
        Enterprises, Inc. v. Equilon Enterprises, LLC, in the context of credit-card processing
        services and franchise arrangements, if payment processing services are “an essential
        ingredient of the [tying product’s] formula for success, there is but a single product and no
        tie in exists as a matter of law.” 532 F.3d 963, 974 (9th Cir. 2008) (quotation marks
        omitted). The tying product and the “method of processing [payment] transactions are not
        separate products, but part of a single product.” Id. And, like in franchise arrangements—
        which provide for “signs, advertising, marketing, appearance, as well as methods of
        delivery and payment,” each of which is “part and parcel of a franchise,” id.—IAP is but
        one component of the full suite of services offered by iOS and the App Store, FOF ¶ 651.

448.    IAP is part of a comprehensive set of services provided by the App Store, and offers
        procompetitive benefits to both consumers and developers. FOF ¶¶ 680–98. For instance,
        for in-app purchases, the ability to deliver and charge for digital content is what unlocks
        the “freemium” business model, whereby developers offer an app for free but charge
        consumers a premium to enable certain features within the app. FOF ¶ 694. It is this model
        that Epic has used to great effect with Fortnite. FOF ¶ 696. IAP (for in-app purchases)
        and Apple’s payment mechanism for paid apps are what allow Apple to track the revenue
        generated by each developer and collect the appropriate commission. FOF ¶ 680–82. If
        Apple were not able to collect a commission through the required use of IAP, then it would
        receive no revenue at all for any app that uses the freemium model—despite the significant
        support Apple provides at every stage of the app’s development. FOF ¶ 681.



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449.    As noted previously, the App Store is a two-sided transaction platform, meaning that the
        App Store is “best understood as supplying only one product—transactions—which is
        jointly consumed by a [consumer] and a [developer].” Ohio v. Am. Express Co., 138 S. Ct.
        2274, 2286 n.8 (2018) (emphasis added). Thus, the App Store does not provide app
        distribution services and in-payment processing, but instead provides a single product:
        digital game transactions. The nature of the product that Apple supplies therefore
        necessarily means that IAP is an integrated feature of this transaction. Just as “a car with
        tires attached might be deemed a single product because a vehicle that can be driven is the
        essence of what the customer buys,” 17D Philip E. Areeda & Herbert Hovenkamp,
        Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶ 1741 (4th ed.
        2020), digital game transactions are a critical aspect of what consumers and developers
        obtain when they deal with the App Store, and IAP is simply one part of that single product.

450.    The integration of IAP into the App Store has many other benefits to users of the platform
        as well, further supporting the conclusion that it is an integrated feature of the App Store.
        For instance, IAP provides a secure and centralized system for recording sales, managing
        payments to developers, and collecting commissions from developers. FOF ¶ 681. It also
        provides consumers with a seamless ecosystem that syncs across family members and
        devices, detects security or fraud threats, and permits purchases to be restored on new
        devices. FOF ¶ 688. And it allows consumers to provide their private financial information
        to a single trusted company—Apple—rather than countless third-party payment processors
        of uncertain repute. FOF ¶ 685. Developers, too, directly benefit from IAP, which assists
        them with currency conversion and tax-law compliance and performs fraud and credit-
        worthiness checks on their behalf. FOF ¶ 692. For all these reasons and more, IAP is an
        integrated functionality within the App Store’s broader set of services, not a standalone
        product. Cf. Serv. & Training, Inc. v. Data Gen. Corp., 737 F. Supp. 334, 343 (D. Md.
        1990) (rejecting tying claim because alleged tied product was “one feature of [defendant’s]
        integrated and unified product”). Just as in Rick-Mik, where “the method of receiving and
        processing credit transactions [was] an integral part of the franchise’s operation,” 532 F.3d
        963, 974 (9th Cir. 2008), here, IAP is equally an “integral part” of the App Store’s
        operations.

451.    This conclusion is confirmed by a survey of the App Store’s “competitive fringe.” United
        States v. Microsoft Corp., 253 F.3d 34, 88 (D.C. Cir. 2001). Nearly all competing
        platforms, including Google Play, the PlayStation Store, the Nintendo eShop, the Microsoft
        Store, Steam, and the Samsung Galaxy Store, have also integrated distribution, content
        delivery, and payment functionalities. FOF ¶¶ 697–697.5; see also Dkt. 118 at 18. The
        only significant outlier is EGS, on which payment was an integrated feature of EGS until
        December 2019, after the preliminary planning for Project Liberty and this eventual
        litigation was already well under way. FOF ¶ 251.4. Thus, where, as here, there is
        “bundling by all competitive firms,” then “the tying and tied products should be declared
        one product.” Microsoft, 253 F.3d at 88; cf. In re: Cox Enters., Inc., 871 F.3d 1093, 1109
        (10th Cir. 2017) (holding that the bundling of set-top-boxes to premium cable was not a
        per se tie where “all cable companies rent set-top-boxes to consumers,” because that fact
        suggests that bundling “is simply more efficient than offering them separately”).




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452.    The integration of IAP into the App Store is also made apparent by the fact that Epic has
        not challenged the commission that Apple charges for the distribution of paid apps or the
        mechanism that collects these payments, which is executed through a different set of APIs
        from IAP. Epic apparently has no complaint with Apple collecting a commission for
        licensing of its intellectual property for the distribution of apps; its complaint centers on
        the mechanism for delivering (and charging for) content within those apps. Yet Epic’s
        focus on IAP to the exclusion of the APIs used for paid apps is simply arbitrary—both
        features are integral components of how the App Store operates, and neither is a distinct
        “product” that Apple offers outside the context of the App Store. To speak of a consumer’s
        payment experience through the App Store as a distinct “product” is just as irrational as
        calling a retailer’s point of service a separate “product,” and Epic’s effort to avoid the
        analogy by not mentioning paid apps fails.

453.    Accordingly, IAP is an integrated feature of iOS and the App Store, and not a separate
        product.

               f.      There Is No Separate Demand for IAP

454.    Similarly, no evidence was presented showing that demand exists for IAP as a standalone
        product.

455.    As an initial matter, Epic’s argument mischaracterizes IAP and its function. Epic contends
        that IAP is a mere “payment processor,” and thus argues that the Court should assess
        demand for an alternative payment processor. Dkt. 1 ¶ 242. But this description of IAP is
        demonstrably incorrect. As described above, IAP is much more than a payment
        processor—IAP consists of the entire technological infrastructure that delivers digital
        content (like in-game upgrades or features) from the developer to the user. FOF ¶ 651.
        That process necessarily runs through iOS, because the content is being delivered and
        downloaded to the consumers’ iPhone or iPad. The actual payment for the product is one
        component of those services, but the entire process of executing a digital transaction
        between a consumer and a developer is, in reality, what IAP facilitates.

456.    Payment processing is thus simply an input into the larger bundle of services provided by
        the IAP system. FOF ¶ 651. Indeed, IAP does not itself even process payments—that
        function is performed by a third-party settlement provider like Chase Bank with which
        Apple contracts. Id. And unlike the purported alternatives that Epic proposes (e.g.,
        PayPal), Apple has never tried to market the technology for use on other digital transaction
        platforms, and Epic does not contend otherwise. FOF ¶ 656.

457.    But even if the Court were to focus narrowly—and incorrectly—on the limited subset of
        payment functions performed by IAP, there is still no separate demand for an alternative
        payment processor. In the but-for world where developers could use an alternative
        processor, Apple would still be contractually entitled to its commission on any purchase
        made within apps distributed on the App Store. Thus, so long as the alternative processor
        charged a non-zero commission or fee for its services, no economically rational developer
        would choose to use the alternative processor, because on each transaction, they would still



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        have to pay Apple its commission, and they would have to pay the alternative processor a
        commission for its services. FOF ¶ 659.

458.    For that reason, Epic’s “evidence”—obtained through its willful breach of the DPLA—
        about the number of iOS consumers who used Epic direct payment when given the
        opportunity after the “hotfix” is unpersuasive. See Dkt. 118 at 25 (“It is not surprising that
        some customers would choose competing payment services if they provided lower prices
        offered only because of this non-payment.”). For the same reason, the fact that some
        developers like Facebook and Spotify have tried to avoid Apple’s commission by
        bypassing IAP is not evidence that there is separate demand for IAP, only that developers
        would prefer not to pay Apple a commission. FOF ¶ 658. Epic’s reliance on this evidence
        thus “conflates competition on the merits with Epic Games’ goal of avoiding Apple’s
        30%.” Dkt. 118 at 25. Even under Epic’s conception of the market, IAP is not a distinct
        product. In sum, whether analyzed as an integrated functionality or from the perspective
        of consumer demand, IAP is not a separate product from iOS App Distribution.

                g.     The Two “Products” Are Not Tied29

459.    Even if Epic could demonstrate that IAP and iOS app distribution were two separate
        products—and it cannot—its tying claim would still fail (under either the per se rule or the
        rule of reason) because it cannot establish the “most fundamental requirement” of a tying
        claim: “the existence of a tie.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171,
        1178 (9th Cir. 2016).

460.    Epic must show that the “sale of the desired (‘tying’) product [was] conditioned on
        purchase of another (‘tied’) product.” Id.; see also 17D Philip E. Areeda & Herbert
        Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶
        1752b (4th ed. 2020) (defining a tie as the improper imposition of “conditions that
        explicitly or practically require buyers to take the second product if they want the first
        one”). This condition must “require[] customers to take the defendant’s product B in order
        to get its A—thereby foreclosing, to that extent, rival B suppliers from access to those
        customers.” 17D Areeda & Hovenkamp, supra, ¶ 1752c; see also Image Technical Servs.,
        Inc. v. Eastman Kodak Co., 903 F.2d 612, 615 (9th Cir. 1990) (similar).

461.    While a tying condition “need not be spelled out in express contractual terms,” it is not
        enough for a plaintiff to show the defendant’s conduct amounted to a “‘de facto’
        condition.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1178–79 (9th Cir.
        2016). Consequently, “technological interrelationship among complementary products” is
        insufficient to establish a tie. Foremost Pro Color, Inc. v. Eastman Kodak Co., 703 F.2d
        534, 542 (9th Cir. 1983); see also Apple iPod iTunes Antitrust Litig., No. 05-CV-37, 2009
        WL 10678940, at *5 (N.D. Cal. Oct. 30, 2009) (that technological products are developed,
        and are optimally used, in conjunction with one another does not establish a tie).

462.    Epic cannot show such a tying condition, because none exists. Developers can distribute
        apps through the App Store without using in-app purchase options for their apps, and thus

29
     The requirement of a tie is addressed in § 6.2.2, page 42 of the Joint Elements Submission.


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        can distribute apps without using or paying for IAP. The DPLA requires developers to
        agree to various terms and conditions prior to distributing apps through the App Store, such
        as a requirement that the developers not “violate, misappropriate, or infringe any Apple”
        intellectual property. FOF ¶ 106.2. But there is no requirement that developers must use
        IAP in order to distribute apps through the App Store, because there is no requirement that
        developers offer in-game digital transactions. Indeed, the great majority (83%) of apps
        distributed through the App Store are entirely free and thus do not use IAP at all. FOF
        ¶ 551. There can be no tying claim when the majority of purchasers of the tying product
        (here, developers) do not even receive the tied product. Accordingly, there is no
        contractual tie nor a price tie.

463.    It is true that if a developer wishes to monetize its iOS app through in-app purchases
        facilitated by the App Store, then it must use IAP. But Apple does not force developers to
        monetize their apps through in-app purchases. Instead, developers like Epic are free to
        monetize (or not monetize) their apps in the App Store in any number of ways that do not
        involve IAP, including through up-front payment or selling advertising space within the
        apps. FOF ¶ 93. The fact that some developers might prefer to monetize their apps through
        in-app purchases rather than through advertising does not mean that the distribution and
        IAP are tied, only that developers often, when given the choice, elect to use Apple’s IAP
        service rather than alternative means of monetization.

464.    Epic incorrectly contends that the fact that developers like Epic could adopt alternative
        monetization strategies like advertising does not show that there is no tie, because (it
        claims) in-game ads would create a negative experience for players. But as a legal matter,
        a tie does not exist just because a plaintiff believes that it would be better off if the
        defendant altered the terms on which its services were offered. Rather, a tie exists only if
        the defendant actually requires the plaintiff to “take the defendant’s product B in order to
        get its A.” 17D Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
        Antitrust Principles and Their Application ¶ 1752c (4th ed. 2020)). Apple does not require
        developers to use IAP in order to distribute apps on the App Store, and there therefore is
        no tie.

465.    Moreover, the App Store Review Guidelines explicitly permit developers of cross-platform
        games to let iOS users access content or other features purchased on other platforms within
        the iOS app, meaning that iOS users can access all of the content featured on an app
        available through in-app purchases without ever making a purchase that requires the use of
        IAP. FOF ¶ 165.1. In no sense, therefore, is the use of IAP a requirement for a developer
        to distribute apps through the App Store.

466.    Epic’s business model confirms that the IAP is not tied to the use of the App Store. An
        iOS user who plays Fortnite may elect to purchase V-Bucks through the App Store, in
        which case the transaction will be processed through IAP, as contemplated by the DPLA.
        That same user, however, could purchase V-Bucks on another platform—his PC or his
        PlayStation—without going through IAP, yet still use those V-Bucks to purchase
        additional in-app content on his iPhone. FOF ¶ 495.2. The consumer could even access
        EGS through the Safari web browser on his iPhone and purchase V-Bucks directly from
        Epic without using IAP, all on an iOS device. Id. From the consumer’s perspective, it is


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        immaterial whether IAP is used to process his payment, because he is able to use his
        V-Bucks across all versions of Fortnite that he has downloaded. Thus, Epic is never
        compelled to use IAP.

                h.     Epic Is Not Coerced into Using IAP30

467.    For similar reasons, Epic cannot demonstrate that Apple coerces it into using IAP—a
        required element under either the per se rule or the rule of reason. To prove coercion, Epic
        must prove by a preponderance of the evidence that Apple exploited its alleged control
        over the tying product to force Epic into the purchase of the tied product. See ABA Model
        Civil Jury Instrns. Ch. 2.E.7 (2016).

468.    This requirement is twofold. First, Epic must prove that Apple has market power in the
        market for the tying product. See Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28, 46
        (2006). Second, Epic “must present evidence that the defendant went beyond persuasion”
        and in fact “coerced or forced its customer to buy the tied product in order to obtain the
        tying product.” Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d 1145, 1159 (9th
        Cir. 2003); see also It’s My Party, Inc. v. Live Nation, Inc., 811 F.3d 676, 684 (4th Cir.
        2016) (rejecting argument that “tying occurs any time a seller who has market power over
        product A offers it for sale together with product B”).

469.    To prove market power, Epic must show the defendant had “the power to control prices or
        exclude competition” in the tying product market. Paladin Assocs., 328 F.3d at 1158; see
        also Rick-Mik Enters., Inc. v. Equilon Enters. LLC, 532 F.3d 963, 972 (9th Cir. 2008) (“If
        [the defendant] lacks market power in the [tying product] market, there can be no
        cognizable tying claim.”). “The best way to show” sufficient market power “is to establish
        directly that the price of the tied package is higher than the price of components sold in
        competitive markets.” Parts and Elec. Motors, Inc. v. Sterling Elec., Inc., 826 F.2d 712,
        720 n.7 (7th Cir. 1987). Aside from such direct evidence, Epic may prove market power
        by showing Apple had a sufficiently high market share such that purchasers do not have
        alternative sources of the tying product or a reasonably interchangeable substitute. See
        supra § III.C.i.c (¶ 445).

470.    Apple’s contractual rights cannot be conflated with economic power. A “defendant’s
        economic power [must] be derived from the market, not from a contractual relationship
        that the plaintiff has entered into voluntarily.” Rick-Mik Enters., 532 F.3d at 973; see also
        Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 443 (3d Cir. 1997) (“[W]here
        the defendant’s ‘power’ to ‘force’ plaintiffs to purchase the alleged tying product stems not
        from the market, but from plaintiffs’ contractual agreement to purchase the tying product,
        no claim will lie.”). In other words, “courts must attempt to ascertain a defendant’s
        economic position in the relevant market, rather than its power pursuant to a particular
        contract, when considering whether a defendant has market power.” Maris Distrib. Co. v.
        Anheuser-Busch, Inc., 302 F.3d 1207, 1219 (11th Cir. 2002).



30
     Coercion is addressed in § 6.2.3, pages 43–44 of the Joint Elements Submission.


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471.    Apple plainly does not have market power in the properly defined market for digital game
        transactions. See supra § III.B.i.a (¶¶ 229–36). Thus, market definition is yet again fatal
        to Epic’s claim.

472.    Even if the relevant tying product is iOS app distribution and the tied product is iOS in-app
        payment, Apple still lacks market power. As set forth above, see supra § III.B.i.a (¶¶ 237–
        45), Apple lacks market power in any alleged primary market for iOS app distribution
        because both consumers and developers have alternatives to the App Store and IAP.
        Without market power in the alleged primary market, Apple has no power to coerce
        developers into purchasing a tied product they do not want.

473.    In addition to market power, Epic must demonstrate that it actually “was ‘coerced’ into
        buying the tied products from the defendant.” Cascade Health Sols. v. PeaceHealth, 515
        F.3d 883, 915 (9th Cir. 2008). Epic cannot demonstrate coercion, because as noted above,
        Apple does not “force[]” Epic to use IAP. Paladin Assocs., Inc. v. Mont. Power Co., 328
        F.3d 1145, 1159 (9th Cir. 2003). As explained, there are many monetization strategies
        available to Epic that would permit it to distribute apps on the App Store without using
        IAP. Epic is thus “free to take [app distribution] by itself” and decline to use IAP. Northern
        Pac. R. Co. v. United States, 356 U.S. 1, 7 n.4 (1958). The fact that Epic might prefer to
        monetize its apps through in-app purchase rather than through advertising show only the
        value of the allegedly tied product and the desire of many consumers to obtain the tied
        product in a bundle—it does not show that Epic had no choice in the matter.

474.    Epic’s argument, in essence, is that it is entitled to conduct digital game transactions
        through Apple’s platform in precisely the manner it wants to, and that if Apple’s policies
        restrict it in any way from doing so, then that is illegal coercion. But Epic’s “freemium”
        business model on the App Store exists in the first place only because Apple’s platform
        facilitated the business model by making it possible to deliver and charge for digital content
        within native iOS apps distributed through the App Store. Now that Epic has found success
        using this model, it claims that the same policies that allowed it to thrive in the first place
        are “coercive.” But it is not coercive for Apple to demand that Epic adhere to the terms of
        its longstanding licensing agreement, without which Epic’s iOS version of Fortnite would
        not even exist.

               i.      There Is No Foreclosure of Any Significant Share of the Relevant
                       Market

475.    In order to prevail on its per se theory of tying, Epic must establish that “a total amount of
        business, substantial enough in terms of dollar-volume so as not to be merely de minimis,
        is foreclosed to competitors by the tie.” Fortner Enters., Inc. v. U.S. Steel Corp., 394 U.S.
        495, 501 (1969). In other words, the foreclosed business must represent either “a
        substantial dollar-volume [or] a substantial portion of the relevant market.” Datagate, Inc.
        v. Hewlett-Packard Co., 60 F.3d 1421, 1425 (9th Cir. 1995). Epic has failed to satisfy this
        element.

476.    There is no foreclosure here because the DPLA does not prevent developers from
        monetizing their game apps or executing digital transactions in ways that do not involve


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        IAP. iOS developers are free to offer their apps on platforms other than iOS, as most do.
        FOF ¶¶ 351–52. Even on iOS, developers may charge an upfront fee for their apps, use
        advertising, or distribute their app as a web app through the Safari web browser (including
        through new game streaming platforms). FOF ¶¶ 93, And iOS
        permits a “cross-wallet” whereby users can purchase virtual currency on other platforms
        (e.g., EGS) and spend that currency through an iOS app without going through IAP. FOF
        ¶ 255.4. There is thus no “foreclosure” of any commerce, because developers and users
        have myriad ways to execute digital transactions that do not involve IAP.

477.    Epic itself has used these alternative options. A majority of iOS Fortnite players who make
        purchases do so only on non-iOS platforms and then access that content on their iOS
        version of Fortnite. FOF ¶ 370. Epic also sells V-Bucks through EGS and other platforms
        that can be spent on iOS without going through IAP. FOF ¶ 367. It also has sold
        promotional materials inside of Fortnite. FOF ¶ 674. As regarding Epic, there plainly is
        no “foreclosure” of commerce.

478.    Indeed, far from foreclosing any share of the market, IAP actually increases the size of the
        digital game transactions market by giving developers different ways in which to execute
        transactions. FOF ¶ 679. IAP facilitates the existence of the “freemium” and “paymium”
        models, which enable developers to attract and transact with price-sensitive customers who
        might want to try out an app before spending more on advanced or special features. Id.

479.    In sum, none of Apple’s conduct here has foreclosed a significant share of the relevant
        market.

                j.     The App Store and IAP Are Procompetitive31

480.    Finally, Epic cannot establish the final element of its tying claim under either the per se
        rule or the rule of reason—that Apple’s integrated business model has a “pernicious” or
        “substantial” anticompetitive effect.

481.    Where the per se rule applies, a legitimate business justification is an affirmative defense
        to a tying claim. See Mozart Co. v. Mercedes-Benz of N. Am., Inc., 833 F.2d 1342, 1348
        (9th Cir. 1987) (“[A]ntitrust defendants may demonstrate a business justification for an
        otherwise per se illegal tying arrangement.”).

482.    Where, however, the rule of reason applies, procompetitive business justifications are
        considered as part of the burden-shifting analysis, and the ultimate burden rests at all times
        with Epic. See infra § III.C.ii.b (¶¶ 513–15).

483.    Regardless of which party bears the burden, however, any alleged tying between app
        distribution and IAP is redeemed by the significant procompetitive justifications of IAP,
        outlined above. See supra § III.B.ii.d (¶¶ 352–67). For example, Epic’s expert stated in a
        2013 publication that in order to “increase the welfare” of its consumers, “an ecommerce

31
     Pernicious effect and business justifications are addressed in §§ 6.2.5–6.2.6, pages 46–48 of
     the Joint Elements Submission.


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        platform might require merchants to use its payments platform thereby bundling both
        matchmaking and payment services together . . . [to] make it easier for consumers to pay
        efficiently.” David S. Evans, Economics of Vertical Restraints for Multi-Sided Platforms,
        Competition Policy Int’l, Spring 2013, at 10.

484.    Such is the case here. Integrating IAP into the App Store gives consumers a seamless
        experience, providing a one-stop shop for in-app payment and offering a secure transaction
        platform. FOF ¶ 687. And developers benefit too, because they can monetize their apps
        without having to search for payment solutions, and can also benefit from the fact that
        many of their iOS users will already have a payment profile in place to make purchases on
        new apps they download. FOF ¶ 691.

485.    Whether analyzed under the per se rule or the rule of reason, the procompetitive nature of
        the IAP functionality dooms Epic’s tying claim.

        iii.    Sherman Act Section 1 – Unreasonable Restraint of Trade in the “iOS App
                Distribution Market” (Epic Count 3)32

486.    Epic claims in Count 3 that Apple has unreasonably restrained trade in the “iOS App
        Distribution Market,” by “forc[ing] developers to agree to Apple’s unlawful terms
        contained in its [DPLA] and to comply with Apple’s App Store Review Guidelines,
        including the requirement iOS developers distribute their apps through the App Store.”
        Dkt. 1 ¶ 210.

487.    This claim fails for the simple yet dispositive reason that Epic has not shown that Apple
        “agreed” with anyone to restrain trade, as required for a Section 1 claim. The contractual
        terms of which Epic complains are imposed unilaterally by Apple as a condition of using
        its intellectual property and other resources, and are applied equally to all developers.
        Indeed, Epic has labeled the DPLA a “contract of adhesion,” Dkt. 1 ¶ 70.

488.    But even if Epic could demonstrate such an agreement, its claim would still fail under the
        rule of reason analysis: Apple does not have market power in the relevant market for digital
        game transactions, the alleged restraints do not have anticompetitive effects, and in any
        case, the restraints are supported by multiple strong procompetitive rationales for which
        Epic has proposed no reasonable less restrictive alternatives.

                b.     There Is No Concerted Action33

489.    Section 1 of the Sherman Act proscribes only “concerted action that restrains trade.” Am.
        Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 190 (2010). “Unilateral conduct by a
        single firm, even if it appears to restrain trade unreasonably, is not unlawful under section
        1 of the Sherman Act.” The Jeanery, Inc. v. James Jeans, Inc., 849 F.2d 1148, 1152 (9th
        Cir. 1988) (quotation marks omitted). As a result, a threshold requirement of any Section

32
     The elements of an unreasonable restraint of trade under Section 1 are addressed in § 5.1, page
     22 of the Joint Elements Submission.
33
     Concerted action is addressed in § 5.1, page 23 of the Joint Elements Submission.


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        1 claim is “the existence of an agreement.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836
        F.3d 1171, 1178 (9th Cir. 2016).

490.    “One way of proving concerted action [under § 1] is by express agreement.” Sun
        Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1192 (N.D. Cal.
        2009); see also Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d 1145, 1153 (9th Cir.
        2003) (“[E]xpress ‘agreements’” are “direct evidence of ‘concerted activity’” and satisfy
        the first element of a Section 1 claim.).

491.    No agreement exists, however, if “[t]here is no ‘meeting of the minds’” but rather only a
        unilateral “command[]” that others merely “comply with.” Costco Wholesale Corp. v.
        Maleng, 522 F.3d 874, 898 (9th Cir. 2008). For this reason, courts have rejected Section
        1 claims in which the defendant merely promulgated policies or contractual terms to which
        potential counterparties were required to adhere. See The Jeanery, Inc. v. James Jeans,
        Inc., 849 F.2d 1148, 1160 (9th Cir. 1988) (“This termination was pursuant to James Jeans’
        announced policy as reiterated in its conversations with its dealers” and therefore “was
        unilateral, independent action taken by James Jeans . . ., [a]nd it did not violate section 1”);
        Relevent Sports, LLC v. U.S. Soccer Fed’n, Inc., No. 19-CV-8359, 2020 WL 4194962, at
        *7 (S.D.N.Y. July 20, 2020) (U.S. Soccer Federation’s compliance with its obligation to
        follow FIFA policies against sanctioning certain soccer matches was unilateral conduct
        outside the scope of Section 1); Baar v. Jaguar Land Rover N. Am., LLC, 295 F. Supp. 3d
        460, 465 (D.N.J. 2018) (a “unilaterally implemented [] Policy” imposed by Jaguar Land
        Rover on “dealers” was not actionable under Section 1).

492.    Here, the only “agreement” Epic can point to is the DPLA, which all developers must agree
        to in order to obtain a license to use Apple’s valuable intellectual property and distribute
        native iOS apps through the App Store. The terms of the DPLA are not negotiated between
        Apple and developers, but rather are standardized terms of access to iOS and the developer
        tools. FOF ¶ 102. If a developer refuses to agree to the terms, Apple will not license its
        intellectual property, and the developer cannot distribute native iOS apps through the App
        Store. FOF ¶ 101.

493.    As a matter of law, such a unilateral imposition of constraints on a business partner is not
        an “agreement” within the meaning of the Sherman Act. For instance, “[a] manufacturer .
        . . generally has a right to deal, or refuse to deal, with whomever it likes, as long as it does
        so independently.” Monsanto Co. v. Spray–Rite Serv. Corp., 465 U.S. 752, 761 (1984).
        That manufacturer “can announce its resale prices in advance and refuse to deal with those
        who fail to comply.” Id. Similarly here, Apple has imposed terms of access (analogous to
        the pricing terms in Monsanto) in advance, “enforce[d]” them against developers, Baar v.
        Jaguar Land Rover N. Am., LLC, 295 F. Supp. 3d 460, 465 (D.N.J. 2018), and refused to
        deal with developers who do not comply.

494.    Epic’s Complaint could not be any clearer that Epic and other game app developers “had
        no involvement in the establishment or enforcement of the allegedly anticompetitive
        provisions of the contract[]” or Guidelines. Toscano v. Professional Golfers Ass’n, 258
        F.3d 978, 984 (9th Cir. 2001). As the Complaint states, it is Apple that requires developers
        to agree to the “terms contained in its [DPLA] and to comply with Apple’s App Store


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        Review Guidelines.” Dkt. 1 ¶ 210. In other words, Apple “independently set the terms,”
        and game app developers “merely accepted them.” Toscano, 258 F.3d at 984.

495.    In similar circumstances, one court has held that agreements “unilaterally impose[d]” by
        technology platforms upon developers that “utilize the [platform]” do not constitute
        concerted action. Sambreel Holdings LLC v. Facebook, Inc., 906 F. Supp. 2d 1070, 1077
        (S.D. Cal. 2012) (holding that Facebook’s requirement that application developers agree
        to use only approved advertising partners, with whom Facebook had separate agreements,
        was not actionable under Section 1). So too here: Apple unilaterally imposed its policies
        on game app developers like Epic.

496.    It would be a misapplication of the antitrust laws to hold that unilaterally imposed terms of
        an agreement can constitute an unlawful contract or combination under Section 1. The
        Sherman Act draws a sharp distinction between concerted conduct and unilateral conduct
        and “treat[s] concerted behavior more strictly than unilateral behavior.” Copperweld Corp.
        v. Indep. Tube Corp., 467 U.S. 752, 768 (1984). That is because “[c]oncerted activity
        inherently is fraught with anticompetitive risk” in that “[i]t deprives the marketplace of the
        independent centers of decisionmaking that competition assumes and demands.” Id. at
        768–69. Thus, “[t]he meaning of the term ‘contract, combination . . . , or conspiracy’ is
        informed by the basic distinction in the Sherman Act between concerted and independent
        action that distinguishes § 1 of the Sherman Act from § 2.” Am. Needle, Inc. v. Nat’l
        Football League, 560 U.S. 183, 190 (2010) (some quotation marks omitted). And Section
        1 therefore “applies only to concerted action that restrains trade.” Id. (emphasis added).

497.    If the unilateral imposition of contract terms could give rise to a Section 1 claim for
        unreasonable restraint of trade, the Sherman Act’s careful distinction between concerted
        and unilateral conduct would be eliminated. Distinguishing between competitive and
        anticompetitive unilateral conduct is a difficult (and costly) task for courts, see 19A Philip
        E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and
        Their Application ¶ 1902b (4th ed. 2020 supp.), and that is why plaintiffs challenging
        unilateral conduct must satisfy the more exacting standard of Section 2. It is therefore
        inappropriate to use the Section 1 standard for liability in a case, such as this one, involving
        only unilateral conduct by an alleged monopolist.

498.    There is no legal support for the assertion that “coercive conduct” by a firm may be treated
        as an “agreement” for purposes of Section 1. Dimidowich v. Bell & Howell, 803 F.2d 1473,
        1478 (9th Cir. 1986).

499.    First, the line of cases suggesting that an “agreement” under Section 1 can be formed by
        coercive conduct “has been cast into some doubt” by the Supreme Court, Dimidowich v.
        Bell & Howell, 803 F.2d 1473, 1478 (9th Cir. 1986), and should not be treated as good law,
        see Blair v. All Am. Bottling Corp., No. 86-CV-1426, 1988 WL 150814, at *3 (S.D. Cal.
        Aug. 9, 1988) (declining to apply coercive-conduct caselaw). Indeed, permitting a plaintiff
        to establish concerted action by pointing to coercive conduct would run afoul of the
        Sherman Act’s division between unilateral and concerted conduct in precisely the same
        way that treating a unilateral imposition of contracts terms as “concerted” activity would.



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500.    Second, even if unilateral coercive conduct could uniquely give rise to Section 1 liability,
        Apple has not engaged in any coercive conduct. The coercive conduct contemplated by
        cases like Albrecht v. Herald Co. involves something “in addition to the ‘mere
        announcement of [a] policy and the simple refusal to deal’” with those who will not
        comply. 390 U.S. 145, 149 (1968), overruled on other grounds by State Oil Co. v. Khan,
        522 U.S. 3 (1997). In other words, there must be some additional threat or menace to the
        allegedly coerced party, beyond simply a refusal to deal. See Dimidowich v. Bell & Howell,
        803 F.2d 1473, 1478 (9th Cir. 1986). Here, however, Apple has never threatened Epic or
        other game app developers; it “simply warned [them] of its policy and enforced it against”
        them if they failed to abide by the policy. Id. at 1479. The App Store, and Apple’s services,
        “were always available subject to the condition that [it] not be used” to violate Apple
        policy, such as by circumventing IAP. Id.

501.    Because Apple unilaterally imposed its policies against game app developers, including
        Epic, and did not coerce them into any unlawful agreement, Epic’s Section 1 concerted-
        action claim must fail as a matter of law.

                c.     Epic’s Claim Fails Under the Rule of Reason34

502.    Even if Epic could show that an agreement exists, its claim would fail under the rule of
        reason’s burden-shifting framework applicable to Epic’s Section 1 claims.

503.    “[T]he rule of reason requires courts to conduct a fact-specific assessment of ‘market power
        and market structure . . . to assess the [restraint]’s actual effect’ on competition.” Ohio v.
        Am. Express Co., 138 S. Ct. 2274, 2284 (2018) (quoting Copperweld Corp. v. Indep. Tube
        Corp., 467 U.S. 752, 768 (1984)). “In its design and function[,] the rule distinguishes
        between restraints with anticompetitive effect that are harmful to the consumer and
        restraints stimulating competition that are in the consumer’s best interest.” Leegin Creative
        Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886 (2007).

                       Epic Has Not Shown That Apple’s Policies Have Anticompetitive
                       Effects35

504.    Under the rule of reason, “the plaintiff has the initial burden to prove that the challenged
        restraint has a substantial anticompetitive effect that harms consumers in the relevant
        market.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018). As discussed above, see
        supra § III.B.i.b (¶¶ 246–83), the conduct on which Epic relies for its antitrust claims
        cannot be considered anticompetitive or exclusionary as a matter of law.

505.    “A plaintiff may prove that a restraint has anticompetitive effect either ‘directly or
        indirectly.’” FTC v. Qualcomm Inc., 969 F.3d 974, 989 (9th Cir. 2020) (quoting Am.
        Express, 138 S. Ct. at 2284). “Direct evidence includes proof of actual detrimental effects
        on competition, such as reduced output, increased prices, or decreased quality in the
34
     The rule of reason is addressed in § 5.2, page 23 of the Joint Elements Submission.
35
     Anticompetitive effects are addressed in § 5.2.2, pages 28–29 of the Joint Elements
     Submission.


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        relevant market.” Id. (citation and quotation marks omitted). “Indirect evidence involves
        ‘proof of market power plus some evidence that the challenged restraint harms
        competition.’” Id. (quoting Am. Express, 138 S. Ct. at 2284). “Allegations that conduct
        ‘has the effect of reducing consumers’ choices or increasing prices to consumers do[] not
        sufficiently allege an injury to competition . . . [because] [b]oth effects are fully consistent
        with a free, competitive market.’” Id. at 990 (quoting Brantley v. NBC Universal, Inc., 675
        F.3d 1192, 1202 (9th Cir. 2012)). Epic has not met its burden to show, by either direct or
        indirect evidence, that Apple’s policies have any anticompetitive effect.

506.    Epic has introduced no direct evidence of detrimental effects on competition, such as
        reduced output or increased prices in the relevant market. As explained in detail supra §
        III.B.i.c (¶¶ 284–98), Apple’s policies have a decidedly procompetitive effect. Indeed,
        Apple has never increased its commission rate, despite the vastly increased number of
        digital game transactions since the App Store was launched in 2008, and Apple has in fact
        reduced the commission rate significantly for most developers, and a further subset of apps.

507.    Nor has Epic shown any anticompetitive effects through indirect evidence, because it
        cannot establish an “essential ingredient in a rule-of-reason case”: market power. Hahn v.
        Oregon Physicians’ Serv., 868 F.2d 1022, 1026 (9th Cir. 1988). Apple lacks market power
        both in the correct relevant market of digital game transactions and in Epic’s erroneous
        “iOS App Distribution” market.

508.    Market power under Section 1 requires a lesser showing than monopoly power under
        Section 2. Eastman Kodak Co. v. Image Technical Servs., Inc., 504 U.S. 451, 480 (1992).
        In the Ninth Circuit, “[c]ourts generally require a 65% market share to establish a prima
        facie case of market power.” Image Tech Servs., Inc. v. Eastman Kodak Co., 125 F.3d
        1195, 1206 (9th Cir. 1997), and “a market share of less than 50 percent is presumptively
        insufficient to establish market power,” Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421,
        1438 (9th Cir. 1995).

509.    As explained supra § III.B.i.a (¶¶ 229–36), Apple lacks market power in the relevant
        market for digital game transactions. Apple’s share of the market is, at its most
        conservative, 37.5%, FOF ¶ 493.2—far below the 50% market share threshold the Ninth
        Circuit has deemed presumptively insufficient to show market power. See Rebel Oil Co.
        v. Atl. Richfield Co., 51 F.3d 1421, 1438 (9th Cir. 1995). Apple does not have market
        power in the relevant market.

510.    Even if Epic could show market power, it would also have to prove “some other ground
        for believing that the challenged behavior could harm competition in the market, such as
        the inherent anticompetitive nature of the defendant’s behavior or the structure of
        the . . . market.” Tops Markets, Inc. v. Quality Markets, Inc., 142 F.3d 90, 97 (2d Cir.
        1998). As discussed above, there is no evidence of anticompetitive effects here: Prices
        are declining and output is increasing. See supra § III.B.i.c (¶¶ 284–98). And Epic has
        not shown that “new rivals are barred from entering the market and . . . that existing
        competitors lack the capacity to expand their output.” Rebel Oil Co. v. Atl. Richfield Co.,
        51 F.3d 1421, 1439 (9th Cir. 1995). On the contrary, new competitors like Nvidia’s
        GeForce Now are constantly entering the game app transaction market, and there is nothing


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        preventing Apple’s current competitors, including Microsoft and Sony, from adopting new
        business strategies to expand their market share.

511.    Likewise, even under Epic’s erroneous “iOS App Distribution” market, for the reasons
        already stated, supra § III.B.i.a (¶¶ 237–45), Apple lacks market power.

                        Apple’s Conduct Has Many Procompetitive Business Justifications36

512.    Even if Epic could carry its initial burden, Apple has carried its burden of showing
        “procompetitive rationale[s]” for its allegedly unlawful conduct. Ohio v. Am. Express Co.,
        138 S. Ct. 2274, 2284 (2018); In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid
        Cap Antitrust Litig., 958 F.3d 1239, 1256 (9th Cir. 2020) (if a plaintiff carries its initial
        burden, “the [defendant] must come forward with evidence of the restraint’s
        procompetitive effects”) (quotation marks omitted), cert. granted NCAA v. Alston, No. 20-
        512, 2020 WL 7366281 (Dec. 16, 2020). A procompetitive justification is “a nonpretextual
        claim that [the defendant’s] conduct is indeed a form of competition on the merits because
        it involves, for example, greater efficiency or enhanced consumer appeal.” FTC v.
        Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020).

513.    In cases involving two-sided transaction platforms, courts must consider procompetitive
        effects on both sides of the relevant market, Ohio v. Am. Express Co., 138 S. Ct. 2274,
        2285–86 (2018), because effects that may appear anticompetitive on one side of a market
        may present no “net harm,” and may even be procompetitive, when both sides of the market
        are considered, United States v. Am. Express Co., 838 F.3d 179, 206 (2d Cir. 2016), aff’d,
        138 S. Ct. 2274.

514.    Although Apple bears the burden in this context to show procompetitive business
        rationales, see Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018), Apple has met its
        burden by offering a multitude of procompetitive justifications for the design of iOS and
        the licensing terms of the DPLA, all of which are supported by substantial evidence, see
        supra § III.B.i.d (¶¶ 299–317). Epic’s allegations of pretext fail for the reasons described
        above. See supra § III.B.i.e (¶¶ 318–27).

                        Epic Has Not Identified Adequate Less Restrictive Alternatives to
                        Apple’s Policies37

515.    Once Apple has established procompetitive justifications for its policies and conduct, “the
        burden shifts back to [Epic] to demonstrate that the procompetitive efficiencies could be
        reasonably achieved through less anticompetitive means.” Ohio v. Am. Express Co., 138
        S. Ct. 2274, 2284 (2018); see also O’Bannon v. Nat’l Collegiate Athletic Ass’n, 802 F.3d
        1049, 1074 (9th Cir. 2015) (if the defendant shows a procompetitive rationale for the
        restraint, the burden shifts back to the plaintiff to demonstrate “substantially less restrictive
        alternatives to the [challenged restraints]”). “[T]o be viable . . . an alternative must be
36
     Procompetitive justifications are addressed in § 5.2.3, pages 30–31 of the Joint Elements
     Submission.
37
     Less restrictive alternatives are addressed in § 5.2.4, page 32 of the Joint Elements Submission.


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        virtually as effective in serving the procompetitive purposes of the [challenged restraints],
        and without significantly increased cost.” O’Bannon, 802 F.3d at 1074 (quotation marks
        omitted).

516.    “[C]ourts are not ‘free to micromanage organizational rules or to strike down largely
        beneficial market restraints.’” In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid
        Cap Antitrust Litig., 958 F.3d 1239, 1256 (9th Cir. 2020), cert. granted NCAA v. Alston,
        No. 20-512, 2020 WL 7366281 (Dec. 16, 2020). “[O]nly . . . where . . . a restraint is
        patently and inexplicably stricter than is necessary to accomplish all of its procompetitive
        objectives, an antitrust court can and should invalidate it and order it replaced with a less
        restrictive alternative.” O’Bannon v. Nat’l Collegiate Athletic Ass’n, 802 F.3d 1049, 1075
        (9th Cir. 2015) (emphasis in original).

517.    “[A] theoretically less restrictive alternative that is not realistic given business realities”
        does not suffice; “only alternatives that are practical in the business situation faced by” the
        defendant should be considered. U.S. Dep’t of Justice & Fed. Trade Comm’n, Antitrust
        Guidelines for Collaborations Among Competitors § 3.36(b) (2000); see also M & H Tire
        Co. v. Hoosier Racing Tire Corp., 733 F.2d 973, 987 (1st Cir. 1984) (a plaintiff cannot rely
        on “possible less restrictive alternatives” that are “more hypothetical than practical”).

518.    The “alternative” that Epic proposes is simply the ultimate relief it seeks in this case: A
        redesign of iOS to permit distribution of iOS apps other than through the App Store. Epic’s
        proffered alternative to Apple’s App Store policies would not sufficiently advance the
        procompetitive purposes behind Apple’s policies, and as such, must be rejected as a “less
        restrictive alternative.”

519.    Epic’s alternative involves barring Apple from restricting in any way (whether technical,
        contractual, financial, or otherwise) the distribution of iOS apps through distribution
        channels other than the App Store. See Remedies App’x A at 3–5. This alternative is an
        inadequate replacement for iOS’s current design for at least two reasons.

520.    First, the design of iOS enables Apple to receive a commission for its licensing of its
        intellectual property, whereas Epic’s alternative would encourage freeriding. One of the
        primary purposes of intellectual property law is to protect innovative assets, and
        accordingly, property holders enjoy the exclusive right to determine whether they want to
        license their technology to third-parties, and on what terms. This right is essential to
        prevent third-parties from free-riding on the results of expensive and risky research and
        development, encourage the creation of new goods and services, increase output, and
        improve product quality. FOF ¶ 601.

521.    Apple has always protected its innovative technology and practices, expending
        considerable time and effort to obtain patents, trademarks, and copyrights, and to generate
        and protect trade secrets. FOF ¶¶ 89–89.4. Indeed, Apple has hundreds of patents and
        patent applications related to iOS and the App Store. Id. Although Apple is not required
        to do so, it has chosen to license some of this technology, under specific terms, to
        developers seeking to utilize that technology and develop apps for the App Store. Epic, as




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        a licensee, has used this valuable intellectual property in the development, promotion, and
        distribution of Fortnite on iOS.

522.    The “walled garden” design of iOS is part of what allows Apple to recoup its investment
        in its intellectual property and collect a royalty for the licensing of its intellectual property.
        By allowing for distribution of apps only through the App Store, Apple can ensure that
        developers cannot freeride on Apple’s innovation, because it is through the App Store that
        Apple charges its commission (on paid downloads and in-app digital transactions). FOF
        ¶ 596. Under Epic’s model, however, developers could distribute iOS apps—and therefore
        benefit from Apple’s intellectual property—without going through the App Store and
        therefore evading the mechanism for paying a fee for the licensing of Apple’s intellectual
        property. Although Apple could still require that developers distributing iOS apps through
        other platforms pay a commission to Apple as a licensing fee, its ability to enforce and
        police that requirement would be severely limited.

523.    Epic’s contention that free-riding cannot be a problem in this context because macOS,
        which does not use a “walled garden” business model, does not have similar free-riding
        problems is incorrect. iOS and macOS—as well as the Mac App Store—employ
        fundamentally different business models and are designed in fundamentally different ways.
        FOF ¶¶ 68–70; see also supra § III.B.i.b (¶ 50). For one thing, the Mac App Store was
        designed against a backdrop of settled expectations about how software would be
        distributed for macOS, and it was therefore commercially challenging for Apple to protect
        its intellectual property to the same extent it has done through iOS. FOF ¶ 72. But that
        Apple has managed to cope with a more open ecosystem for one platform does not mean
        that it would not be harmed if it were forced to license all of its intellectual property across
        all platforms on the same terms.

524.    Second, Epic’s alternative would degrade security, privacy, and reliability. Allowing
        “sideloading”—that is, the distribution of apps directly onto a device without going through
        the App Store—would diminish security and reliability for users, who would no longer be
        guaranteed a safe and secure environment for downloading apps that actually work. FOF
        ¶¶ 73–73.2. This could also diminish consumer confidence in security, which could reduce
        consumer demand and thereby harm developers too. FOF ¶ 588. Consumers who use
        macOS understand and accept those risks in the context of a desktop computer, but may
        not want to accept those risks on a personal iOS device, which may contain sensitive and
        personal information. FOF ¶ 68.

525.    Apple’s business judgment that it should install more rigorous and restrictive protections
        for information stored on iOS devices than on macOS devices is protected by law. Apple
        has implemented on iOS certain security measures—including the “walled garden”—that
        go beyond what it implemented for macOS. The question, for purposes of evaluating a
        less restrictive alternative, is not whether Apple could adopt a different business model
        (here, opting for a less secure device in exchange for permitting alternative transaction
        platforms) and still be profitable. Instead, the question is whether Apple could achieve the
        same procompetitive efficiencies (here, consumer security and privacy) through less
        restrictive means. See Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018). The



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        evidence shows that the answer here is no: Even Epic’s experts admit that Apple’s curation
        of apps distributed through the App Store adds security.

526.    The “stores within stores” model—that is, the distribution of apps through platforms other
        than the App Store—also would inhibit security. Such a model would directly interfere
        with Apple’s app review process, which is designed to make sure that the best apps rise to
        the top. As Mr. Sweeney himself has recognized, apps distributed through alternative
        stores would not necessarily be reviewed by Apple, but instead might be reviewed by
        operators of third-party stores who lack the resources, expertise, or incentive to conduct
        the level of review and analysis of app submissions that Apple does. FOF ¶ 609

527.    Crucially, Epic’s proposed relief appears to prohibit Apple from setting minimum
        guidelines or otherwise screening or reviewing alternative transaction platforms offered for
        distribution through the App Store (and apps distributed through those transaction
        platforms), even if those platforms contained harmful and offensive content. See Dkt.
        276-1, Appendix A at 5. Epic’s relief thus seeks to prevent Apple from regulating or acting
        upon alternative transaction platforms in any way that would distinguish it. But one of
        Apple’s competitive advantages is that its products are not just safe, but safer than its
        competitors’ products, due in no small part to its high-quality app review process. FOF
        ¶ 607. The stores within stores model would, to a large extent, eliminate that advantage.
        FOF ¶ 610.

528.    Epic’s argument that offering alternative transaction platforms would help increase
        demand for the App Store and thereby create value for Apple is wrong because it entirely
        ignores that independent transaction platforms would have different incentives and
        capabilities relative to protecting consumer security and privacy than Apple. And
        consumers could attribute any negative results of low-quality apps received through
        alternative transaction platforms, such as malware or data leaks, to Apple, directly
        degrading the value of Apple’s brand.

529.    For these reasons, Epic’s proposed alternative is woefully lacking and would not be
        “virtually as effective” at ensuring that Apple’s procompetitive rationales for its policies
        are met. O’Bannon v. Nat’l Collegiate Athletic Ass’n, 802 F.3d 1049, 1074 (9th Cir. 2015)
        (quotation marks omitted). As a result, even if the Court reached step three of the rule of
        reason analysis, Epic would be unable to carry its burden, and its Section 1 claim would
        fail.

        iv.    Sherman Act Section 1 – Unreasonable Restraint of Trade in the “iOS
               In-App Payment Processing Market” (Epic Count 5)

530.    In Count 5, Epic claims that Apple has unreasonably restrained trade in the “iOS In-App
        Payment Processing Market” by requiring developers to “use Apple’s In-App Purchase for
        in-app purchases of in-app content to the exclusion of any alternative solution or third-
        party payment processor.” Dkt. 1 ¶ 227.

531.    This claim fails for substantially the same reasons that Count 3 fails.




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532.    First, as a threshold matter, Epic’s “concerted action” argument for this Count is identical
        to its concerted-action argument for Count 3, and cannot succeed for the reasons articulated
        supra § III.C.ii.a (¶¶ 490–502). An agreement is a required element of a Section 1 claim,
        and without one, Count 5 falls. See Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d
        1171, 1178 (9th Cir. 2016).

533.    Second, Epic could not prevail on Count 5 under the rule of reason analysis. For the rule
        of reason legal framework, see supra § III.C.ii.b (¶¶ 503–530).

534.    At step one, for the reasons stated supra § III.B.ii.c (¶¶ 343–51), Epic has adduced no
        evidence showing that Apple’s IAP functionality has had any anticompetitive effects. At
        step two, once again for the reasons stated supra § III.B.ii.d (¶¶ 352–73), Apple has
        proffered several procompetitive justifications for the terms of the DPLA relating to IAP:
        IAP allows Apple to collect its commission seamlessly and is the means through which
        Apple collects a royalty for the use of its intellectual property; IAP provides a safe and
        secure means for consumers to execute transactions; IAP allows Apple to offer consumers
        a convenient way to execute and track transactions; and IAP provides benefits to
        developers by assisting them with currency conversion, conducting credit-worthiness
        checks, and generally increasing the value of the App Store.

535.    At step three, Epic has identified no adequate less restrictive alternative for Apple’s use of
        IAP. The only alternative that Epic proposes is that Apple be barred from restricting or
        deterring in any way “the use of in-app payment processors other than IAP.” Remedies
        App’x at 6. This proposed alternative is deficient.

536.    First, IAP is the method through which Apple collects its licensing fee from developers for
        the use of its intellectual property. FOF ¶ 680. Although Apple could still charge a
        commission on developers even without IAP, it would be difficult for Apple to police and
        collect that commission. FOF ¶ 701. Developers could thus potentially avoid the
        commission while benefitting from Apple’s innovation free of charge. As set forth above,
        see supra § III.B.ii.d (¶¶ 353–60), Apple is entitled to license its intellectual property for a
        fee, and to guard its intellectual property from uncompensated use by others. The
        requirement of usage of IAP accomplishes that aim, while Epic’s proposed alternative
        would undermine it.

537.    Second, if Apple could no longer require developers to use IAP for digital transactions,
        then iOS users would be forced to navigate a fragmented payment landscape, in which they
        might be required to use payment solutions that lack the safety and security of IAP with no
        good cause. FOF ¶ 703.

538.    Third, forcing consumers to use different payment solutions for each app would reduce the
        quality of the user experience and force iOS users to input payment information into
        multiple apps for digital transactions, rather than simply managing a single account through
        IAP. FOF ¶ 707. Not only would such an arrangement harm consumers, but it also would
        harm developers by weakening the value of the App Store as a whole.




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539.    To the extent Epic takes the position that its relief would bar Apple from receiving any
        commission at all on in-app purchases made using iOS, see, e.g., Remedies App’x 7, such
        a remedy is inconsistent with prevailing intellectual property law, Epic’s alternative would
        thus be legally impermissible, and would not serve the procompetitive purposes of Apple’s
        current policies and practices. See O’Bannon v. Nat’l Collegiate Athletic Ass’n, 802 F.3d
        1049, 1074 (9th Cir. 2015).

540.    For these reasons, Epic’s Section 1 claim relating to IAP must be rejected.

D.      Sherman Act Claims – Defenses

541.    Regardless of whether Epic can otherwise prevail on its Sherman Act claims, Apple has
        set forth several defenses that preclude liability in whole or in part.

542.    Apple has asserted 27 defenses. See Dkt. 66 at 36–41. Some of those defenses are
        addressed in detail below, whereas others relate to substantive elements of Epic’s claims
        and therefore are addressed elsewhere. An overview of each defense is set forth below.

        542.1 Failure to State a Cause of Action: The insufficiency of Epic’s allegations is
              discussed with respect to each cause of action.

        542.2 Legitimate Business Justification: With the exception of a per se tying claim (as to
              which legitimate business justification is an affirmative defense), anticompetitive
              effect is a substantive element of Epic’s claims on which Epic bears the ultimate
              burden. Apple’s procompetitive justifications for its conduct are addressed at §
              III.B.i.d (¶¶ 299–317), § III.B.ii.d (¶¶ 352–67).

        542.3 No Injury or Threatened Injury: Injury or threatened injury is a substantive element
              of Epic’s claims on which Epic bears the ultimate burden. The absence of injury
              or threatened injury to Epic is addressed at § III.A.iii (¶¶ 183–86).

        542.4 No Entitlement to Injunctive Relief: Epic’s entitlement to injunctive relief is a
              substantive element of Epic’s prayer for relief on which Epic bears the ultimate
              burden. Specific equitable defenses (e.g., unclean hands) are addressed elsewhere.
              Epic’s entitlement to injunctive relief is dependent upon its prevailing on liability,
              and is addressed specifically at § V.B. (¶¶ 637–734).

        542.5 Causation: Causation is a substantive element of Epic’s claims on which Epic bears
              the ultimate burden. Causation is addressed at § III.A.iii (¶¶ 183–86).

        542.6 Foreign Trade Antitrust Improvements Act (FTAIA): The FTAIA is a limitation on
              the scope of the Sherman Act, under which Epic bears the burden of showing an
              exception. The FTAIA is addressed at § III.A.iv (¶¶ 187–96).

        542.7 Doctrine of International Comity: International comity is a limitation on the scope
              of the Sherman Act. International comity is addressed at § III.A.iv (¶¶ 197–200).




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 542.8 Ratification, Agreement, Acquiescence, Consent:           Ratification, agreement,
       acquiescence, and consent are alternative formulations of waiver and estoppel, and
       are addressed at § III.D.ii (¶¶ 554–60), § IV.C.i (¶¶ 627–30).

 542.9 Statute of Limitations: Statute of limitations is addressed at § III.D.iii (¶¶ 561–71),
       § IV.C.ii (¶ 631–33).

 542.10 Lack of Standing: Standing is a threshold requirement of Epic’s claims on which
        Epic bears the ultimate burden. Standing is addressed at § III.A.iii (¶¶ 183–86).

 542.11 Failure to Join Indispensable Party: Failure to join an indispensable party is
        addressed below at § III.D.i (¶¶ 544–53).

 542.12 Due Process: Epic’s proposed injunction, if entered, would constitute a
        government-sanctioned invasion or taking of Apple’s property rights without just
        compensation, in violation of the Due Process Clause and the Takings Clause. Due
        process is addressed at § V.B.iii.c (¶ 685).

 542.13 Indemnity: Indemnity is a substantive claim for relief on which Apple bears the
        ultimate burden. Indemnity is addressed at § VI.D (¶¶ 768–77), § VII.D (¶¶ 840–
        44).

 542.14 Protected Rights – Noerr-Pennington:           The Noerr-Pennington doctrine is
        addressed below at § III.D.iv (¶¶ 578–82).

 542.15 Protected Rights – Intellectual Property & Other Statutes: Apple’s rights protected
        by federal and state intellectual property laws are relevant to Epic’s claims and are
        discussed throughout. Federal patent and copyright laws are in pari materia with
        the antitrust laws and the latter may not be construed or applied in a way that
        diminishes or trenches upon the former. See Simpson v. Union Oil Co. of Cal., 377
        U.S. 13, 24 (1964). Intellectual property rights are discussed throughout, and are
        addressed specifically at § III.B.i.b (¶¶ 256–62, 274–83).

 542.16 Protected Rights – Contract: Apple’s rights protected by contract are discussed
        throughout, and are addressed specifically at § III.B.i.b (¶¶ 249–55).

 542.17 Laches: Laches is addressed below at § III.D.iii. (¶¶ 561–77), § IV.C.ii (¶¶ 631–
        33).

 542.18 Waiver: Waiver is addressed below at § III.D.ii (¶¶ 554–60), § IV.C.i (¶¶ 627–30).

 542.19 Estoppel: Estoppel is addressed below at § III.D.ii (¶¶ 554–60), § IV.C.i (¶¶ 627–
        30).

 542.20 Unclean Hands: The doctrine of unclean hands is addressed at § V.B.iii.e (¶¶ 693–
        700).




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        542.21 Non-justiciability: The inappropriateness of asking a federal court to dictate a
               specific business model for a competitor is addressed at § V.B.i (¶¶ 646–53),
               § V.B.iv (¶¶ 703–11).

        542.22 Not Unlawful, Unfair, or Fraudulent: Unlawful, unfair, or fraudulent conduct is a
               substantive element of Epic’s claims on which Epic bears the ultimate burden.
               Unlawful, unfair, or fraudulent conduct is addressed at § IV.B (¶¶ 601–26).

        542.23 Waiver of Damages: Epic has affirmatively, unequivocally, and irrevocably
               waived any claim for damages. Separate discussion of this defense is not necessary
               at this time.38

        542.24 Election of Remedies: Separate discussion of this defense is not necessary at this
               time, however, Epic’s election to pursue only injunctive relief is relevant to the
               issues of irreparable harm and adequate remedies at law, which are addressed at
               §§ V.B.iii.a–V.B.iii.b (¶¶ 669–82).39

        542.25 Effective Opt-Out: Epic has opted out from Cameron v. Apple Inc., No. 19-3074
               (N.D. Cal.), and therefore may not benefit from any judgment in that class action
               irrespective of the outcome of this suit. Separate discussion of this defense is not
               necessary at this time.40

        542.26 No Entitlement to Interest, Attorney’s Fees, or Costs: Epic’s entitlement to interest,
               attorneys’ fees, and costs is a substantive element of its claims on which Epic bears
               the ultimate burden. Separate discussion of this issue is not necessary at this time.41

        ii.     Failure to Join an Indispensable Party (All Epic Counts)42

543.    Federal Rule of Civil Procedure 19 “establishes two broad categories of required parties.”
        Ward v. Apple Inc., 791 F.3d 1041, 1048 (9th Cir. 2015).

544.    First, a party is “required” if, “in that person’s absence, the court cannot accord complete
        relief among existing parties.” Ward v. Apple Inc., 791 F.3d 1041, 1048 (9th Cir. 2015)
        (quoting Fed. R. Civ. P. 19(a)(1)(A)). “[T]he equitable relief sought in an action may make

38
     Apple reserve the right to assert this defense if Epic attempts to alter its prayer for relief to
     include damages.
39
     Apple reserves the right to assert this defense if Epic attempts to alter its prayer for relief to
     include damages.
40
     Apple reserves the right to assert this defense if Epic attempts to benefit from any relief issued
     in Cameron v. Apple Inc., No. 19-3074 (N.D. Cal.).
41
     Apple reserves the right to assert this issue if Epic prevails on its claims and seeks interest,
     attorneys’ fees, and/or costs.
42
     Failure to join an indispensable party is addressed in § 17.1, page 122 of the Joint Elements
     Submission.


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        an absent party required.” Id. at 1049. For instance, “all parties who may be affected by a
        suit to set aside a contract must be present.” Northrop Corp. v. McDonnell Douglas Corp.,
        705 F.2d 1030, 1044 (9th Cir. 1983).

545.    Second, a “party is required if: that person claims an interest relating to the subject of the
        action and is so situated that disposing of the action in the person’s absence may: (i) as a
        practical matter impair or impede the person’s ability to protect the interest; or (ii) leave an
        existing party subject to a substantial risk of incurring double, multiple, or otherwise
        inconsistent obligations because of the interest.” Ward v. Apple Inc., 791 F.3d 1041, 1048
        (9th Cir. 2015) (quoting Fed. R. Civ. P. 19(a)(1)(B)). The party asserting the absence of a
        necessary party bears the burden of persuasion. Makah Indian Tribe v. Verity, 910 F.2d
        555, 558 (9th Cir. 1990).

546.    Epic International is a necessary party to this litigation because Epic has sought (and
        preliminarily obtained) equitable relief inuring to the benefit of Epic International.

547.    At the preliminary injunction stage, Epic sought relief restraining Apple “from taking any
        adverse action against Epic, including but not limited to restricting, suspending, or
        terminating any other Apple Developer Program account of Epic or its affiliates.” Dkt.
        61-36 at 3 (emphasis added). Epic sought that relief because Epic International, not Epic,
        is the signatory for the account associated with Unreal Engine. FOF ¶ 250. The Court
        granted that portion of the relief, and expressly included Epic International within the scope
        of that relief. See Dkt. 118 at 3, 38. Now, in its request for permanent relief, Epic requests
        “that the Court permanently enjoin Apple from taking any retaliatory actions against Epic
        or any of its affiliates in connection with or based on Epic’s filing of this Action, the August
        2020 enablement of a direct payment option in Fortnite, or the steps Epic took to enable
        that option.” Dkt. 276-1, Appendix A at 7 (emphasis added).

548.    Epic International could have, but did not, join Epic as a plaintiff in this action, and having
        elected not to do so, it cannot benefit from the relief that Epic requests. That is particularly
        true because the effect of the relief Epic seeks would be to set aside the DPLA (or at least
        those terms of the DPLA with which Epic disagrees) and preclude Apple from enforcing
        its rights under the contract. But “all parties who may be affected by a suit to set aside a
        contract must be present.” Northrop Corp. v. McDonnell Douglas Corp., 705 F.2d 1030,
        1044 (9th Cir. 1983). Apple’s contract with Epic International may not be set aside, in
        whole or in part, if Epic International is not a party to the case.

549.    Importantly, Apple pleaded this affirmative defense in its Answer to the Complaint, Dkt.
        66 at 38, and pointed out in the hearing on the temporary restraining order that Epic
        International “is an independent corporation” that “isn’t represented here,” and for which
        “no filings have been made.” Hr’g Tr. 31:2–9 (Aug. 24, 2020). Yet Epic has never sought
        leave to amend its Complaint to add Epic International as a party, and in fact represented
        to the Court that it would not be amending its Complaint. See Hr’g Tr. 8:14 (Sept. 28,
        2020). Epic may not now seek to belatedly amend its Complaint to cure a defect of which
        it has been aware for months.




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550.    Because Epic International is not a party to the case, the Court cannot award Epic
        International any relief with respect to its developer account or the Unreal Engine. Unreal
        Engine is not distributed, owed, or licensed by Epic—the actual plaintiff in this litigation—
        but rather is licensed by Epic International. While the two companies are related, “it is
        long settled as a matter of American corporate law that separately incorporated
        organizations are separate legal units with distinct legal rights and obligations.” Agency
        for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc., 140 S. Ct. 2082, 2087 (2020). The
        Court therefore may not enjoin Apple from terminating Epic International’s developer
        account.

551.    Awarding Epic International relief in a case in which it is not a plaintiff would also be
        inequitable. Epic International, as a non-party, would not be bound by any judgment in
        this case adverse to Epic. See Blonder-Tongue Labs., Inc. v. Univ. of Ill. Found., 402 U.S.
        313, 329 (1971). Epic thus cannot rely on Epic International and its products and services
        to prove its own claims—if Epic International has claims, it must assert them in its own
        name.

552.    Thus, to the extent Epic seeks to rely on Epic International’s products or services, or its
        contractual relationship with Apple, or the purported harm to Epic International as a basis
        for injunctive relief, Epic International is an indispensable party, and pursuant to Rule 19,
        such contentions must be dismissed.

        iii.    Waiver and Estoppel (Epic Counts 1–6)43

553.    Even if Epic could otherwise prevail on its Sherman Act claims, its claims are foreclosed
        by the defenses of waiver and estoppel.

554.    “[W]aiver is the intentional relinquishment or abandonment of a known right.” Honcharov
        v. Barr, 924 F.3d 1293, 1295 n.1 (9th Cir. 2019) (quotation marks omitted).

555.    To establish an equitable estoppel defense, a plaintiff must prove that “(1) [the defendant]
        was aware of the true facts; (2) [the defendant] intended its representation to be acted on
        or acted such that the plaintiff[] had a right to believe it so intended; (3) the plaintiff[] was
        ignorant of the true facts; and (4) the plaintiff[] relied on [the defendant’s] representation
        to [its] detriment.” Acri v. Int’l Ass’n of Machinists & Aerospace Workers, 781 F.2d 1393,
        1398 (9th Cir. 1986).

556.    When contractual considerations are implicated, equitable estoppel “precludes a party from
        claiming the benefits of a contract while simultaneously attempting to avoid the burdens
        that contract imposes.” Comer v. Micor, Inc., 436 F.3d 1098, 1101 (9th Cir. 2006)
        (quotation marks omitted). Thus, a court may “refuse to exercise” its jurisdiction over
        equitable claims



43
     Waiver and estoppel are addressed in §§ 17.2–17.3, pages 123–24 of the Joint Elements
     Submission.


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        [w]hen a party, with full knowledge, or at least with sufficient notice or means of
        his knowledge, of his rights, and of all the material facts, freely does what
        amounts to a recognition of the transaction as existing, or acts in a manner
        inconsistent with its repudiation, or lies by for a considerable time, and knowingly
        permits the other party to deal with the subject-matter under the belief that the
        transaction has been recognized, or freely abstains for a considerable length of
        time from impeaching it, so that the other party is thereby reasonably induced to
        suppose that it is recognized.

        Simmons v. Burlington, C.R. & N.R. Co., 159 U.S. 278, 291 (1895) (quotation marks
        omitted); see also United States v. Ga.-Pac. Co., 421 F.2d 92, 96 (9th Cir. 1970)
        (equitable estoppel “absolutely preclud[es]” claims “both at law and equity”).
557.    Before instituting this lawsuit, Epic had been operating pursuant to the terms of the DPLA
        for ten years. FOF ¶ 252. During that time, Epic reaped the benefits of its relationship
        with Apple—it developed its apps for compatibility with iOS using Apple’s SDKs,
        distributed Fortnite to over 100 million iOS users through the App Store (to say nothing of
        the other games Epic distributed through the App Store to iOS users), and took in over
        $700 million in revenue from Fortnite alone through iOS. FOF ¶ 264. In all of that time—
        while it was building its brand on the back of Apple’s customer base and proprietary
        intellectual property—it never contended that it was not required to abide by the terms of
        the DPLA because of any purported antitrust concerns. In fact, Epic renewed its DPLA
        with Apple on June 30, 2020—the very same day it sent a letter to Apple demanding a
        change in the longstanding terms of access. FOF ¶ 276. Less than two months later, Epic
        activated the “hotfix” and began bypassing IAP. FOF ¶¶ 298–300. Epic thus knew when
        it renewed its DPLA that it intended to breach it.

558.    Epic’s lawsuit amounts to no more than an effort to avoid the consequences of the contract
        that it agreed to and abided by, despite reaping the benefits of its relationship with Apple
        for years. This is a bare attempt to “claim[] the benefits of a contract while simultaneously
        attempting to avoid the burdens that contract imposes.” Comer v. Micor, Inc., 436 F.3d
        1098, 1101 (9th Cir. 2006) (quotation marks omitted). Epic cannot claim that it did not
        previously have knowledge of the relevant facts giving rise to its antitrust claims, nor that
        its conduct prior to this dispute could be viewed as anything other than an acquiescence to
        the terms agreed to between it and Apple. The relevant contract provisions have not
        changed in the intervening years. FOF ¶ 396. And Apple relied on that acquiescence to
        permit Epic access to its intellectual property, and to help Epic reach more consumers and
        offer more content.

559.    Thus, even if Epic could otherwise prevail on its Sherman Act claims, its request for relief
        is barred by the doctrines of waiver and estoppel.

        iv.     Limitations on Actions (Epic Counts 1–6)44

560.    Epic’s Sherman Act claims are also barred as untimely pursuant to the doctrine of laches.


44
     Limitations on actions are addressed in § 17.4, pages 125–26 of the Joint Elements Submission.


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               b.      Four-Year Limitations Period

561.    Although the statute of limitations on damages claim under Section 4 of the Clayton Act is
        four years, there is no statute of limitations for injunctive-relief claims under Section 16 of
        the Clayton Act. See Oliver v. SD-3C LLC, 751 F.3d 1081, 1085 (9th Cir. 2014). Such
        claims are, however, “subject to the equitable defense of laches.” Id.

562.    “Laches is an equitable defense that prevents a plaintiff, who with full knowledge of the
        facts, acquiesces in a transaction and sleeps upon his rights” from obtaining equitable relief.
        Danjaq LLC v. Sony Corp., 263 F.3d 942, 950–51 (9th Cir. 2001) (quotation marks
        omitted). To compute the laches period for Sherman Act claims that pursue equitable relief
        under the Clayton Act, courts use Section 4B’s four-year statute of limitations as a
        guideline. See Oliver v. SD-3C LLC, 751 F.3d 1081, 1086 (9th Cir. 2014).

563.    A cause of action in antirust ordinarily “accrues each time a plaintiff is injured by an act of
        the defendant and the statute of limitations runs from the commission of the act.” Oliver
        v. SD-3C LLC, 751 F.3d 1081, 1086 (9th Cir. 2014) (alteration and quotation marks
        omitted).

564.    Application of the presumptive four-year limitation renders Epic’s Sherman Act claims
        untimely. Epic first entered into the DPLA in 2010. FOF ¶ 252. It has asserted no material
        change in the terms of that agreement or in Apple’s business design since then that would
        give rise to an antitrust claim that it could not have asserted in 2010. Accordingly, if Epic
        had a viable claim now, it would have had the same claim when it first agreed to the DPLA
        and joined the App Store in 2010, and it would have had four years to bring suit on that
        claim. Instead of asserting a claim then, it waited (and profited from its relationship with
        Apple) until 2020 to file this suit, well outside the presumptive four-year limitations period
        for Section 16 claims.

               c.      Exceptions to the Four-Year Limitations Period

565.    Although claims for injunctive relief under the Clayton Act generally cannot be brought
        more than four years after the challenged anticompetitive conduct, “there are recognized
        exceptions to this general rule.” Oliver v. SD-3C LLC, 751 F.3d 1081, 1086 (9th Cir. 2014).

566.    First, “in the context of a continuing conspiracy to violate the antitrust laws, each time a
        plaintiff is injured by an act of the defendant[,] a cause of action accrues to him to recover
        the damages caused by that act.” Oliver v. SD-3C LLC, 751 F.3d 1081, 1086 (9th Cir.
        2014) (alterations and quotation marks omitted). Under this exception, “[i]n order to restart
        the statute of limitations, there must be a new overt act that: (1) is new and independent
        and not merely a reaffirmation of a previous act, and (2) inflicts new and accumulating
        injury on the plaintiff.” Id. (alterations and quotation marks omitted). This “continuing
        violation” exception means that “each time a defendant sells its price-fixed product, the
        sale constitutes a new overt act causing injury to the purchaser and the statute of limitations
        runs from the date of the act.” Id. “However, the mere fact that [a party] receive[s] a
        benefit today as a result of [previous alleged anticompetitive conduct] is not enough to




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        restart the statute of limitations.” Aurora Enters., Inc. v. Nat’l Broad. Co., 688 F.2d 689,
        694 (9th Cir. 1982).

567.    Second, “the limitations period may start to run after the defendant’s initial violation of the
        antitrust law, if it is ‘uncertain’ or ‘speculative’ whether the defendants’ antitrust violation
        has injured the plaintiff at the time of the violation.” Oliver v. SD-3C LLC, 751 F.3d 1081,
        1086 (9th Cir. 2014) (quotation marks omitted).

568.    The continuing violation doctrine does not apply here. There have been no new “overt
        acts” since 2010 giving rise to an antitrust claim—Apple’s policies and procedures
        regarding the App Store have remained unchanged in relevant part during that entire time
        period. In fact, Apple has introduced numerous reductions to what had been a flat 30%
        commission rate, dispelling any notion of additional anticompetitive conduct in the
        intervening years. FOF ¶¶ 159–176.

569.    The fact that Apple continues to curate iOS apps and continues to collect its commission
        through IAP is not sufficient to invoke the continuing violation doctrine. The continuing
        violation doctrine does not apply simply because allegedly anticompetitive conduct
        predating the limitations period continues into the limitations period—there must be a new
        “overt act” within the limitations period. See In re Animation Workers Antitrust Litig., 87
        F. Supp. 3d 1195, 1212–13 (N.D. Cal. 2015) (holding insufficient the allegation that an
        agreement not to poach competitors’ employees depressed employees’ salaries into the
        limitations period); Ryan v. Microsoft Corp., No. 14-CV-4634, 2015 WL 1738352, at *13–
        14 (N.D. Cal. Apr. 10, 2015) (same). Likewise, “the passive receipt of profits from an
        illegal contract by an antitrust defendant is not an overt act of enforcement which will
        restart the statute of limitations.” Eichman v. Fotomat Corp., 880 F.2d 149, 160 (9th Cir.
        1989). The contractual and technical restrictions of which Epic complains were put in
        place long ago and have never been materially altered. Epic’s allegation that those same
        restrictions remain in place today is not enough to establish a new “overt act” within the
        limitations period.

570.    Nor can Epic qualify under the exception for uncertain injury. To the extent Epic can be
        said to have suffered injury at all, any injury today is the same as it would have been in
        2010, namely, that Epic purportedly cannot open up its own competing app stores for iOS
        apps or use its own payment processing service. The continuing violation doctrine does
        not apply.

               d.      Equitable Bar

571.    In addition to provide a presumptive four-year period in which to bring Section 16 claims,
        the equitable doctrine of laches also operates to bar an otherwise timely suit in certain
        circumstances. As relevant here, laches “prevents a plaintiff, who with full knowledge of
        the facts, acquiesces in a transaction and sleeps upon his rights” from obtaining equitable
        relief. Danjaq LLC v. Sony Corp., 263 F.3d 942, 950–51 (9th Cir. 2001) (quotation marks
        omitted).




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572.    In the antitrust context, the doctrine of laches is necessary, because without it, “a plaintiff
        under [Section] 16 could seriously interfere with a rival’s business operations, at a time of
        the plaintiff’s own choosing, yet the public would enjoy none of the safeguards of the
        public-interest standards and expertness which presumably guide the government when it
        is a plaintiff.” Int’l Tel. & Tel. Corp. v. Gen. Tel. & Elec. Corp., 518 F.2d 913, 926–27
        (9th Cir. 1975), disapproved of on other grounds by California v. American Stores Co.,
        495 U.S. 271 (1990). The Ninth Circuit has thus indicated that Congress did not “intend[],
        in passing [Section] 16 of the Clayton Act, to permit potential plaintiffs to sleep through
        their competitors’ antitrust violations and then sue many years later.” Id. at 927. “The
        potential for economic disruption is so great that when placed in private hands it should be
        circumscribed by the requirement that injunction-seeking plaintiffs act with reasonable
        promptness unless excused by equitable considerations.” Id.

573.    This formulation of the doctrine of laches fits the circumstances here to a T. Epic has
        benefitted from its relationship with Apple for over ten years. Epic does not claim that the
        facts giving rise to its Sherman Act claims have materially changed in the preceding years,
        or that it could not have brought this suit before it did. Instead, it “sle[pt] on its rights,”
        building its brand through Apple’s intellectual property and inducing Apple to give it
        access to iOS and the millions of consumers who use it. Yet now, with its flagship game
        dying out (FOF ¶¶ 268–69), Epic must find a new way to compete. It initiated its “Project
        Liberty” campaign as a means of reducing the price for which it must pay for the use of
        Apple’s intellectual property, and initiated this litigation under the pretense that it simply
        wants to aid competition, not to boost its own profit margins.

574.    Equity disfavors such a strategy and will not reward opportunistic plaintiffs who fail to
        timely assert their rights, asserting paradigm-altering claims like those raised here only
        when it suits them. The “potential for economic disruption” here, were Epic permitted to
        obtain the injunctive relief it seeks, is substantial. Int’l Tel. & Tel. Corp. v. Gen. Tel. &
        Elec. Corp., 518 F.2d 913, 927 (9th Cir. 1975), disapproved of on other grounds by
        California v. American Stores Co., 495 U.S. 271 (1990). And it is made all the more
        substantial by the fact that Epic induced Apple to continue to make significant investments
        in the App Store (and, consequently, Epic’s iOS-compatible products) for the past ten
        years.

575.    Indeed, Epic’s lawsuit does not appear to be motivated by the “discovery” of a heretofore
        unknowable “injury,” but rather by a commercial desire to boost its revenue in the face of
        falling profits. FOF ¶¶ 268–69. Rather than simply bring an antitrust lawsuit, Epic first
        embarked on a calculated campaign to market itself as the people’s hero. FOF ¶¶ 280–87.
        Through “Project Liberty,” Epic implemented a surreptitious “hotfix” to bypass IAP and
        avoid the 30% commission rate that it had contractually agreed to in the DPLA. FOF
        ¶¶ 268–300. Epic’s lawsuit was not spurred by a recognition of purported “injury,” but
        rather is part of its public relations campaign.

576.    Thus, even if Epic’s claims could be saved by the continuing violation doctrine, Epic failed
        to promptly assert its rights, and cannot now obtain the sweeping equitable relief it seeks.




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        v.      Noerr-Pennington Doctrine (All Epic Counts)

577.    To the extent Epic’s claims are premised on Apple’s assertion of its contractual rights in
        this lawsuit, that aspect of Epic’s claims is foreclosed by the Noerr-Pennington doctrine.

578.    The Noerr-Pennington doctrine arises from the First Amendment right to “petition the
        Government for a redress of grievances,” U.S. Const. amend. I, and insulates from antitrust
        scrutiny undertaken in furtherance of that constitutional right, see United Mine Workers v.
        Pennington, 381 U.S. 657, 669–70 (1965); E. R.R. Presidents Conference v. Noerr Motor
        Freight, Inc., 365 U.S. 127, 137–38 (1961). “The doctrine extends to all three branches of
        government, and thus also exempts bringing a lawsuit—that is, petitioning a court—from
        antitrust liability.” Freeman v. Lasky, Hass & Cohler, 410 F.3d 1180, 1183 (9th Cir. 2005).

579.    Apple has sought in this lawsuit a declaration that the Developer Agreement and the DPLA
        are enforceable, and that “Apple has the contractual right to terminate its Developer
        Agreement with any or all of Epic’s wholly owned subsidiaries, affiliates, and/or other
        entities under Epic’s control, including Epic International . . . , at any time and at Apple’s
        sole discretion.” Dkt. 66 at 63 ¶ 88.

580.    Meanwhile, Epic has sought an “anti-retaliation” provision in its proposed injunctive relief
        that would “permanently enjoin Apple from taking any retaliatory actions against Epic or
        any of its affiliates in connection with . . . the August 2020 enablement of a direct payment
        option in Fortnite, or the steps Epic took to enable that option.” Dkt. 276-1, Appendix A
        at 7.

581.    To the extent Epic’s request for an “anti-retaliation” provision is based in whole or in part
        on Apple’s decision to enforce its rights under the Developer Agreement and the DPLA
        through the declaratory relief it seeks in this suit, such relief is barred by the
        Noerr-Pennington doctrine.45

                                 IV.     Epic’s State-Law Claims

A.      Cartwright Act (Epic Counts 7–9)46

582.    Epic brings three claims under California’s Cartwright Act based on the same factual
        allegations as the three Sherman Act Section 1 claims.

            Count 7 (“Unreasonable Restraints of Trade in the iOS App Distribution
             Market” – Cartwright Act) corresponds to Count 3 (“Unreasonable Restraints
             of Trade in the iOS App Distribution Market” – Sherman Act § 1);

            Count 8 (“Unreasonable Restraints of Trade in the iOS In-App Payment
             Processing Market” – Cartwright Act) corresponds to Count 5 (“Unreasonable

45
     Apple reserves the right to further brief this defense depending on the arguments presented by
     Epic in its Proposed Conclusions of Law and at trial.
46
     The Cartwright Act is addressed in § 10, pages 84–87 of the Joint Elements Submission.


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              Restraints of Trade in the iOS In-App Payment Processing Market” – Sherman
              Act § 1); and

             Count 9 (“Tying in the App Store in the iOS App Distribution Market to In-App
              Purchase in the iOS In-App Payment Processing Market” – Cartwright Act)
              corresponds to Count 6 (“Tying in the App Store in the iOS App Distribution
              Market to In-App Purchase in the iOS In-App Payment Processing Market” –
              Sherman Act § 1).

583.    The Cartwright Act makes “unlawful, against public policy and void” “every trust,”
        defined as “a combination of capital, skill, or acts by two or more persons . . . [t]o create
        or carry out restrictions in trade or commerce.” Cal. Bus. & Prof. Code §§ 16720, 16726.

584.    Although “[i]nterpretations of federal antitrust law are at most instructive, not conclusive,
        when construing the Cartwright Act,” Aryeh v. Canon Business Sols., Inc., 55 Cal. 4th
        1185, 1195 (2013), where a plaintiff does not raise specific distinctions between the
        Cartwright Act and the Sherman Act, courts analyze federal and state claims together
        pursuant to federal antitrust law, see, e.g., name.space, Inc. v. Internet Corp. for Assigned
        Names & Numbers, 795 F.3d 1124, 1131 n.5 (9th Cir. 2015) (post-Aryeh decision
        concluding that “the analysis under the Cartwright Act . . . is identical to that under the
        Sherman Act”); Jones v. Micron Tech. Inc., 400 F. Supp. 3d 897, 922 (N.D. Cal. 2019)
        (treating Cartwright Act claims as coextensive with the Sherman Act where the parties
        identified no material differences); Samsung Elec. Co., Ltd. v. Panasonic Corp., No.
        10-CV-308, 2015 WL 10890655, at *8 (N.D. Cal. Sept. 30, 2015) (same).

585.    Epic has not identified any differences between the Cartwright Act and the Sherman Act
        that would allow it to prevail on its Cartwright Act claims even if its Sherman Act claims
        fail. It points to language in California cases stating that “[t]he Cartwright Act is broader
        in range and deeper in reach than the Sherman Act,” In re Cipro Cases I & II, 61 Cal. 4th
        116, 161 (2015) (quotation marks omitted), but does not explain what specific differences
        there are that would bear on this case. For instance, Cianci v. Superior Court, 40 Cal. 3d
        903 (1985), on which Epic relies, addressed the question whether the Cartwright Act
        applies to the medical profession. Id. at 916. It did not expand the Cartwright Act in a way
        that would affect the claim asserted here.

586.    Accordingly, if Epic’s Sherman Act claims fall (as they must), then Epic’s Cartwright Act
        claims likewise fail.

        ii.      Epic’s Cartwright Act Claims Fail for Lack of Concerted Action

587.    Even to the extent the Cartwright Act may differ in some ways from the Sherman Act,
        Epic’s claims under the Cartwright Act fail for lack of concerted action. Although Epic’s
        Section 1 Sherman Act claims also fail for lack of concerted action, California law imposes
        a higher bar for concerted action that Epic cannot overcome even if it otherwise prevails
        on its Section 1 Sherman Act claims.




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588.    Epic’s Cartwright Act claims fail because they challenge only unilateral conduct. The
        Cartwright Act applies only to an unlawful “combination of capital, skill or acts by two
        more persons.” Cal. Bus. & Prof. Code § 16720. The court in In re Qualcomm Antitrust
        Litigation recognized that “the [Cartwright] Act does not cover ‘wrongful conduct on the
        part of a single entity.’” 292 F. Supp. 3d 948, 974 (N.D. Cal. 2017) (citation omitted).

589.    Here, all of Epic’s Cartwright Act claims must fail because the Cartwright Act does not
        impose liability for “wrongful conduct on the part of a single entity.” Bondi v. Jewels by
        Edwar, Ltd., 267 Cal. App. 2d 672, 678 (1968). The Cartwright Act, by its express terms,
        requires a “combination.” Cal. Bus. & Prof. Code § 16720.

590.    Epic challenges only unilateral conduct by Apple, namely the design and policies related
        to the App Store, iOS, and IAP. That is not enough to make out a Cartwright Act. See In
        re Apple iPod iTunes Anti-Trust Litig., No. 05-CV-00037, 2010 WL 2629907, at *5 (N.D.
        Cal. 2010) (holding “a claim that fails to allege any combination is not cognizable under
        the Cartwright Act”).

591.    Epic is incorrect in asserting that the “combination” element of a Cartwright Act claim can
        be shown “where a supplier or producer, by coercive conduct, imposes restraints to which
        distributors involuntarily adhere,” quoting In re Qualcomm Antitrust Litigation, 292 F.
        Supp. 3d 948, 974 (N.D. Cal. 2017) (citation omitted). The “coercive conduct” mentioned
        in that case refers to concerted action cognizable only under Section 1 of the Sherman
        Act—a statute which itself requires an agreement between parties. See id. (quoting Kolling
        v. Dow Jones & Co., 137 Cal. App. 3d 709, 720 (1982)). And in Kolling, the court made
        clear that “[i]f a seller does no more than announce a policy designed to restrain trade, and
        declines to sell to those who fail to adhere to the policy, no illegal combination is
        established,” and that an illegal combination is formed only when “a supplier secures
        compliance with announced policies in restraint of trade by means which go beyond mere
        announcement of policy and the refusal to deal.” 137 Cal. App. 3d at 721. A plaintiff must
        therefore show that the retailer “was coerced into adhering to [the supplier’s] policy or that
        [it] acquiesced in it.” Dimidowich v. Bell & Howell, 803 F.2d 1473, 1478 (9th Cir. 1986),
        opinion modified on denial of reh’g, 810 F.2d 1517 (9th Cir. 1987); see Hanson v. Shell
        Oil Co., 541 F.2d 1352, 1357, n.4 (9th Cir. 1976) (“No violation is made out unless plaintiff
        can show that the supplier’s conduct rose to the level of coercion sufficient to deprive the
        dealers of their free choice.”). There is no such evidence or allegations here.

592.    For the same reason, Epic cannot rely on a monopoly maintenance theory of liability in its
        Cartwright Act claims. There is no analog in the statute to the Sherman Act’s prohibition
        on unilateral monopolistic conduct; the Cartwright Act “does not have any parallel to
        Sherman Act section 2’s anti-monopoly provisions.” Freeman v. San Diego Ass’n of
        Realtors, 77 Cal. App. 4th 171, 200 n.32 (1999); see also Dimidowich v. Bell & Howell,
        803 F.2d 1473, 1478 (9th Cir. 1986) (“This [monopoly] claim is not cognizable under the
        Cartwright Act, for it fails to allege any combination.”), opinion modified on denial of
        reh’g, 810 F.2d 1517 (9th Cir. 1987).




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593.    The Cartwright Act does not target unilateral conduct in maintenance of a monopoly, and
        in the absence of concerted action, Epic cannot prevail on its Cartwright Act claims under
        any theory of liability.

        iii.   Epic’s Cartwright Act Tying Claim Must Be Analyzed Under Section 16720
               (Epic Count 9)

594.    Epic’s claim under the Cartwright Act for unlawful tying fails for all of the reasons its
        Sherman Act Section 1 tying claim fails. See supra § III.C.i (¶¶ 423–86).

595.    A tying claim under the Cartwright Act may be asserted under Section 16720 of the
        Cartwright Act. If a plaintiff pursues a per se tying claim under Section 16720, the plaintiff
        must show: (1) “a tying agreement, arrangement or condition existed whereby the sale of
        the tying product was linked to the sale of the tied product or service”; (2) “the party had
        sufficient economic power in the tying market to coerce the purchase of the tied product”;
        (3) “a substantial amount of sale was affected in the tied product”; and (4) “the complaining
        party sustained pecuniary loss as a consequence of the unlawful act.” Morrison v. Viacom,
        Inc., 66 Cal. App. 4th 534, 541–42 (1998). These elements generally track that of a tying
        claim under Section 1 of the Sherman Act, see supra § III.C.i.a (¶¶ 426–30), and thus if
        Epic’s Sherman Act tying claim fails (as it does), so too does its tying claim under Section
        16720 of the Cartwright Act.

596.    Alternatively, a plaintiff may pursue a tying claim under Section 16727 of the Cartwright
        Act, which provides that “[i]t shall be unlawful for any person to lease or make a sale or
        contract for the sale of goods, merchandise, machinery, supplies, commodities for use
        within the State . . . on the condition, agreement or understanding that the lessee or
        purchaser thereof shall not use or deal in the goods, merchandise, machinery, supplies,
        commodities, or services of a competitor or competitors of the lessor or seller.” Cal. Bus.
        & Prof. Code § 16727. If a plaintiff pursues a per se tying claim under Section 16727, it
        may prevail if it shows either element (2) or (3) of a Section 16720 tying claim, along with
        elements (1) and (4).

597.    Section 16727 of the Cartwright Act does not apply when the tying product is a service, as
        opposed to a good. On its face, the statute includes “services” among the possible tied
        products, but excludes “services” when setting forth the possible tying product. See Cal.
        Bus. & Prof. Code § 16727. Courts have accordingly rejected tying claims under Section
        16727 where the alleged tying product is an intangible right or service instead of a tangible
        good. See, e.g., Morrison v. Viacom, Inc., 66 Cal. App. 4th 534, 548 (1998) (dismissing
        tying claim under Section 16727 because the statute “does not apply when the tying product
        is a service”); Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1032–34 (N.D. Cal. 2015)
        (concluding that alleged tying product must be a tangible good); Tele Atlas N.V. v. Navteq
        Corp., 397 F. Supp. 2d 1184, 1192 (N.D. Cal. 2005) (similar).

598.    Epic cannot take advantage of the standard for liability set forth in Section 16727 of the
        Cartwright Act regarding unlawful tying, because the alleged tying product here—“iOS
        app distribution”—is not a tangible good. Epic therefore can only prevail, if at all, under
        the Section 16720 standard for a per se tying claim.


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599.    Because, as set forth above, Epic’s tying claim under Section 1 of the Sherman Act fails,
        see supra § III.C.i (¶¶ 423–86), and its tying claim under the analogous Section 16720
        framework must also fail.

B.      California Unfair Competition Law (Epic Count 10)47

600.    Epic brings a claim under the California Unfair Competition Law (“UCL”), claiming that
        it “was unreasonably prevented from freely distributing mobile apps or its in-app payment
        processing tool.” Dkt. 1 ¶ 290. Epic claims that Apple’s conduct is both “unlawful” and
        “unfair” under the Unfair Competition Law. Id. ¶¶ 288, 289.

601.    The UCL prohibits business practices that constitute “unfair competition,” which is
        defined, in relevant part, as “any unlawful, unfair or fraudulent business act or practice.”
        Cal. Bus. & Prof. Code § 17200. Claims under the UCL are available to both business
        competitor and consumer plaintiffs. Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20
        Cal. 4th 163, 186–87 & n.12 (1999).

602.    To bring a claim under the UCL, a plaintiff must “(1) establish a loss or deprivation of
        money or property sufficient to quantify as injury in fact, i.e., economic injury, and (2)
        show that the economic injury was the result of, i.e., caused by, the unfair business
        practice.” Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 322 (2011) (emphases in original);
        see also Cal. Bus. & Prof. Code § 17204. The injury-in-fact requirement “incorporate[s]
        the established federal meaning” for “federal standing under article III.” Kwikset Corp.,
        51 Cal. 4th at 322, 324. A plaintiff therefore must show it (1) suffered an actual, or will
        suffer an imminent, concrete and particularized injury; (2) that this injury is fairly traceable
        to the defendant; and (3) that the injury is redressable. Lujan v. Defenders of Wildlife, 504
        U.S. 555, 560–561 (1992).

603.    The UCL’s money-or-property requirement demands “some form of economic injury.”
        Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 323 (2011). This “requirement is more
        difficult to satisfy than that of injury in fact.” Id. at 325. The California Supreme Court
        has identified at least four ways through “which economic injury from unfair competition
        may be shown.” Id. at 323. “A plaintiff may (1) surrender in a transaction more, or acquire
        in a transaction less, than he or she otherwise would have; (2) have a present or
        future property interest diminished; (3) be deprived of money or property to which he or
        she has a cognizable claim; or (4) be required to enter into a transaction, costing money or
        property, that would otherwise have been unnecessary.” Id.

604.    The statutory phrase “as a result of,” Cal. Bus. & Prof. Code § 17204, is given “its plain
        and ordinary” meaning, “requir[ing] a showing of a causal connection.” Kwikset Corp. v.
        Super. Ct., 51 Cal. 4th 310, 326 (2011). To satisfy this requirement, the alleged injury
        must derive from the defendant’s conduct, not the plaintiff’s own decision. Hall v. Time
        Inc., 158 Cal. App. 4th 847, 857 (2008).


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     The elements of the California Unfair Competition Law are addressed in § 11, page 88 of the
     Joint Elements Submission.


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        ii.     Apple’s Conduct Is Not Unlawful48

605.    Epic cannot proceed under the unlawful prong of the UCL because the same conduct is
        alleged to support Epic’s federal antitrust claims and its UCL claim, and Epic’s federal
        antitrust claims fail.

606.    Under the unlawful prong, the UCL “permits violations of other laws to be treated as unfair
        competition that is independently actionable.” AngioScore, Inc. v. TriReme Med., LLC, 70
        F. Supp. 3d 951, 961 (N.D. Cal. 2014); see also Cel-Tech Commc’ns, Inc. v. L.A. Cellular
        Tel. Co., 20 Cal. 4th 163, 180 (1999) (“By proscribing ‘any unlawful’ business practice,
        section 17200 borrows violations of other laws and treats them as unlawful practices.”).
        The law covers any conduct that “can properly be called a business practice and that at the
        same time is forbidden by law.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th
        1134, 1143 (2003). “Virtually any law—federal, state or local—can serve as a predicate
        for an action under Business and Professions Code section 17200.” Durell v. Sharp
        Healthcare, 183 Cal. App. 4th 1350, 1361 (2010).

607.    The parties agree that under the unlawful prong, Epic’s UCL claim rises and falls with its
        Sherman Act and Cartwright Act claims. See, e.g., Cascades Computer Innovation LLC v.
        RPX Corp., No. 12-CV-01143 YGR, 2013 WL 316023, at *15 (N.D. Cal. 2013); Datel
        Holdings Ltd. v. Microsoft Corp., 712 F. Supp. 2d 974, 999 (N.D. Cal. 2010).

608.    Because Apple’s conduct does not violate either the Sherman Act or the Cartwright Act,
        Epic’s claim under the UCL’s unlawful prong fails.

        iii.    Apple’s Conduct Is Not Unfair49

609.    Epic’s UCL claim also fails under the unfairness prong. Again, because Epic challenges
        the same conduct in its federal antitrust claims and UCL claim, the Court’s conclusion that
        Apple’s conduct is not an antitrust violation also precludes a finding of unfair competition.

610.    California courts “do not hold that in all circumstances an ‘unfair’ business act or practice
        must violate an antitrust law to be actionable under the unfair competition law,” but
        “conduct alleged to be ‘unfair’ because it unreasonably restrains competition and harms
        consumers . . . is not ‘unfair’ if the conduct is deemed reasonable and condoned under the
        antitrust laws.” Chavez v. Whirlpool Corp., 93 Cal. App. 4th 363, 375 (2001). If “the same
        conduct is alleged to support both a plaintiff’s federal antitrust claims and state-law unfair
        competition claim, a finding that the conduct is not an antitrust violation precludes a finding
        of unfair competition.” LiveUniverse, Inc. v. MySpace, Inc., 304 F. App’x 554, 557 (9th
        Cir. 2008); see also Chavez, 93 Cal. App. 4th at 375 (“To permit a separate inquiry into
        essentially the same question under the unfair competition law would only invite conflict
        and uncertainty and could lead to the enjoining of procompetitive conduct.”); Distance
48
     The unlawful prong of the UCL is addressed in § 11.2, page 90 of the Joint Elements
     Submission.
49
     The unfair prong of the UCL is addressed in §§ 11.3–11.3.2, pages 91–97 of the Joint Elements
     Submission.


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        Learning Co. v. Maynard, No. 19-CV-03801, 2020 WL 2995529, at *10 (N.D. Cal. June
        4, 2020) (collecting cases).

611.    While “a practice may be deemed unfair even if not specifically proscribed by some other
        law,” Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 187 (1999), that
        is not the case where, as here, the same conduct giving rise to the UCL claim also is the
        basis for a claim under the antitrust laws, see LiveUniverse, Inc. v. MySpace, Inc., 304 F.
        App’x 554, 557 (9th Cir. 2008); U.S. Colo, LLC v. CoreSite One Wilshire, LLC, NO.
        14-CV-4044, 2014 WL 12689269, at *4 (C.D. Cal. July 31, 2014); DocMagic, Inc. v. Ellie
        Mae, Inc., 745 F. Supp. 2d 1119, 1146–47 (N.D. Cal. 2010); cf. Cent. Valley Med. Grp.,
        Inc. v. Indep. Physician Assocs. Med. Grp., Inc., No. 19-CV-404, 2019 WL 3337891, at *4
        (E.D. Cal. July 25, 2019) (distinguishing prior cases on the ground that in each, “the
        plaintiff either brought explicit antitrust claims or unfair competition claims based on
        underlying conduct that was per se lawful under the statute at issue”).

612.    Because the same conduct is alleged to support both Epic’s federal antitrust claims and its
        state-law unfair competition claim, and Epic’s federal antitrust claims fail, Epic’s UCL
        claim based on “unfairness” must be rejected as well.

613.    To the extent Epic’s UCL claim does not rise and fall with its antitrust claims, its UCL
        claim must be analyzed under the applicable test based on whether the plaintiff is a business
        competitor or a consumer plaintiff. Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20
        Cal. 4th 163, 186–87 & n.12 (Cal. 1999).

614.    The business competition standard, not the consumer standard, is applicable to Epic’s
        claim. Where, as here, “the crux of [the plaintiff’s] complaint is that [the defendant’s]
        conduct unfairly injures their economic interests,” the business competition standard
        applies. Levitt v. Yelp! Inc., 765 F.3d 1123, 1136 (9th Cir. 2014); Watson Labs., Inc. v.
        Rhone-Poulenc Rorer, Inc., 178 F. Supp. 2d 1099, 1117–18 (C.D. Cal. 2001) (viewing
        contractually obligated supplier and plaintiff as “ostensible competitor[s]”); accord
        Advanced Thermal Scis. Corp. v. Applied Materials Inc., No. 07–CV-01384, 2009 WL
        10671186, at *2 (C.D. Cal. Oct. 2, 2009) (applying business competition standard where
        plaintiff’s claim was that the defendant had “usurped its business opportunit[ies],”
        notwithstanding argument that plaintiff was a “consumer” of defendant’s products).

615.    Epic alleges that Apple’s conduct has injured its economic interests. Its antitrust claims
        are premised principally on the assertion that but for the technical restrictions in iOS and
        the contractual restrictions of the DPLA, it could sell iOS apps through EGS in competition
        with the App Store. See Dkt. 1 ¶¶ 89–92. That is a quintessential business competition
        claim—Epic believes the terms of competition with Apple are unfair, and seeks to change
        them through this litigation.

616.    Under the business competitor standard for the unfairness prong of the UCL, a plaintiff
        must show that the alleged conduct “threatens an incipient violation of an antitrust law, or
        violates the policy or spirit of one of those laws because its effects are comparable to or
        the same as a violation of the law, or otherwise significantly threatens or harms
        competition.” Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 187


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        (1999). The plaintiff must show that “any finding of unfairness to competitors under [the
        UCL] [is] tethered to some legislatively declared policy or proof of some actual or
        threatened impact on competition.” Id. at 186–87.

617.    The business competition standard requires the plaintiff’s claim “to be tethered to the
        antitrust laws.” Nationwide Biweekly Admin., Inc. v. Super. Ct. of Alameda Cnty., 9 Cal.
        5th 279, 304 n.10 (2020). “To determine whether something is sufficiently ‘tethered’ to a
        legislative policy for the purposes of the unfair prong, California courts require a close
        nexus between the challenged act and the legislative policy.” Hodsdon v. Mars, Inc., 891
        F.3d 857, 866 (9th Cir. 2018).

618.    A UCL claim that overlaps with deficient Sherman or Cartwright Act claims fails as a
        matter of law. See, e.g., PNY Techs., Inc. v. SanDisk Corp., No. 11-CV-04689 YGR, 2012
        WL 1380271, at *15 (N.D. Cal. Apr. 20, 2012) (dismissing claim under “the UCL’s unfair-
        prong” because the plaintiff had “not adequately pled its federal antitrust claims” and “its
        UCL claims [were] not materially different than its federal antitrust claims”); Hicks v. PGA
        Tour, Inc., 165 F. Supp. 3d 898, 911 (N.D. Cal. Feb. 9, 2016) (“[W]here the same conduct
        alleged to be unfair under the UCL is also alleged to be a violation of another law, the UCL
        claim rises or falls with the other claims.”), aff’d in relevant part, vacated in part on other
        grounds, 897 F.3d 1109 (9th Cir. 2018); Eastman v. Quest Diagnostics Inc., 724 F. App’x
        556, 559 n.2 (9th Cir. 2018) (similar).

619.    Here, Epic’s UCL claim challenges the same conduct as its antitrust claims: namely the
        design and policies surrounding iOS, the App Store, and IAP. Epic does not allege
        otherwise. Thus, under the business competition standard, because Epic’s antitrust claims
        fail, its UCL claim must also be rejected. See PNY Techs., Inc. v. SanDisk Corp., No. 11-
        CV-04689 YGR, 2012 WL 1380271, at *15 (N.D. Cal. Apr. 20, 2012).

620.    Epic cannot proceed under the so-called “balancing test” applied by some courts prior to
        Cel-Tech Communications, Inc. v. L.A. Cellular Telephone Co., 20 Cal. 4th 163, 187
        (1999). Prior to Cel-Tech, and in some cases postdating Cel-Tech, courts have required a
        consumer plaintiff alleging unfair conduct by a business defendant to show that (1) the
        defendant’s conduct “is immoral, unethical, oppressive, unscrupulous or substantially
        injurious to consumers,” and (2) “the utility of the defendant’s conduct” is outweighed by
        “the gravity of the harm to the alleged victim.” Drum v. San Fernando Valley Bar Ass’n,
        182 Cal. App. 4th 247, 257 (2010).

621.    This “balancing test” is no longer good law after Cel-Tech Communications, Inc. v. L.A.
        Cellular Telephone Co., 20 Cal. 4th 163, 187 (1999). In Cel-Tech, the California Supreme
        Court criticized this approach as “amorphous” and “provid[ing] too little guidance to courts
        and businesses.” Id. at 185. “Vague references to ‘public policy,’” the court explained,
        “provide too little guidance to courts and businesses,” and “fail[] to give businesses
        adequate guidelines as to what conduct may be challenged and thus enjoined.” Id. Such a
        standard could “sanction arbitrary or unpredictable decisions about what is fair or unfair,”
        and “[i]n some cases, it may even lead to the enjoining of procompetitive conduct and
        thereby undermine consumer protection, the primary purpose of the antitrust laws.” Id.



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622.    In light of the California Supreme Court’s rejection of the “amorphous” balancing test, that
        test cannot be used to establish liability here. There is no precedent from the California
        Supreme Court suggesting that any plaintiffs—consumers or competitors—can continue to
        rely on the balancing test to establish liability.

623.    In any event, Epic cannot take advantage of this “balancing test” because it does not pursue
        its claims here as a “consumer.” Although Epic alleges that it has been harmed by Apple’s
        conduct as a “consumer” of the App Store (by “consumer” in this sense, Epic presumably
        means as a developer) in that it is required to use Apple’s IAP to conduct digital
        transactions, that does make the business competitor standard under Cel-Tech inapplicable.
        The Ninth Circuit has explained that even if a suit does not “involve[e] ‘unfairness to the
        defendant’s competitors,’” if the “crux of the business owners’ complaint is that [the
        defendant’s] conduct unfairly injures their economic interests to the benefit of other
        business,” the business competitor standard applies. Levitt v. Yelp! Inc., 765 F.3d 1123,
        1136 (9th Cir. 2014).

624.    Here, the “crux” of Epic’s complaint is that Apple’s conduct has unfairly injured its
        economic interest in that it may not distribute iOS apps through EGS or use Epic direct
        payment to process transactions on its apps. See Dkt. 1 ¶¶ 87–102, 139–55, 287. Epic
        currently competes with Apple in that it offers a rival app store through which consumers
        may obtain Epic games, including Fortnite, and it seeks to alter the design of iOS and the
        terms of the DPLA so that it, Epic claims, can compete more effectively. Epic plainly does
        not bring claims as a “consumer” in this case.

625.    Thus, Epic’s UCL claim necessarily falls with its Sherman Act and Cartwright Act claims.

C.      State-Law Claims – Affirmative Defenses

        i.     Waiver and Estoppel (Epic Counts 7–10)50

626.    Epic’s state-law claims are likewise precluded by the doctrines of waiver and estoppel.

627.    Under California law, “‘waiver’ means the intentional relinquishment or abandonment of
        a known right. Waiver requires an existing right, the waiving party’s knowledge of that
        right, and the party’s actual intention to relinquish the right.” Lynch v. Cal. Coastal
        Comm’n, 3 Cal. 5th 470, 475 (2017) (citation and quotation marks omitted). “Waiver
        always rests upon intent. The intention may be express, based on the waiving party’s
        words, or implied, based on conduct that is so inconsistent with an intent to enforce the
        right as to induce a reasonable belief that such right has been relinquished.” Id. (citation
        and quotation marks omitted).

628.    Under California law, for equitable estoppel to apply, “(1) the party to be stopped must be
        apprised of the facts; (2) he must intend that his conduct shall be acted upon, or must so
        act that the party asserting the estoppel has a right to believe it was so intended; (3) the

50
     Waiver and estoppel are addressed in §§ 17.2–17.3, pages 123–24 of the Joint Elements
     Submission.


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        other party must be ignorant of the true state of facts; and (4) he must rely upon the conduct
        to his injury.” Strong v. County of Santa Cruz, 15 Cal. 3d 720, 725 (1975).

629.    The elements of waiver and estoppel under California law are thus substantively identical
        to the elements under federal law. Accordingly, for all of the same reasons described above
        with respect to the Sherman Act claims, see supra § III.D.ii (¶¶ 554–60), Epic’s state-law
        claims, even were they otherwise meritorious, are barred by waiver and estoppel.

        ii.     Limitations on Actions (Epic Counts 7–10)51

630.    Like its federal law claims, Epic’s state-law claims are untimely, and thus would have to
        be dismissed even if they had merit (which they do not).

631.    “The statute of limitations under the Cartwright Act and UCL is four years.” Bartlett v.
        BP W. Coast Prods. LLC, No. 18-CV-1374, 2019 WL 2177655, at *2 (S.D. Cal. May 17,
        2019) (citing Cal. Bus. & Prof. Code §§ 16750.1, 17208); see also Garrison v. Oracle
        Corp., 159 F. Supp. 3d 1044, 1062 (N.D. Cal. 2016) (same). In California, the “common
        law last element accrual rule is the default,” Aryeh v. Canon Bus. Sols., Inc., 55 Cal. 4th
        1185, 1196 (2013), which provides that, “ordinarily, the statute of limitations runs from
        the occurrence of the last element essential to the cause of action,” id. at 1191 (quotation
        marks omitted). In light of the California Supreme Court’s direction that “[i]nterpretations
        of federal antitrust law” are instructive (though not conclusive) when construing the
        Cartwright Act, id. at 1195, courts frequently consider and resolve questions of the
        limitations on federal antitrust claims in tandem with Cartwright Act and UCL claims, see
        Garrison, 159 F. Supp. 3d at 1064–65 (collecting cases).

632.    The same analysis that leads to the conclusion that Epic’s Sherman Act claims are
        time-barred, see supra § III.D.iii (¶¶ 561–77), also mandates that its state-law claims are
        untimely for the same reasons. Thus, even if Epic could make out a claim under the
        Cartwright Act or the UCL, its claims would have to be dismissed as untimely.

                                   V.      EPIC’S REMEDIES

633.    Because Epic cannot prevail on the merits of any of its claims, it is entitled to no relief.
        However, even if Epic’s claims had merit, it would not be entitled to the equitable relief it
        seeks.

B.      Declaratory Judgment (All Epic Counts)

634.    The legal framework for declaratory judgment relief is set forth below, see infra § VII.C
        (¶¶ 831–39).

635.    Epic is not entitled to any declaratory relief because its claims lack merit.




51
     Limitations on actions are addressed in § 17.4, pages 125–26 of the Joint Elements Submission.


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C.      Sherman Act / Clayton Act Remedies (Epic Counts 1–6)

636.    As relief for its Sherman Act claims, Epic invokes the Clayton Act and seeks sweeping
        equitable relief. No such relief is warranted in this case because Epic cannot establish
        liability under any of its Sherman Act theories. Even if liability were found, Epic’s
        requested injunctive relief must be rejected for a variety of reasons.

637.    The Clayton Act provides, “[a]ny person, firm, corporation, or association shall be entitled
        to sue for and have injunctive relief, in any court of the United States having jurisdiction
        over the parties, against threatened loss or damage by a violation of the antitrust law,
        including sections 13, 14, 18, and 19 of this title, when and under the same conditions and
        principles as injunctive relief against threatened conduct that will cause loss or damage is
        granted by courts of equity, under the rules governing such proceedings.” 15 U.S.C. § 26.

        ii.    Injunctive Relief Sought by Epic

638.    In its Complaint, Epic sought a judgment:

        A.     Issuing an injunction prohibiting Apple’s anti-competitive conduct and
               mandating that Apple take all necessary steps to cease unlawful conduct and
               to restore competition;

        B.     Awarding a declaration that the contractual and policy restraints
               complained of herein are unlawful and unenforceable;

        C.     Awarding any other equitable relief necessary to prevent and remedy
               Apple’s anti-competitive conduct; and

        D.     Granting such other and further relief as the Court deems just and proper.

        Dkt. 1 at 61–62.
639.    At a hearing on October 19, 2020, the Court advised Epic that its request for relief was
        “pretty broad and pretty vague.” Hr’g Tr. 10:19–20 (Oct. 19, 2020). The Court directed
        Epic to include in the parties’ joint submission on the elements “what remedy [Epic is]
        seeking for each one of [its] claims,” and “[t]o the extent that [Epic is] seeking for [the
        Court] to in effect dismantle the platform, then [the Court] want[s] to know again in
        advance where that authority comes from and to the extent that there are other courts that
        have imposed such sanctions or such remedies, [the Court would] like to have copies of
        those orders.” Id. at 10:16–24.

640.    In the Appendix to the parties’ joint elements submission, Epic provided the Court with its
        proposed relief.

641.    With respect to the proposed “iOS App Distribution Market,” Epic requested that the Court
        issue the following relief:

        1.     Enjoin Apple from further violations of Section 1 and/or Section 2 of the
               Sherman Act, the Cartwright Act and/or the California Unfair Competition


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      Law with respect to the iOS App Distribution Market and/or the App Store
      on the iOS platform;

 2.   Enjoin Apple from restricting, prohibiting, impeding or deterring the
      distribution of iOS apps through a distribution channel other than the App
      Store, including by:

      A.     Restricting, prohibiting, impeding or deterring users of iOS devices,
             through technical, contractual, financial, or other means, from
             downloading, executing, installing and/or updating iOS apps and
             app stores from a distribution channel other than the App Store;

      B.     Enforcing contractual provisions, guidelines or policies, or
             imposing technical restrictions or financial penalties, that (i) restrict,
             prohibit, impede or deter the distribution of iOS apps through a
             distribution channel other than the App Store or (ii) have the effect
             of impeding or deterring competition among app distributors
             (including competition between third party app distributors and the
             App Store);

      C.     Conditioning access of developers to iOS on the pricing of their apps
             or in-app content on other platforms;

      D.     Conditioning access of developers to the App Store on the pricing
             of their apps or in-app content on other platforms and/or on the
             pricing of their iOS apps or in-app content available through other
             distribution channels;

      E.     Conditioning distribution through the App Store on exclusivity or
             on an agreement by a developer not to distribute an iOS app through
             other means; and

      F.     Retaliating or threatening to retaliate against any developer on the
             basis of the developer’s choice of iOS app distribution channel;

 3.   Enjoin Apple from discriminating against or disadvantaging iOS app distribution
      through channels other than the App Store, including by:

      A.     Denying iOS app stores access to iOS functionality that the App
             Store has access to, including iOS functionality that assists in or is
             required for the downloading, execution, installation, updating and
             removal of apps;

      B.     Denying iOS apps that were downloaded through a distribution
             channel other than the App Store equivalent access to iOS
             functionality and/or features that iOS apps downloaded through the
             App Store have access to;



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               C.     Deterring users from downloading, executing, installing and/or
                      updating iOS apps from or through an app distribution channel other
                      than the App Store, including by imposing “warning” screens or
                      other user obstructions or deterrents on iOS apps distributed through
                      channels other than the App Store that are not present for apps
                      distributed through the App Store;

        4.     To remedy Apple’s past misconduct and its anticompetitive effects in the
               iOS App Distribution Market and other relevant markets, and in order to
               restore competition in the iOS App Distribution Market, Epic respectfully
               requests that the Court further grant the following time-limited relief, which
               shall be effective from the date of this Order for a period of three (3) years
               or other amount of time found by the Court to be appropriate:

               A.     Enjoin Apple from enforcing contractual provisions, guidelines or
                      policies, or imposing technical restrictions, that restrict, prohibit,
                      impede or deter distribution of iOS app stores through the App
                      Store.

        Dkt. 276-1, Appendix A at 3–5.

642.    With respect to the proposed “iOS In-App Payment Processing Market,” Epic requested
        that the Court issue the following relief:

        1.     Enjoin Apple from further violations of Section 1 and/or Section 2 of the
               Sherman Act, the Cartwright Act and/or the California Unfair Competition
               Law with respect to the In-App Payment Processing Market;

        2.     Enjoin Apple from restricting, prohibiting, impeding or deterring the use of
               in-app payment processors other than Apple’s In-App Purchase (“IAP”),
               including by:

               A.     Rejecting iOS apps for distribution through the App Store or
                      retaliating or threatening to retaliate against any developer of an iOS
                      app on the basis of the developer’s or the app’s actual or intended
                      integration of one or more non-IAP payment processors;

               B.     Enforcing contractual provisions, guidelines or policies, or
                      imposing technical restrictions or financial penalties, that (i) restrict,
                      prohibit, impede or deter developers from integrating payment
                      processors other than Apple’s IAP into their apps for processing in-
                      app purchases of in-app content or (ii) have the effect of impeding
                      or deterring competition among in-app payment processors;

        3.     Enjoin Apple from discriminating against payment processors other than
               Apple’s IAP, iOS developers that use payment processors other than




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               Apple’s IAP, or iOS apps or app stores that use payment processors other
               than Apple’s IAP, including by:

               A.      Denying access to iOS apps or app stores that use payment
                       processors other than Apple’s IAP, to the same iOS functionality
                       and/or features that apps using exclusively Apple’s IAP for
                       processing in-app purchases of in-app content have;

               B.      Giving preferential treatment in search to iOS apps that exclusively
                       use Apple’s IAP; and

        4.     Enjoin Apple from imposing a financial penalty or technical limitation on
               access to the iOS platform by iOS apps (including iOS app stores) that use
               payment processing solutions other than or in addition to Apple’s IAP.

        Dkt. 276-1, Appendix A at 6–7.

643.    Epic also has proposed an “anti-circumvention” provision:

        Epic respectfully requests that the Court enjoin Apple from circumventing this
        Order by taking steps that violate the purpose, if not the terms, of this Order,
        including by imposing disincentives or providing incentives that are designed to,
        and have the effect of, making real competition in the iOS App Distribution
        Market and/or the In-App Payment Processing Market impracticable.

        Dkt. 276-1, Appendix A at 7.

644.    And finally, Epic proposed an “anti-retaliation” provision:

        Epic respectfully requests that the Court permanently enjoin Apple from taking
        any retaliatory actions against Epic or any of its affiliates in connection with or
        based on Epic’s filing of this Action, the August 2020 enablement of a direct
        payment option in Fortnite, or the steps Epic took to enable that option (“Prior
        Epic Actions”). For the avoidance of doubt, prohibited retaliatory actions include
        conduct by Apple that denies Fortnite access to Apple’s App Store on the basis of
        such Prior Epic Actions.

        Dkt. 276-1, Appendix A at 7.

645.    On its face, Epic’s requested relief is sweeping and would implement wholesale changes
        to the most fundamental aspects of Apple’s security and business models for the App Store.
        Indeed, the relief Epic seeks underscores the danger of recognizing a refusal-to-deal claim
        premised on the notion that Apple must give Epic access to iOS and the App Store on the
        terms and conditions that Epic demands. The Supreme Court has warned that this kind of
        relief is not only contrary to the purpose of the antitrust laws, but also requires the courts
        to act as “central planners”:




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        Firms may acquire monopoly power by establishing an infrastructure that renders
        them uniquely suited to serve their customers. Compelling such firms to share the
        source of their advantage is in some tension with the underlying purpose of antitrust
        law, since it may lessen eh incentive for the monopolist, the rival, or both to invest
        in those economically beneficial facilities. Enforced sharing also requires antitrust
        courts to act as central planners, identifying the proper price, quantity, and other
        teams of dealing—a role for which they are ill suited.

        Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407–08
        (2004).

646.    Epic’s requested relief would require judicial supervision of a technical redesign of iOS
        and the App Store, along with technical support to ensure interoperability of third-party
        app stores on iOS. It would require Apple to license and provide access to its protected
        intellectual property to third parties and competitors on terms demanded by Epic. And
        Epic likely would invoke the Court’s continuing jurisdiction to oversee any future changes
        to iOS.

647.    As set forth in detail below, neither the Clayton Act nor general principles of equity give
        the Court such broad authority to instruct Apple how it must conduct its business: an
        equitable antitrust remedy designed “for the purpose of alleviating injury to something
        other than the competitive system serves no antitrust purpose.” In re Multidistrict Vehicle
        Air Pollution, 538 F.2d 231, 236 (9th Cir. 1976).

648.    As but one example, Epic objects that Apple has imposed certain “contractual restrictions”
        on developers that, it says, inhibits competition. Dkt. 1 ¶¶ 68–81. Epic has identified a
        limited number of specific restrictions, namely, Sections 3.2(g) and 3.3.2(b) of the DPLA.
        Id. Were the Court to find that one or more of these provisions is unlawful, an appropriately
        tailored injunction would target only those provisions, leaving the balance of the DPLA
        intact and permitting Apple to modify (or not modify) the remainder of the contract or
        restructure its business operations appropriately. See also infra § VI.E.i.b (¶ 801).

649.    The Court also is mindful of the law of unintended consequences. While Epic has proposed
        an injunction that presumably will benefit it, the dramatic changes it would impose on the
        existing market structure could have far-reaching and unpredictable consequences,
        potentially to the detriment of consumers and developers.

650.    For example, Epic seeks to require Apple to distribute third-party app stores through the
        iOS App Store. See Dkt. 276-1, Appendix A at 3–5. Android devices, however, already
        permit sideloading and distribution of apps and third-party app stores. See, e.g. FOF ¶ 621
        (discussing Epic’s launch of Fortnite on Android via sideloading). Consumers thus
        currently have a choice—they can choose to use an iOS device with the greater security,
        privacy, and reliability that come with a “walled garden,” or they can choose to use an
        Android device with lesser security but with more app store options. Epic’s proposed relief
        would eliminate that choice, foisting onto consumers a one-size-fits-all model that might
        benefit Epic, but inhibit competition and consumer choice.




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651.    As another example, Epic seeks to require Apple to permit alternatives to IAP. See Dkt.
        276-1, Appendix A at 6. If Epic prevailed on its claims relating to IAP, Apple could decide
        to prohibit in-game purchases of digital content—the business model on which Epic has
        made its billions. Or Apple might charge different commission rates or program fees to
        developers that use IAP than to those that do not. Apple might require collateral or other
        security from non-IAP developers to ensure the payment of its commission. Epic has made
        no showing that any of these alternative business models (or a host of others) would be
        impermissible, or that any of them would improve competition or developer welfare.
        Epic’s entire remedial approach thus assumes that Apple will abandon certain practices
        while leaving everything the same, but the Court cannot constrain a private firm’s business
        in that way.

652.    The Court’s evaluation of Epic’s proposed relief thus must take into account these
        considerations.

        iii.   Antitrust Standing and Injury52

653.    “‘Antitrust standing’ is a threshold requirement that every plaintiff must satisfy to bring a
        private suit under the federal antitrust laws.” Lorenzo v. Qualcomm Inc., 603 F. Supp. 2d
        1291, 1300 (S.D. Cal. 2009). “To have standing [to seek injunctive relief] under § 16 [of
        the Clayton Act], a plaintiff must show (1) a threatened loss or injury cognizable in equity
        (2) proximately resulting from the alleged antitrust violation.” City of Rohnert Park v.
        Harris, 601 F.2d 1040, 1044 (9th Cir. 1979).

654.    Because “the judicial remedy cannot encompass every conceivable harm that can be traced
        to alleged wrongdoing,” courts have imposed additional limits “to determine whether a
        party injured by an antitrust violation” may seek relief. Associated Gen. Contractors of
        Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 536 (1983). In assessing
        antitrust standing, courts also consider “(1) whether the plaintiff’s alleged injury is the type
        the antitrust laws were intended to forestall; (2) the directness of the injury; (3) the
        speculative measure of the harm; and (4) keeping the scope of complex antitrust trials
        within judicially manageable limits.” Sacramento Valley Chapter of the Nat’l Elec.
        Contractors Ass’n v. IBEW, Local 340, 888 F.2d 604, 605 & n.1 (9th Cir. 1989).

655.    The requirement of antitrust standing under the Clayton Act overlaps with the requirement
        of antitrust injury. To establish standing, a plaintiff must show antitrust injury. Cargill,
        Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 113 (1986).

656.    There are “four requirements for antitrust injury: (1) unlawful conduct, (2) causing an
        injury to the plaintiff, (3) that flows from that which makes the conduct unlawful, and (4)
        that is of the type the antitrust laws were intended to prevent.” Am. Ad Mgmt., Inc. v. Gen.
        Tel. Co. of Cal., 190 F.3d 1051, 1055 (9th Cir. 1999).



52
     Antitrust standing and injury are addressed in §§ 18.2.1–18.2.2, pages 132–34 of the Joint
     Elements Submission.


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657.    The Ninth Circuit imposes a fifth requirement, that “the ‘injured party be a participant in
        the same market as the alleged malefactors.’” Glen Holly Entm’t, Inc. v. Tektronix, Inc.,
        352 F.3d 367, 372 (9th Cir. 2003) (quoting Bhan v. NME Hosps., Inc., 772 F.2d 1467, 1470
        (9th Cir. 1985)). “In other words, the party alleging the injury must be either a consumer
        of the alleged violator’s goods or services or a competitor of the alleged violator in the
        restrained market.” Id. (quoting Eagle v. Star-Kist Foods, Inc., 812 F.2d 538, 540 (9th Cir.
        1987)). Under this requirement, a plaintiff must show that it has “suffered [an] injury in
        the market where competition is being restrained”—“[p]arties whose injuries, though
        flowing from that which makes the defendant’s conduct unlawful, are experienced in
        another market do not suffer antitrust injury.” Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal.,
        190 F.3d 1051, 1057 (9th Cir. 1999).

658.    Section 16 of the Clayton Act “requires a showing only of ‘threatened’ loss or damage,”
        and does not require “a showing of injury to ‘business or property.’” Cargill, Inc. v.
        Monfort of Colo., Inc., 479 U.S. 104, 111 (1986).

659.    Although the standard for injunctive relief under Section 16 “differ[s] in various ways”
        from Section 4, a plaintiff suing under Section 16 must still prove “an injury of the type
        the antitrust laws were designed to prevent.” Cargill, Inc. v. Monfort of Colo., Inc., 479
        U.S. 104, 111 (1986); see also Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1028–29
        (N.D. Cal. 2015) (dismissing injunctive claim because the plaintiffs allegedly suffered
        antitrust injury in a market other than that “in which the alleged anticompetitive conduct
        occurred” and the “[p]laintiffs’ alleged price injury [did not] ‘flow[] from that which
        ma[de] [the defendant’s] conduct unlawful’”).

660.    For the reasons outlined above, see supra § III.A.iii (¶¶ 183–86), Epic cannot establish
        antitrust injury—or consequently, antitrust standing—as a matter of law. It thus is not
        entitled to any equitable relief under the Clayton Act.

        iv.     Standards for Equitable Relief53

661.    “According to well-established principles of equity, a plaintiff seeking a permanent
        injunction must satisfy a four-factor test before a court may grant such relief. A plaintiff
        must demonstrate: (1) that it has suffered an irreparable injury; (2) that remedies available
        at law, such as monetary damages, are inadequate to compensate for that injury; (3) that,
        considering the balance of hardships between the plaintiff and defendant, a remedy in
        equity is warranted; and (4) that the public interest would not be disserved by a permanent
        injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

662.    Courts apply the eBay factors when evaluating requests for permanent injunctive relief
        under Section 16. See Steves & Sons, Inc. v. JELD-WEN, Inc., 988 F.3d 690, 705 (4th Cir.
        2021) (applying the eBay factors when analyzing permanent equitable relief); Optronic
        Techs., Inc. v. Ningbo Sunny Elec. Co., Ltd., No. 16-CV-6370, 2020 WL 1812257, at *2
        (N.D. Cal. Apr. 9, 2020), appeal filed, No. 20-15837 (9th Cir. May 1, 2020) (“These four

53
     The standards for equitable relief are addressed in § 18.2.3, pages 135–41 of the Joint Elements
     Submission.


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        elements [from eBay] apply when considering relief under Section 16 of the Clayton
        Act.”); Avaya Inc. v. Telecom Labs, Inc., No. 06-CV-2490, 2014 WL 2940455, at *3
        (D.N.J. June 30, 2014) (holding that it is “clear that the more restrictive four-factor [eBay]
        test is necessary” in antitrust cases).

663.    That is because Section 16 of the Clayton Act provides for equitable relief only “under the
        same conditions and principles as injunctive relief against threatened conduct that will
        cause loss or damages is granted by courts of equity.” 15 U.S.C. § 26. Section 16, “which
        was enacted by the Congress to make available equitable remedies previously denied
        private parties, invokes traditional principles of equity.” Zenith Radio Corp. v. Hazeltine
        Research, Inc., 395 U.S. 100, 131 (1969).

664.    The Ninth Circuit has expressly held that an injunction may not issue under Section 16
        absent a showing of “irreparable harm.” Lucas v. Bechtel Corp., 800 F.2d 839, 847 (9th
        Cir. 1986) (“Under any formulation of the test, plaintiff must demonstrate that there exists
        a significant threat of irreparable injury.” (quotation marks omitted)). “[T]he basis of
        injunctive relief in the federal courts has always been irreparable harm and inadequacy of
        legal remedies.” Sampson v. Murray, 415 U.S. 61, 88 (1974).

665.    The only apparent deviation from this authority is O’Bannon v. National Collegiate
        Athletic Ass’n, 7 F. Supp. 3d 955 (N.D. Cal. Aug. 8, 2014), aff’d in part, vacated in part,
        802 F.3d 1049 (9th Cir. 2015), in which the court did not cite or discuss the controlling
        language in Section 16 or the Supreme Court and Ninth Circuit cases demanding
        application of the traditional equitable factors, or indeed, even acknowledge the four-factor
        test under eBay. See id. at 1007. This case is not persuasive or controlling.

666.    Under eBay, “[t]he party seeking an injunction ‘has the general burden of establishing the
        elements necessary’ to obtain relief.” BladeRoom Grp. Ltd. v. Emerson Elec. Co., No. 15-
        CV-1370, 2019 WL 1117537, at *2 (N.D. Cal. Mar. 11, 2019) (citing Klein v. City of San
        Clemente, 584 F.3d 1196, 1201 (9th Cir. 2009)).

667.    Epic cannot establish any of the elements for equitable relief under eBay.

               b.      Epic Has Not Established Irreparable Harm

668.    Irreparable harm is that “for which there is no adequate legal remedy.” Ariz. Dream Act
        Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014). A plaintiff proves irreparable harm
        by showing that “remedies available at law, such as monetary damages, are inadequate to
        compensate for the injury,” Herb Reed Enters., LLC v. Fla. Entm’t Mgmt., Inc., 736 F.3d
        1239, 1249 (9th Cir. 2013), or that monetary damages are difficult to calculate, see, e.g.,
        Optinrealbig.com, LLC v. Ironport Sys., Inc., 323 F. Supp. 2d 1037, 1050 (N.D. Cal. 2004)
        (“Damage to a business’[s] goodwill is typically an irreparable injury because it is difficult
        to calculate.”).

669.    An equitable remedy is “unavailable absent a showing of irreparable injury.” City of Los
        Angeles v. Lyons, 461 U.S. 95, 111 (1983). The named plaintiff must prove that it—and
        not some other person or entity—will be irreparably harmed. See, e.g., Doran v. Salem
        Inn, Inc., 422 U.S. 922, 931 (1975) (concluding that “neither declaratory nor injunctive


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        relief” can issue “except with respect to the particular federal plaintiffs”); ActiveVideo
        Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1337–40 (Fed. Cir. 2012); Voda
        v. Cordis Corp., 536 F.3d 1311, 1329 (Fed. Cir. 2008). Non-party affiliates of the plaintiff
        do not suffice. See, e.g., Weeks Marine, Inc. v. TDM Am., LLC, No. CIV.A. 11-3850 ES,
        2011 WL 6217799, at *7 (D.N.J. Dec. 14, 2011); Balsam Brands Inc. v. Cinmar, LLC, No.
        15-CV-4829, 2015 WL 7015417, at *5 (N.D. Cal. Nov. 12, 2015).

670.    A “long delay before seeking a[n] . . . injunction implies a lack of urgency and irreparable
        harm.” Miller ex rel. NLRB v. Cal. Pac. Med. Ctr., 991 F.2d 536, 544 (9th Cir. 1993).

671.    Epic cannot show irreparable harm. Epic has been profitably distributing apps through the
        App Store for over ten years now. FOF ¶¶ 252-253. With respect to Fortnite alone, Epic
        has made hundreds of millions of dollars through digital transactions on the App Store.
        FOF ¶ 264. If Epic had instead distributed through other major platforms, it would have
        had to pay the same 30% commission it paid to Apple. FOF ¶ 249.18. It has not been
        injured as a consequence of Apple’s conduct, but rather only has been forced to pay for its
        licensed use of Apple’s intellectual property.

672.    Moreover, Epic can and does distribute Fortnite and other games to iOS users through
        means other than the App Store. As discussed in detail above, see supra § II.B.ii.a (¶¶ 39–
        45), iOS users of Fortnite have access to many other devices—and accordingly, many other
        digital transaction platforms—through which they can play Fortnite. Indeed, Epic itself
        ran advertisements following Fortnite’s removal from the App Store as part of its public
        relations campaign, encouraging iOS users to access Fortnite through other devices. FOF
        ¶ 304.

673.    Even if the Court were to focus only on iOS devices, Epic cannot prove irreparable injury
        for three additional and separate reasons. First, Epic remains free to develop and distribute
        a web app version of Fortnite that iOS users can access through the Safari web browser
        without going through the App Store, as other game developers have done. FOF ¶ 529.2.
        That Epic has chosen not to do so thus far is a consequence of its own choices, not Apple’s.
        Second, Apple has at all relevant times supported cross-platform play, including in-game
        purchases, so that iOS Fortnite players may purchase V-Bucks on another platform (such
        as a PC) and use them on an iOS device, without transacting through the App Store. FOF
        ¶¶ 165.3, 255.4, 367. iOS Fortnite users can even use the Safari web browser to purchase
        V-Bucks directly from Epic on their iPhone. FOF ¶ 165.3. Some other digital transaction
        platforms do not offer this cross-platform purchase feature. FOF ¶ 165.3. Third, there is
        a new category of emerging game streaming services, which facilitate access to games from
        any device without using the App Store. Most relevant here, Fortnite is expected to soon
        be available on Nvidia GeForce Now for iOS users, providing an alternative means for
        Epic to reach all of the iOS consumers that it could otherwise reach through the App Store.
        FOF ¶ 503.

674.    Epic launched its campaign against Apple
            , suggesting that Epic is not motivated by any “irreparable” harm to its business caused
        by Apple, but rather a desire to find ways to improve its business model at the expense of
        Apple’s. This ten-year, self-serving delay makes clear that Epic has not suffered


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        irreparable injury. See Miller ex rel. N.L.R.B. v. Cal. Pac. Med. Ctr., 991 F.2d 536, 544
        (9th Cir. 1993).

               c.      Epic Has Adequate Remedies at Law

675.    “‘The necessary prerequisite’ for a court to award equitable remedies is ‘the absence of an
        adequate remedy at law.’” Barranco v. 3D Sys. Corp., 952 F.3d 1122, 1129 (9th Cir. 2020)
        (quoting Dairy Queen, Inc. v. Wood, 369 U.S. 469, 478 (1962) (internal quotation marks
        omitted)).

676.    Whether remedies available at law are inadequate to compensate for the injury “inevitably
        overlaps” with the first prong of the injunctive relief analysis. Metro-Goldwyn-Mayer
        Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1219 (C.D. Cal. 2007); Optronic
        Techs., Inc. v. Ningbo Sunny Elec. Co., Ltd., No. 16-CV-6370, 2020 WL 1812257, at *2–
        3 (N.D. Cal. Apr. 9, 2020) (analyzing the first two elements together). However, “[i]n the
        permanent injunction analysis, whether the plaintiff has an ‘inadequate remedy at law’ is a
        separate factor.” Macnab v. Gahderi, No. 09-CV-4498, 2009 WL 10671026, at *5 n.4
        (C.D. Cal. July 28, 2009). Some courts have held that where “there is the possibility of
        future wrongful conduct, a legal remedy is inadequate.” Valley View Health Care, Inc. v.
        Chapman, 992 F. Supp. 2d 1016, 1042 (E.D. Cal. 2014).

677.    One of the longstanding, “basic requisites [for] the issuance of equitable relief” from a
        federal court is “the inadequacy of remedies at law.” O’Shea v. Littleton, 414 U.S. 488,
        502 (1974). A plaintiff who could have pursued redress through a damages award, but
        waived such a request, has an adequate remedy at law. Sonner v. Premier Nutrition Corp.,
        971 F.3d 834, 844–45 (9th Cir. 2020); see also Huynh v. Quora, Inc., No. 18-CV-7597,
        2020 WL 7495097, at *19 (N.D. Cal. Dec. 21, 2020) (“Cases in this Circuit have held that
        Sonner extends to claims for injunctive relief.”).

678.    Private plaintiffs may seek damages for violations of the antitrust laws, 15 U.S.C. § 15, but
        where a party “explicitly represent[s] that it [is] not seeking damages,” that representation
        “preclude[s] the possibility of an award of damages at trial.” Infor Global Sols. (Mich.),
        Inc. v. St. Paul Fire & Marine Ins. Co., No. 08-CV-2621, 2010 WL 11583380, at *5 (N.D.
        Cal. Apr. 2, 2010); see also GSI Tech., Inc. v. United Memories, Inc., No. 13-CV-1081,
        2016 WL 3017544, at *11 (N.D. Cal. May 26, 2016), aff’d, 721 F. App’x 491 (9th Cir.
        2017).

679.    In Sonner v. Premier Nutrition Corp., 971 F.3d 834 (9th Cir. 2020), the plaintiff amended
        her complaint on the eve of trial to drop her damages claim, and then urged that she had no
        adequate remedy at law and was entitled to equitable restitution in the same amount as her
        abandoned damages claim. Id. at 844–45. The Ninth Circuit rejected that argument,
        observing that the plaintiff had not “explain[ed] how the same amount of money for the
        exact same harm is inadequate or incomplete.” Id. at 844.

680.    For reasons similar to those stated above, Epic has an adequate remedy at law—it could
        have sought damages for its alleged loss of revenues as a result of the 30% commission it
        agreed to pay Apple. Indeed, the plaintiffs seeking to represent a class of developers have



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        sought monetary damages for their virtually identical antitrust claims. See Consolidated
        Class Action Complaint at 47, Cameron v. Apple Inc., No. 19-CV-3074 (N.D. Cal. Sept.
        30, 2019). Having had the opportunity to seek damages, but electing to forgo it, Epic
        cannot satisfy the requirement of having no adequate remedy at law. The Ninth Circuit has
        made clear that a party cannot artificially satisfy this element by simply choosing not to
        seek damages. See Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844–45 (9th Cir.
        2020).

681.    Epic elected to bring this case solely for equitable relief, and having done so, it bears the
        burden of showing that it could not have obtained monetary damages instead. For all of
        the reasons above, it cannot.

               d.      The Balance of Hardships Favors Apple

682.    In considering the balance of hardships between the plaintiff and defendant, the Court
        “must consider the effect on each party of the granting or withholding of the requested
        relief.” Klein v. City of San Clemente, 584 F.3d 1196, 1199–200 (9th Cir. 2009) (quoting
        Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 24 (2008)).

683.    The balance of the hardships decidedly favors Apple. Epic’s proposed relief, although
        framed in nominally prohibitive terms, would in fact be expressly and effectively
        prescriptive. It sets forth a comprehensive set of measures that Apple must undertake that
        would fundamentally alter the way in which Apple interacts with developers and
        consumers. It would disrupt the comprehensive iOS ecosystem that Apple has built up
        over the years and would require Apple to rework its business operations. See, e.g. FOF
        ¶¶ 623-625. This would include, but is not limited to, requiring Apple to modify or alter
        the manner in which apps may be installed on iOS devices, requiring Apple to modify the
        on-device security protections that it has designed for iOS, such as sandboxing, and
        requiring Apple to provide apps distributed through third-party app stores access to current
        and future iOS device hardware and software functionality.

684.    There is no dispute that the distribution of native iOS apps requires the use of Apple’s
        intellectual property, yet Epic’s proposed relief includes no provision for Apple to receive
        compensation for the licensing of its intellectual property, nor have the ability to set the
        terms for the usage of that intellectual property that Epic seeks to compel. See generally
        Dkt. 276-1, Appendix A. In other words, under Epic’s prescriptive injunction, it and every
        other developer would apparently pay only a nominal $99 annual fee to use and benefit
        from Apple’s intellectual property in perpetuity. This amounts to a forced, compulsory
        license of Apple’s intellectual property that is not calibrated to the property being licensed.
        Such a near-complete appropriation of Apple’s innovation imposes a substantial hardship
        on Apple. (If imposed by governmental decree, including an injunction, it also would
        constitute an uncompensated taking prohibited by the Fifth Amendment.)

685.    Epic’s relief goes even further, though, and would prohibit Apple from controlling the
        distribution of app stores through the App Store at all for a period of three years. Epic
        demands that Apple be enjoined for three years “from enforcing contractual provisions,
        guidelines or policies, or imposing technical restrictions, that restrict, prohibit, impede or


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        deter distribution of iOS app stores through the App Store.” Dkt. 276-1, Appendix A at 5.
        In other words, Apple has no rights to curate the distribution of rival app stores through the
        App Store—even if such a store openly engaged in the distribution of pornography, graphic
        violence, or other content prohibited by Apple’s guidelines, Apple could not prevent its
        distribution on the App Store. Epic’s requested relief thus seeks to preclude Apple from
        creating and enforcing the compliance of such apps with any security, privacy, and
        reliability standards developed by Apple.

686.    Meanwhile, Epic would be the beneficiary and suffer no hardship at all. It would gain
        access to Apple’s intellectual property on its preferred terms, without having to go through
        the App Store or comply with the App Store Review Guidelines. Tellingly, Epic’s
        requested relief does not contemplate any payments from Epic to Apple for its continued
        use of Apple’s intellectual property, nor even a mechanism for evaluating what an
        appropriate amount of compensation for ongoing use of Apple’s intellectual property
        would be. Epic could “compete” with the App Store, using Apple’s intellectual property
        and relying upon Apple’s ongoing innovations in iOS hardware and software functionality
        and security, but without ever having to invest in the development of an operating system,
        providing compensation for use of such intellectual property, or adhering to any terms that
        Apple views as appropriate for the licensing of its exclusive property rights. In other
        words, Epic would receive all of the upside of Apple’s innovative designs, with none of
        the costs. The hardships plainly weigh in favor of Apple and against the injunction.

687.    The fact that Epic’s requested relief would purportedly enjoin unlawful activity does not
        mean the hardships weigh in favor of Epic. All injunctions are issued to prevent unlawful
        activity (or to compel conduct required by law). That does not automatically satisfy the
        balance-of-hardships factor. Rather, “[i]n each case, a court must balance the competing
        claims of injury and must consider the effect on each party of the granting or withholding
        of the requested relief.” Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531, 542 (1987).

               e.      Epic’s Proposed Relief Would Not Further the Public Interest

688.    “[T]he public interest inquiry primarily addresses impact on non-parties rather than parties
        and takes into consideration” the “public consequences” of the injunction. hiQ Labs, Inc.
        v. LinkedIn Corp., 938 F.3d 985, 1004 (9th Cir. 2019) (quotation marks omitted).

689.    Epic seeks an order from this Court precluding Apple from enforcing its longstanding
        prohibitions against apps containing pornography and other offensive content, as well as
        apps that may carry malicious code or spyware. Dkt. 276-1, Appendix A at 5. In other
        words, Epic seeks to compromise the security and privacy of iOS users—including
        children—so that it may sell more V-Bucks on terms of its own choosing.

690.    Moreover, Epic’s own expert—Dr. Cragg—has explained the harm to the public interest if
        courts act as semi-regulators in issuing injunctive relief under the antitrust laws. In an
        amicus brief he joined in the Supreme Court, Dr. Cragg explained that a “short-run
        regulatory solution” that is “designed to force [a firm] to provide even more competition
        than it did through its creation, threatens long-run incentives to create the very products
        they want more of.” Brief of Expert Antitrust Economists as Amici Curiae in Support of


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        Petitioners at 18–19, Nat’l Football League v. Ninth Inning, Inc., No. 19-1098 (U.S. Apr.
        8, 2020). In another brief recently submitted in a pending case, Dr. Cragg and other amici
        cautioned against injunctive relief in antitrust cases that would work a fundamental change
        in a firm’s business model, explaining that “this type of after-the-fact speculation inevitably
        creates disincentives for businesses to form collaborations, invest in product design and
        development and continually innovate, as there is no assurance that a court will not use
        injunctive relief to revise those decisions and impose different models.” Brief of Amici
        Curiae Antitrust Economists in Support of Petitioners at 12, Nat’l Collegiate Athletic Ass’n
        v. Alston, No. 20-512 (U.S. Nov. 18, 2020).

691.    An injunction is not automatic even upon a finding of antitrust liability. See, e.g., Wilk v.
        Am. Med. Ass’n, 895 F.2d 352, 370 n.5 (7th Cir. 1990) (“The important point is that
        equitable relief is discretionary, and not automatically available to an injured plaintiff.”);
        Moore Drug Exch. v. Eli Lilly & Co., No. 76-CV-2817, 1980 WL 1959, at *2 (S.D.N.Y.
        Nov. 21, 1980) (“A finding of an antitrust violation in the past, and an award of treble
        damages pursuant thereto, do not automatically entitle the plaintiff to permanent injunctive
        relief.”); 6C Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
        Antitrust Principles and Their Application ¶ 653 (4th ed. 2020 supp.) (“[I]t never follows
        automatically from the finding of a § 2 violation that . . . an injunction against future
        conduct is justified.”). If the equitable factors disfavor injunctive relief, then a court may
        provide an alternative remedy such as a declaration.

               f.      Epic’s Proposed Equitable Relief Is Barred by the Doctrine of
                       Unclean Hands

692.    Even if Epic could otherwise establish the elements of injunctive relief, its requested relief
        is barred by the doctrine of unclean hands.

693.    Epic initiated this lawsuit and, from the outset, sought only equitable relief—first a
        temporary restraining order, then a preliminary injunction, and now a permanent
        injunction. But “equity requires that those seeking its protection shall have acted fairly and
        without fraud or deceit as to the controversy in issue.” Ellenburg v. Brockway, Inc., 763
        F.2d 1091, 1097 (9th Cir. 1985), abrogated on other grounds by Watkins v. Westinghouse
        Hanford Co., 12 F.3d 1517 (9th Cir. 1993). The doctrine of unclean hands therefore
        precludes equitable relief where the defendant establishes that “(1) the plaintiff engaged in
        inequitable conduct; and (2) the conduct ‘relates to the subject matter of its claims.’” Pipe
        Restoration Techs., LLC v. Coast Bldg. & Plumbing, Inc., No. 13-CV-499, 2018 WL
        6012219, at *9 (C.D. Cal. Nov. 16, 2018) (quoting Levi Strauss & Co. v. Shilon, 121 F.3d
        1309, 1313 (9th Cir. 1997)).

694.    Epic has previously taken the position that unclean hands is not a defense to liability under
        the federal antitrust laws. See Dkt. 61 at 2. That is presumably because the Sherman Act
        establishes a statutory tort with a damages remedy, and thus in general creates a legal rather
        than an equitable cause of action. See Tull v. United States, 481 U.S. 412, 422–23 (1987)
        Epic, however, seeks only an equitable remedy, and misconduct by the plaintiff may—
        indeed, must—be taken into account when a court is asked to impose an equitable remedy.
        See, e.g., Heldman v. U.S. Lawn Tennis Ass’n, 354 F. Supp. 1241, 1249 (S.D.N.Y. 1973)


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699.    Accordingly, Epic engaged in inequitable conduct and that conduct related to the claims in
        this case. Epic therefore comes to this Court with unclean hands and cannot obtain the
        sweeping equitable relief that it seeks.

        v.     Epic’s Proposed Injunction Is Overbroad54

700.    “Once plaintiffs establish they are entitled to injunctive relief, the district court has broad
        discretion in fashioning a remedy.” Orantes-Hernandez v. Thornburgh, 919 F.2d 549, 558
        (9th Cir. 1990); FTC v. John Beck Amazing Profits LLC, 888 F. Supp. 2d 1006, 1011 (C.D.
        Cal. 2012), aff’d, 644 F. App’x 709 (9th Cir. 2016) (“Courts enjoy broad discretion in
        fashioning suitable relief and defining the terms of a permanent injunction.”).

701.    Even if Epic otherwise was entitled to equitable relief (and to be clear, it is not), Epic’s
        requested relief is far too broad in several respects.

702.    First, Epic seeks unprecedented relief in the form of a dramatic restructuring of Apple’s
        business model.

703.    Although Epic’s requested relief is phrased as a prohibitive injunction, in fact, it demands
        that Apple make affirmative changes to the design of the App Store in numerous ways.
        Epic requests that Apple be enjoined from “[r]estricting” through “technical” or
        “contractual” means the “downloading, executing, installing and/or updating iOS apps and
        app stores from a distribution channel other than the App Store.” Dkt. 276-1, Appendix A
        at 3. The “technical” restrictions to which Epic refers are core aspects of the design of
        iOS—a “walled garden” environment that allows for the secure distribution of curated
        apps. FOF ¶ 46, 530. Apple has been operating the App Store in this way since its launch
        in 2008, and an entire ecosystem has been built around this core concept. FOF ¶ 46. To
        require Apple to redesign iOS in the way Epic demands would work a fundamental change
        in the entire ecosystem that the App Store supports.

704.    Likewise, Epic’s demand that Apple be enjoined from requiring the use of IAP for digital
        transactions would require Apple to redesign the App Store and develop a new model of
        compensation. IAP is an integrated feature of the App Store that provides many benefits
        to developers and consumers, including allowing smaller developers to benefit from a
        central payment feature that consumers are already familiar with. FOF ¶¶ 76-78. It also is
        the way that Apple receives compensation for its licensing of the intellectual property that
        comprises iOS and the App Store. FOF ¶ 59. Removing IAP as an integrated feature of
        the App Store would not only require a fundamental redesign, it also would devalue the
        platform as a whole.

705.    This relief is unprecedented. No court has ever required a company to relinquish its rights
        in its own intellectual property on terms demanded by a competitor, or to tear down and
        rebuild the most basic components of its business model. Epic does not seek simply to


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     The scope of injunctive relief is addressed in § 18.3.1, pages 142–49 of the Joint Elements
     Submission.


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        compel Apple to stop doing something; it seeks to compel Apple to make affirmative
        changes to the iOS that would be beneficial to Epic, at the expense of Apple’s customers.

706.    Although this Court requested that Epic provide precedential support for the relief it seeks,
        Hrg. Tr. at 10:22–24 (Oct. 19, 2020), Epic has provided none. In a prior submission, Epic
        provided a catalog of general principles of law regarding the permissible scope of equitable
        relief. See Dkt. 276 at 144–46 (e.g., “[a] court may enter an order that eliminates the
        consequences of the defendant’s illegal conduct” (quotation marks omitted)). None of the
        cases invoked by Epic required a company to redesign its proprietary software (including
        integration of that software with its hardware as appropriate) from the ground up to
        accommodate a competitor seeking to use that intellectual property for its own purposes.

707.    For example, Epic cited United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001) for
        the proposition that a court may enter an order that “den[ies] to the defendant the fruits of
        its statutory violation, and ensure[s] that there remain no practices likely to result in
        monopolization in the future.” Id. at 103. The D.C. Circuit in Microsoft of course vacated
        the divestiture remedy ordered by the district court, and thus Epic’s citation is not even
        responsive to the Court’s request, but even still, that broad statement of law does nothing
        more than assert the basic proposition that a Clayton Act remedy must be tailored to the
        alleged antitrust violation. So too with Epic’s assertion that a court may enter an order that
        “eliminat[es] the consequences of the [defendant’s] illegal conduct.” Nat’l Soc’y of Prof’l
        Eng’rs v. United States, 435 U.S. 679, 698 (1978). These cases do nothing to establish the
        boundaries of the Court’s equitable authority or the scope of the appropriate relief in a case
        like this.

708.    The so-called “non-discrimination” orders that Epic cites also do not support the relief that
        it is seeking here. See Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195,
        1201, 1225 (9th Cir. 1997); United States v. United Shoe Mach. Corp., 110 F. Supp. 295,
        321, 352 (D. Mass. 1953). In none of those cases was the defendant enjoined to implement
        an entirely new business model on terms dictated by the plaintiff, including a compulsory
        license to intellectual property in which the defendant has exclusive rights under federal
        law.

709.    The remainder of Epic’s cited cases likewise do nothing more than offer broad statements
        about the power of a court to enjoin anticompetitive conduct. See, e.g., Zenith Radio Corp.
        v. Hazeltine Research, Inc., 395 U.S. 100, 132 (1969) (enjoining “acts which are of the
        same type or class of unlawful acts which the court has found to have been committed”);
        Lorain Journal Co. v. United States, 342 U.S. 143, 154 (1951) (enjoining the defendant
        from “us[ing] its monopoly power to destroy threatened competition”). These cases do not
        suggest that a court-mandated restructuring of a defendant’s business model is ever
        permitted in an antitrust case, or that such relief would be appropriate here.

710.    Although the Court has broad discretion to fashion appropriate equitable relief,
        “[d]iscretion is not whim.” Martin v. Franklin Capital Corp., 546 U.S. 132, 139 (2005).
        The absence of authority supporting Epic’s requested injunction establishes that it would
        be an abuse of discretion to adopt the sweeping relief sought by Epic.



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711.    Second, Epic’s proposed equitable relief is overbroad in that it goes further than is needed
        to remedy the antitrust violations alleged.

712.    Equitable relief should be based “on some clear ‘indication of a significant causal
        connection between the conduct enjoined or mandated and the violation found directed
        toward the remedial goal intended.’” United States v. Microsoft Corp., 253 F.3d 34, 105
        (D.C. Cir. 2001) (quoting 6C Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An
        Analysis of Antitrust Principles and Their Application ¶ 653(b) (1996)).

713.    Ultimately, the goal of an equitable remedy is not the “punishment of past transgression,
        nor is it merely to end specific illegal practices.” Int’l Salt Co. v. United States, 332 U.S.
        392, 401 (1947), abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc.,
        547 U.S. 28 (2006).

714.    Equitable relief in an antitrust case should not “embody harsh measures when less severe
        ones will do,” 3D Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
        Antitrust Principles and Their Application ¶ 325a (5d ed. 2020), nor should it adopt over
        regulatory requirements which will “involve the judiciary in the administration of intricate
        and detailed [business management],” United States v. Paramount Pictures, 334 U.S. 131,
        163 (1948).

715.    Several components of Epic’s proposed relief go further than is needed to address the
        allegedly anticompetitive conduct of which Epic complains.

716.    For example, Epic demands that Apple be enjoined for three years “from enforcing
        contractual provisions, guidelines or policies, or imposing technical restrictions, that
        restrict, prohibit, impede or deter distribution of iOS app stores through the App Store.”
        Dkt. 276-1, Appendix A at 5. In other words, not only would Apple be required to
        distribute its competitors’ app stores through the App Store, it also would be prohibited
        from screening or curating those apps at all. An app store could openly market itself as
        containing illegal or inappropriate content, or could contain code that threatens the security
        or privacy of users and/or their devices, yet Apple would have no right under Epic’s
        demanded relief to stop the distribution of that rival app store through the App Store. This
        relief amounts to nothing more than a demand that Apple affirmatively assist Epic in its
        efforts to succeed as a competitor, and that Apple handicap itself by removing the screening
        features of the App Store that make it desirable to customers in the first place.

717.    As another example, Epic demands that Apple be enjoined “from taking any retaliatory
        actions against Epic or any of its affiliates in connection with” Project Liberty or the
        lawsuit. Dkt. 276-1, Appendix A at 7. This relief would require Apple to continue to deal
        with a competitor who has evinced a willful disregard for its contractual relationship with
        Apple. Even if Apple were required to license out its intellectual property, it should not be
        compelled to continue to do business with a company that refuses to honor its contracts
        with Apple. This request for relief is nothing more than punishment for Apple and a
        windfall for Epic. Even if Epic is correct that Apple must allow “sideloading” of alternative
        app stores, there is no basis for its demand that Apple be compelled to distribute EGS
        through the App Store, particularly when Epic has given Apple good reason to doubt that


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        it will abide by the terms of the DPLA, including the App Store Review Guidelines. See
        Technical Res. Servs., Inc. v. Dornier Med. Sys., Inc., 134 F.3d 1458, 1467 (11th Cir. 1998)
        (identifying “the past litigiousness of, and prior disputes with,” the plaintiff as a valid
        procompetitive justification for a course of dealing).

718.    Third, Epic’s proposed equitable relief is overbroad in that it extends beyond Epic, and
        purports to bind Apple with respect to all developers.

719.    “Where relief can be structured on an individual basis, it must be narrowly tailored to
        remedy the specific harm shown.” Bresgal v. Brock, 843 F.2d 1163, 1170 (9th Cir. 1987);
        see also Zepeda v. U.S. I.N.S., 753 F.2d 719, 727 (9th Cir. 1983) (“[T]he injunction must
        be limited to apply only to the individual plaintiffs unless the district judge certifies a class
        of plaintiffs.”).

720.    Injunctive relief may be “no more burdensome to the defendant than necessary to provide
        complete relief to the plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765
        (1994) (quotation marks omitted) (emphasis added); see also Easyriders Freedom
        F.I.G.H.T. v. Hannigan, 92 F.3d 1486, 1501 (9th Cir. 1996) (“[I]njunctive relief generally
        should be limited to apply only to named plaintiffs where there is no class certification.”).
        Were it otherwise, “[w]henever any individual plaintiff suffered injury as the result of
        official action, he could merely file an individual suit as a pseudo-private attorney general
        and enjoin the [defendant] in all cases. But such broad authority has never been granted to
        individual plaintiffs absent certification of a class.” Zepeda v. U.S. I.N.S., 753 F.2d 719,
        728 n.1 (9th Cir. 1983).

721.    Epic opted out of the pending class action brought by developers challenging the same
        conduct and instead elected to pursue this case individually. It was entitled to pursue this
        case individually, but having done so, it cannot assume the mantle of a “pseudo-private
        attorney general” and purport to vindicate the interests of all developers. Even if Epic is
        correct that specific contractual provisions (for example) could be enjoined, that relief
        would extend only to the contract between Apple and Epic. Epic has no standing to seek
        relief on behalf of any other developers, much less all of them. Equitable relief must be
        “no more burdensome to the defendant than necessary to provide complete relief to the
        plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (quotation
        marks omitted). Any injunctive relief to which Epic might be entitled thus must be limited
        to apply only to Epic.

722.    To the extent Epic relies on cases brought by the government to support an expansive view
        of the appropriate scope of injunctive relief in a case brought by a private party, that
        analogy is inapt. “[A] suit instituted by the government for the benefit of society as a
        whole” is fundamentally different to “a claim brought by a private litigant.” Alberta Gas
        Chemicals Ltd. v. E.I. Du Pont De nemours & Co., 826 F.2d 1235, 1239 (3d Cir. 1987);
        see also United States v. Borden Co., 347 U.S. 514, 518–19 (1954) (“[T]he scheme of the
        statute is sharply to distinguish between Government suits, either criminal or civil, and
        private suits for injunctive relief or for treble damages.”). “The Government seeks its
        injunctive remedies on behalf of the general public; the private plaintiff, though his remedy
        is made available pursuant to public policy as determined by Congress, may be expected


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        to exercise it only when his personal interest will be served.” Borden Co., 347 U.S. at 518.
        The limits on injunctions sought by private parties and the government are therefore not
        coextensive. Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 602 F.3d 237, 249 (3d
        Cir. 2010); see also Int’l Tel. & Tel. Corp. v. Gen. Tel. & Elecs. Corp., 518 F.2d 913, 927
        (9th Cir. 1975) (observing in private-plaintiff cases that the public “enjoy[s] none of the
        safeguards of the public-interest standards and expertness which presumably guide the
        government when it is a plaintiff”), disapproved on other grounds by Cal. v. Am. Stores
        Co., 495 U.S. 271 (1990).

723.    Fourth, Epic’s proposed equitable relief is overbroad in that it has no geographical
        limitations.

724.    “Although there is no bar against nationwide relief in federal district court or circuit court,
        such broad relief must be necessary to give prevailing parties the relief to which they are
        entitled.” California v. Azar, 911 F.3d 558, 582 (9th Cir. 2018) (quotation marks omitted)
        (emphasis in original). “This rule applies with special force where there is no class
        certification.” Id.

725.    As set forth above, see supra § II.C (¶¶ 152–59), the relevant market at issue in this case is
        limited to the United States from the consumer side. For that reason alone, the relief cannot
        require Apple to make changes to the operation of the App Store storefront in other
        countries.

726.    Moreover, the FTAIA limits the geographic reach of any injunction because it limits the
        reach of any claim arising under Sections 1 or 2 of the Sherman Act. See 15 U.S.C. § 6a.
        The Ninth Circuit has accordingly vacated international injunctions where the district court
        gave insufficient attention to their intrusion on foreign commerce. See Calnetics Corp. v.
        Volkswagen of Am., Inc., 532 F.2d 674, 693 (9th Cir. 1976); see also United States v. Gen.
        Elec. Co., 115 F. Supp. 835, 842 (D.N.J. 1953) (tailoring injunction to avoid subjecting
        defendant to conflicting obligations under foreign and domestic law).

727.    Just as the FTAIA limits the scope of liability in this case, see also supra § III.A.iv (¶¶ 187–
        96), it also limits the scope of the available relief.

728.    Fifth, Epic’s requested relief is too vague.

729.    An order granting an injunction must “state the reasons why it issued,” “state its terms
        specifically,” and “describe in reasonable detail—and not by referring to the complaint or
        other document—the act or acts restrained or required.” Federal Rule of Civil Procedure
        65(d)(1); see also United States v. Holtzman, 762 F.2d 720, 726 (9th Cir. 1985) (an
        injunction must be “reasonably clear so that ordinary persons will know precisely what
        action is proscribed”).

730.    “[Rule 65] was designed to prevent uncertainty and confusion on the part of those faced
        with injunctive orders, and to avoid the possible founding of a contempt citation on a decree
        too vague to be understood.” Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1047
        (9th Cir. 2013) (quotation marks omitted); see also Reno Air Racing Ass’n, Inc. v. McCord,
        452 F.3d 1126, 1134 (9th Cir. 2006) (“The benchmark for clarity and fair notice is not


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        lawyers and judges, who are schooled in the nuances of [the] law,” but instead the “lay
        person, who is the target of the injunction”).

731.    Several components of Epic’s requested relief fail to provide sufficient clarity to Apple to
        understand what is prohibited.

732.    Most glaring is the “anti-circumvention” request, which would “enjoin Apple from
        circumventing this Order by taking steps the violate the purpose, if not the terms, of this
        Order, including by imposing disincentives or providing incentives that are designed to,
        and have the effect of, making real competition in the iOS App Distribution Market and/or
        the In-App Payment Processing Market impracticable.” Dkt. 276-1, Appendix A at 7. If
        Epic believes there are ways Apple could “circumvent[]” the requested relief without
        actually violating it, it should spell those limitations out in the relief so that Apple can
        understand what is permitted. It would be decidedly inequitable if Apple were to make
        substantial changes to its business model in response to the relief, only to be haled back
        into Court by Epic on the theory that it has violated the “purpose” of the ordered relief.

733.    More generally, this Court is not in a position to oversee Apple’s business operations on a
        going-forward basis. Any relief entered in this case must be complete on the day the
        judgment is rendered and allow both parties to conform their conduct accordingly, with no
        ongoing judicial involvement. Epic’s proposed relief fails that standard.

D.      State-Law Remedies (Epic Counts 7–10)55

734.    The Cartwright Act provides that “[a]ny person who is injured in his or her business or
        property by reason of anything forbidden or declared unlawful by this chapter, may sue
        therefor” to obtain “preliminary or permanent injunctive relief when and under the same
        conditions and principles as injunctive relief is granted by courts generally under the laws
        of this state and the rules governing these proceedings.” Cal. Bus. & Prof. Code
        § 16750(a).

735.    The UCL provides that “[a]ny person who engages, has engaged, or proposes to engage in
        unfair competition may be enjoined in any court of competent jurisdiction. The court may
        make such orders or judgments, including the appointment of a receiver, as may be
        necessary to prevent the use or employment by any person of any practice which constitutes
        unfair competition, as defined in this chapter, or as may be necessary to restore to any
        person in interest any money or property, real or personal, which may have been acquired
        by means of such unfair competition.” Cal. Bus. & Prof. Code § 17203.

736.    The UCL provides for injunctive relief “as may be necessary to prevent the use or
        employment by any person of any practice which constitutes unfair competition.” Cal.
        Bus. & Prof. Code § 17203. “[T]he primary form of relief available under the UCL to
        protect consumers from unfair business practices is an injunction.” In re Tobacco II Cases,
        46 Cal. 4th 298, 319 (2009). A private party seeking injunctive relief under the UCL may

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     State-law remedies are addressed in §§ 18.3–18.4.1, pages 150–54 of the Joint Elements
     Submission.


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        request “public injunctive relief,” McGill v. Citibank, N.A., 2 Cal. 5th 945, 954 (2017),
        which is “relief that by and large benefits the general public and that benefits the plaintiff,
        if at all, only incidentally and/or as a member of the general public,” id. at 955 (citations,
        alterations, and quotation marks omitted).

737.    “It has been a fundamental principle for well over a century that state law cannot expand
        or limit a federal court’s equitable authority.” Sonner v. Premier Nutrition Corp., 971 F.3d
        834, 841 (9th Cir. 2020). Thus, “a federal court must apply traditional equitable principles
        before awarding” equitable relief under state law. Id.; see also Roper v. Big Heart Pet
        Brands, Inc., No. 19-CV-406, 2020 WL 7769819, at *9 (E.D. Cal. Dec. 30, 2020) (applying
        Sonner to claim for injunctive relief).

738.    Any equitable relief issued under state law must therefore comport with the principles and
        limitations outlined above with respect to the Sherman Act claims. See supra § V.B.iii
        (¶¶ 662–734).

739.    “[T]he Commerce Clause precludes the application of a state statute to commerce that takes
        place wholly outside of the State’s borders, whether or not the commerce has effects within
        the State.” Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989) (alteration and quotation
        marks omitted).

740.    Any equitable relief issued under state law must therefore be limited to California.
        Otherwise, state law would reach conduct taking place wholly outside the State of
        California, in violation of the Commerce Clause.

                                    VI.     APPLE’S CLAIMS

A.      Breach of Contract (Apple Count I)

741.    Under California law, “the elements of a cause of action for breach of contract are (1) the
        existence of the contract, (2) plaintiff’s performance or excuse for nonperformance, (3)
        defendant’s breach, and (4) the resulting damages to the plaintiff.” Oasis W. Realty, LLC
        v. Goldman, 51 Cal. 4th 811, 821 (2011); accord Reichert v. Gen. Ins. Co. of Am., 68 Cal.
        2d 822, 830 (1968); CACI No. 303 (2020).

742.    “A contract is an agreement to do or not to do a certain thing.” Cal. Civ. Code § 1549. To
        prove the existence of a contract, a plaintiff must show (1) the parties were “capable of
        contracting” (i.e., they were not “minors, persons of unsound mind, and persons deprived
        of civil rights”), (2) each party freely communicated its assent to the terms of the contract,
        (3) the objects to which the parties agreed were lawful when the contract was made, and
        (4) the contract provided “sufficient cause or consideration.” Cal. Civ. Code §§ 1550,
        1556, 1565, 1595, 1596, 1605; see also Robinson v. Magee, 9 Cal. 81, 83 (1858) (“A
        contract is a voluntary and lawful agreement, by competent parties, for a good
        consideration, to do or not to do a specified thing.”).

743.    To establish that a contract is lawful, the plaintiff must show only that at least one objective
        of the contract is lawful. Koenig v. Warner Unified Sch. Dist., 41 Cal. App. 5th 43, 55
        (2019). “Where a contract has several distinct objects, of which one at least is lawful, and


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        one at least is unlawful, in whole or in part, the contract is void as to the latter and valid as
        to the rest.” Cal. Civ. Code § 1599; see also Fair v. Bakhtiari, 195 Cal. App. 4th 1135,
        1157 (2011) (“Civil Code section 1599 codifies the common law doctrine of severability
        of contracts.”).

744.    The DPLA constitutes a lawful contract, particularly as to those provisions breached by
        Epic.

745.    To prove that it performed its obligations under the contract, a plaintiff must show that
        “there has been no willful departure from the terms of the contract [by the plaintiff], and
        no omission of any of its essential parts, and that the [plaintiff] has in good faith performed
        all of its substantive terms.” Connell v. Higgins, 170 Cal. 541, 556 (1915); CACI No. 312
        (2020); accord Posner v. Grunwald-Marx, Inc., 56 Cal. 2d 169, 186–87 (1961); Kossler v.
        Palm Springs Devs., Ltd., 101 Cal. App. 3d 88, 101 (1980).

746.    Breach is an “unjustified or unexcused[] failure to perform a contract[ual]” obligation.
        CACI No. 303 (2020), Sources and Authority (citing 1 Witkin, Summary 10th Contracts
        § 847 (2005)).

747.    Epic breached the DPLA in two broad respects. First, Epic breached those provisions that
        require developers not to “hide, misrepresent or obscure any features, content, services or
        functionality” in its apps, FOF ¶ 107, or “provide, unlock or enable additional features or
        functionality” through any mechanisms outside of the App Store, by implementing the
        “hotfix” into the iOS version of Fortnite, FOF ¶ 106.4. Second, Epic breached its
        obligation to pay Apple “a commission equal to thirty percent (30%) of all prices payable
        by each end-user” for “sales of Licensed Applications [including any content, functionality,
        extensions, stickers, or services offered in the software application] to End-Users,” by not
        paying Apple its 30% commission on transactions executed through Epic Direct Payment.
        FOF ¶ 109.1.

748.    To prove causation, a plaintiff must show “the breach was a substantial factor in causing
        the damages.” US Ecology, Inc. v. California, 129 Cal. App. 4th 887, 909 (2005); CACI
        No. 303 (2020).

749.    Apple has been harmed by Epic’s breach by being deprived of its contractual 30%
        commission on digital transactions executed through Epic Direct Payment.

750.    Epic has stipulated to all elements of Apple’s breach of contract claim. Accordingly, unless
        Epic can prove one or more of its affirmative defenses, Epic is liable for breach of
        contract.56




56
     Apple represents that the parties are currently negotiating a stipulation and expect that it will
     be filed on April 9, 2021. If Epic ultimately does not stipulate to the breach-of-contract claim,
     Apple reserves the right to supplement these Proposed Conclusions of Law.


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B.      Breach of Implied Covenant of Good Faith and Fair Dealing (Apple Count II)

751.    “The covenant of good faith and fair dealing, implied by law in every contract, exists
        merely to prevent one contracting party from unfairly frustrating the other party’s right to
        receive the benefits of the agreement actually made.” Durell v. Sharp Healthcare, 183 Cal.
        App. 4th 1350, 1369 (2010) (emphasis and citation omitted). While “[a] breach of the
        implied covenant of good faith is a breach of the contract,” “‘breach of a specific provision
        of the contract is not . . . necessary’ to a claim for breach of the implied covenant of good
        faith and fair dealing.” Thrifty Payless, Inc. v. The Americana at Brand, LLC, 218 Cal.
        App. 4th 1230, 1244 (2013) (quoting Carma Developers (Cal.), Inc. v. Marathon Dev.
        Cal., Inc., 2 Cal. 4th 342, 373 (1992)); CACI No. 325 (2020).

752.    “In California, the factual elements necessary to establish a breach of the covenant of good
        faith and fair dealing are: (1) the parties entered into a contract; (2) the plaintiff fulfilled
        his obligations under the contract; (3) any conditions precedent to the defendant’s
        performance occurred; (4) the defendant unfairly interfered with the plaintiff’s rights to
        receive the benefits of the contract; and (5) the plaintiff was harmed by the defendant’s
        conduct.” Rosenfeld v. JPMorgan Chase Bank, N.A., 732 F. Supp. 2d 952, 968 (N.D. Cal.
        2010) (citing CACI No. 325 (2020)).

753.    Because Epic has stipulated to its breach of contract, there is no need to separately analyze
        its liability for breach of the covenant of good faith and fair dealing.57

C.      Quasi-Contract / Unjust Enrichment (Apple Count III)58

754.    Even if the DPLA were unenforceable, Epic would still be required to compensate Apple
        for Epic’s ongoing use of Apple’s intellectual property, including that covering iOS, the
        App Store, Apple’s APIs, and SDK, as well as for access to Apple’s user base. Apple
        therefore is entitled to recovery on its Quasi Contract / Unjust Enrichment Claim, based on
        all the benefits that Epic took by diverting to itself commissions that belonged to Apple as
        compensation for numerous services provided to Epic by Apple.

755.    Under California law, “unjust enrichment is an action in quasi-contract,” Paracor Fin., Inc.
        v. Gen. Elec. Capital Corp., 96 F.3d 1151, 1167 (9th Cir. 1996), under which a
        “restitutionary obligation” may arise even absent “a privity of relationship between the
        parties,” Hartford Cas. Ins. Co. v. J.R. Mktg., L.L.C., 61 Cal. 4th 988, 998 (2015). A quasi-
        contract/unjust-enrichment claim may thus be “plead[ed] in the alternative” to a breach of
        contract claim. Verde Media Corp. v. Levi, No. 14-CV-891-YGR, 2015 WL 374934, at *8
        (N.D. Cal. Jan. 28, 2015) (“[P]laintiff may plead in the alternative and ‘assert claims based
        on both the existence and the absence of a binding agreement between the parties.’”);



57
     If Epic ultimately does not stipulate to the breach-of-contract claim, Apple reserves the right
     to supplement these Proposed Conclusions of Law.
58
     Quasi-contract and unjust enrichment are addressed in §§ 14–14.2, pages 110–12 of the Joint
     Elements Submission.


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        Hawthorne v. Umpqua Bank, No. 11-CV-6700-YGR, 2012 WL 1458194, at *3 (N.D. Cal.
        Apr. 26, 2012) (same).

756.    “The doctrine applies where plaintiffs, while having no enforceable contract, nonetheless
        have conferred a benefit on defendant which defendant has knowingly accepted under
        circumstances that make it inequitable for the defendant to retain the benefit without paying
        for its value.” Hernandez v. Lopez, 180 Cal. App. 4th 932, 938 (2009). Thus, if Epic were
        to succeed in proving one of its affirmative defenses to Apple’s breach-of-contract claim,
        Epic still would have to answer in quasi-contract/unjust enrichment.

757.    Under California law, “[t]he elements for a claim of unjust enrichment are ‘receipt of a
        benefit and unjust retention of the benefit at the expense of another.’” Prakashpalan v.
        Engstrom, Lipscomb & Lack, 223 Cal. App. 4th 1105, 1132 (2014) (quotation marks
        omitted). “The theory of unjust enrichment requires one who acquires a benefit which may
        not justly be retained, to return either the thing or its equivalent to the aggrieved party so
        as not to be unjustly enriched.’” Id. (quotation marks omitted)

758.    To prove the first element of a quasi-contract/unjust enrichment claim, a plaintiff must
        demonstrate the defendant’s “receipt of a benefit.” Lectrodryer v. SeoulBank, 77 Cal. App.
        4th 723, 726 (2000). “The term ‘benefit’ connotes any type of advantage.” Hirsch v. Bank
        of Am., 107 Cal. App. 4th 708, 722 (2003) (emphasis in original). “Thus, a benefit is
        conferred not only when one adds to the property of another, but also when one saves the
        other from expense or loss.” Ghirardo v. Antonioli, 14 Cal. 4th 39, 51 (Cal. 1996).

759.    “For a benefit to be conferred, it is not essential that money be paid directly to the recipient
        by the party seeking restitution.” County of Solano v. Vallejo Redevelopment Agency, 75
        Cal. App. 4th 1262, 1278 (1999) (quotation marks omitted); see also Hirsch v. Bank of
        Am., 107 Cal. App. 4th 708, 722 (2003) (valid claim for unjust enrichment stated where
        banks “unjustified[ly]” collected and retained excessive fees passed through to them by
        third-party title companies at the expense of plaintiffs, “who absorbed the overage”).

760.    Epic received a benefit. By using Epic direct payment to circumvent paying Apple its
        commissions, Epic received and retained the benefits of access to iOS, the App Store,
        Apple’s APIs and SDK, other intellectual property, and Apple’s user base. See Ghirardo
        v. Antonioli, 14 Cal. 4th 39, 51 (1996) (“The term ‘benefit’ denotes any form of
        advantage.”). And to this day, Epic has not given Apple “its equivalent” in return: namely
        the commission. Prakashpalan v. Engstrom, Lipscomb & Lack, 223 Cal. App. 4th 1105,
        1132 (2014) (quotation marks omitted). Thus, Epic “enjoyed the benefits of the
        [agreement] without upholding its end of the bargain”: namely, paying the commission.
        Alkayali v. Hoed, No. 18-CV-777, 2018 WL 3425980, at *7 (S.D. Cal. July 16, 2018).

761.    The second element of unjust enrichment requires that “the circumstances of [a benefit’s]
        receipt or retention are such that, as between the two persons, it is unjust for him to retain
        it.” Ghirardo v. Antonioli, 14 Cal. 4th 39, 51 (1996) (quotation marks omitted). But “[t]he
        fact that one person benefits another is not, by itself, sufficient to require restitution” for
        an unjust enrichment claim. First Nationwide Sav. v. Perry, 11 Cal. App. 4th 1657, 1663
        (1992). “Determining whether it is unjust for a person to retain a benefit may involve


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766.    Therefore, Apple is entitled to restitution based on all the benefits that Epic took by
        diverting to itself commissions that rightfully belonged to Apple as compensation for the
        app distribution and other services provided to Epic by Apple.

D.      Indemnification (Apple Count VII)59

767.    Apple is contractually entitled to indemnification from Epic, including recovery of
        attorneys’ fees and costs of defending this litigation and pursuing its Counterclaims.

768.    Under California law, “[a]n indemnity agreement is to be interpreted according to the
        language and contents of the contract as well as the intention of the parties as indicated by
        the contract.” Myers Bldg. Indus., Ltd. v. Interface Tech., Inc., 13 Cal. App. 4th 949, 968
        (1993); see also Herman Christensen & Sons, Inc. v. Paris Plastering Co., 61 Cal. App.
        3d 237, 245 (1976) (where the parties “have expressly contracted with respect to the duty
        to indemnify, the extent of that duty must be determined from the contract and not by
        reliance on the independent doctrine of equitable indemnity” (quotation marks omitted)).
        Such agreements “are construed under the same rules that govern the interpretation of other
        contracts.” Alki Partners, LP v. DB Fund Servs., LLC, 4 Cal. App. 5th 574, 600 (2016).

769.    The DPLA between Apple and Epic provides, at section 10:

        To the extent permitted by applicable law, You agree to indemnify and hold
        harmless . . . from any and all claims, losses, liabilities, damages, taxes, expenses
        and costs, including without limitation, attorneys’ fees and court costs . . .
        incurred by [Apple] and arising from or related to any of the following . . . : (i)
        Your breach of any certification, covenant, obligation, representation or warranty
        in this Agreement, including Schedule 2; . . . or (vi) Your use (including Your
        Authorized Developers’ use) of the Apple Software or services, Your Licensed
        Application Information, Pass Information, metadata, Your Authorized Test
        Units, Your Registered Devices, Your Covered Products, or Your development
        and distribution of any of the foregoing.

        FOF ¶ 110.
770.    Because Epic’s claims arise from and relate to, inter alia, Epic’s breaches of the DPLA
        and its use of the Apple Software or services, Apple has the right to indemnification here.
        The DPLA provides that indemnification will be triggered by “[Epic’s] breach of any
        certification, covenant, obligation, representation or warranty in this Agreement.” FOF
        ¶ 110. That clause plainly contemplates that Epic will indemnify Apple for claims arising
        out of Epic’s “breach” of the “obligation[s]” and “covenant[s]” in the contract. Id.

771.    It is undisputed that Epic breached the DPLA, Schedule 2, ¶ 3.4(a), by failing to pay Apple
        agreed-to commissions on its in-app sales through Fortnite, and Apple brought a series of
        Counterclaims in response. Under the express terms of the DPLA, therefore, Apple is



59
     Indemnification is addressed in § 15, page 113 of the Joint Elements Submission.


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        entitled to indemnification here for the recovery of attorneys’ fees and costs of pursuing its
        Counterclaims.

772.    Not only is Apple entitled to indemnification for pursuing its Counterclaims, it is also
        entitled to indemnification for the costs of defending this litigation. Epic’s lawsuit asserts
        claims “arising from or related to” its breaches of its certifications, covenants, obligations,
        representations, and warranties under the DPLA. FOF ¶ 110. Throughout this litigation,
        Epic has challenged the same “contractual provisions” and “contractual restraints,” see,
        e.g., Dkt. 1 ¶¶ 228, 229, 262, that it breached by “covertly introduc[ing] a ‘hotfix’ into the
        Fortnite version 13.40 update,” see Dkt. 118 at 6, “clandestinely add[ing] features in
        violation of the guidelines and its agreements with Apple,” id. at 7 n.7.

773.    There is no dispute that Epic’s conduct violated the DPLA. See supra V.A–V.B (¶¶ 742–
        54). Epic’s breach of these contractual obligations is related to Epic’s antitrust claims
        because, among other things, Epic contends that its breach was justified because the
        contracts themselves are allegedly illegal and unenforceable. See Dkt. 106 at 1 (“Epic
        denies that its refusal to abide by Apple’s anti-competitive scheme was in any way
        wrongful” because “the agreements . . . are illegal and unenforceable.”); id. at 17 (“Apple’s
        Contracts Are Illegal and Unenforceable”). Epic’s entire theory of the case is related to its
        breach of those agreements.

774.    Epic could have litigated its antitrust claims without breaching its contract with Apple.
        Epic’s deliberate decision to breach first and then bring suit—all part of its coordinated
                   marketing strategy—makes all of Apple’s costs of defense covered by the
        contractual indemnification provision.

775.    In addition, Epic’s lawsuit “aris[es] from and relat[e]s” to Epic’s “use of . . . Apple’s
        Software and services.” FOF ¶ 110. The indemnification clause’s language—“any claim
        arising from or related to”—is to be interpreted broadly. See Rice v. Downs, 248 Cal. App.
        4th 175, 186 (2016) (“A ‘broad’ clause includes those using language such as ‘any claim
        arising from or related to this agreement.’” (emphases omitted)); see also Howard v.
        Goldbloom, 30 Cal. App. 5th 659, 663 (2018) (same). Epic’s entire lawsuit is an attempt
        to change—in fact, dictate—the terms of its “use of . . . Apple’s software,” such as its
        Metal, Apple’s Software Development Kit (SDK), and other software that Epic has
        admitted to using and has admitted is critical for the development of apps on iOS.
        Moreover, Epic’s claims are about its use of Apple’s services: “distribution services,” Dkt.
        1 ¶ 49, and so-called “in-app payment processing services,” id. ¶ 16. In short, the
        indemnification clause plainly contemplates that Epic will indemnify Apple for claims
        arising out of Epic’s use of Apple’s Software (such as Metal, SDKs, etc.) and Apple’s
        distribution services, including IAP.

776.    Apple, therefore, is entitled to indemnification for both the costs of defending this litigation
        and pursuing its Counterclaims, under the express language of the DPLA.




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E.      Epic’s Affirmative Defenses60

        i.      Illegality (Apple Counts I, II, and VII)61

777.    Epic has raised the defense that Apple’s counterclaims are barred because they are based
        on contracts that are illegal and unenforceable under the antitrust laws. See Dkt. 106 at 17.
        This defense may be raised under both federal law and state law.

                b.      Illegality Under Federal Law

778.    “[W]hile the effect of illegality under a federal statute is a matter of federal law, . . . the
        federal courts should not be quick to create a policy of nonenforcement of contracts beyond
        that which is clearly the requirement of the Sherman Act.” Kelly v. Kosuga, 358 U.S. 516,
        519 (1959). But “the illegality defense should be entertained in those circumstances where
        its rejection would be to enforce conduct that the antitrust laws forbid.” Kaiser Steel Corp.
        v. Mullins, 455 U.S. 72, 81–82 (1982).

779.    Courts decline to enforce a contract as in violation of the Sherman Act if “the judgment of
        the Court would itself be enforcing the precise conduct made unlawful by [the antitrust
        laws].” Kelly, 358 U.S. at 520; see also El Salto, S. A. v. PSG Co., 444 F.2d 477, 482 (9th
        Cir. 1971) (“The Supreme Court has ruled that a Sherman Act violation is not an
        affirmative defense to a contract suit, even where the violation is inherent in the contract
        sued upon, so long as judicial enforcement of the contract would not be enforcing the
        precise conduct made unlawful by the Act.”); Kaiser Trading Co. v. Associated Metals &
        Minerals Corp., 321 F. Supp. 923, 930 (N.D. Cal. 1970) (“Although the courts will not
        enforce a contract that is an illegal restraint on trade, it is the contract being sued upon
        which must give rise to the illegal or anticompetitive effect; it is not enough that the
        plaintiff’s general activities are anticompetitive.”); Bassidji v. Goe, 413 F.3d 928, 936 (9th
        Cir. 2005) (“Both federal law and California law begin from the core proposition that
        whatever flexibility may otherwise exist with regard to the enforcement of ‘illegal’
        contracts, courts will not order a party to a contract to perform an act that is in direct
        violation of a positive law directive, even if that party has agreed, for consideration, to
        perform that act.”).

780.    A “plea of illegality based on violation of the Sherman Act” is disfavored, and if “a lawful
        sale for a fair consideration constitutes an intelligible economic transaction in itself,” it is
        appropriate to enforce the contract “even though [the transaction] furnished the occasion
        for a restrictive agreement.” Kelly v. Kosuga, 358 U.S. 516, 518, 521 (1959); see also
        Electroglas, Inc. v. Dynatex Corp., 473 F. Supp. 1167, 1170 (N.D. Cal. 1979) (“Federal
        cases hold that the purchaser cannot avoid paying for goods received under a contract by
        claiming an antitrust defense.”).

60
     Apple has addressed here only those affirmative defenses of Epic set forth in the Joint Elements
     Submission. Apple reserves the right to brief and argue any additional affirmative defenses
     Epic intends to assert at trial.
61
     Illegality is addressed in §§ 16.1–16.1.2, pages 115–18 of the Joint Elements Submission.


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781.    Epic cannot avoid its obligations under the contract to remit a 30% commission to Apple
        for sales executed during the period in which the “hotfix” was in place.

782.    First, Epic’s antitrust claims fail on the merits for all of the reasons described above, see
        supra § III, and thus there is nothing illegal about the contract restrictions it violated as part
        of Project Liberty.

783.    Second, Apple’s commission “constitutes an intelligible economic transaction in itself.”
        Kelly v. Kosuga, 358 U.S. 516, 521 (1959). “[I]t can hardly be said to enforce a violation
        of the [Sherman] Act to give legal effect to a completed sale of [goods] at a fair price.” Id.
        Whatever prospective relief Epic may be entitled to in terms of its obligations under the
        DPLA, that does not justify its refusal to pay Apple anything for its use of iOS and its
        intellectual property for those transactions executed while the “hotfix” was in place. There
        is no serious question that the 30% commission Epic is obligated to pay Apple represents
        a “fair price,” as it is the same base commission rate charged on virtually every other game
        app platform except Epic’s. FOF ¶¶ 249.18, 472, 568.

784.    Epic could have adhered to its contract and sought a declaratory judgment—instead, it
        elected to willingly violate the DPLA and refuse to pay the price agreed upon for Apple’s
        services and property. The Supreme Court has made clear that such a course of conduct
        does not absolve a party of its obligation to pay for services and goods already rendered or
        delivered.

785.    Third, enforcement of the contract here would not “enforce conduct that the antitrust laws
        forbid.” Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 81 (1982). The antitrust laws do not
        forbid two parties from contracting for the compensated licensing of intellectual property.
        Even under Epic’s theory that the IAP requirements of the DPLA are anticompetitive, Epic
        also failed to remit to Apple a 30% commission for digital transactions effected on the iOS
        Fortnite app. Epic committed (at least) two separate breaches of contract: one for
        bypassing IAP, and another for not remitting the commission to Apple. Indeed, the
        commission is charged as “consideration for [Apple’s] services as [the developer’s] agent,”
        explained elsewhere to mean that Apple acts as the “agent for the marketing and delivery”
        of the developers’ apps. FOF ¶ 109. Epic’s affirmative defense of illegality under federal
        law, to the extent it is viable at all, would reach only the first breach and not the second.

786.    This delineation among different provisions of the contract for purposes of evaluating
        illegality comports with the law of severability. In California, “where a single contract
        provision is invalid, but the balance of the contract is lawful, the invalid provision is
        severed, and the balance of the contract is enforced.” Kec v. Superior Court of Orange
        Cnty., 51 Cal. App. 5th 972, 974–75 (2020). For example, when a contract is held to be
        unconscionable, “the strong legislative and judicial preference is to sever the offending
        term and enforce the balance of the agreement.” Lange v. Monster Energy Co., 46 Cal.
        App. 5th 436, 453 (2020) (quotation marks omitted); see also Cal. Civ. Code § 1670.5.

787.    Thus, as under the federal cases regarding illegality, the lawful provisions of a contract
        may (and indeed must) be enforced even if some provisions of a contract have been held
        to be illegal or unconscionable. Regardless of the disposition of Epic’s Sherman Act


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        claims, the lawful portions of the DPLA—including the 30% commission that Epic must
        pay for digital in-app transactions—is unchallenged by Epic and unquestionably lawful.
        There is no impediment in the Sherman Act to enforcing that and the other provisions of
        the DPLA.

                c.      Illegality Under State Law

788.    State law regarding illegality also does not provide a defense for Epic.

789.    Under California law, “[t]he object of a contract must be lawful when the contract is made.”
        Cal. Civ. Code § 1596. Among other possibilities, a contract is unlawful if it is (1)
        “[c]ontrary to an express provision of law,” (2) “[c]ontrary to the policy of express law,
        though not expressly prohibited,” or (3) “[o]therwise contrary to good morals.” Cal. Civ.
        Code § 1667.

790.    “A contract must receive such an interpretation as will make it lawful, operative, definite,
        reasonable, and capable of being carried into effect, if it can be done without violating the
        intention of the parties.” Cal. Civ. Code § 1643.

791.    “[T]he general rule [is] that the courts will deny relief to either party who has entered into
        an illegal contract or bargain which is against public policy.” Tri-Q, Inc. v. Sta-Hi Corp.,
        63 Cal. 2d 199, 216 (1965). California courts will not “fashion an equitable remedy” where
        doing so involves “enforcing the precise conduct made unlawful . . . in contravention of
        the legislative purpose.” Joe A. Freitas & Sons v. Food Packers, Processors &
        Warehousemen Local 865, 164 Cal. App. 3d 1210, 1219 (1985).

792.    “The rule that the courts will not lend their aid to the enforcement of an illegal agreement
        or one against public policy is fundamentally sound.” Tri-Q, Inc. v. Sta-Hi Corp., 63 Cal.
        2d 199, 218 (1965) (quotation marks omitted). However, “[w]here, by applying the rule,
        the public cannot be protected because the transaction has been completed, where no
        serious moral turpitude is involved, where the defendant is the one guilty of the greatest
        moral fault, and where to apply the rule will be to permit the defendant to be unjustly
        enriched at the expense of the plaintiff, the rule should not be applied.” Id. at 219
        (quotation marks omitted).

793.    “Where a contract has several distinct objects, of which one at least is lawful, and one at
        least is unlawful, in whole or in part, the contract is void as to the latter and valid as to the
        rest.” Cal. Civ. Code § 1599. Thus, if the alleged “illegality is collateral to the main purpose
        of the contract, and the illegal provision can be extirpated from the contract by means of
        severance or restriction, then such severance and restriction are appropriate.” Marathon
        Entm’t, Inc. v. Blasi, 42 Cal. 4th 974, 996 (2008) (quotation marks omitted).

794.    “If one of the alternative acts required by an obligation is such as the law will not enforce,
        or becomes unlawful, or impossible of performance, the obligation is to be interpreted as
        though the other stood alone.” Cal. Civ. Code § 1451.




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        contract violate an express mandate of a statute before it may be declared void as contrary
        to public policy.”).

803.    “The authorities all agree that a contract is not void as against public policy unless it is
        injurious to the interests of the public as a whole or contravenes some established interest
        of society.” Rosenberg v. Raskin, 80 Cal. App. 2d 335, 338 (1947). “California has a
        settled public policy in favor of open competition.” Kelton, 138 Cal. App. 4th at 946; see
        also Margolin v. Shemaria, 85 Cal. App. 4th 891, 901 (2000) (“Both legislative enactments
        and administrative regulations can be utilized to further this state’s public policy of
        protecting consumers in the marketplace of goods and services.”).

804.    A provision in a contract that obligates a party to the contract to violate the antitrust laws
        is void as against public policy. See Foley v. Interactive Data Corp., 47 Cal. 3d 654, 713
        n.12 (1988) (citing Tameny v. Atlantic Richfield Co., 27 Cal. 2d 167 (1980)).

805.    “Where a contract has several distinct objects, of which one at least is lawful, and one at
        least is unlawful, in whole or in part, the contract is void as to the latter and valid as to the
        rest.” Cal. Civ. Code § 1599.

806.    The defense of public policy does not apply here for the same reasons the defense of
        illegality does not. See supra § VI.E.i (¶¶ 778–801). Namely, the DPLA is not in violation
        of the antitrust laws and not in violation of public policy, and enforcement of the 30%
        commission rate would not require the Court to enforce any provision that Epic challenges
        as unlawful.

807.    Moreover, any provisions challenged by Epic as unlawful are severable from the 30%
        commission that Epic is obliged to pay for Apple’s services. The portion of the agreement
        providing for a commission does not even mention IAP. FOF ¶ 109.

        iii.    Unconscionability (Apple Counts I, II, and VII)63

808.    Epic has raised the defense that Apple’s counterclaims are barred because “the contracts
        on which Apple’s counterclaims are based are unconscionable on the basis that they are
        contrary to the antitrust laws and unfair competition laws, as Epic respectfully requests this
        Court to determine on the basis of Epic’s claims against Apple.” Dkt. 106 at 17–18.

809.    “[A] contract or provision, even if consistent with the reasonable expectations of the
        parties, will be denied enforcement if, considered in its context, it is unduly oppressive or
        ‘unconscionable.’” Graham v. Scissor-Tail, Inc., 28 Cal. 3d 807, 820 (1981).

810.    “Unconscionability has generally been recognized to include an absence of meaningful
        choice on the part of one of the parties together with contract terms which are unreasonably
        favorable to the other party. Phrased another way, unconscionability has both a
        ‘procedural’ and a ‘substantive’ element. . . . [B]oth the procedural and substantive
        elements must be met before a contract or term will be deemed unconscionable. Both,

63
     Unconscionability is addressed in § 16.3, pages 120–21 of the Joint Elements Submission.


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        however, need not be present to the same degree. A sliding scale is applied so that the
        more substantively oppressive the contract term, the less evidence of procedural
        unconscionability is required to come to the conclusion that the term is unenforceable, and
        vice versa.” Lhotka v. Geographic Expeditions, 181 Cal. App. 4th 816, 821 (2010)
        (citations and some quotation marks omitted).

811.    “If the court as a matter of law finds the contract or any clause of the contract to have been
        unconscionable at the time it was made the court may refuse to enforce the contract, or it
        may enforce the remainder of the contract without the unconscionable clause, or it may so
        limit the application of any unconscionable clause as to avoid any unconscionable result.”
        Cal. Civ. Code § 1670.5(a); Graham, 28 Cal. 3d at 820 n.19 (citing Cal. Civ. Code §
        1670.5) (“The judicially developed concept of unconscionability has recently become a
        part of our statutory law.”).

812.    “The procedural element of the unconscionability analysis concerns the manner in which
        the contract was negotiated and the circumstances of the parties at that time. The element
        focuses on oppression or surprise. Oppression arises from an inequality of bargaining
        power that results in no real negotiation and an absence of meaningful choice. Surprise is
        defined as the extent to which the supposedly agreed-upon terms of the bargain are hidden
        in the prolix printed form drafted by the party seeking to enforce the disputed terms.”
        Gatton v. T-Mobile USA, Inc., 152 Cal. App. 4th 571, 581 (2007) (internal quotation marks
        and citations omitted).

813.    “Unconscionability analysis begins with an inquiry into whether the contract is one of
        adhesion. The term contract of adhesion signifies a standardized contract, which, imposed
        and drafted by the party of superior bargaining strength, relegates to the subscribing party
        only the opportunity to adhere to the contract or reject it.” Armendariz v. Found. Health
        Psychcare Servs., Inc., 24 Cal. 4th 83, 113 (2000) (quotation marks and alterations
        omitted).

814.    “The substantive element of the unconscionability analysis focuses on overly harsh or one-
        sided results,” Gatton, 152 Cal. App. 4th at 586, or “whether a contractual provision
        reallocates risks in an objectively unreasonable or unexpected manner,” Lhotka, 181 Cal.
        App. 4th at 821. Substantive unconscionability “traditionally involves contract terms that
        are so one-sided as to ‘shock the conscience,’ or that impose harsh or oppressive terms.”
        Wherry v. Award, Inc., 192 Cal. App. 4th 1242, 1248 (2011).

815.    The DPLA is not unconscionable for the same reasons the defense of illegality does not
        apply. See supra § VI.E.i (¶¶ 778–801).

816.    Moreover, there is nothing about the challenged provisions that “shock the conscience.”
        These provisions are commonplace in the industry, and in fact can be found in the
        agreements of numerous other transaction platforms with which Epic does business. FOF
        ¶¶ 249.18, 472, 568. Apple has been using these same standard terms, in sum or substance,
        since 2008, FOF ¶ 48, and Epic has been operating under them since 2010, FOF ¶ 252. No
        other court has held such provisions to be substantively unconscionable, and there is no
        basis in law or fact for this Court to be the first.


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817.    Epic has waived any argument that the indemnification clause of the DPLA is substantively
        unconscionable. Epic asserted the defense of unconscionability solely on the basis that the
        DPLA is “contrary to the antitrust laws and unfair competition law.” Dkt. 106 at 17. Epic
        made no mention of any other basis for unconscionability. Having failed to timely raise
        the defense of unconscionability with respect to the indemnification clause or timely sought
        to amend, Epic cannot pursue an unconscionability defense on that basis. See John R. Sand
        & Gravel Co. v. United States, 552 U.S. 130, 133 (2008) (explaining that an affirmative
        must be “raise[d] at the pleadings stage and . . . is subject to rules of forfeiture and
        waiver”); Arizona v. California, 530 U.S. 392, 410 (2000) (“[A]n affirmative defense [is]
        ordinarily lost if not timely raised.”).

818.    In any event, the indemnification provision of the DPLA is not substantively
        unconscionable. California courts routinely recognize that such clauses are enforceable.
        See, e.g., Marin Storage & Trucking, Inc. v. Benco Contracting & Eng’g, Inc., 89 Cal. App.
        4th 1042, 1056 (2001). In the rare cases where a clause has been held unconscionable, the
        clause required indemnification by a contracting party for all damages arising out of the
        performance of the contract, even those caused by the counterparty and for which the
        contracting party would otherwise be entitled to damages. See Lennar Homes of Cal., Inc.
        v. Stephens, 232 Cal. App. 4th 673, 691–93 (2014). No such circumstances are alleged
        here.

                                  VII.   APPLE’S REMEDIES

A.      Compensatory Damages (Apple Counts I–II)64

819.    As compensation for Epic’s breach of contract and its breach of the implied covenant of
        good faith and fair dealing, Apple is entitled to            in compensatory damages,
        plus 30% of any additional revenue taken in by Epic from iOS users using Epic’s
        alternative payment function from November 1, 2020 through the date of judgment.

820.    Under California law, “[f]or the breach of an obligation arising from contract, the measure
        of damages . . . is the amount which will compensate the party aggrieved for all the
        detriment proximately caused thereby, or which, in the ordinary course of things, would be
        likely to result therefrom.” Cal. Civ. Code § 3300. Except where otherwise provided by
        law, “no person can recover a greater amount in damages for the breach of an obligation,
        than he could have gained by the full performance thereof on both sides.” Id. § 3358.
        Compensatory damages in a breach-of-contract action therefore “seek to approximate the
        agreed-upon performance,” and the “goal is to put the plaintiff in as good a position as he
        or she would have occupied if the defendant had not breached the contract.” Lewis Jorge
        Constr. Mgmt., Inc. v. Pomona Unified Sch. Dist., 34 Cal. 4th 960, 967 (2004) (quotation
        marks omitted); see also Brandon & Tibbs v. George Kevorkian Accountancy Corp., 226
        Cal. App. 3d 442, 455 (1990) (“The basic object of damages is compensation, and in the
        law of contract the theory is that the party injured by a breach should receive as nearly as
        possible the equivalent of the benefits of performance.”). “[T]he nonbreaching party is
        entitled to recover only those damages, including lost future profits, which are ‘proximately

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     Compensatory damages are addressed in § 19.1, page 155 of the Joint Elements Submission.


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        caused’ by the specific breach.” Postal Instant Press v. Sealy, 43 Cal. App. 4th 1704, 1709
        (1996).

821.    “Contractual damages are of two types—general damages (sometimes called direct
        damages) and special damages (sometimes called consequential damages).” Lewis Jorge
        Constr. Mgmt., Inc. v. Pomona Unified Sch. Dist., 34 Cal. 4th 960, 968 (2004); see also
        Mission Beverage Co. v. Pabst Brewing Co., LLC, 15 Cal. App. 5th 686, 710–11 (2017)
        (categorizing damages). “General damages” are those that “flow directly and necessarily
        from a breach of contract, or that are a natural result of a breach.” Lewis Jorge Constr., 34
        Cal. 4th at 968. “[S]pecial damages are those losses that do not arise directly and inevitably
        from any similar breach of any similar agreement,” but instead “are secondary or derivative
        losses arising from circumstances that are particular to the contract or the parties.” Id.

822.    But for Epic’s breach of the DPLA, it would have paid Apple the contractually required
        30% of all of the digital transactions executed by iOS users of Fortnite. Since Epic’s
        surreptitious implementation of the “hotfix” and Epic direct payment up through October
        2020, users of the iOS version of Fortnite have made in-app purchases through Epic direct
        payment totaling              . FOF ¶ 317. Apple is entitled to 30% of those transactions
        as compensation for Epic’s admitted breach of contract, and Apple therefore is entitled to
                        in compensatory damages as of October 31, 2020, and 30% of all
        transactions executed through Epic’s alternative payment system after that date.

B.      Unjust Enrichment (Apple Count III)65

823.    Even if the DPLA and the 30% commission memorialized therein were unenforceable
        under the defense of illegality, that would not exempt Epic from having to pay for its access
        to iOS, the App Store, Apple’s APIs and SDK, other intellectual property, and Apple’s user
        base. Apple is entitled to restitution for Epic’s unjust enrichment for its use of Epic direct
        payment to circumvent having to pay Apple for use of Apple’s facilities and intellectual
        property.

824.    “Under the law of restitution, an individual may be required to make restitution if he is
        unjustly enriched at the expense of another.” Ghirardo v. Antonioli, 14 Cal. 4th 39, 51
        (1996); see also First Nationwide Savings v. Perry, 11 Cal. App. 4th 1657, 1662 (1992)
        (same). “[R]estitution may be awarded in lieu of breach of contract damages when the
        parties had an express contract, but it was procured by fraud or is unenforceable or
        ineffective for some reason.” McBride v. Bougthon, 123 Cal. App. 4th 379, 388 (2004);
        see also Hartford Casualty Ins. Co. v. J.R. Mktg., LLC, 61 Cal. 4th 988, 998 (2015).

825.    The “amount by which defendants were unjustly enriched” typically is “the net profit
        attributable to the underlying wrong.” Am. Master Lease LLC v. Idanta Partners, Ltd., 225
        Cal. App. 4th 1451, 1491 (2014) (quotation marks omitted). “The amount of restitution to
        be made is sometimes described as the ‘benefit’ received by the defendant.” Id. at 1487.
        Restitution may also be set at “the amount[] necessary to place the plaintiff in as good a

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     Restitution and unjust enrichment are addressed in § 19.2, page 156 of the Joint Elements
     Submission.


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        position as he or she would have been had no contract been made. Consequently, an award
        limited to unjust enrichment is a relatively mechanical and undemanding calculation.”
        Hernandez v. Lopez, 180 Cal. App. 4th 932, 938–39 (2009) (citation, alterations, and
        quotation marks omitted). The award may also include “compensation, reimbursement,
        indemnification, or reparation for benefits derived from, or for loss or injury caused to,
        another.” Dunkin v. Boskey, 82 Cal. App. 4th 171, 198 (2000) (quotation marks omitted).

826.    Even if Epic were entitled to the equitable relief it seeks, there is no question that through
        Epic direct payment, Epic used Apple’s intellectual property and resources—iOS, the App
        Store, and all of the resources that go into the maintenance and operation of those
        facilities—to enrich itself without paying compensation to Apple. As set forth above, such
        unpaid-for enrichment gives rise to a claim for restitution, regardless of the viability of
        Epic’s legal defenses to the enforcement of the contract.

827.    The proper measure of damages here is 30% of Epic’s revenue obtained through use of
        Epic Direct Pay for iOS users. That is the rate set forth in the DPLA, FOF ¶ 109 , and even
        if the DPLA is itself unenforceable, Epic agreed that Apple would retain 30% of revenue
        from all transactions, and that is therefore the amount Epic has been unjustly enriched by
        benefitting from and taking advantage Apple’s resources without its authorization.

828.    Moreover, the industry-standard base commission rate is 30%. FOF ¶ 472, 568. Thus,
        even if that rate were not memorialized in the DPLA, that is the fair-market rate for the
        services that Apple provides to developers (including Epic) through the App Store.

829.    Accordingly, unjust enrichment provides an alternative basis for the award of
        $3,650,315.70 to Apple, plus 30% of any transactions executed through Epic’s alternative
        payment system going forward, as compensation for Epic’s unauthorized use of its
        facilities.

C.      Declaratory Judgment (Apple Count VI)66

830.    Apple is entitled to declaratory judgment that the DPLA and the License Agreement are
        valid and enforceable obligations.

831.    “In a case of actual controversy within its jurisdiction . . . , any court of the United States,
        upon the filing of an appropriate pleading, may declare the rights and other legal relations
        of any interested party seeking such declaration, whether or not further relief is or could be
        sought. Any such declaration shall have the force and effect of a final judgment or decree
        and shall be reviewable as such.” 28 U.S.C. § 2201(a).

832.    The test for declaratory relief is “‘whether the facts alleged, under all the circumstances,
        show that there is a substantial controversy, between parties having adverse legal interests,
        of sufficient immediacy and reality to warrant’ relief.” MedImmune, Inc. v. Genentech,
        Inc., 549 U.S. 118, 127 (2007) (quoting Md. Cas. Co. v. Pacific Coal & Oil Co., 312 U.S.

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     Declaratory judgment is addressed in §§ 18.1–18.1.2, 19.3, pages 128–30, 157 of the Joint
     Elements Submission.


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        270, 273 (1941)). Moreover, “the dispute [must] be definite and concrete, touching the
        legal relations of parties having adverse legal interests; [and must] be real and substantial
        and admi[t] of specific relief through a decree of a conclusive character, as distinguished
        from an opinion advising what the law would be upon a hypothetical state of facts.” Id.
        (quotation marks omitted).

833.    Courts have “substantial discretion in deciding whether to declare the rights of litigants”
        under the Declaratory Judgment Act. MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118,
        136 (2007). This “substantial” discretion permits the Court to consider “equitable,
        prudential, and policy arguments” for or against the declaratory relief sought. Id.

834.    A “district court should avoid needless determination of state law issues,” “should
        discourage litigants from filing declaratory actions as a means of forum shopping,” and
        “should avoid duplicative litigation.” Principal Life Ins. Co. v. Robinson, 394 F.3d 665,
        672 (9th Cir. 2005) (quotation marks omitted).

835.    Courts also consider “whether the declaratory action will settle all aspects of the
        controversy; whether the declaratory action will serve a useful purpose in clarifying the
        legal relations at issue; whether the declaratory action is being sought merely for the
        purposes of procedural fencing or to obtain a ‘res judicata’ advantage; or whether the use
        of a declaratory action will result in entanglement between the federal and state court
        systems.” Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220, 1225 n.5 (9th Cir. 1998). The
        district court must “balance concerns of judicial administration, comity, and fairness to the
        litigants.” Principal Life Ins. Co. v. Robinson, 394 F.3d 665, 672 (9th Cir. 2005) (quotation
        marks omitted).

836.    As evidenced by the fact that Epic has openly violated the terms of the DPLA and brought
        this suit, there plainly is a live controversy between the parties regarding the validity and
        enforceability of the DPLA, as well as the lawfulness of Apple’s termination of Epic’s
        DPLA and its License Agreement. The dispute is both “definite” and “concrete,” and a
        decree that Apple has the right to exclude Fortnite from the App Store and terminate Epic’s
        License Agreement would offer conclusive relief to Apple. MedImmune, Inc. v.
        Genentech, Inc., 549 U.S. 118, 127 (2007).

837.    As set forth above, Epic has admittedly breached the DPLA, and it had no justification for
        doing so. The terms of the DPLA are not in violation of the antitrust laws, and even if they
        were, that would not excuse Epic’s intentional breach and unjust enrichment of itself at the
        expense of Apple.

838.    Therefore:

        A.     The Developer Agreement and the DPLA are valid, lawful, and enforceable
               contracts;

        B.     Apple’s termination of the Developer Agreement with Epic was valid, lawful, and
               enforceable;




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        C.     Apple’s termination of the DPLA with Epic for cause was valid, lawful, and
               enforceable;

        D.     Apple has the contractual right to terminate its Developer Agreement with any or
               all of Epic’s wholly owned subsidiaries, affiliates, and/or other entities under Epic’s
               control, including Epic International (collectively, “Epic Affiliates”), at any time
               and at Apple’s sole discretion; and

        E.     Apple has the contractual right to terminate the DPLA with any or all of the Epic
               Affiliates for any reason or no reason upon 30 days written notice, or effective
               immediately for any “misleading, fraudulent, improper, unlawful or dishonest act
               relating to” the DPLA.

        Dkt. 276-1, Appendix A at 8–9.

D.      Indemnification (Apple Count VII)67

839.    An express indemnity clause “is enforced in accordance with the terms of the contracting
        parties’ agreement.” Prince v. Pac. Gas & Elec. Co., 45 Cal. 4th 1151, 1158 (2009).

840.    The indemnity clause within the DPLA provides for the recovery of attorneys’ fees. The
        clause provides:

        To the extent permitted by applicable law, You [Epic] agree to indemnify, defend
        and hold harmless Apple, and upon Apple’s request, defend Apple, its directors,
        officers, employees, independent contractors and agents (each an “Apple
        Indemnified Party”) from any and all claims, losses, liabilities, damages, expenses
        and costs, including without limitation attorneys’ fees and court costs,
        (collectively “Losses”) incurred by an Apple Indemnified Party and arising from
        or related to any of the following (but excluding for purposes of this Section, any
        Internal Use Application for macOS that does not use any Apple Services or
        Certificates): (i) Your breach of any certification, covenant, obligation,
        representation or warranty in this Agreement; (ii) any claims that Your Covered
        Product or metadata or the deployment, delivery, use or importation of Your
        Covered Product (whether alone or as an essential part of a combination) violate
        or infringe any third party intellectual property or proprietary rights, (iii) any
        Employee, Customer, Permitted Entity, or Permitted User claims about Your
        Covered Product, including, but not limited to, a breach of any of Your
        obligations under any end-user license that You include for Your Covered
        Product; (iv) Your use of the Apple Software, certificates or services (including,
        but not limited to, use of MDM, Configuration Profiles, and certificates), Your
        Covered Product, metadata, Deployment Devices, or Your development and
        deployment of any Covered Product; and/or (v) any MDM Customer claims about
        Your Compatible Products, as well as any claims that Your Compatible Products
        violate or infringe any third party intellectual property or proprietary rights.

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     Indemnification is addressed in § 19.4, pages 158–59 of the Joint Elements Submission.


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        FOF ¶ 110.

841.    The indemnity clause within the DPLA provides for reimbursement of attorneys’ fees by
        Epic in litigation between Apple and Epic. A contract providing for indemnification for
        “expenses and attorney’s fees suffered or incurred on account of any breach of the
        aforesaid obligations and covenants, any other provision or covenant of this [contract]”
        contemplates indemnification for attorneys’ fees arising out of a breach of the contract.
        Cont’l Heller Corp. v. Amtech Mech. Servs., Inc., 53 Cal. App. 4th 500, 509 (1997). The
        clause here provides that indemnification will be triggered by “[Epic’s] breach of any
        certification, covenant, obligation, representation or warrant in this Agreement.” FOF
        ¶ 110. The clause plainly contemplates that Epic will indemnify Apple for claims arising
        out of Epic’s “breach” of the “obligation[s]” and “covenant[s]” in the contract, and
        therefore requires indemnification of Apple’s attorneys’ fees in this lawsuit. Although a
        “court will not infer that the parties intended an indemnification provision to cover attorney
        fees between the parties if the provision does not specifically provide for attorney’s fees in
        action on the contract,” Alki Partners, LP v. DB Fund Servs., LLC, 4 Cal. App. 5th 574,
        600 (2016) (quotation marks omitted), the contract here includes such language.

842.    As set forth above, see supra § VI.D (¶¶ 768–77), Apple is entitled to indemnification for
        the attorneys’ fees and court costs incurred in defending this lawsuit. Because the amount
        to which Apple is entitled necessarily includes fees and costs incurred during trial and
        post-trial proceedings, it is appropriate to defer calculation of Apple’s damages under this
        count until resolution of those proceedings.

843.    Deferral of determination of the amount of attorneys’ fees to be awarded comports with
        Federal Rule of Civil Procedure 54(d)(2), which sets forth the default procedure for
        claiming an award of attorneys’ fees in federal court. The Court adopts that procedure for
        establishing the value of Apple’s indemnification claim, and may ultimately refer the issue
        to a magistrate judge for resolution.




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